Case 2:25-cv-00472-CB        Document 2-7   Filed 04/10/25   Page 1 of 227




               REPRESENTATIVE COMPARISON CHARTS

 Plaintiff’s Patent (US D991,533)           Defendants’ Product (Sicddde)




  Plaintiff’s Mark (7,420,879)              Defendants’ Product (kirit4181)




                                     1
 Case 2:25-cv-00472-CB       Document 2-7     Filed 04/10/25   Page 2 of 227




Plaintiff’s Copyright (VA 2-434-881)       Defendants’ Product (Hengyu Lighting
                                                          Store)




                                       2
                               Case 2:25-cv-00472-CB                                                 Document 2-7                              Filed 04/10/25                              Page 3 of 227




                         Deliver to steven
                                                  Tools & Home Improvement         Search Amazon
                                                                                                                                                                                                                 Hello, steven            Returns           0
                         Pittsburgh 15222                                                                                                                                                                 EN    Account & Lists           & Orders


  All        Rufus      Medical Care         Groceries     Keep Shopping For           Amazon Basics   Livestreams      Buy Again     Amazon Business           Pharmacy     Gift Cards      Shop By Interest     Subscribe & Save

 Tools & Home Improvement        Best Sellers   Deals & Savings    Gift Ideas   Power & Hand Tools     Lighting & Ceiling Fans   Kitchen & Bath Fixtures     Smart Home     Shop by Room    Launchpad      Amazon Business


                                                     Rattan Woven Pendant Light (7"), Boho Style, Multiple Rooms, Brown                              4.6              124     $34 99                       Save 10% with coupon
                                                                                                                                                                                       $44.99

                                                                                                                                                                                                                                                    Sponsored
Tools & Home Improvement › Lighting & Ceiling Fans › Ceiling Lights › Pendant Lights


                                                                                                                                 Industrial Pendant Light Fixture, Small                                            Buy new:

                                                                                                                                 Pendant Lighting for Kitchen Island,                                               $
                                                                                                                                                                                                                        3999
                                                                                                                                 Black Dome Hanging Pendant Light                                                           Two-Day
                                                                                                                                 with Hammered Metal, Solid Wood                                                    FREE Returns

                                                                                                                                 Hanging Lamp for Dining Room, Bar,                                                 FREE delivery Friday, January
                                                                                                                                                                                                                    24. Order within 10 hrs 29 mins
                                                                                                                                 Bedroom
                                                                                                                                                                                                                         Deliver to steven - Pittsburgh
                                                                                                                                 Visit the Sicddde Store
                                                                                                                                                                                                                         15222
                                                                                                                                 4.5             21 | Search this page

                                                                                                                                                                                                                    Only 20 left in stock - order
                                                                                                                                 $
                                                                                                                                     3999                                                                           soon.

                                                                                                                                         Two-Day                                                                    Quantity:
                                                                                                                                                                                                                     1Quantity: 1
                                                                                                                                 FREE Returns
                                                                                                                                    Coupon:           Apply 10% coupon Terms                                                      Add to Cart
  4+

                                                                                                                                     Redeem      Save 3% on 2 select item(s) promo code: WB7AL9FH                                  Buy Now

                                                                                                                                    Shop items
                                                                                                                                                                                                                    Ships from           Amazon
3 VIDEOS
                                                                                                                                                                                                                    Sold by              Sicddde
                                                                                                                                     Redeem      Save 5% on 4 select item(s) promo code: PEHRGX57
                                                                                                                                                                                                                    Returns              30-day
                                                                                                                                    Shop items                                                                                           refund/replacem
                                                                                                                                                                                                                                         ent
                                                                                                                                 30-day refund/replacement
                                                                                                                                                                                                                    Customer service Amazon
                                                                                                                                  Color: MK405-2(6.7")                                                                See more

                                                                                                                                                                                                                    Add a Protection Plan:
                                                                                                                                                                                                                         4-Year Protection Plan for
                                                                                                                                                                                                                         $7.99
                                                                                                                                  Size: 1-Pack(6.7")
                                                                                                                                                                                                                         Asurion Complete Protect:
                                                                                                                                     1-Pack(6.7")          1-Pack(10.2")     3-Light       3-Pack(6.7")                  One plan covers all eligible
                                                                                                                                                                                                                         past and future purchases
                                                                                                                                     5-Light                                                                             (Renews Monthly Until
                                                      Roll over image to zoom in                                                                                                                                         Cancelled) for
                                                                                                                                                                                                                         $16.99/month
                                                                                                                                 Brand                Sicddde
                                                                                                                                 Color                MK405-2(6.7")                                                      Add a gift receipt for easy
                                                                                                                                                                                                                         returns
                                                                                                                                 Material             Wood, Iron
                                                                                                                                 Style                Modern
                                                                                                                                                                                                                    Save with Used - Like New
              Case 2:25-cv-00472-CB   Document 2-7          Filed 04/10/25                         Page 4 of 227




                                                Light ﬁxture      Pendant                                              $
                                                                                                                            2999
                                                form
                                                                                                                                   Two-Day

                                                About this item                                                        FREE delivery Friday, January
                                                                                                                       24
                                                  [Premium Quality Hanging Pendant Light]: ①Made of Smooth
                                                  Rubber Wood, which has a waterproof coating that won't cause         Ships from: Amazon
                                                  edge warping when meeting water and is glue-free,                    Sold by: Sicddde
                                                  formaldehyde-free. ② The use of top hammered craftsmanship
                                                  ensures that each hammered pattern is full and round with the
                                                                                                                      Add to List
                                                  proper depth
                                                  [Perfect Size]: The size of black dome pendant light is 6.7"L x
                                                  6.7"W x 7.9"H, the plate is 4.7" in diameter. The wire could be     Other sellers on Amazon
                                                  up to 59 inches, you can customize the height as you like, and it
                                                  can be installed on ﬂat or inclined ceilings, applicable for
                                                                                                                      New & Used (4) from $2999
                                                  diﬀerent situations
                                                  [Easy & Fast Installation]: This solid wood hanging light ﬁxture
                                                  comes with clear guidance and mounting hardware, you just ﬁx
                                                  the solid wood on the shade, then hanging the pendant lighting
                                                  on the ceiling. The whole process will only take 10-20 mins
                                                  [Wide Application]: The kitchen pendant lighting over island is      Save up to 15% on this product
                                                  suitable for a variety of decoration styles, which allows you to     with business-only pricing.
                                                  place it wherever you like and want, such as in the kitchen sink,
                                                  dining room, bedroom, kitchen island, living room, or hallway                Create a free account
                                                  [Bulb Requirement]: This Pendant Light Fixtures Ceiling
                                                  Hanging is compatible with all max 60W E26 bulbs, such as LED
                                                  bulbs, incandescent, CFL, Edison bulbs, and halogen bulbs.
                                                  When using dimmer and dimmable bulb can be dimmed (Bulbs
                                                  & dimmer NOT Included)
                                                  [Reliable & Considerate Service]: We strive to provide every
                                                  customer with high-quality products and high standards of
                                                  after-sales service, to make sure our customers have a pleasant
                                                  shopping experience
                                                                                                                      Mid-Century Modern Rubber Wood
                                                  【Tips】This black pendant light comes in a small size, it is         Pendant Light (12", Vintage Gold,…
                                                  recommended to purchase multiple packs to decorate your             4.8                 36
                                                  home                                                                -20% $39 99 $49.99
                                                › See more product details
                                                                                                                                                 Sponsored

                                                     Report an issue with this product or seller




                                                Sponsored


Buy it with
                                 Case 2:25-cv-00472-CB                                                     Document 2-7                               Filed 04/10/25                                Page 5 of 227




                                                                                                                                                   Total price: $69.77

                                        +                                              +                                                             Add all 3 to Cart



                                                                                                                                            Some of these items ship sooner than the
                                                                                                                                            others.
                                                                                                                                            Show details
This item: Industrial Pendant               HOMOTEK 12 Pack Spring Door                     18 Pack Matte Black Door Hinges
Light Fixture, Small Pendant                Stopper with Rubber Bumper                      3.5 x 3.5 Inch Interior 3 1/2 Inch
Lighting for Kitchen Island, Blac…          Satin Nickel 3-1/8" Flexible…                   Door Hinges for Doors Rounde…
$
    3999                                    $
                                                999 ($0.83/Count)                           $
                                                                                                1979

Discover similar items
    More ﬁlters                                           & Up      Number of Lights: 1         Number of Lights: 2          Black          Grey     Styles: Modern       Styles: Mid-Century       Light Type: LED      Light Type: Incandescent      Material: Cast Ir




$   10599                 $   11264                   $   12900                 $   10032                   $   12320                $   5999                  $   6720                 $   11061                 $   8875                 $   14840
     See more like this       See more like this          See more like this        See more like this          See more like this       See more like this        See more like this       See more like this        See more like this       See more like this




$   6524                  $   6048
     See more like this       See more like this


                                                                                                                                Show more



Based on your recent views
Sponsored
                                 Case 2:25-cv-00472-CB                                      Document 2-7                           Filed 04/10/25                      Page 6 of 227




          Farmhouse Pendant         ALAISLYC Black Matte           Black Pendant Light       Farmhouse Pendant          Black Pendant Light, 2      Wood Pendant Light,         3-Pack Black Farmhouse
          Light Fixtures, 11.8"     Pendant Lights, Vintage        11.81in Wood Metal        Lights, Adjustable         Packs 9.4inch Farmhouse     Pendant Lights Kitchen      Pendant Light
          Black Pendant Lights      Dome Hanging Light             Dome Hanging Ceiling      Hanging Light Fixtures     Pendant Light, Kitchen      Island, Matte Black         Adjustable Pendant
          Kitchen Island, Dome…     Fixtures, Adjustable He…       Lights Farmhouse Rou…     with Hammered Metal…       Pendant Light...            Pendant Lighting, In...     Lighting for Kitchen Isl…
          4.7                239    5.0                 13         5.0                1      4.7                76      5.0                 11      $   4333                    4.7                   275
          -6% $4999                 $
                                        7999 ($26.66 / Count)      -14% $5099                $
                                                                                                 5699                   $
                                                                                                                            6999 ($35.00 / Count)                                   Amazon's Choice
          List: $52.99                                             Typical: $59.00           Save 10% with coupon       Save 5% with coupon                                     -6% $7999
          Save 5% with coupon                                       Save 20% with coupon                                                                                        ($26.66 / Count)
                                                                                                                                                                                List: $84.99
                                                                                                                                                                                Save 5% with coupon



Deals on related products




          Sponsored                 Sponsored                      Sponsored                 Sponsored                  Sponsored                   Sponsored

          12.6" Farmhouse Rustic    Black Pendant Light 2          Black Pendant Lights      BONLICHT Modern            Pendant Lights Kitchen      DIRYZON Pendant
          Drum Pendant Light for    Packs, Kitchen Pendant         Kitchen Island, Modern    Pendant Lights Kitchen     Island Black Dining         Lighting for Kitchen
          Dining Room, Entryway,    Light, Farmhouse               Hanging Light Fixtures    Island,3 Pack Hanging      Room Light Fixtures with    Island,Modern Pendant
          Kitchen, Bedroom, 3…      Pendant Light, Indust...       with Frosted Gla...       Farmhouse Mini…            Light Bulb, Ind...          Light Fixture,Brass…
                       357                       48                             38                        7                           13                          3
           Limited time                 Limited time                   Limited time              Limited time               Limited time                Limited time

          -15% $6799                -50% $3399                     -50% $1499                -20% $8799                 -50% $1499                  -50% $3999
          Typical price $79.99      ($17.00 / Count)               Typical: $29.99           Typical: $109.99           Typical: $29.99             List: $79.99
                                    List: $67.99




Product information

Technical Details                                                                                                     Additional Information

  Brand                                                      Sicddde                                                  ASIN                                                    B0D2D2PW16

  Color                                                      MK405-2(6.7")                                            Customer Reviews                                        4.5                21
                                                                                                                                                                              4.5 out of 5 stars
  Material                                                   Wood, Iron
                                                                                                                      Best Sellers Rank                                       #193,397 in Tools & Home Improvement (See Top
                                                                                                                                                                              100 in Tools & Home Improvement)
                         Case 2:25-cv-00472-CB                      Document 2-7           Filed 04/10/25                         Page 7 of 227




Style                               Modern                                                                                              #1,359 in Pendant Light Fixtures

                                                                                 Date First Available                                   April 22, 2024
Light ﬁxture form                   Pendant

Room Type                           Living room, dining room, kitchen island,    Warranty & Support
                                    bedroom, pool table, bars, foyer, entryway
                                                                                 Amazon.com Return Policy: Amazon.com Voluntary 30-Day Return Guarantee: You can return many items
Product Dimensions                  6.7"L x 6.7"W x 7.9"H                        you have purchased within 30 days following delivery of the item to you. Our Voluntary 30-Day Return
Speciﬁc Uses For Product            Home                                         Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out more about the
                                                                                 exceptions and conditions here.
Indoor/Outdoor Usage                Indoor
                                                                                 Product Warranty: For warranty information about this product, please click here
Power Source                        Corded Electric
                                                                                 Feedback
Installation Type                   Flush Mount

Special Feature                     Hammered metal shade, Energy Efficient,      Would you like to tell us about a lower price?
                                    Adjustable Height, Solid Wood

Control Method                      Touch

Light Source Type                   Incandescent, Halogen, Fluorescent, LED，
                                    CFL，Edison，Dimmable bulbs

Finish Type                         Bake Painted & Oak Solid Wood Polishing

Shade Material                      Hammered Metal

Number of Light Sources             1

Voltage                             110 Volts (AC)

Theme                               Modern

Shape                               Dome

Included Components                 Mounting Hardware

Warranty Type                       1 year warranty

Lighting Method                     Downlight

Number of Items                     1

Wattage                             60 watts

Bulb Base                           E26

Controller Type                     Push Button

Switch Type                         Push Button

Unit Count                          1.0 Count

Water Resistance Level              Not Water Resistant

Eﬃciency                            Energy Efficient

Mounting Type                       Ceiling Mount

Shade Color                         Black

Fixture Type                        Non Removable
                           Case 2:25-cv-00472-CB                                      Document 2-7      Filed 04/10/25   Page 8 of 227




 Assembly Required                                   Yes

 Manufacturer                                        Sicddde

 Recommended Uses For Product                        Living room, dining room, kitchen island,
                                                     bedroom, pool table, bars, foyer, entryway, etc.

 Model Name                                          Pendant Light

 Part Number                                         405-2

 Item Weight                                         1.96 pounds

 Country of Origin                                   China

 Item model number                                   405-2

 Finish types                                        Bake Painted & Oak Solid Wood Polishing

 Special Features                                    Hammered metal shade, Energy Efficient,
                                                     Adjustable Height, Solid Wood

 Batteries Included?                                 No

 Batteries Required?                                 No




Product details
 Product Dimensions : 6.7 x 6.7 x 7.9 inches; 1.96 Pounds
 Item model number : 405-2
 Date First Available : April 22, 2024
 Manufacturer : Sicddde
 ASIN : B0D2D2PW16
 Country of Origin : China
 Customer Reviews:
 4.5             21




What's in the box
       Mounting Hardware




Videos
                          Case 2:25-cv-00472-CB                                     Document 2-7          Filed 04/10/25          Page 9 of 227




       Videos for this product




                                               0:16                                   0:20                                 0:54
         MK405-2 small pendant light installation     MK405-2 small pendant light            Farmhouse light adds an
         Sicddde                                      Sicddde                                amazing touch to a dining room!
                                                                                             Kyle   Lucy Bamboo




 Upload your video



Product Description


                                                                Black Farmhouse Pendant Light Fixture
Case 2:25-cv-00472-CB           Document 2-7               Filed 04/10/25             Page 10 of 227




          This kitchen pendant light features a unique black hammered metal shade and wood.
Case 2:25-cv-00472-CB                    Document 2-7                Filed 04/10/25               Page 11 of 227




   When the night falls, the small kitchen island lighting will become the perfect companion for you and your family.
Case 2:25-cv-00472-CB                Document 2-7      Filed 04/10/25      Page 12 of 227




   Kitchen Island          Bedroom           Library          Restaurant        Coﬀee Shop




                    Sicddde Industrial Pendant Light for Dining Room
                   Case 2:25-cv-00472-CB            Document 2-7                     Filed 04/10/25                        Page 13 of 227




                                                                               You just take a few minutes to install
                                                                               the small pendant light！
                                                                               1. Loose the socket ring
                                                                               2. Place the wood on the shade, and ﬁx the socket ring
                                                                               3. Add a E26 bulb (Bulb NOT Included)
                                                                               4. Adjust the length of cord as you like
                                                                               5. Hanging the pendant light ﬁxture on the ceiling




                                                              Similar Items




                             Small Pendant Light   Small Pendant Light 3Pack        Large Pendant Light              Kitchen Island Chandelier   Kitchen Island Pendant

                                  Add to Cart              Add to Cart                     Add to Cart                         Add to Cart             Add to Cart




Customer Reviews                      21                       21                              21                                  21                      21
                Case 2:25-cv-00472-CB             Document 2-7              Filed 04/10/25              Page 14 of 227




Price                            $
                                     3999                $
                                                             9999                  $
                                                                                       4999                  $
                                                                                                                 15999                $
                                                                                                                                          9999

Size                      6.7"L x 6.7"W x 7.9"H   6.7"L x 6.7"W x 7.9"H   10.2"L x 10.2"W x 11.4"H   35.4"L x 8.7"W x 10.2"H   26"L x 8.7"W x 10.2"H


Color                            Black                   Black                     Black                     Black                    Black


Light Source                    1 x E26                 3 x E26                   1 x E26                   5 x E26                  3 x E26


Blubs                         Not Included            Not Included             Not Included               Not Included             Not Included


Max Power                         60w                     60w                      60w                           60w                   60w


Voltage                         110V AC                 110V AC                  110V AC                    110V AC                  110V AC


Material                      Wood+Iron               Wood+Iron                 Wood+Iron                  Glass+Iron               Glass+Iron




From the brand




 Welcome to Sicddde
                          Case 2:25-cv-00472-CB                                          Document 2-7                  Filed 04/10/25                          Page 15 of 227




  Premium materials - Updated function - Unique design -
  Satisfying service

Compare with similar items
                     This Item                                         Recommendations




                     Industrial Pendant Light Fixture, Small Pendant   ELYONA Industrial Pendant Light, Rubber Wood    ELYONA Industrial Pendant Light, Solid Wood     ELYONA Hammered Pendant Light, 10.2”
                     Lighting for Kitchen Island, Black Dome           Dome Hanging Lamp with 12" Hammered Metal       Hanging Lamp with 7” Hammered Metal Shade,      Industrial Hanging Lamp with Solid Wood &
                     Hanging Pendant Light with Hammered Metal…        Shade, Modern Pendant Light Fixtures for…       Farmhouse Pendant Light Fixtures for Kitchen…   Metal Shade, Modern Pendant Light Fixtures f…

                         Add to cart                                       Add to cart                                     Add to cart                                     Add to cart


Price                $
                         3999                                          $
                                                                           5999                                        -10% $4499                                      $
                                                                                                                                                                           5499
                                                                                                                       Typical: $49.99


Delivery                      FREE Delivery                                     FREE Delivery                                   FREE Delivery                                   FREE Delivery


Customer Ratings     4.5                21                             4.5                97                           4.6                132                          4.7                385

Sold By              Sicddde                                           YQWC                                            YQWC                                            YQWC

Material             Iron, Wood                                        FSC Certiﬁcation Solid Wood, Handmade           FSC Certiﬁcation Solid Wood, Handmade           FSC Certiﬁcation Rubber Wood, Handmade
                                                                       Hammered Black Metal                            Hammered Black Metal                            Hammered Black Metal

Light Source Type    Incandescent, Halogen, Fluorescent, LED，          LED bulbs, Smart bulbs, Edison bulbs,           LED bulbs, Smart bulbs, Edison bulbs,           LED bulbs, Smart bulbs, Edison bulbs,
                     CFL，Edison，Dimmable bulbs                         incandescent bulbs, CFLs                        incandescent bulbs, CFLs                        incandescent bulbs, CFLs

Bulb Base            e26                                               e26                                             e26                                             e26

Light Sources        1                                                 1                                               1                                               1

Power Source         Corded Electric                                   Corded Electric                                 Corded Electric                                 Corded Electric

Shade Material       Hammered Metal                                    Hammered Metal                                  Hammered Metal                                  Hammered Metal

Style                Modern                                            Modern, Industrial, Farmhouse, Rustic, Retro,   Modern, Industrial, Farmhouse, Rustic, Retro,   Modern, Industrial, Farmhouse, Rustic, Retro,
                                                                       Vintage                                         Vintage                                         Vintage

Finish Type          Bake Painted & Oak Solid Wood Polishing           1538 ℃ Bake Painted & Solid Wood Polishing      1538 ℃ Bake Painted & Solid Wood Polishing      1538 ℃ Bake Painted & Solid Wood Polishing
                                                                       Process                                         Process                                         Process

Mounting Type        Ceiling Mount                                     Ceiling Mount                                   Ceiling Mount                                   Ceiling Mount

Fixture Type         Non Removable                                     Non Removable                                   Non Removable                                   Non Removable
                             Case 2:25-cv-00472-CB                                      Document 2-7                       Filed 04/10/25                       Page 16 of 227




 Shade Color               Black                                           Black                                          Black                                             Black




Related products with free delivery
Sponsored




        2 Pack Pendant Lights       3-Pack Black Farmhouse      Emliviar 10.2 Inch 1-     Wood Pendant Light,       Farmhouse Pendant       ALAISLYC Black Matte        Farmhouse Pendant
        Kitchen Island Black        Pendant Light               Light Farmhouse           Pendant Lights Kitchen    Light Fixtures, 11.8"   Pendant Lights, Vintage     Lights, Adjustable
        Farmhouse Pendant           Adjustable Pendant          Pendant Light, Modern     Island, Matte Black       Black Pendant Lights    Dome Hanging Light          Hanging Light Fixtures
        Light Fixtures 11.81 I...   Lighting for Kitchen Isl…   Pendant Lighting for K…   Pendant Lighting, In...   Kitchen Island, Dome…   Fixtures, Adjustable He…    with Hammered Metal…
        4.8                  13     4.7                275      4.4                75     $   4333                  4.7            239      5.0                 13      4.7            76
        -27% $6599                   Amazon's Choice            $
                                                                    2255                                            -6% $4999               $
                                                                                                                                                7999 ($26.66 / Count)   $
                                                                                                                                                                            5699
        ($33.00 / Count)            -6% $7999                   Save 10% with coupon                                List: $52.99                                        Save 10% with coupon
        List: $89.99                ($26.66 / Count)                                                                Save 5% with coupon
            Save 10% with coupon    List: $84.99
                                    Save 5% with coupon
                        Case 2:25-cv-00472-CB                                    Document 2-7                            Filed 04/10/25                           Page 17 of 227




                                                                                                                                                                            Sponsored


Similar brands on Amazon
Sponsored




                       LIANGMH Modern Pendent Lights in                           Darkaway Industrial Pendant Light                                19.7" Wood Linen Dining Room Light         ELYON
                       Kitchen, Black Mini Pendant Light…                         Fixtures Ceiling Hanging with Hammere…                           Fixture Large Boho Chandelier Farmhou…     Pendan
                       4.2             87                                         4.7                156                                           5.0                  3                     5.0
                       $128.88                                                    $85.99                                                           $139.99                                    $94.99




     Looking for speciﬁc info?




Customer reviews                                            Customers say
                4.5 out of 5                                Customers like the light ﬁxture's style and ﬁnd it easy to install. They say it looks nice and is simple.
                                                            AI-generated from the text of customer reviews
21 global ratings
                                                            Select to learn more
5 star                             80%
                                                                Style        Ease of installation
4 star                               4%

3 star                               8%                     Reviews with images                                                                                                             See all photos

2 star                               0%

1 star                               8%
                         Case 2:25-cv-00472-CB                              Document 2-7                          Filed 04/10/25                      Page 18 of 227




How customer reviews and ratings work




Review this product
Share your thoughts with other customers

           Write a customer review

                                            Top reviews
                                            Top  reviews


                                           Top reviews from the United States

                                                  John E Moore

                                                         Looks great
                                           Reviewed in the United States on October 22, 2024
                                           Color: MK404-5(35.4") Size: 5-Light Veriﬁed Purchase
                                           Looks great. Easy to install

                                               Helpful           Report



                                                  Lance

                                                         Beautiful modern light
                                           Reviewed in the United States on November 21, 2024
                                           Color: MK404-5(35.4") Size: 5-Light Veriﬁed Purchase
                                           Love this light ﬁxture

                                               Helpful           Report



                                                  Wack a** experience

                                                         Very stylish
                                           Reviewed in the United States on August 3, 2024
                                           Color: MK404-5(35.4") Size: 5-Light Veriﬁed Purchase
                                                                                                  Spectacular! Simple. Light weight. Sturdy
                                                                                                  enough to just hang there untouched. I
                                                                                                  recommend, to bring dimension and style to
                                                                                                  your island or dining area. I suspended mine
                                                                                                  over the dining table.         (Guy at the end of
                                                                                                  my video is to express my satisfaction) lol
Case 2:25-cv-00472-CB                          Document 2-7                           Filed 04/10/25                     Page 19 of 227




             Helpful             Report



                Alaina Bullock

                       Great Looking Pendant Lights!
         Reviewed in the United States on August 26, 2024
         Color: MK405-2(6.7") Size: 1-Pack(6.7") Amazon Vine Customer Review of Free Product ( What's this? )
            Veriﬁed Purchase

         I have been searching for some pendant lights to add over our bar area and couldn't ever ﬁnd what it was I
         wanted until I saw these. While they are labeled as industrial style, I think they go well with various decor
         styles. The hammered metal shade looks nice paired with the wood piece on top, and their simple design
         draws attention without being overstated.

         Installation was a breeze and everything you need comes with the pendants - except the bulbs. They also
         come with plenty of cord so you can adjust them to your ideal height.

         Once installed, they put out the perfect amount of light; enough to serve as accent lighting or as main
         lighting for the speciﬁc are you install them. Plus, they look great both on and oﬀ.

         Very happy I ordered these. They are simple, lightweight, and look great!




             Helpful             Report



                AC

                       Perfect
         Reviewed in the United States on May 6, 2024
         Veriﬁed Purchase

         These lights are really nice, easy to install and give oﬀ good light.

             Helpful             Report



                Artsy Ali

                       Gorgeous and perfect for our modern farmhouse kitchen redesign
         Reviewed in the United States on December 9, 2024
         Color: MK407(10.2") Size: 1-Pack(10.2") Amazon Vine Customer Review of Free Product ( What's this? )
         Love the gold accents inside and above the black shade, they really accentuate this charming light ﬁxture.
         We’re redoing our kitchen in a modern farmhouse style, and this pendant is gorgeous over the sink. The
         gold interior gives a bit of a cozy glow while you’re doing dishes.

         It’s the perfect size and would also work over a kitchen island or kitchen table. Love that it has capability
         for LED bulbs and we’re using an Edison type LED bulb in it to save energy and for a more classic style. I
Case 2:25-cv-00472-CB                                 Document 2-7                           Filed 04/10/25                            Page 20 of 227




               love the current mixed metal look and this light is really adding to that style.

               Installation was easy, especially since we’re replacing an existing ﬁxture. Instead of having a metal tube
               hanging from the ceiling, it’s a ﬂexible cord so you can adjust the height to whatever you need. The
               installation hardware was included, which really helps a lot. We really appreciate the style that this light is
               bringing to our updated kitchen.

                    Helpful          Report



                      Pro Customer

                             Stylish and Versatile Industrial Pendant Light
               Reviewed in the United States on November 11, 2024
               Color: MK407(10.2") Size: 1-Pack(10.2") Amazon Vine Customer Review of Free Product ( What's this? )
               I recently installed this Industrial Pendant Light in my kitchen, and it has truly elevated the space! The
               matte black and gold ﬁnish gives it a sleek, modern look that pairs perfectly with both industrial and
               farmhouse decor. The adjustable height feature is super convenient; I could set it to the exact length I
               needed, making it ﬁt beautifully over my kitchen island.

               Installation was quick and straightforward, taking about 15 minutes with the included hardware. I love that
               it’s compatible with a variety of bulbs, so I chose an Edison bulb for a cozy, dimmable glow. The light feels
               sturdy and well-made, adding a warm, artistic touch without overwhelming the space. Highly recommend
               this pendant light for anyone looking to add a stylish yet functional piece to their home!

                    Helpful          Report



                      A Discerning I.V.

                             Assembly required, but it's not too bad
               Reviewed in the United States on March 19, 2024
               Color: MK404-5(35.4") Size: 5-Light Amazon Vine Customer Review of Free Product ( What's this? )
               The design is simple with its rectangular shape. I think it would look good over a pool table. Assembly is
               probably DIY but installation may require a profession. Overall, I recommend.

                    Helpful          Report



               See more reviews

                                                     ELYONA Industrial Pendant Light, Rubber Wood
                                                     Dome Hanging Lamp with 12" Hammered Metal...                    Shop now
                                                     $59.99                            97

                                                                                                                                 Sponsored




                                                                         Back to top




   Get to Know Us                         Make Money with Us                        Amazon Payment Products                                  Let Us Help You
   Careers                                Sell on Amazon                            Amazon Visa                                              Your Account
Case 2:25-cv-00472-CB                                     Document 2-7                                 Filed 04/10/25                               Page 21 of 227




   Amazon                                  Sell apps on Amazon                                 Amazon Store Card                                       Your Orders
   Newsletter
                                           Supply to Amazon                                    Amazon Secured Card                                     Shipping Rates &
   About Amazon                                                                                                                                        Policies
                                           Protect & Build Your                                Amazon Business Card
   Accessibility                           Brand                                                                                                       Amazon Prime
                                                                                               Shop with Points
   Sustainability                          Become an Aﬃliate                                                                                           Returns &
                                                                                               Credit Card Marketplace                                 Replacements
   Press Center                            Become a Delivery Driver
                                                                                               Reload Your Balance                                     Manage Your
   Investor Relations                      Start a Package Delivery
                                                                                               Gift Cards                                              Content and Devices
                                           Business
   Amazon Devices                                                                                                                                      Recalls and Product
                                           Advertise Your Products                             Amazon Currency Converter
   Amazon Science                                                                                                                                      Safety Alerts
                                           Self-Publish with Us                                                                                        Registry & Gift List
                                           Become an Amazon Hub                                                                                        Help
                                           Partner
                                           › See More Ways to Make
                                           Money




                                                                                    English                 United States




   Amazon Music         Amazon Ads                 6pm                        AbeBooks                  ACX                       Sell on Amazon              Veeqo
   Stream millions      Reach customers            Score deals                Books, art                Audiobook                 Start a Selling             Shipping Software
   of songs             wherever they              on fashion brands          & collectibles            Publishing                Account                     Inventory
                        spend their time                                                                Made Easy                                             Management

   Amazon Business      Amazon Fresh               AmazonGlobal               Home Services             Amazon Web                Audible                     Box Oﬃce Mojo
   Everything For       Groceries & More           Ship Orders                Experienced Pros          Services                  Listen to Books &           Find Movie
   Your Business        Right To Your Door         Internationally            Happiness                 Scalable Cloud            Original                    Box Oﬃce Data
                                                                              Guarantee                 Computing                 Audio
                                                                                                        Services                  Performances

   Goodreads            IMDb                       IMDbPro                    Kindle Direct             Amazon Photos             Prime Video Direct          Shopbop
   Book reviews         Movies, TV                 Get Info                   Publishing                Unlimited Photo           Video Distribution          Designer
   &                    & Celebrities              Entertainment              Indie Digital &           Storage                   Made Easy                   Fashion Brands
   recommendations                                 Professionals Need         Print Publishing          Free With Prime
                                                                              Made Easy

   Amazon Resale        Whole Foods                Woot!                      Zappos                    Ring                      eero WiFi                   Blink
   Great Deals on       Market                     Deals and                  Shoes &                   Smart Home                Stream 4K Video             Smart Security
   Quality Used         America’s                  Shenanigans                Clothing                  Security Systems          in Every Room               for Every Home
   Products             Healthiest
                        Grocery Store

                        Neighbors App              Amazon                     PillPack                  Amazon Renewed
                        Real-Time Crime            Subscription Boxes         Pharmacy                  Like-new products
                        & Safety Alerts            Top subscription           Simpliﬁed                 you can trust
                                                   boxes – right to
                                                   your door



                                 Conditions of Use    Privacy Notice    Consumer Health Data Privacy Disclosure   Your Ads Privacy Choices
                                                                 © 1996-2025, Amazon.com, Inc. or its aﬃliates
                   Case 2:25-cv-00472-CB                          Document 2-7                Filed 04/10/25        Page 22 of 227


                                                                      Secure checkout

Delivering to steven howard                                                                               Change                  Place your order
223 4TH AVE, PITTSBURGH, PA, 15222-1717, United States
                                                                                                                    By placing your order, you agree to Amazon's
Add delivery instructions                                                                                           privacy notice and conditions of use.

FREE pickup available nearby
                                                                                                                    Items:                                $39.99
                                                                                                                    Shipping & handling:                   $0.00
                                                                                                                    Estimated tax to be collected:         $2.40
Paying with Visa 3651                                                                                     Change
                                                                                                                    Order total:                      $42.39
Use Chase Ultimate Rewards points
$78.61 (9,827 points) available
Use a gift card, voucher, or promo code




Arriving Jan 24, 2025
If you order in the next 9 hours and 56 minutes Details
                                                                        Friday, Jan 24
                        Industrial Pendant Light Fixture,               FREE Two Day Delivery
                        Small Pendant Lighting for
                        Kitchen Island, Black Dome                      Monday, Jan 27
                        Hanging Pendant Light with                      FREE Amazon Day Delivery
                        Hammered Metal, Solid Wood                        Lower carbon option
                        Hanging Lamp for Dining Room,
                        Bar, Bedroom
                        $39.99
                                 & FREE Returns
                        Ships from Amazon.com
                        Sold by Sicddde


               1

   Add gift options




                                    Order total: $42.39
       Place your order             By placing your order, you agree to Amazon's privacy notice and conditions of
                                    use.




Why has sales tax been applied? See tax and seller information.

Do you need help? Explore our Help pages or contact us
For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
email notifying you that the item has been shipped.

Colorado Purchasers: Important information regarding sales tax you may owe in your State
Within 30 days of delivery, you may return new, unopened merchandise in its original condition. Exceptions and
restrictions apply. See Amazon.com's Returns Policy
Back to cart




                                                                              Back to top
Case 2:25-cv-00472-CB                  Document 2-7                  Filed 04/10/25                   Page 23 of 227


                                            English               United States                Help




       Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure   Your Ads Privacy Choices
                                    © 1996-2025, Amazon.com, Inc. or its aﬃliates
                              Case 2:25-cv-00472-CB                                               Document 2-7                                  Filed 04/10/25                         Page 24 of 227




                         Deliver to steven
                                                  Tools & Home Improvement         Search Amazon
                                                                                                                                                                                           Hello, steven             Returns           0      Subtotal
                         Pittsburgh 15222                                                                                                                                           EN     Account & Lists           & Orders                 $0.00

                                                                                                                                                                                                                                             Go to Cart
  All        Rufus      Medical Care         Groceries      Keep Shopping For          Amazon Basics   Livestreams      Buy Again       Amazon Business       Pharmacy    Gift Cards     Shop By Interest        Subscribe & Save

                                                                                                                                                                                                                                           Industrial
 Tools & Home Improvement        Best Sellers   Deals & Savings    Gift Ideas   Power & Hand Tools     Lighting & Ceiling Fans   Kitchen & Bath Fixtures    Smart Home   Shop by Room    Launchpad      Amazon Business                    Pendant Light
                                                                                                                                                                                                                                           Fixture, Small
                                                                                                                                                                                                                                           Pendant Li...
                                                         Ash Wood Hammered Pendant Lights (2pcs, Antique Gold)                                          5           32    $169 99             Save $20 with coupon                         was removed
                                                                                                                                                                                                                                           from
                                                                                                                                                                                                                                           Shopping
                                                                                                                                                                                                                               Sponsored   Cart.
Tools & Home Improvement › Lighting & Ceiling Fans › Ceiling Lights › Pendant Lights


                                                                                                                         WILON 10.2'' Pendant Lights
                                                                                                                         Kitchen Island, Black Pendant
                                                                                                                                                                                              $
                                                                                                                                                                                                  2999
                                                                                                                                                                                                           Two-Day
                                                                                                                         Light Fixtures, Industrial Pendant
                                                                                                                                                                                              FREE delivery Friday, January
                                                                                                                         Light with Hammered Metal                                            24. Order within 9 hrs 55 mins

                                                                                                                         Shade, Farmhouse Pendant Light                                            Deliver to steven - Pittsburgh
                                                                                                                                                                                                   15222
                                                                                                                         for Dining Room Over Table Sink
                                                                                                                         Bar Bedroom                                                          Only 5 left in stock - order
                                                                                                                                                                                              soon.
                                                                                                                         Visit the WILON Store
                                                                                                                         4.5            11 | Search this page                                 Quantity:
                                                                                                                                                                                               1Quantity: 1

                                                                                                                         $
                                                                                                                             2999                                                                           Add to Cart
                                                                                                                         -17% Typical price: $35.99
                                                                                                                                                                                                                Buy Now
                                                                                                                                      Two-Day

                                                                                                                             Redeem      Save 10% with brand promotion                        Ships from Amazon
                                                                                                                                                                                              Sold by    QLSM Lighting
                                                                                                                         K78FFDNBI8HI Shop items                                              Returns         30-day
                                                                                                                                                                                                              refund/replacement
 VIDEO                                                                                                                    Save 3% on 2 select item(s) Shop items
                                                                                                                                                                                              Packaging       Ships in product
                                                                                                                         30-day refund/replacement                                                            packaging
                                                                                                                                                                                                   See more
                                                                                                                         Color: Matte Black
                                                                                                                                                                                                   Add a gift receipt for easy
                                                                                                                                                                                                   returns

                                                                                                                         Size: 1 Pack
                                                                                                                                                                                                  Add to List
                                                                                                                             1 Pack       2 Pack


                                                                                                                         Brand             WILON
                                                                                                                         Color             Matte Black
                                                                                                                                                                                              Fast delivery during business
                                                 Roll over image to zoom in                                              Material          Iron
                                                                                                                                                                                              hours, ﬂexible payment options.
                                                                                                                         Style             Industrial
                                                                                                                         Light ﬁxture      Pendant                                                    Create a free account
                                                                                                                         form


                                                                                                                         About this item
              Case 2:25-cv-00472-CB   Document 2-7                Filed 04/10/25                       Page 25 of 227




                                                【Farmhouse Pendant Light】WILON black pendant
                                                                                                                                                   Subtotal
                                                light ﬁxture with hammered metal shade is the perfect
                                                                                                                                                   $0.00
                                                addition to your modern farmhouse aesthetic. With its
                                                industrial design and rustic charm, this hanging pendant                                          Go to Cart

                                                light ﬁxture will add a touch of sophistication to any
                                                space.                                                                                          Industrial
                                                                                                                                                Pendant Light
                                                【Easy to Install & Adjustable Height】The step-by-step                                           Fixture, Small
                                                                                                                                                Pendant Li...
                                                guide in the package and video on Amazon make setup                                             was removed
                                                a breeze. Whether you're a DIY enthusiast or a novice,       Modern Matte Black Rubber Wood…    from
                                                                                                             4.8               36               Shopping
                                                you'll ﬁnd the installation process of industrial pendant                                       Cart.
                                                                                                             $54 99
                                                light simple. The cord length of vintage pendant light                $58.99
                                                ﬁxuture is adjustable to customize the lighting of your      Save 5% with coupon

                                                space.                                                                              Sponsored
                                                【E26 Bulb Base】Equipped with an E26 bulb base, our
                                                farmhouse dining room light ﬁxture is compatible with a
                                                wide range of bulb options, such as incandescent,
                                                halogen, LED bulbs, CFL bulbs, and energy-saving bulbs.
                                                (bulb NOT Included). The farmhouse pendant lights can
                                                be dimmable with a dimmable bulb and dimmer switch
                                                (Bulb and switch are NOT included).
                                                【Premium Material & Wide Application】Crafted from
                                                premium metal materials and sturdy construction, our
                                                hanging light ﬁxture is built to last. The hanging lamp is
                                                a great choice for kitchen island lighting, dining room,
                                                living room, oﬃce, coﬀee bar, hallway, foyer, bedside,
                                                over table, and above sink, adding a modern farmhouse
                                                touch to the overall décor.
                                                【3-Year Warranty & 24/7 Service】The black pendant
                                                lighting ﬁxture set of 2 are UL-certiﬁed for safety. In
                                                case of any problem with the modern farmhouse
                                                pendant lamp, please do not hesitate to contact us, we
                                                will make every eﬀort to solve the problem for you
                                                within 24 hours.
                                              › See more product details
                                                  Report an issue with this product or seller




                                                                     $49.99




                                             Sponsored


Buy it with


                                                               Total price: $64.97

                 +              +                                 Add all 3 to Cart



                                                         Some of these items ship sooner than the
                                                         others.
                                   Case 2:25-cv-00472-CB                                                      Document 2-7                              Filed 04/10/25                               Page 26 of 227




This item: WILON 10.2'' Pendant                  HOMOTEK 12 Pack Spring Door                 TJOY 12 Pack Vintage 8W ST58                       Show details
                                                                                                                                                                                                                                                      Subtotal
Lights Kitchen Island, Black                     Stopper with Rubber Bumper                  LED Edison Light Bulbs,
                                                                                                                                                                                                                                                      $0.00
Pendant Light Fixtures, Industri…                Satin Nickel 3-1/8" Flexible…               Dimmable, 60W Equivalent,…
                                                                                                                                                                                                                                                     Go to Cart
$   2999                                         $   999                                     $   2499
Discover similar items                                                                                                                                                                                                                             Industrial
                                                                                                                                                                                                                                                   Pendant Light
                                                                                                                                                                                                                                                   Fixture, Small
    More ﬁlters                                             & Up       Number of Lights: 1       Number of Lights: 2              Black         Grey    Styles: Modern       Styles: Mid-Century      Light Type: LED   Light Type: Incandescent   Pendant Li...
                                                                                                                                                                                                                                                   was removed
                                                                                                                                                                                                                                                   from
                                                                                                                                                                                                                                                   Shopping
                                                                                                                                                                                                                                                   Cart.




$
    11699 Was:$144.98                5.0                   32   5.0                   32          5.0                32     5.0                2           5.0                1           5.0                1          $
                                                                                                                                                                                                                            11999
                                     $   14999                  $   15999 List:$179.99            $   16999                 $   12799 Was:$164.98          $   16199 Was:$194.98          $   17999 Was:$184.98
        See more like this               See more like this            See more like this             See more like this           See more like this             See more like this             See more like this         See more like this




$   17999                    $   14799 Was:$174.98              $   8299 Was:$99.98          $   12399 Was:$129.98
     See more like this             See more like this                See more like this               See more like this


                                                                                                                            Show more



Based on your recent views
Sponsored
                             Case 2:25-cv-00472-CB                                               Document 2-7                           Filed 04/10/25                              Page 27 of 227




                                                                                                                                                                                                                             Subtotal
                                                                                                                                                                                                                             $0.00

                                                                                                                                                                                                                            Go to Cart


                                                                                                                                                                                                                          Industrial
                                                                                                                                                                                                                          Pendant Light
                                                                                                                                                                                                                          Fixture, Small
                                                                                                                                                                                                                          Pendant Li...
                                                                                                                                                                                                                          was removed
          Industrial Pendant Light      Farmhouse Pendant            3-Pack Black Farmhouse       Emak Modern Black            Black Pendant Lights        Pendant Lights Kitchen            Black Pendant Lights         from
                                                                                                                                                                                                                          Shopping
          Fixture, Small Pendant        Lights, Adjustable           Pendant Light                Pendant Lights, 8 Inch       Kitchen Island, 2 Pack      Island 2 Pack, 11.8               Farmhouse Pendant            Cart.
          Lighting for Kitchen          Hanging Light Fixtures       Adjustable Pendant           Kitchen Pendant              Kitchen Island Lighting,    inches Dome Pendant               Light Fixture 11.5in 2
          Island, Black ...             with Hammered Metal…         Lighting for Kitchen Isl…    Lighting Over Island w…      Farmhouse Pend...           Light Fixtures, Matt...           Pack, Adjustable Heig...
          4.5                21         4.7                76        4.7                   275    4.6                29        4.6                 24      4.8                      12       4.6                 32
          $
              3999                      $
                                            5699                         Amazon's Choice          $
                                                                                                      5399                     $
                                                                                                                                   6699 ($33.50 / Count)   $
                                                                                                                                                               6799 ($34.00 / Count)         $
                                                                                                                                                                                                 6999 ($35.00 / Count)
          Save 10% with coupon          Save 10% with coupon         -6% $7999                    Save 10% with coupon         Save 15% with coupon        Save 7% with coupon               Save 20% with coupon
                                                                     ($26.66 / Count)
                                                                     List: $84.99
                                                                         Save 5% with coupon



Deals on related products




          Sponsored                     Sponsored                    Sponsored                    Sponsored                    Sponsored                   Sponsored

          Eustace Pendant Light         Black Pendant Light 2        Bamboo Dome Pendant          Gold Pendant Light           Black Pendant Lights        12.6" Farmhouse Rustic
          Modern Lantern                Packs, Kitchen Pendant       Light Kitchen Island         Modern Pendant Lights        Kitchen Island, Modern      Drum Pendant Light for
          Lighting, Wooden Dome         Light, Farmhouse             14.82in Rattan Dining        for Kitchen Island           Hanging Light Fixtures      Dining Room, Entryway,
          Minimalist Industrial Ce...   Pendant Light, Indust...     Room Light Fixtures ...      Hanging Lighting Fixtur...   with Frosted Gla...         Kitchen, Bedroom, 3…
                       31                            48                           7                             39                          38                          357
              Limited time                  Limited time                 Limited time                 Limited time                 Limited time                Limited time

          -50% $3749                    -50% $3399                   -20% $6399                   -50% $1499                   -50% $1499                  -15% $6799
          List: $74.98                  ($17.00 / Count)             Typical: $79.99              ($7.50 / Count)              Typical: $29.99             Typical price $79.99
                                        List: $67.99                                              Typical: $29.99




Product information

Technical Details                                                                                                    Additional Information

  Brand                                                    WILON                                                     ASIN                                                     B0CLVFLJVZ

  Color                                                    Matte Black                                               Customer Reviews                                         4.5                11
                                                                                                                                                                              4.5 out of 5 stars
  Material                                                 Iron
                                                                                                                     Best Sellers Rank                                        #342,056 in Tools & Home Improvement (See
                                                                                                                                                                              Top 100 in Tools & Home Improvement)
                       Case 2:25-cv-00472-CB                           Document 2-7                   Filed 04/10/25                        Page 28 of 227




Style                            Industrial                                                                                              #2,045 in Pendant Light Fixtures
                                                                                                                                                                                             Subtotal
                                                                                      Date First Available                               January 26, 2024                                    $0.00
Light ﬁxture form                Pendant
                                                                                                                                                                                            Go to Cart
Room Type                        Kitchen, Living Room, Bedroom, Hallway,              Warranty & Support
                                 Dining Room                                                                                                                                              Industrial
                                                                                      Amazon.com Return Policy: Amazon.com Voluntary 30-Day Return Guarantee: You can return              Pendant Light
Product Dimensions               10.2"L x 10.2"W x 70.4"H                                                                                                                                 Fixture, Small
                                                                                      many items you have purchased within 30 days following delivery of the item to you. Our Voluntary   Pendant Li...
                                                                                      30-Day Return Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out   was removed
Speciﬁc Uses For Product         Home                                                                                                                                                     from
                                                                                      more about the exceptions and conditions here.                                                      Shopping
Indoor/Outdoor Usage             Indoor                                                                                                                                                   Cart.

                                                                                      Product Warranty: For warranty information about this product, please click here
Power Source                     AC
                                                                                      Feedback
Installation Type                Semi Flush Mount

Special Feature                  ★UL-certified ★3-Year Warranty ★Hammered             Would you like to tell us about a lower price?
                                 metal shade ★Adjustable Height ★E26
                                 Standard Blubs Base(Max 60W, Bulb NOT
                                 Included) ★Easy to Install ★Dimmable with a
                                 Dimmable Bulb & Compatible Dimmer
                                 Switch(Bule and Switch is Not Included)

Control Method                   App

Light Source Type                LED

Finish Type                      Hammered

Shade Material                   Metal

Number of Light Sources          1

Voltage                          1.2E+2 Volts

Theme                            modern farmhouse

Light Color                      White

Shape                            Cone

Included Components              (1) Fixture, (1) Installation Instruction, and (1)
                                 Mounting Hardware. Bulb not included.

Warranty Type                    Limited

Lighting Method                  Downlight

Speciﬁcation Met                 UL

Number of Items                  1

Wattage                          60 watts

Bulb Base                        E26

Controller Type                  Push Button

Switch Type                      Push Button

Unit Count                       1.0 Count

Mounting Type                    Ceiling Mount
                           Case 2:25-cv-00472-CB                                     Document 2-7   Filed 04/10/25   Page 29 of 227




  Shade Color                                     Black                                                                                  Subtotal
                                                                                                                                         $0.00
  Fixture Type                                    Non Removable
                                                                                                                                        Go to Cart
  Assembly Required                               Yes
                                                                                                                                      Industrial
  Manufacturer                                    WILON                                                                               Pendant Light
                                                                                                                                      Fixture, Small
  Model Name                                      Industrial Black Pendant Light Fixture with                                         Pendant Li...
                                                                                                                                      was removed
                                                  Hammered Metal Shade                                                                from
                                                                                                                                      Shopping
  Part Number                                     WL31018-BK                                                                          Cart.

  Item Weight                                     3.75 pounds

  Country of Origin                               China

  Item model number                               WL31018-BK

  Finish types                                    Hammered

  Special Features                                ★UL-certified ★3-Year Warranty ★Hammered
                                                  metal shade ★Adjustable Height ★E26
                                                  Standard Blubs Base(Max 60W, Bulb NOT
                                                  Included) ★Easy to Install ★Dimmable with a
                                                  Dimmable Bulb & Compatible Dimmer
                                                  Switch(Bule and Switch is Not Included)

  Batteries Included?                             No

  Batteries Required?                             No




Product details
  Product Dimensions : 10.2 x 10.2 x 70.4 inches; 3.75 Pounds
  Item model number : WL31018-BK
  Date First Available : January 26, 2024
  Manufacturer : WILON
  ASIN : B0CLVFLJVZ
  Country of Origin : China
  Customer Reviews:
  4.5              11




Inspiration from this brand

                 WILON                        + Follow
                 Visit the Store on Amazon
                         Case 2:25-cv-00472-CB                                            Document 2-7                                Filed 04/10/25                           Page 30 of 227




                                                                                                                                                                                                                         Subtotal
                                                                                                                                                                                                                         $0.00

                                                                                                                                                                                                                        Go to Cart


                                                                                                                                                                                                                      Industrial
                                                                                                                                                                                                                      Pendant Light
                                                                                                                                                                                                                      Fixture, Small
                                                                                                                                                                                                                      Pendant Li...
                                                                                                                                                                                                                      was removed
                                                                                                                                                                                                                      from
                                                                                                                                                                                                                      Shopping
                                                                                                                                                                                                                      Cart.



         WILON Kitchen Island Lighting              Seeded Glass Farmhouse Pendant             WILON 4 Light Bathroom Vanity            WILON Semi Flush Mount Ceiling           Black Semi Flush Mount Ceiling Lig
                                                    Light Fixture for Kitchen Lighting…        Light Fixture with Clear Globe Glas…     Light 3-Light Ceiling Light Fixtures     3-Light Ceiling Light Fixtures


What's in the box
    (1) Fixture, (1) Installation Instruction, and (1) Mounting Hardware. Bulb not included.




Videos
       Videos for this product




                                                1:58
         Installation of Cone Black Pendant Light
         Fixture
         QLSM Lighting




 Upload your video



Product Description
 Case 2:25-cv-00472-CB   Document 2-7          Filed 04/10/25                      Page 31 of 227




                                                                                                                       Subtotal
                                                                                                                       $0.00

                                                                                                                      Go to Cart


                                                                                                                    Industrial
                                                                                                                    Pendant Light
                                                                                                                    Fixture, Small
                                                                                                                    Pendant Li...
                                                                                                                    was removed
                                                                                                                    from
                                                                                                                    Shopping
                                                                                                                    Cart.




Create Diﬀerent Lighting Ambience with Diﬀerent Color Temperature


                                  Modern and Industrial Design

                                  Black Farmhouse Pendant Light
                                  Fixture with Hammered Metal
                                  Shade
                                  The single pendant light adds the farmhouse charm above your kitchen island,
                                  dining table, or entryway. It hangs with the help of a height-adjustable cord
                                  that lets you suspend it from high ceilings or in tighter corners, and it has a
                                  sloped ceiling-compatible canopy. The black pendant light works with an E26
                                  bulb (not included) and is also compatible with dimmer switches, eﬀortlessly
                                  taking you from day to night.
                        Case 2:25-cv-00472-CB                                       Document 2-7                            Filed 04/10/25                Page 32 of 227




                                                                                                                                                                                                      Subtotal
                                                                                                                                                                                                      $0.00
                                                                                   Product Details                                                                                                   Go to Cart


                                                                                                                                                                                                   Industrial
                                                                                                                                                                                                   Pendant Light
                                                                                                                                                                                                   Fixture, Small
                                                                                                                                                                                                   Pendant Li...
                                                                                                                                                                                                   was removed
     Universal Mounting Plate                         Wood-like Metal Part                             Hammered Metal Shade                        E26 Base & White Finish Inner                   from
                                                                                                                                                                                                   Shopping
     The vintage pendant light ﬁxture is easy to      The faux wood-look metal pieces of the           The dimpled, hammered ﬁnish of mid-         The black hanging light ﬁxture work with        Cart.
     install with a step-by-step instruction in the   industrial pendant light ﬁxture add a touch      century pendant light ﬁxture adds to the    E26 base bulb, including incandescent,
     package and an installation video on             of elegance and vintage charm to your            rustic farmhouse look.                      halogen, LED, CFL, and energy saving bulbs.
     Amazon.                                          space.




From the brand




                                                                        WILON LIGHTING specialises in the development,
                                                                        research, production and operation of lighting
                                                                        products. Taking inspiration from everyday life
                                                                        and applying it to our products, the company
                                                                        was founded on the principle that design and
                                                                        quality are important. We insist on original, up-
                                                                        to-date lighting designs and only produce high
                                                                        quality lighting pieces, designed for style and
                                                                        longevity. We welcome all customers to place
                                                                        orders from us.

                                                                                                                                      Black Pendant Light                                   Ceil
  WILON Farmhouse Pendant Light




Compare with similar items
                    This Item                                     Recommendations
                         Case 2:25-cv-00472-CB                                       Document 2-7                       Filed 04/10/25                   Page 33 of 227




                                                                                                                                                                                                       Subtotal
                                                                                                                                                                                                       $0.00

                                                                                                                                                                                                      Go to Cart


                                                                                                                                                                                                    Industrial
                                                                                                                                                                                                    Pendant Light
                                                                                                                                                                                                    Fixture, Small
                                                                                                                                                                                                    Pendant Li...
                                                                                                                                                                                                    was removed
                                                                                                                                                                                                    from
                                                                                                                                                                                                    Shopping
                                                                                                                                                                                                    Cart.


                    WILON 10.2'' Pendant Lights Kitchen Island,   WILON 12.2'' Blue Pendant Light,           ELYONA Hammered Pendant Light, 10.2”        ELYONA 3 Pack Pendant Lights for Kitchen
                    Black Pendant Light Fixtures, Industrial      Farmhouse Pendant Lights Kitchen Island,   Industrial Hanging Lamp with Solid Wood &   Island 7” Hammered Metal Solid Wood
                    Pendant Light with Hammered Metal Sha…        Industrial Pendant Light with Hammered…    Metal Shade, Modern Pendant Light Fixtur…   Small Hanging Light Fixtures Adjustable…

                        Add to cart                                   Add to cart                                Add to cart                                 Add to cart


Price               -17% $2999                                    -17% $2999                                 $
                                                                                                                 5499                                    $
                                                                                                                                                             9899
                    Typical: $35.99                               Typical: $35.99


Delivery                     FREE Delivery                                 FREE Delivery                              FREE Delivery                               FREE Delivery


Customer Ratings    4.5                11                         4.5                11                      4.7                385                      4.6                132

Sold By             QLSM Lighting                                 QLSM Lighting                              YQWC                                        YQWC

Material            Iron                                          Iron                                       FSC Certiﬁcation Rubber Wood, Handmade      FSC Certiﬁcation Solid Wood, Handmade
                                                                                                             Hammered Black Metal                        Hammered Black Metal

Light Source Type   —                                             LED                                        LED bulbs, Smart bulbs, Edison bulbs,       LED bulbs, Smart bulbs, Edison bulbs,
                                                                                                             incandescent bulbs, CFLs                    incandescent bulbs, CFLs

Bulb Base           e26                                           e26                                        e26                                         e26

Light Sources       1                                             1                                          1                                           1

Power Source        AC                                            AC                                         Corded Electric                             Corded Electric

Shade Material      Metal                                         Metal                                      Hammered Metal                              Hammered Metal

Style               Industrial                                    Farmhouse                                  Modern, Industrial, Farmhouse, Rustic,      Modern, Industrial, Farmhouse, Rustic,
                                                                                                             Retro, Vintage                              Retro, Vintage

Finish Type         —                                             Hammered                                   1538 ℃ Bake Painted & Solid Wood            1538 ℃ Bake Painted & Solid Wood
                                                                                                             Polishing Process                           Polishing Process

Mounting Type       Ceiling Mount                                 Ceiling Mount                              Ceiling Mount                               Ceiling Mount

Fixture Type        Non Removable                                 Non Removable                              Non Removable                               Non Removable

Shade Color         Black                                         Black                                      Black                                       Black
                            Case 2:25-cv-00472-CB                                     Document 2-7                            Filed 04/10/25                 Page 34 of 227




                                                                                                                                                                                                       Subtotal
                                                                                                                                                                                                       $0.00

                                                                                                                                                                                                      Go to Cart


                                                                                                                                                                                                    Industrial
                                                                                                                                                                                                    Pendant Light
                                                                                                                                                                                                    Fixture, Small
                                                                                                                                                                                                    Pendant Li...
                                                                                                                                                                                                    was removed
                                                                                                                                                                                                    from
                                                                                                                                                                                                    Shopping
                                                                                                                                                                                                    Cart.




Related products with free delivery
Sponsored




            Emak Modern               WILON Farmhouse          ELYONA Large Dome       Darkaway Industrial         Farmhouse Pendant          Black Hammered Metal     ELYONA 2 Pack
            Farmhouse Pendant         Pendant Light Fixture,   Pendant Light 16"       Pendant Light Fixtures      Lights, Adjustable         Dome Pendant Light for   Industrial Pendant
            Lights Kitchen Island,    10.2” Modern Black       Vintage Chandeliers     Ceiling Hanging with        Hanging Light Fixtures     Kitchen Island, Dining   Lights, 10.2” Hammered
            Black Pendant Light Fi…   Pendant lamp with Ha…    Rubber Wood & Black…    Hammered Metal Shad…        with Hammered Metal…       Room, Living Room, B…    Metal Solid Wood Han…
            4.6            29         4.1            8         4.8               36    4.7                 156     4.7                   76   4.5            21        4.7                 385
            $   5399                  $   5399                 -11% $7999              $   8599 ($43.00 / Count)       Amazon's Choice        $   4999                 $   11499 ($57.50 / Count)
            Save 10% with coupon      Save 20% with coupon     Typical: $89.99         Save 10% with coupon        $   5699                   Save 10% with coupon     Save $25.00 with
                                                               Save $10.00 with                                    Save 10% with coupon                                coupon
                                                               coupon




                                                                                                                                                                  Sponsored



Similar brands on Amazon
Sponsored
                          Case 2:25-cv-00472-CB                                        Document 2-7                           Filed 04/10/25                         Page 35 of 227




                                                                                                                                                                                                                    Subtotal
                                                                                                                                                                                                                    $0.00

                                                                                                                                                                                                                   Go to Cart


                                                                                                                                                                                                                 Industrial
                                                                                                                                                                                                                 Pendant Light
                                                                                                                                                                                                                 Fixture, Small
                                                                                                                                                                                                                 Pendant Li...
                                                                                                                                                                                                                 was removed
                                                                                                                                                                                                                 from
                                                                                                                                                                                                                 Shopping
                                                                                                                                                                                                                 Cart.

                         1-Light Pendant Light with Black Metal                        19.7" Wood Linen Dining Room Light                              UOUNE Pendant Lights Kitchen Island,
                         Glass Shade and Adjustable Cord…                              Fixture Large Boho Chandelier Farmhou…                          Black Pendant Light Fixtures, 36 Inch…
                         4.6               33                                          5.0               3                                             4.9              17
                         $47 99                                                        $139 99                                                         $32 99 Typical: $38 99

     Looking for speciﬁc info?




Customer reviews                                                  Reviews with images                                                                                                           See all photos

                4.5 out of 5
11 global ratings

5 star                                54%

4 star                                46%

3 star                                  0%

2 star                                  0%

1 star                                  0%                         Top reviews
                                                                   Top  reviews

How customer reviews and ratings work
                                                                  Top reviews from the United States

Review this product                                                     B

Share your thoughts with other customers                                        Beautiful and coordinates with the other pieces in this collection :)
                                                                  Reviewed in the United States on June 1, 2024
            Write a customer review                               Color: Blue Size: 1 Pack Amazon Vine Customer Review of Free Product ( What's this? )
                                                                  I ordered the more dome-like 10" pendants for an island, with this going over the sink area and it's all a
                                                                  very eﬀortlessly chic look, that is both a bit retro and light, but a bit homey and rustic as well.
                                                                  I love the color and inner contrasting cream tone, I Love the big honey wood 'bead' piece, and the cord that
                                                                  keeps it looking a bit lighter and casual (but the overall look is beautifully classy)
                                                                  Works with so much decor, and the pieces were easy to install.
                                                                  I recommend this particular large pendant/ mini chandelier, and collection!

                                                                      Helpful         Report



                                                                        eshopper
Case 2:25-cv-00472-CB                          Document 2-7                            Filed 04/10/25                     Page 36 of 227




                       Great blue color and high quality set
                                                                                                                                              Subtotal
         Reviewed in the United States on April 1, 2024
                                                                                                                                              $0.00
         Amazon Vine Customer Review of Free Product ( What's this? )
                                                                                                                                             Go to Cart
         I purchase it for my kitchen island. The color perfectly matched with the island color. I really like the Blue
         and brown color match of this pendant. It came as a 2-pack with all the necessary components. The
                                                                                                                                           Industrial
         ceramic bulb base is something hard to ﬁnd these days. which is perfect.                                                          Pendant Light
                                                                                                                                           Fixture, Small
                                                                                                                                           Pendant Li...
         The cable length is long enough to set it at the desired height.                                                                  was removed
                                                                                                                                           from
                                                                                                                                           Shopping
         Installation was as I expected, no surprises.                                                                                     Cart.

         There is one thing that forces me to cut 1 star. I wanted to remove the E26 MAX 60W label. When I tried to
         take it oﬀ the Brown paint came out with the sticker :( . I will keep it there until I ﬁnd a solution.




         One person found this helpful

             Helpful          Report


                GShultz

                       Great Quality and Style
         Reviewed in the United States on February 16, 2024
         Color: Black Size: 2 Pack Amazon Vine Customer Review of Free Product ( What's this? )
         WILON Black Pendant Lights 2 Pack Farmhouse Dining Room Lighting Fixtures
         These just happen to match perfectly with two gooseneck sconce lights I have on two columns between
         the kitchen and living room area in my house.
         I am using them over the peninsula cabinet that's within 8' of where one of the columns is located, so
         having the lights match is a deﬁnite plus.
         The overall quality of the lights are great and considering the price is for two of them, they're great value
         for the money.
         I've seen much smaller and less impressive lights at the home improvement retailers for about the same
         money.
         They are adjustable which is good considering the peninsula cabinet is an eat-at counter height, so my ﬁrst
         thought was to hang them down lower like a dining room ﬁxture, but if they're too obtrusive, I can raise
         them up higher later on without too much eﬀort.
         The installation is straightforward and what you would expect for this type of ﬁxture.
         The order was processed, shipped and received fast in excellent condition being well packed and protected.
         5-Stars!

             Helpful          Report



                SC

                       Looks great
         Reviewed in the United States on February 28, 2024
         Color: Black Size: 1 Pack Amazon Vine Customer Review of Free Product ( What's this? )
         If you're going for the farmhouse look, this light works great. But will caution you that the faux wood isn't
         very convincing at all. But other than that, the ﬁnish on the light is good and I don't notice any
         imperfections. Install was pretty easy as the circular mount gave me plenty of ﬂexibility. I also appreciated
         the mounting screws for the light itself was adjustable which made it easier for an improperly installed
Case 2:25-cv-00472-CB                         Document 2-7                            Filed 04/10/25                      Page 37 of 227




         junction box that was a bit too deep. I wish there was a paired bulb option, even at an extra cost, to match
                                                                                                                                              Subtotal
         the light. It was hard trying to ﬁnd a bulb that didn't look super tiny in the light.
                                                                                                                                              $0.00
             Helpful         Report                                                                                                          Go to Cart


                                                                                                                                           Industrial
               jo jo                                                                                                                       Pendant Light
                                                                                                                                           Fixture, Small
                       GREAT LAMP!                                                                                                         Pendant Li...
                                                                                                                                           was removed
         Reviewed in the United States on March 22, 2024                                                                                   from
         Color: Matte Black Size: 1 Pack Amazon Vine Customer Review of Free Product ( What's this? )                                      Shopping
                                                                                                                                           Cart.
         Nice looking and well made. Hammered metal exterior and white interior for good reﬂection. Shade is all
         metal and it's easy to put together.




             Helpful         Report



               P Papagiannakis

                       Gorgeous in quality and looks
         Reviewed in the United States on March 13, 2024
         Color: Blue Size: 1 Pack Amazon Vine Customer Review of Free Product ( What's this? )
         This is a very beautiful lamp. The color combination is very elegant. The gage of the metal is thick, not thin
         or ﬂimsy.
         Extremely easy to install and adjust the height. It can also serve as a hanging anywhere lamp by simply
         adding an extension.
         The quality of the lamp is very good and the hammered dome looks great!
         A great quality, excellent looking lamp!

             Helpful         Report



               Turkey Tail

                       Love this light
         Reviewed in the United States on March 3, 2024
         Color: Matte Black Size: 1 Pack Amazon Vine Customer Review of Free Product ( What's this? )
         It's a high quality ﬁxture. The bowl is heavy gauge metal and the ﬁnish is top notch. The inner white paint
         has a very nice gloss and the outer black looks like a satin to matte ﬁnish. The hammer accent is noticeable
         but not overpowering. The light socket is solid. Overall this thing is beautiful and would very much
         recommend it.




             Helpful         Report


               Vatech90

                       Love these lights
Case 2:25-cv-00472-CB                                          Document 2-7                               Filed 04/10/25                         Page 38 of 227




                     Reviewed in the United States on February 20, 2024
                                                                                                                                                                           Subtotal
                     Amazon Vine Customer Review of Free Product ( What's this? )
                                                                                                                                                                           $0.00
                     I have a lot of blue elements in my house and was trying to ﬁnd something to replace a couple of kitchen
                                                                                                                                                                          Go to Cart
                     ﬁxtures. This is such a nice shade of blue. I was afraid they were either be too dark and look black or be too
                     light and look “oﬀ”. These a nice muted blue which ﬁts with other items in my kitchen.
                                                                                                                                                                        Industrial
                                                                                                                                                                        Pendant Light
                          Helpful             Report                                                                                                                    Fixture, Small
                                                                                                                                                                        Pendant Li...
                                                                                                                                                                        was removed
                                                                                                                                                                        from
                     See more reviews                                                                                                                                   Shopping
                                                                                                                                                                        Cart.
                                                       ELYONA 2 Pack Industrial Pendant Lights, 10.2”
                                                       Hammered Metal Solid Wood Hanging Lamp...                      Shop now
                                                       $114.99                              385

                                                                                                                                 Sponsored




                                                                           Back to top




Get to Know Us                          Make Money with Us                               Amazon Payment Products                             Let Us Help You
Careers                                 Sell on Amazon                                   Amazon Visa                                         Your Account
Amazon                                  Sell apps on Amazon                              Amazon Store Card                                   Your Orders
Newsletter
                                        Supply to Amazon                                 Amazon Secured Card                                 Shipping Rates &
About Amazon                                                                                                                                 Policies
                                        Protect & Build Your                             Amazon Business Card
Accessibility                           Brand                                                                                                Amazon Prime
                                                                                         Shop with Points
Sustainability                          Become an Aﬃliate                                                                                    Returns &
                                                                                         Credit Card Marketplace                             Replacements
Press Center                            Become a Delivery Driver
                                                                                         Reload Your Balance                                 Manage Your
Investor Relations                      Start a Package Delivery
                                                                                         Gift Cards                                          Content and Devices
                                        Business
Amazon Devices
                                                                                         Amazon Currency Converter                           Recalls and Product
                                        Advertise Your Products                                                                              Safety Alerts
Amazon Science
                                        Self-Publish with Us                                                                                 Registry & Gift List
                                        Become an Amazon Hub                                                                                 Help
                                        Partner
                                        › See More Ways to Make
                                        Money




                                                                             English                  United States




Amazon Music         Amazon Ads                 6pm                     AbeBooks                  ACX                  Sell on Amazon               Veeqo
Stream millions      Reach customers            Score deals             Books, art                Audiobook            Start a Selling              Shipping Software
of songs             wherever they              on fashion brands       & collectibles            Publishing           Account                      Inventory
                     spend their time                                                             Made Easy                                         Management
Case 2:25-cv-00472-CB                                        Document 2-7                                 Filed 04/10/25                       Page 39 of 227




Amazon Business   Amazon Fresh             AmazonGlobal               Home Services             Amazon Web                Audible              Box Oﬃce Mojo
Everything For    Groceries & More         Ship Orders                Experienced Pros          Services                  Listen to Books &    Find Movie          Subtotal
Your Business     Right To Your Door       Internationally            Happiness                 Scalable Cloud            Original             Box Oﬃce Data       $0.00
                                                                      Guarantee                 Computing                 Audio
                                                                                                Services                  Performances
                                                                                                                                                                  Go to Cart
Goodreads         IMDb                     IMDbPro                    Kindle Direct             Amazon Photos             Prime Video Direct   Shopbop
Book reviews      Movies, TV               Get Info                   Publishing                Unlimited Photo           Video Distribution   Designer         Industrial
&                 & Celebrities            Entertainment              Indie Digital &           Storage                   Made Easy            Fashion Brands   Pendant Light
recommendations                            Professionals Need         Print Publishing          Free With Prime                                                 Fixture, Small
                                                                      Made Easy                                                                                 Pendant Li...
                                                                                                                                                                was removed
Amazon Resale     Whole Foods              Woot!                      Zappos                    Ring                      eero WiFi            Blink            from
Great Deals on    Market                   Deals and                  Shoes &                   Smart Home                Stream 4K Video      Smart Security   Shopping
Quality Used      America’s                Shenanigans                Clothing                  Security Systems          in Every Room        for Every Home   Cart.
Products          Healthiest
                  Grocery Store

                  Neighbors App            Amazon                     PillPack                  Amazon Renewed
                  Real-Time Crime          Subscription Boxes         Pharmacy                  Like-new products
                  & Safety Alerts          Top subscription           Simpliﬁed                 you can trust
                                           boxes – right to
                                           your door



                           Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure   Your Ads Privacy Choices
                                                         © 1996-2025, Amazon.com, Inc. or its aﬃliates
               Case 2:25-cv-00472-CB                                Document 2-7                 Filed 04/10/25        Page 40 of 227


                                                                    Checkout (1 item)
1     Shipping                     steven howard                                                            Change
      address                      223 4TH AVE                                                                                     Place your order
                                   PITTSBURGH, PA 15222-1717
                                                                                                                     By placing your order, you agree to Amazon's
                                   Add delivery instructions                                                             privacy notice and conditions of use.
                                   FREE pickup available nearby
                                   State • 2.2 mi (See details)                                                      Order Summary
                                   Change to pickup
                                                                                                                     Items:                                 $29.99
                                                                                                                     Shipping & handling:                    $0.00
2     Payment                      Paying with Visa 3651                                                    Change
                                                                                                                     Total before tax:                      $29.99
      method                       Billing address: steven howard, 1 N LA SALLE …                                    Estimated tax to be collected:          $1.80

                                    Add a gift card or promotion code or voucher                                     Order total:                         $31.79

                                    Enter code                          Apply
                                                                                                                     How are shipping costs calculated?
                                   Use Chase Ultimate Rewards points                                                 Prime shipping beneﬁts have been applied to
                                   $78.61 (9,827 points) available                                                   your order.


3     Review items and shipping

                Want to save time on your next order and go directly to this
                step when checking out?
               Default to this delivery address and payment method.




            Select FREE Amazon Day Delivery to receive orders in fewer boxes on a single day.


         Arriving Jan 24, 2025 If you order in the next 9 hours and 54 minutes (Details)
         Items shipped from Amazon.com
                           WILON 10.2'' Pendant                    Choose your Prime delivery option:
                           Lights Kitchen Island, Black              Friday, Jan 24
                           Pendant Light Fixtures,                   FREE Two Day Delivery
                           Industrial Pendant Light                  Monday, Jan 27
                           with Hammered Metal                       FREE Amazon Day Delivery
                           Shade, Farmhouse Pendant                     Lower carbon option
                           Light for Dining Room Over
                           Table Sink Bar Bedroom                  Or choose your pickup location:
                           $29.99                                      Pickup available nearby
                           Qty:                                        Choose a location
                            1Qty: 1
                           Sold by: QLSM Lighting
                                 Add gift options


                           Item arrives in packaging
                           that shows what’s inside. To
                           hide it, choose Ship in
                           Amazon packaging.

                             Ship in Amazon packaging




                                               Order total: $31.79
                 Place your order              By placing your order, you agree to Amazon's privacy notice and
                                               conditions of use.




*Why has sales tax been applied? See tax and seller information.

Need help? Check our Help pages or contact us
               Case 2:25-cv-00472-CB                              Document 2-7                  Filed 04/10/25           Page 41 of 227
For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
email notifying you that the item has been shipped.

Important information about sales tax you may owe in your state

You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
apply. See Amazon.com's Returns Policy.

Need to add more items to your order? Continue shopping on the Amazon.com homepage.
                              Case 2:25-cv-00472-CB                                               Document 2-7                                Filed 04/10/25                                Page 42 of 227




                         Deliver to steven
                                                    Tools & Home Improvement       Search Amazon
                                                                                                                                                                                               Hello, steven            Returns           0      Subtotal
                         Pittsburgh 15222                                                                                                                                               EN     Account & Lists          & Orders                 $0.00

                                                                                                                                                                                                                                                Go to Cart
  All        Rufus      Medical Care         Groceries       Keep Shopping For         Amazon Basics   Livestreams      Buy Again      Amazon Business           Pharmacy      Gift Cards    Shop By Interest        Subscribe & Save

                                                                                                                                                                                                                                              WILON 10.2''
 Tools & Home Improvement        Best Sellers     Deals & Savings   Gift Ideas   Power & Hand Tools    Lighting & Ceiling Fans    Kitchen & Bath Fixtures    Smart Home       Shop by Room   Launchpad      Amazon Business                   Pendant
                                                                                                                                                                                                                                              Lights Kitchen
                                                                                                                                                                                                                                              Island, Black
                                                Contemp. Transitional Brass LED Pendant, 7.5" Adjustable, Multi-room                    4.3                 73    -49% $57 19 $113.00                                                         ... was
                                                                                                                                                                                                                                              removed from
                                                                                                                                                                                                                                              Shopping
                                                                                                                                                                                                                                  Sponsored   Cart.
Tools & Home Improvement › Lighting & Ceiling Fans › Ceiling Lights › Pendant Lights


                                                                                                                         Pendant Light, Industrial Hanging
                                                                                                                         Light and Wood Hanging Light
                                                                                                                                                                                                  $
                                                                                                                                                                                                      3839
                                                                                                                                                                                                          Two-Day
                                                                                                                         Fixtures, Black Farmhouse                                                FREE Returns

                                                                                                                         Pendant Lighting for Kitchen,                                            FREE delivery Friday, January
                                                                                                                                                                                                  24. Order within 9 hrs 54 mins
                                                                                                                         Dining Room, Living Room,
                                                                                                                                                                                                       Deliver to steven - Pittsburgh
                                                                                                                         Hallway, Entryway                                                             15222
                                                                                                                         Visit the Ynzeﬂy Store
                                                                                                                         4.5            12 | Search this page                                     In Stock
                                                                                                                         $
                                                                                                                             38   39                                                              Quantity:
                                                                                                                                                                                                   1Quantity: 1


                                                                                                                                 Two-Day                                                                        Add to Cart
                                                                                                                         FREE Returns
                                                                                                                         30-day refund/replacement           |                                                      Buy Now
                                                                                                                         Product support included

                                                                                                                         Color: Black-1Pack                                                       Ships from Amazon
                                                                                                                                                                                                  Sold by    Changchengjie
  3+
                                                                                                                                                                                                  Returns         30-day
                                                                                                                                       $38.39                        $55.99
                                                                                                                                                                                                                  refund/replacement

                                                                                                                                                                                                  Support         Product support
                                                                                                                                                                                                                  included

                                                                                                                                   $82.49                        $159.99                               See more
                                                                                                                                   ($41.25 / Count)              ($53.33 / Count)
                                                                                                                                                                                                  Add a Protection Plan:
                                                                                                                                                                                                       4-Year Protection Plan for
                                                                                                                         Brand              Ynzeﬂy                                                     $7.99

                                                                                                                         Color              Black-1Pack                                                Asurion Complete Protect:
                                                                                                                                                                                                       One plan covers all eligible
                                                                                                                         Material           Wood, Iron, Metal
                                                                                                                                                                                                       past and future purchases
                                                                                                                         Style              Mid-Century Modern                                         (Renews Monthly Until
                                                                                                                         Light ﬁxture       Ceiling                                                    Cancelled) for
                                                                                                                         form                                                                          $16.99/month
                                                   Roll over image to zoom in
                                                                                                                                                                                                       Add a gift receipt for easy
                                                                                                                         About this item                                                               returns
                                                                                                                             Why Ynzeﬂy? Ynzeﬂy Store strive to provide unique,
                                                                                                                             designer lighting styles that are guaranteed to increase
                                                                                                                                                                                                      Add to List
                                                                                                                             the value of your home! Ynzeﬂy design and strong
                                                                                                                             manufacturer base allow us to Upgrade for more new
                         Case 2:25-cv-00472-CB                                            Document 2-7                              Filed 04/10/25                          Page 43 of 227




                                                                                                                   light ﬁxtures. See how much these upgraded light
                                                                                                                                                                                                                             Subtotal
                                                                                                                   ﬁxture bring changes and updates to your room.
                                                                                                                                                                                                                             $0.00
                                                                                                                   Who can install? It includes all the necessary mounting          Fast delivery during business
                                                                                                                                                                                                                            Go to Cart
                                                                                                                   hardware, video, and marker wire. With a small amount            hours, ﬂexible payment options.
                                                                                                                   of experience, some electronics knowledge, or self-
                                                                                                                                                                                                                          WILON 10.2''
                                                                                                                   learning via the Internet,Installation is very simple and                Create a free account         Pendant
                                                                                                                   you only need about 10 minutes to use them. Connect                                                    Lights Kitchen
                                                                                                                                                                                                                          Island, Black
                                                                                                                   your space to the wood pendent light ﬁxtures, and save                                                 ... was
                                                                                                                   the cost of hiring an electrician.                                                                     removed from
                                                                                                                                                                                                                          Shopping
                                                                                                                   Where is the right place to install it? The MAX length of                                              Cart.
                                                                                                                   the ﬁxture is 64 inches, and it comes in a number of
                                                                                                                   hanging lengths to choose from, so if your ceiling height
                                                                                                                   isn't as high as it should be, you can adjust the ﬁxture's                          Decorate your
                                                                                                                   wires can be adjusted to the length you want by turning                             home with our
                                                                                                                   the ring in the metal disk at the top. This industrial                              unique products

                                                                                                                   metal modernist light ﬁxture will provide accent lighting
                                                                                                                   depending on the location.                                   Adjustable Industrial Lamp Cage
                                                                                                                                                                                (Pack of 2) - Black Vintage Shades
                                                                                                                   The appearance of this Black Pendant Light Fixture
                                                                                                                   consists of inverted funnel lampshades and original
                                                                                                                                                                                $
                                                                                                                                                                                    30 00
                                                                                                                   wood grain parts, is a combination of modern industria
                                                                                                                                                                                                              Sponsored
                                                                                                                   style making the space feel more open.Kitchen Island
                                                                                                                   Pendant Light made of high-quality metal materials, the
                                                                                                                   surface after a good anti-rust treatment to ensure its
                                                                                                                   durability and will not fade.
                                                                                                                   The Ynzeﬂy's Solid Wood Pendant Light designed with
                                                                                                                   Ceramics E26 medium base socketwith a max power of
                                                                                                                   60W. Compatible with a variety of bulbs, including
                                                                                                                   Incandescent, LED, CFL, etc. (Note: bulbs are not
                                                                                                                   included.)
                                                                                                               › See more product details
                                                                                                                    Report an issue with this product or seller

                                                                                                                                                9MMML Industrial Small
                                                                                                                                                Pendant Lighting,
                                                                                                                                                Farmhouse Kitchen Island
                                                                                                                                                Hanging Lamp with Cord...

                                                                                                                                                              149
                                                                                                                                                $32.99
                                                                                                               Sponsored


Buy it with


                                                                                                                                Total price: $147.37

                                   +                                       +                                                        Add all 3 to Cart



                                                                                                                           These items are shipped from and sold by
                                                                                                                           diﬀerent sellers.
                                                                                                                           Show details
This item: Ynzeﬂy Pendant Light,       DAKAFUL Outdoor Wall Lights 2           Azdele Front Door Handle and
Industrial Hanging Light and           Packs, Integrated LED Cylinder Up       Deadbolt Set, Front Door Lock
Wood Hanging Light Fixtures,…          Down 12W 2700K Modern…                  Set, Exterior Door Lock Set, Fro…
$
    3839                               $
                                           5999 ($30.00/Count)                 $
                                                                                   4899
                                 Case 2:25-cv-00472-CB                                                        Document 2-7                                Filed 04/10/25                               Page 44 of 227




                                                                                                                                                                                                                                                        Subtotal
Discover similar items                                                                                                                                                                                                                                  $0.00

                                                                                                                                                                                                                                                       Go to Cart
    More ﬁlters                                          & Up         Number of Lights: 1            Number of Lights: 2           Black          Grey    Styles: Modern      Styles: Mid-Century       Light Type: LED   Light Type: Incandescent

                                                                                                                                                                                                                                                     WILON 10.2''
                                                                                                                                                                                                                                                     Pendant
                                                                                                                                                                                                                                                     Lights Kitchen
                                                                                                                                                                                                                                                     Island, Black
                                                                                                                                                                                                                                                     ... was
                                                                                                                                                                                                                                                     removed from
                                                                                                                                                                                                                                                     Shopping
                                                                                                                                                                                                                                                     Cart.




4.6                    929   4.3                 114 5.0                       1         3.2                 5      5.0                1     $
                                                                                                                                                 11999                4.1                2     $
                                                                                                                                                                                                   8200 List:$99.90       $
                                                                                                                                                                                                                              11295
$   2593 List:$56.95         $   3839                     $   8508                       $   12389                  $   9154                                          $   32999
      See more like this          See more like this          See more like this             See more like this         See more like this       See more like this       See more like this         See more like this       See more like this




$   5300 List:$77.90         $   6700 List:$109.90              5.0                1
                                                                $
                                                                    10495
      See more like this            See more like this              See more like this


                                                                                                                               Show more



Based on your recent views
Sponsored
                               Case 2:25-cv-00472-CB                                            Document 2-7                             Filed 04/10/25                         Page 45 of 227




                                                                                                                                                                                                                         Subtotal
                                                                                                                                                                                                                         $0.00

                                                                                                                                                                                                                        Go to Cart


                                                                                                                                                                                                                      WILON 10.2''
                                                                                                                                                                                                                      Pendant
                                                                                                                                                                                                                      Lights Kitchen
                                                                                                                                                                                                                      Island, Black
                                                                                                                                                                                                                      ... was
          ALAISLYC Black Matte        Industrial Pendant Light      Black Pendant Light, 2       DAKASON Black Pendant        Matte Black Mini           2-Light Pendant Island          Modern Black Pendant         removed from
                                                                                                                                                                                                                      Shopping
          Pendant Lights, Vintage     3 Pack, Black Adjustable      Packs 9.4inch Farmhouse      Light, LED Modern            Pendant Light 7.87in       Light, Dining Room Light        Light Fixtures, 11.8"        Cart.
          Dome Hanging Light          Hanging Light ﬁxtures         Pendant Light, Kitchen       Pendant Light Fixture for    Cone Kitchen Island        Fixtures Adjustable             Farmhouse Wood
          Fixtures, Adjustable He…    for Kitche...                 Pendant Light...             Kitchen Island, Industri…    Pendant Lighting with…     Hanging Lights ...              Pendant Lighting, Indu…
          5.0                 13      4.5                 21        5.0                 11       4.2                42        5.0             16         -7% $11999                      4.6                   31
          $
              7999 ($26.66 / Count)   $
                                          9999 ($33.33 / Count)     $
                                                                        6999 ($35.00 / Count)    $
                                                                                                     3999                     $
                                                                                                                                  3395                   Typical: $129.59                $
                                                                                                                                                                                             5990
                                      Save 10% with coupon           Save 5% with coupon                                      Save 6% with coupon        Save $10.00 with
                                                                                                                                                         coupon



4 stars and above
Sponsored




          Audickic Minimalist         Darkaway Industrial           Matte Black Farmhouse        Black Wood Nordic            JULiN HOME LED             Febeleven Matte Black           Farmhouse Pendant
          Pendant Lighting for        Pendant Light Fixtures        Pendant Lights Kitchen       Pendant Light for            Dimmable Pendant Light     Vintage Industrial              Lights, Adjustable
          Kitchen Island, 3-Pack      Ceiling Hanging with          Island Lighting, 12 Inch     Kitchen Island, 3-Pack       for Kitchen Island, Bar,   Pendant Lights,                 Hanging Light Fixtures
          Hanging Light Fixtures…     Hammered Metal Shad…          Vintage Oil R...             Modern Small Pendant…        Dining Room, Bedside,…     Adjustable Height, for…         with Hammered Metal…
          4.6                 223     4.7                 156       4.5                 397      4.2                234       4.6             112        4.7                    79       4.7                   76
          $
              9999                    $
                                          5499                      $
                                                                        6881 ($34.41 / Count)    -20% $7999                   -5% $5319                  $
                                                                                                                                                             11999 ($60.00 / Count)          Amazon's Choice

                                      Save 10% with coupon                                       ($26.66 / Count)             List: $55.99               Save $10.00 with                $
                                                                                                                                                                                             5699
                                                                                                 List: $99.90                 Save 10% with coupon       coupon                          Save 10% with coupon
                                                                                                 Save 10% with coupon




Product information

Technical Details                                                                                                   Additional Information

  Brand                                                   Ynzefly                                                   ASIN                                                  B0CKH7WK7C

  Color                                                   Black-1Pack                                               Customer Reviews                                      4.5                12
                                                                                                                                                                          4.5 out of 5 stars
  Material                                                Wood, Iron, Metal
                                                                                                                    Best Sellers Rank                                     #262,142 in Tools & Home Improvement (See
  Style                                                   Mid-Century Modern                                                                                              Top 100 in Tools & Home Improvement)
                                                                                                                                                                          #1,381 in Pendant Light Fixtures
  Light ﬁxture form                                       Ceiling
                       Case 2:25-cv-00472-CB                     Document 2-7            Filed 04/10/25                        Page 46 of 227




Room Type                        Kitchen, Living Room, Dining Room       Date First Available                               October 5, 2023                                     Subtotal
                                                                                                                                                                                $0.00
Product Dimensions               64"L x 9.8"W x 64"H
                                                                         Warranty & Support                                                                                    Go to Cart
Speciﬁc Uses For Product         Home
                                                                         Amazon.com Return Policy: Amazon.com Voluntary 30-Day Return Guarantee: You can return
                                                                                                                                                                             WILON 10.2''
Indoor/Outdoor Usage             Indoor                                  many items you have purchased within 30 days following delivery of the item to you. Our Voluntary   Pendant
                                                                         30-Day Return Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out   Lights Kitchen
Power Source                     Corded Electric                                                                                                                             Island, Black
                                                                         more about the exceptions and conditions here.                                                      ... was
                                                                                                                                                                             removed from
Installation Type                Semi Flush Mount                                                                                                                            Shopping
                                                                         Product Warranty: For warranty information about this product, please click here                    Cart.
Special Feature                  Adjustable Height
                                                                         Feedback
Control Method                   App
                                                                         Would you like to tell us about a lower price?
Light Source Type                LED, Incandescent, CFL

Shade Material                   Metal

Number of Light Sources          1

Voltage                          110 Volts (DC)

Shape                            Triangular

Included Components              Shade

Warranty Type                    Limited

Item Weight                      3 Pounds

Number of Items                  1

Wattage                          60 watts

Bulb Base                        E26 Medium

Controller Type                  Ring

Switch Type                      Push Button

Unit Count                       1.0 Count

Mounting Type                    Ceiling Mount

Shade Color                      Black

Fixture Type                     Removable

Assembly Required                Yes

Manufacturer                     Ynzefly

UPC                              768497925595

Recommended Uses For Product     indoor

Model Name                       Y28-1

Part Number                      Y28

Item Weight                      3 pounds

Country of Origin                China
                          Case 2:25-cv-00472-CB                                    Document 2-7                            Filed 04/10/25                      Page 47 of 227




  Item model number                                Y28-1PCS                                                                                                                                                 Subtotal
                                                                                                                                                                                                            $0.00
  Special Features                                 Adjustable Height
                                                                                                                                                                                                           Go to Cart
  Batteries Included?                              No
                                                                                                                                                                                                         WILON 10.2''
  Batteries Required?                              No                                                                                                                                                    Pendant
                                                                                                                                                                                                         Lights Kitchen
                                                                                                                                                                                                         Island, Black
                                                                                                                                                                                                         ... was
                                                                                                                                                                                                         removed from
                                                                                                                                                                                                         Shopping
Product details                                                                                                                                                                                          Cart.
  Product Dimensions : 64 x 9.8 x 64 inches; 3 Pounds
  Item model number : Y28-1PCS
  Date First Available : October 5, 2023
  Manufacturer : Ynzeﬂy
  ASIN : B0CKH7WK7C
  Country of Origin : China
  Customer Reviews:
  4.5             12




Inspiration from this brand

                Ynzeﬂy
                                               + Follow
                Visit the Store on Amazon




              Give your space an industrial        Create a cozy, charming          The chandelier is a beautiful brass      We'll help create a savings of over         Add Rustic Charm to Your
           edge with our Black and Gold Pen…    atmosphere in your bathroom wit…    and matte black. The brass is a sop…     47% by oﬀering more aﬀordable l…      Kitchen Island with a Natural-Style




What's in the box
        Shade




Videos
                           Case 2:25-cv-00472-CB                           Document 2-7                Filed 04/10/25              Page 48 of 227




       Videos for this product                                                                                                                         Subtotal
                                                                                                                                                       $0.00

                                                                                                                                                      Go to Cart


                                                                                                                                                    WILON 10.2''
                                                                                                                                                    Pendant
                                                                                                                                                    Lights Kitchen
                                                                                                                                                    Island, Black
                                                                                                                                                    ... was
                                                                                                                                                    removed from
                                                  1:28                                                                                              Shopping
                                                                                                                                                    Cart.
                Before and After Full Step by
                Step Light Install in Stairwell
                Michelle




 Upload your video



Product Description


                                                         YNZEFLY PENDANT LIGHT FIXTURE



                                          The entire pendant light wiring has been connected, and you just need to assemble it to use.
Case 2:25-cv-00472-CB                 Document 2-7           Filed 04/10/25        Page 49 of 227




                                                                                                       Subtotal
           Multiple Styles of Lamps      Adjustable Height    Wood Natural Grain                       $0.00

                                                                                                      Go to Cart


                                                                                                    WILON 10.2''
                                                                                                    Pendant
                                                                                                    Lights Kitchen
                                                                                                    Island, Black
                                                                                                    ... was
                                                                                                    removed from
                                                                                                    Shopping
                                                                                                    Cart.
Case 2:25-cv-00472-CB                Document 2-7                         Filed 04/10/25         Page 50 of 227




                                                                                                                     Subtotal
                         Rustic & Farmhouse Style               Plenty of Light                                      $0.00

                                                                                                                    Go to Cart


                                                                                                                  WILON 10.2''
                                                                                                                  Pendant
                                                                                                                  Lights Kitchen
                                                                                                                  Island, Black
                                                                                                                  ... was
                                                                                                                  removed from
                                                                                                                  Shopping
                                                                                                                  Cart.




             Chic Simple Style              Height Adjustable                     Full service
                     Case 2:25-cv-00472-CB                                    Document 2-7                    Filed 04/10/25                     Page 51 of 227




                                                                                                                                                                                         Subtotal
                                                                                                                                                                                         $0.00

                                                                                                                                                                                        Go to Cart

    Excellent Production Process                Solid Wood From YNZEFLY                      Ceramic E26 Bulbs Base                       Professional
                                                                                                                                                                                      WILON 10.2''
    Made from high-quality metal to ensure it   YNZEFLY made real wood light from            YNZEFLY ceramic socket base extends the      YNZEFLY has experienced designers. The      Pendant
                                                                                                                                                                                      Lights Kitchen
    remains as new in the years to come.        traditional craftsmen, with the natural      life of the sconce wall lighting to the      Company to ensure stable high quality of    Island, Black
                                                texture of real wood and a surface that is   maximum extent so you can save the cost of   products, our leading products cover full   ... was
                                                                                                                                                                                      removed from
                                                not easily scratched or worn.                frequent bulbs replacement.                  series of Home lighting.                    Shopping
                                                                                                                                                                                      Cart.




             Q         Is the color of the Farmhouse Wood Pendant Light the same as the picture?



             Q         Why should I choose Ynzeﬂy lights?




From the brand
                         Case 2:25-cv-00472-CB                                    Document 2-7                          Filed 04/10/25                      Page 52 of 227




                                                                                                                                                                                                            Subtotal
                                                                                                                                                                                                            $0.00

                                                                                                                                                                                                           Go to Cart


                                                                                                                                                                                                         WILON 10.2''
Compare with similar items                                                                                                                                                                               Pendant
                                                                                                                                                                                                         Lights Kitchen
                                                                                                                                                                                                         Island, Black
                    This Item                                  Recommendations                                                                                                                           ... was
                                                                                                                                                                                                         removed from
                                                                                                                                                                                                         Shopping
                                                                                                                                                                                                         Cart.




                    Ynzeﬂy Pendant Light, Industrial Hanging   SESIMENT Farmhouse Pendant Lighting for       Mxsaoud Modern Black Pendant Light Over        Mgcanyu Black Pendant Lights Kitchen
                    Light and Wood Hanging Light Fixtures,     Kitchen Island,Black and Gold Dome            Kitchen Island, Adjustable Wood Hanging        Island, 11.8" Hammered Metal Black Dome
                    Black Farmhouse Pendant Lighting for…      Pendant Light Fixtures, Industrial Hanging…   Light Fixture,Industrial Pendant Lighting f…   Pendant Lighting Black and Wood Pendan…

                        Add to cart                                Add to cart                                   Add to cart                                    Add to cart


Price               $
                        3839                                   $
                                                                   6799                                      $
                                                                                                                 3999                                       -10% $5669
                                                                                                                                                            Typical price: $62.99


Delivery                     FREE Delivery                              FREE Delivery                                 FREE Delivery                                  FREE Delivery


Customer Ratings    4.5                12                      4.6                85                         4.8                252                         4.5                 65

Sold By             Changchengjie                              BMH LIGHTING                                  Mxsaoud                                        AuYu light

Material            Iron, Wood, Metal                          Metal                                         Metal                                          Metal, Wood

Light Source Type   LED, Incandescent, CFL                     Halogen, LED, Fluorescent, Incandescent       Compact ﬂuorescent,led, incandescent           LED, Incandescent, CFL (Bulb Not Included)

Bulb Base           e26 medium                                 e26                                           e26                                            e26

Light Sources       1                                          2                                             1                                              1

Power Source        Corded Electric                            Corded Power                                  AC/DC                                          AC

Shade Material      Metal                                      Metal                                         Metal                                          Iron

Style               Mid-Century Modern                         Farmhouse; Industrial                         Contemporary,classic,vintage,modern,indust     Modern

Finish Type         —                                          Lacquer,Matte Black                           Powder Coated                                  Matte Black

Mounting Type       Ceiling Mount                              Ceiling Mount                                 Monopoint with Canopy                          Ceiling Mount

Fixture Type        Removable                                  Non Removable                                 Non Removable                                  Non Removable

Shade Color         Black                                      Black                                         black + wood                                   Black
                               Case 2:25-cv-00472-CB                                   Document 2-7                              Filed 04/10/25                    Page 53 of 227




                                                                                                                                                                                                         Subtotal
                                                                                                                                                                                                         $0.00

                                                                                                                                                                                                        Go to Cart


                                                                                                                                                                                                      WILON 10.2''
                                                                                                                                                                                                      Pendant
                                                                                                                                                                                                      Lights Kitchen
                                                                                                                                                                                                      Island, Black
                                                                                                                                                                                                      ... was
                                                                                                                                                                                                      removed from
                                                                                                                                                                                                      Shopping
                                                                                                                                                                                                      Cart.




Related products with free delivery
Sponsored




            2-Light Pendant Island     Black Pendant Lights      Ziqqeelam 20.5"            Black Farmhouse             Industrial Pendant Light    Matte Black Mini         Darkaway Industrial
            Light, Dining Room Light   Kitchen Island 2-Light,   Farmhouse Pendant          Pendant Lights Matte        3 Pack, Black Adjustable    Pendant Light 7.87in     Pendant Light Fixtures
            Fixtures Adjustable        Black Dome Pendant        Light Fixture, Black and   Pendant Lighting for        Hanging Light ﬁxtures       Cone Kitchen Island      Ceiling Hanging with
            Hanging Lights ...         Light, Modern Dinin...    Gold, Vintage Wood Gr…     Kitchen Island Industri…    for Kitche...               Pendant Lighting with…   Hammered Metal Shad…
            -7% $11999                 5.0              5        4.7             3          5.0                 13      4.5                 21      5.0            16        4.7           156
            Typical: $129.59           $
                                           12999                 $
                                                                     12999                  $
                                                                                                6999 ($35.00 / Count)   $
                                                                                                                            9999 ($33.33 / Count)   $
                                                                                                                                                        3395                 $
                                                                                                                                                                                 5499
            Save $10.00 with           Save $20.00 with          Save 15% with coupon                                   Save 10% with coupon        Save 6% with coupon      Save 10% with coupon
            coupon                     coupon




Similar brands on Amazon
Sponsored
                          Case 2:25-cv-00472-CB                                         Document 2-7                       Filed 04/10/25                          Page 54 of 227




                         19.7" Wood Linen Dining Room Light                             LOFTPLUS Farmhouse Chandelier 6-Light                       TSMKLEDAN 6-Light Farmhouse Candle                             Subtotal
                         Fixture Large Boho Chandelier Farmhou…                         Black Dining Room Light Fixture with…                       Chandelier for Dining Room, Black Rusti…                       $0.00
                         5.0               3                                            4.8            8                                            4.5               5
                                                                                                                                                                                                                  Go to Cart


     Looking for speciﬁc info?                                                                                                                                                                                  WILON 10.2''
                                                                                                                                                                                                                Pendant
                                                                                                                                                                                                                Lights Kitchen
                                                                                                                                                                                                                Island, Black
                                                                                                                                                                                                                ... was
                                                                                                                                                                                                                removed from
                                                                                                                                                                                                                Shopping
                                                                                                                                                                                                                Cart.


Customer reviews                                              Reviews with images                                                                                                              See all photos

                4.5 out of 5
12 global ratings

5 star                                77%

4 star                                  0%

3 star                                23%

2 star                                  0%

1 star                                  0%                        Top reviews
                                                                  Top  reviews

How customer reviews and ratings work
                                                              Top reviews from the United States

Review this product                                                    Amazon Customer

Share your thoughts with other customers                                    Very stylish good quality
                                                              Reviewed in the United States on December 28, 2024
            Write a customer review                           Color: Wood Grain-2Pack Veriﬁed Purchase
                                                              Used over our island just popped & made it look great.

                                                                     Helpful        Report



                                                                       William Darden

                                                                            Stylish Kitchen Light
                                                              Reviewed in the United States on January 5, 2024
                                                              Color: Black-1Pack Veriﬁed Purchase
                                                              Could not tell the size relative to the kitchen room. We have to wait till the kitchen is ﬁnished and so we
                                                              can see how the light ﬁts above the table. May be 2 more weeks before we can tell.

                                                                     Helpful        Report



                                                                       Tjab

                                                                            Great looking lights
                                                              Reviewed in the United States on September 3, 2024
                                                              Color: Wood Grain-2Pack Veriﬁed Purchase
                                                              Love these lights. They changed the whole look oh my island. Good value for the price.
Case 2:25-cv-00472-CB                          Document 2-7                          Filed 04/10/25                      Page 55 of 227




             Helpful            Report                                                                                                       Subtotal
                                                                                                                                             $0.00

                caroline j. christian                                                                                                       Go to Cart


                       Entry light                                                                                                        WILON 10.2''
         Reviewed in the United States on April 8, 2024                                                                                   Pendant
                                                                                                                                          Lights Kitchen
         Color: Wood Grain-1Pack Veriﬁed Purchase                                                                                         Island, Black
                                                                                                                                          ... was
         Love this cute little light in our entryway. It's unique and well made.                                                          removed from
                                                                                                                                          Shopping
                                                                                                                                          Cart.




             Helpful            Report



                christina

                       Great Quality rustic and modern
         Reviewed in the United States on March 9, 2024
         Color: Wood Grain-2Pack Veriﬁed Purchase
         Just what I hoped for




             Helpful            Report



                gingersp

                       Nice light for the money
         Reviewed in the United States on April 14, 2024
         Color: Wood Grain-1Pack Amazon Vine Customer Review of Free Product ( What's this? )
         Great light for the money the quality is great. A smooth ﬁnish that is even throughout.

         It came with everything i needed for installation except the light bulb it does take a standard bulb which is
         nice you can make it as bright as you want.

         It would be nice if it had a change makes me a little nervous hanging from the power cord.




             Helpful            Report



                T.Dixon

                       Very nice light
         Reviewed in the United States on March 29, 2024
Case 2:25-cv-00472-CB                                     Document 2-7                             Filed 04/10/25                   Page 56 of 227




                     Color: Wood Grain-1Pack      Amazon Vine Customer Review of Free Product ( What's this? )
                                                                                                                                                          Subtotal
                     The Ynzeﬂy Pendant light is the perfect touch to light up and spruce up my staircase. Already getting                                $0.00
                     compliments and it has only been up for a short time. A great buy for the price.
                                                                                                                                                         Go to Cart
                         Helpful         Report
                                                                                                                                                       WILON 10.2''
                                                                                                                                                       Pendant
                                                                                                                                                       Lights Kitchen
                           David                                                                                                                       Island, Black
                                                                                                                                                       ... was
                                   Detailed and authentic-feeling                                                                                      removed from
                                                                                                                                                       Shopping
                     Reviewed in the United States on February 8, 2024                                                                                 Cart.
                     Amazon Vine Customer Review of Free Product ( What's this? )
                     Used this as a foyer light and the wood detail is my favorite part. The hammered texture is quality and
                     does not look fabricated at all. The white on the inside helps to pop the light below and would buy this
                     item again. Feels a bit heritage and reminds me of world market a bit.

                         Helpful         Report



                     See more reviews




                                                                      Back to top




Get to Know Us                     Make Money with Us                             Amazon Payment Products                       Let Us Help You
Careers                            Sell on Amazon                                 Amazon Visa                                   Your Account
Amazon                             Sell apps on Amazon                            Amazon Store Card                             Your Orders
Newsletter
                                   Supply to Amazon                               Amazon Secured Card                           Shipping Rates &
About Amazon                                                                                                                    Policies
                                   Protect & Build Your                           Amazon Business Card
Accessibility                      Brand                                                                                        Amazon Prime
                                                                                  Shop with Points
Sustainability                     Become an Aﬃliate                                                                            Returns &
                                                                                  Credit Card Marketplace                       Replacements
Press Center                       Become a Delivery Driver
                                                                                  Reload Your Balance                           Manage Your
Investor Relations                 Start a Package Delivery
                                                                                  Gift Cards                                    Content and Devices
                                   Business
Amazon Devices
                                                                                  Amazon Currency Converter                     Recalls and Product
                                   Advertise Your Products                                                                      Safety Alerts
Amazon Science
                                   Self-Publish with Us                                                                         Registry & Gift List
                                   Become an Amazon Hub                                                                         Help
                                   Partner
                                   › See More Ways to Make
                                   Money




                                                                        English                United States
Case 2:25-cv-00472-CB                                        Document 2-7                                 Filed 04/10/25                       Page 57 of 227




                                                                                                                                                                      Subtotal
Amazon Music      Amazon Ads               6pm                        AbeBooks                  ACX                       Sell on Amazon       Veeqo                  $0.00
Stream millions   Reach customers          Score deals                Books, art                Audiobook                 Start a Selling      Shipping Software
of songs          wherever they            on fashion brands          & collectibles            Publishing                Account              Inventory             Go to Cart
                  spend their time                                                              Made Easy                                      Management

Amazon Business   Amazon Fresh             AmazonGlobal               Home Services             Amazon Web                Audible              Box Oﬃce Mojo       WILON 10.2''
Everything For    Groceries & More         Ship Orders                Experienced Pros          Services                  Listen to Books &    Find Movie          Pendant
Your Business     Right To Your Door       Internationally            Happiness                 Scalable Cloud            Original             Box Oﬃce Data       Lights Kitchen
                                                                      Guarantee                 Computing                 Audio                                    Island, Black
                                                                                                Services                  Performances                             ... was
                                                                                                                                                                   removed from
Goodreads         IMDb                     IMDbPro                    Kindle Direct             Amazon Photos             Prime Video Direct   Shopbop             Shopping
Book reviews      Movies, TV               Get Info                   Publishing                Unlimited Photo           Video Distribution   Designer            Cart.
&                 & Celebrities            Entertainment              Indie Digital &           Storage                   Made Easy            Fashion Brands
recommendations                            Professionals Need         Print Publishing          Free With Prime
                                                                      Made Easy

Amazon Resale     Whole Foods              Woot!                      Zappos                    Ring                      eero WiFi            Blink
Great Deals on    Market                   Deals and                  Shoes &                   Smart Home                Stream 4K Video      Smart Security
Quality Used      America’s                Shenanigans                Clothing                  Security Systems          in Every Room        for Every Home
Products          Healthiest
                  Grocery Store

                  Neighbors App            Amazon                     PillPack                  Amazon Renewed
                  Real-Time Crime          Subscription Boxes         Pharmacy                  Like-new products
                  & Safety Alerts          Top subscription           Simpliﬁed                 you can trust
                                           boxes – right to
                                           your door



                           Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure   Your Ads Privacy Choices
                                                         © 1996-2025, Amazon.com, Inc. or its aﬃliates
               Case 2:25-cv-00472-CB                                Document 2-7                 Filed 04/10/25        Page 58 of 227


                                                                    Checkout (1 item)
1     Shipping                     steven howard                                                            Change
      address                      223 4TH AVE                                                                                     Place your order
                                   PITTSBURGH, PA 15222-1717
                                                                                                                     By placing your order, you agree to Amazon's
                                   Add delivery instructions                                                             privacy notice and conditions of use.
                                   FREE pickup available nearby
                                   State • 2.2 mi (See details)                                                      Order Summary
                                   Change to pickup
                                                                                                                     Items:                                 $38.39
                                                                                                                     Shipping & handling:                    $0.00
2     Payment                      Paying with Visa 3651                                                    Change
                                                                                                                     Total before tax:                      $38.39
      method                       Billing address: steven howard, 1 N LA SALLE …                                    Estimated tax to be collected:          $2.30

                                    Add a gift card or promotion code or voucher                                     Order total:                         $40.69

                                    Enter code                          Apply
                                                                                                                     How are shipping costs calculated?
                                   Use Chase Ultimate Rewards points                                                 Prime shipping beneﬁts have been applied to
                                   $78.61 (9,827 points) available                                                   your order.


3     Review items and shipping

                Want to save time on your next order and go directly to this
                step when checking out?
               Default to this delivery address and payment method.




            Select FREE Amazon Day Delivery to receive orders in fewer boxes on a single day.


         Arriving Jan 24, 2025 If you order in the next 9 hours and 52 minutes (Details)
         Items shipped from Amazon.com
                           Ynzeﬂy Pendant Light,                   Choose your Prime delivery option:
                           Industrial Hanging Light                  Friday, Jan 24
                           and Wood Hanging Light                    FREE Two Day Delivery
                           Fixtures, Black Farmhouse                 Monday, Jan 27
                           Pendant Lighting for                      FREE Amazon Day Delivery
                           Kitchen, Dining Room,                        Lower carbon option
                           Living Room, Hallway,
                           Entryway                                Or choose your pickup location:
                           $38.39                                      Pickup available nearby
                           & FREE Returns                              Choose a location
                           Qty:
                            1Qty: 1
                           Sold by: Changchengjie
                                 Add gift options




                                               Order total: $40.69
                 Place your order              By placing your order, you agree to Amazon's privacy notice and
                                               conditions of use.




*Why has sales tax been applied? See tax and seller information.
Need help? Check our Help pages or contact us
For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message
acknowledging receipt of your order. Your contract to purchase an item will not be complete until we send you an
email notifying you that the item has been shipped.

Important information about sales tax you may owe in your state
               Case 2:25-cv-00472-CB                             Document 2-7                   Filed 04/10/25           Page 59 of 227
You may return new, unopened merchandise in original condition within 30 days of delivery. Exceptions and restrictions
apply. See Amazon.com's Returns Policy.

Need to add more items to your order? Continue shopping on the Amazon.com homepage.
                              Case 2:25-cv-00472-CB                                               Document 2-7                                Filed 04/10/25                                 Page 60 of 227




                         Deliver to steven
                                                    Tools & Home Improvement        Search Amazon
                                                                                                                                                                                                                   Hello, steven              Returns           0
                         Pittsburgh 15222                                                                                                                                                                  EN      Account & Lists            & Orders


  All        Rufus      Medical Care         Groceries        Keep Shopping For        Amazon Basics   Livestreams      Buy Again      Amazon Business           Pharmacy       Gift Cards     Shop By Interest     Subscribe & Save

 Tools & Home Improvement        Best Sellers      Deals & Savings   Gift Ideas   Power & Hand Tools   Lighting & Ceiling Fans   Kitchen & Bath Fixtures       Smart Home     Shop by Room     Launchpad    Amazon Business


                                                Modern Ash Wood Pendant Light (12'' Nordic White/Gold) - Farmhouse, Kitchen, Dining, Bedroom, Living, Hallway                         4.3            20     $
                                                                                                                                                                                                                54 99
                                                                                                                                                                                                                                                        Sponsored
Tools & Home Improvement › Lighting & Ceiling Fans › Ceiling Lights › Pendant Lights


                                                                                                                                 2 Pack Kitchen Pendant Light
                                                                                                                                 Fixtures,Farmhouse Pendant Light
                                                                                                                                                                                                                        $
                                                                                                                                                                                                                            3999 ($20.00 / Count)
                                                                                                                                                                                                                                Two-Day
                                                                                                                                 Solid Wood Hammered Black Metal                                                        FREE Returns

                                                                                                                                 Shade,70 inch Adjustable Cable for                                                     FREE delivery Friday, January
                                                                                                                                                                                                                        24. Order within 9 hrs 51 mins
                                                                                                                                 Kitchen Island, Bedroom, Dining Hall,
                                                                                                                                                                                                                             Deliver to steven - Pittsburgh
                                                                                                                                 E26 Base                                                                                    15222
                                                                                                                                 Brand: Ziqili
                                                                                                                                 4.7                4 | Search this page                                                Only 17 left in stock - order
                                                                                                                                                                                                                        soon.
                                                                                                                                 $
                                                                                                                                     3999 ($20.00 / Count)                                                              Quantity:
                                                                                                                                                                                                                         1Quantity: 1
                                                                                                                                 -27% Typical price: $54.88

                                                                                                                                         Two-Day                                                                                      Add to Cart
                                                                                                                                 FREE Returns
                                                                                                                                                                                                                                          Buy Now
                                                                                                                                    Coupon:           Apply 20% coupon Terms
                                                                                                                                 30-day refund/replacement                                                                                    Amazon
                                                                                                                                                                                                                        Ships from
  3+                                                                                                                                                                                                                                          ZIQILI
                                                                                                                                  Color: Black                                                                          Sold by
                                                                                                                                                                                                                        Returns               30-day
                                                                                                                                                                                                                                              refund/replacem
                                                                                                                                                 $29.99                     $29.99
                                                                                                                                                                                                                                              ent
                                                                                                                                                                            ($15.00 / Count)
                                                                                                                                                                                                                        Customer service Amazon
                                                                                                                                                                                                                          See more
                                                                                                                                            $29.99                          $39.99
                                                                                                                                            ($15.00 / Count)                ($20.00 / Count)                            Add a Protection Plan:
                                                                                                                                                                                                                             4-Year Protection Plan for
                                                                                                                                                                                                                             $7.99
                                                                                                                                 Brand                Ziqili                                                                 Asurion Complete Protect:
                                                                                                                                 Color                Black                                                                  One plan covers all eligible
                                                                                                                                                                                                                             past and future purchases
                                                                                                                                 Material             Wood, Metal
                                                                                                                                                                                                                             (Renews Monthly Until
                                                                                                                                 Style                Modern                                                                 Cancelled) for
                                                        Roll over image to zoom in                                               Light ﬁxture         Pendant                                                                $16.99/month
                                                                                                                                 form
                                                                                                                                                                                                                             Add a gift receipt for easy
                                                                                                                                                                                                                             returns
                                                                                                                                 About this item
                                                                                                                                       【 Hammered Metal Pendant Light Fixtures】: The designer
                                                                                                                                                                                                                            Add to List
                                                                                                                                       refers to the American home decoration style and chooses the
                                                                                                                                       lamp base as solid walnut wood as an important part of the
                          Case 2:25-cv-00472-CB                                       Document 2-7                          Filed 04/10/25                        Page 61 of 227




                                                                                                                  lamp.It can match any scene at home.The lampshade is hand-
                                                                                                                  hammered, which is more special and higher quality than
                                                                                                                  ordinary metal lampshades.This ceiling chandelier is very
                                                                                                                                                                                        Fast delivery during business
                                                                                                                  suitable for any style decoration from modern industrial to
                                                                                                                                                                                        hours, ﬂexible payment options.
                                                                                                                  farmhouse.It is a good idea for your restaurant, kitchen island,
                                                                                                                  powder room, dressing table, mirror cabinet, dressing table,
                                                                                                                                                                                                Create a free account
                                                                                                                  foyer, corridor, bathroom, coﬀee shop, art display.
                                                                                                                  【Adjustable cable 】: Cable Length: 70.86 inches.You can hang
                                                                                                                  higher or lower according to your needs, suitable for a variety of
                                                                                                                  hanging positions, and compatible with diﬀerent types of
                                                                                                                  ceiling designs, even tilted ceilings are highly adaptable.The
                                                                                                                  ceiling light can be widely used in vaulted ceilings, slanted
                                                                                                                  ceilings, and ﬂat ceilings.
                                                                                                                  【Compatible with any E26 bulb】: You can use any E26
                                                                                                                  standard bottom bulb (up to 60W per bulb), such as LED (up to
                                                                                                                  60W).Compatible with CFL, incandescent and halogen bulbs             Modern Rubber Wood Matte Black…
                                                                                                                  (bulbs not included). Allows you to choose other diﬀerent styles     4.8               36
                                                                                                                  of bulbs and color temperatures to create a variety of               $54 99
                                                                                                                                                                                                $58.99
                                                                                                                  atmospheres for your house.Our pendant lights are also               Save 5% with coupon
                                                                                                                  designed to be dimmable when using dimmable bulbs and
                                                                                                                                                                                                                  Sponsored
                                                                                                                  compatible dimmer switches. Create the atmosphere you want.
                                                                                                                  【Easy to Install】: The pendant light does not require
                                                                                                                  complicated assembly, all mounting hardware and installation
                                                                                                                  guides are included in the quick installation package, 10
                                                                                                                  minutes quick and simple installation, no other tools required.
                                                                                                                  Save the cost of hiring an electrician.
                                                                                                                  【Perfect after-sales service】: ZIQILI has a professional and
                                                                                                                  strong team. And enjoy a 1-year warranty service for the goods
                                                                                                                  sold, which is a guarantee that no company can give. Trust
                                                                                                                  ZIQILI, if you have any questions, feel free to contact us.
                                                                                                                › See more product details
                                                                                                                    Report an issue with this product or seller

                                                                                                                                                GUIHUALOVE Black Pendant Lights
                                                                                                                                                Kitchen Island, 2 Pack Kitchen
                                                                                                                                                Island Lighting, Farmhouse
                                                                                                                                                Pendant Light...

                                                                                                                                                            24
                                                                                                                                                $66.99
                                                                                                                Sponsored


Buy it with


                                                                                                                        Total price: $69.77

                                   +                                   +                                                    Add all 3 to Cart



                                                                                                                 Some of these items ship sooner than the
                                                                                                                 others.
                                                                                                                 Show details
This item: Ziqili 2 Pack Kitchen       HOMOTEK 12 Pack Spring Door         18 Pack Matte Black Door Hinges
Pendant Light                          Stopper with Rubber Bumper          3.5 x 3.5 Inch Interior 3 1/2 Inch
Fixtures,Farmhouse Pendant…            Satin Nickel 3-1/8" Flexible…       Door Hinges for Doors Rounde…
                                Case 2:25-cv-00472-CB                                                   Document 2-7                               Filed 04/10/25                               Page 62 of 227




$
    3999                                    $
                                                999                                       $
                                                                                              1979
Discover similar items
    More ﬁlters                                           & Up    Number of Lights: 1         Number of Lights: 2          Black          Grey     Styles: Modern      Styles: Mid-Century      Light Type: LED      Light Type: Incandescent       Material: Cast Ir




$
    16666                 4.4                   68    4.6                151 4.2                     257 5.0                 6     $
                                                                                                                                       16040                5.0                1     $
                                                                                                                                                                                         3999                 $
                                                                                                                                                                                                                  29700                $
                                                                                                                                                                                                                                           9742 List:$149.99
                          $   22950                   $   3299                 $   9500                   $   29000                                         $   6299
     See more like this       See more like this          See more like this       See more like this         See more like this       See more like this       See more like this       See more like this       See more like this        See more like this




$   14700                 $   29000
     See more like this       See more like this


                                                                                                                              Show more



Based on your recent views
Sponsored
                              Case 2:25-cv-00472-CB                                             Document 2-7                              Filed 04/10/25                    Page 63 of 227




          Industrial Pendant Light     Tarentlight Vintage          3-Pack Black Farmhouse       3 Packs Farmhouse             Black and Wood Pendant   Black Pendant Lights          Audickic Minimalist
          Fixture, Small Pendant       Farmhouse Hanging            Pendant Light                Pendant Lights Kitchen        Lights 2 Pack, 11.8"     Kitchen Island, 2 Pack        Pendant Lighting for
          Lighting for Kitchen         Light, Oil Rubbed            Adjustable Pendant           Island Adjustable             Hammered Metal Dome      Kitchen Island Lighting,      Kitchen Island, 3-Pack
          Island, Black ...            Bronze, Adjustable 58"…      Lighting for Kitchen Isl…    Pendant Light Fixtures…       Pendant Light Fixtu...   Farmhouse Pend...             Hanging Light Fixtures…
          4.5                 21       4.9            30            4.7                   275    4.7                 105       4.5                65    4.6                 24        4.6                   223
          $
              3999                     -10% $4769                       Amazon's Choice          $
                                                                                                     7999 ($26.66 / Count)     -10% $10799              $
                                                                                                                                                            6699 ($33.50 / Count)     $
                                                                                                                                                                                          9999
            Save 10% with coupon       List: $52.99                 -6% $7999                    Save 5% with coupon           ($54.00 / Count)         Save 15% with coupon
                                       Save 7% with coupon          ($26.66 / Count)                                           Typical price: $119.99
                                                                    List: $84.99                                               Save 20% with coupon
                                                                    Save 5% with coupon



4 stars and above
Sponsored




          ELYONA 2 Pack                Modern Solid Wood            Audickic Minimalist          ELYONA Modern                 Farmhouse Pendant        Darkaway Industrial           3-Pack Black Farmhouse
          Industrial Pendant           Pendant Lights,15.7"         Pendant Lighting for         Pendant Light Fixtures        Lights, Adjustable       Pendant Light Fixtures        Pendant Light
          Lights, 10.2” Hammered       Hammered Metal               Kitchen Island, 3-Pack       with 12" Hammered             Hanging Light Fixtures   Ceiling Hanging with          Adjustable Pendant
          Metal Solid Wood Han…        Shade,Black Finish Ha…       Hanging Light Fixtures…      Metal Shade Solid Wo…         with Hammered Metal…     Hammered Metal Shad…          Lighting for Kitchen Isl…
          4.7                 385      4.5            65            4.6                   223    4.5                 97        4.7                76    4.7                 156       4.7                   275
          $   11499 ($57.50 / Count)   $   9999                     $   9999                     -14% $9499                    $   5699                 $   5499                          Amazon's Choice

          Save $25.00 with             Save 20% with coupon                                      ($47.50 / Count)              Save 10% with coupon     Save 10% with coupon          -6% $7999
          coupon                                                                                 Typical: $109.99                                                                     ($26.66 / Count)
                                                                                                 Save 10% with coupon                                                                 List: $84.99
                                                                                                                                                                                      Save 5% with coupon




Product information

Technical Details                                                                                                            Additional Information

  Brand                                                    Ziqili                                                            ASIN                                                   B0DF4R592F

  Color                                                    Black                                                             Customer Reviews                                       4.7                4
                                                                                                                                                                                    4.7 out of 5 stars
  Material                                                 Wood, Metal
                       Case 2:25-cv-00472-CB                         Document 2-7               Filed 04/10/25                           Page 64 of 227




Style                             Modern                                                Best Sellers Rank                                      #212,838 in Tools & Home Improvement (See Top
                                                                                                                                               100 in Tools & Home Improvement)
Light ﬁxture form                 Pendant                                                                                                      #1,045 in Pendant Light Fixtures
Room Type                         Kitchen island, bedroom, hallway, utility room, bar   Date First Available                                   September 9, 2024
Product Dimensions                7"L x 7"W x 80"H
                                                                                        Warranty & Support
Speciﬁc Uses For Product          illumination, lights, Decoration
                                                                                        Amazon.com Return Policy: Amazon.com Voluntary 30-Day Return Guarantee: You can return many items
Indoor/Outdoor Usage              Indoor                                                you have purchased within 30 days following delivery of the item to you. Our Voluntary 30-Day Return
Power Source                      AC                                                    Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out more about the
                                                                                        exceptions and conditions here.
Installation Type                 Semi Flush Mount
                                                                                        Product Warranty: For warranty information about this product, please click here
Special Feature                   Adjustable Height, Lightweight

Control Method                    App
                                                                                        Feedback

Finish Type                       Painted                                               Would you like to tell us about a lower price?

Shade Material                    Metal

Number of Light Sources           2

Voltage                           110 Volts

Included Components               Lamps *2, Mounting kit

Embellishment                     Wood

Lighting Method                   Downlight

Number of Items                   2

Wattage                           60 watts

Bulb Base                         E26

Unit Count                        2.0 Count

Mounting Type                     Ceiling Mount

Shade Color                       white

Fixture Type                      Removable

Assembly Required                 Yes

Manufacturer                      Ziqili

Recommended Uses For Product      Indoor use only

Model Name                        Kitchen Pendant

Part Number                       CW5008

Item Weight                       3.12 pounds

Country of Origin                 China

Item model number                 CW5008

Finish types                      Painted
                          Case 2:25-cv-00472-CB                                          Document 2-7                      Filed 04/10/25                        Page 65 of 227




  Special Features                                      Adjustable Height, Lightweight

  Batteries Required?                                   No




Product details
  Product Dimensions : 7 x 7 x 80 inches; 3.13 Pounds
  Item model number : CW5008
  Date First Available : September 9, 2024
  Manufacturer : Ziqili
  ASIN : B0DF4R592F
  Country of Origin : China
  Customer Reviews:
  4.7              4




What's in the box
        Lamps *2
        Mounting kit




Videos
Help others learn more about this product by uploading a video!


  Upload your video




Product Description




                           The designer refers to the American home decoration style and chooses the lamp base as solid walnut wood as an important part of the lamp. It can match any scene at home.
                                                                This ceiling chandelier is very suitable for any style decoration from modern industrial to farmhouse.




Compare with similar items
                        This Item                                        Recommendations
                         Case 2:25-cv-00472-CB                                      Document 2-7                    Filed 04/10/25                          Page 66 of 227




                    Ziqili 2 Pack Kitchen Pendant Light           ELYONA 3 Pack Pendant Lights for Kitchen          ELYONA 2 Pack Industrial Pendant Lights, 10.2”   ELYONA Industrial Pendant Light, Rubber Wood
                    Fixtures,Farmhouse Pendant Light Solid Wood   Island 7” Hammered Metal Solid Wood Hanging       Hammered Metal Solid Wood Hanging Lamp,          Dome Hanging Lamp with 12" Hammered Metal
                    Hammered Black Metal Shade,70 inch…           Light Fixtures Adjustable Height Industrial…      Modern Island Pendant Light Fixtures for…        Shade, Modern Pendant Light Fixtures for…

                        Add to cart                                   Add to cart                                       Add to cart                                      Add to cart


Price               -27% $3999                                    $   11999                                         $   11499                                        $   5999
                    Typical: $54.88


Delivery                     FREE Delivery                                 FREE Delivery                                     FREE Delivery                                    FREE Delivery


Customer Ratings    4.7                4                          4.6                132                            4.7                385                           4.5                97

Sold By             ZIQILI                                        YQWC                                              YQWC                                             YQWC

Material            Metal, Wood                                   FSC Certiﬁcation Solid Wood, Handmade             FSC Certiﬁcation Rubber Wood, Handmade           FSC Certiﬁcation Solid Wood, Handmade
                                                                  Hammered Blue Metal                               Hammered Black Metal                             Hammered Black Metal

Light Source Type   —                                             LED bulbs, Smart bulbs, Edison bulbs,             LED bulbs, Smart bulbs, Edison bulbs,            LED bulbs, Smart bulbs, Edison bulbs,
                                                                  incandescent bulbs, CFLs                          incandescent bulbs, CFLs                         incandescent bulbs, CFLs

Bulb Base           e26                                           e26                                               e26                                              e26

Light Sources       2                                             1                                                 1                                                1

Power Source        AC                                            Corded Electric                                   Corded Electric                                  Corded Electric

Shade Material      Metal                                         Hammered Blue Metal                               Hammered Metal                                   Hammered Metal

Style               Modern                                        Modern, Industrial, Farmhouse, Coastal, Rustic,   Modern, Industrial, Farmhouse, Rustic, Retro,    Modern, Industrial, Farmhouse, Rustic, Retro,
                                                                  Retro, Vintage                                    Vintage                                          Vintage

Finish Type         Painted                                       1538 ℃ Bake Painted & Solid Wood Polishing        1538 ℃ Bake Painted & Solid Wood Polishing       1538 ℃ Bake Painted & Solid Wood Polishing
                                                                  Process                                           Process                                          Process

Mounting Type       Ceiling Mount                                 Ceiling Mount                                     Ceiling Mount                                    Ceiling Mount

Fixture Type        Removable                                     Non Removable                                     Non Removable                                    Non Removable

Shade Color         white                                         Modern Blue                                       Black                                            Black
                                Case 2:25-cv-00472-CB                                              Document 2-7                            Filed 04/10/25                           Page 67 of 227




Related products with free delivery
Sponsored




            Pendant Light, Industrial    Pendant Lights Kitchen       3 Pack 1 Light 8” Vintage          Matte Black Mini         Industrial Pendant Light    Farmhouse Pendant              Black and Wood Pendant
            Hanging and Wood             Island, 3-Pack Dome          Pendant Light                      Pendant Light 7.87in     3 Pack, Black Adjustable    Lights, Adjustable             Lights 2 Pack, 11.8"
            Small Hanging Lights         Pendant Light Fixtures       Fixtures,Industrial                Cone Kitchen Island      Hanging Light ﬁxtures       Hanging Light Fixtures         Hammered Metal Dome
            Fixtures, Black Far...       with Black and Go...         Hammer Metal Hangin…               Pendant Lighting with…   for Kitche...               with Hammered Metal…           Pendant Light Fixtu...
            4.5                 12       5.0                 10       4.2                 7              5.0             16       4.5                 21      4.7                   76       4.5                65
            $   15999 ($53.33 / Count)   $   15999 ($53.33 / Count)   $   10999 ($36.66 / Count)         $   3395                 $   9999 ($33.33 / Count)       Amazon's Choice            -10% $10799
                                         Save $25.00 with                                                Save 6% with coupon      Save 10% with coupon        $
                                                                                                                                                                  5699                       ($54.00 / Count)
                                         coupon                                                                                                               Save 10% with coupon           Typical price: $119.99
                                                                                                                                                                                             Save 20% with coupon




Similar brands on Amazon
Sponsored




                               19.7" Wood Linen Dining Room Light                                  1-Light Pendant Light with Black Metal                          LOFTPLUS Farmhouse Chandelier 6-Light              ELYON
                               Fixture Large Boho Chandelier Farmhou…                              Glass Shade and Adjustable Cord…                                Black Dining Room Light Fixture with…              Pendan
                               5.0                3                                                4.6              33                                             4.8                   8                            5.0
                               $139.99                                                             $47.99                                                          $149.99                                            $94.99
                           Case 2:25-cv-00472-CB                  Document 2-7                           Filed 04/10/25                          Page 68 of 227




     Looking for speciﬁc info?




Customer reviews                              Top reviews
                                              Top  reviews

                   4.7 out of 5
4 global ratings                             Top reviews from the United States

5 star                                68%
                                                    Keith Jones
4 star                                32%                  Nice design, well made
                                             Reviewed in the United States on December 4, 2024
3 star                                  0%
                                             Color: White Veriﬁed Purchase
2 star                                  0%   These pendants took a few years oﬀ our kitchen. Well priced, nice design, easy to install.

1 star                                  0%       Helpful          Report

How customer reviews and ratings work
                                                    Premium Reviews

                                                           Good value for cost [Kitchen Pendant Light (2 pack)]
Review this product                          Reviewed in the United States on November 27, 2024
                                             Color: Black Amazon Vine Customer Review of Free Product ( What's this? )
Share your thoughts with other customers
                                             These pendant lights look very nice. They appear well built, and a good value for cost.
            Write a customer review          They are a bit smaller than I expected (though are as described). I will be installing them in a kitchenette in
                                             my basement remodel (currently in progress),
                                             (I have tested these without permanently installing)

                                                 Helpful          Report



                                                    Daniel Van Vorous

                                                           Amazing value for money
                                             Reviewed in the United States on September 30, 2024
                                             Color: Black Veriﬁed Purchase
                                             Awesome! I bought these lights for my kitchen that I renovated a while ago, the electrician installed them
                                             very easily, they look great with the wood and grey kitchen, they look a lot more expensive than they
                                             actually are and they light great!

                                                 Helpful          Report


                                                    Colmi

                                                           Look great in our kitchen
                                             Reviewed in the United States on October 13, 2024
                                             Color: Black Amazon Vine Customer Review of Free Product ( What's this? )
                                             These are very nice looking pendant lights. We needed to add a couple of lights over the sink area in our
                                             kitchen to reduce shadows. These look good and provide the much needed extra light!

                                                 Helpful          Report
Case 2:25-cv-00472-CB                                        Document 2-7                             Filed 04/10/25                          Page 69 of 227




                     See more reviews

                                                           Industrial Pendant Light 3 Pack, Black Adjustable
                                                           Hanging Light ﬁxtures for Kitchen Island, Modern...             Shop now
                                                           $99.99                               21

                                                                                                                                      Sponsored




                                                                                Back to top




   Get to Know Us                             Make Money with Us                              Amazon Payment Products                             Let Us Help You
   Careers                                    Sell on Amazon                                  Amazon Visa                                         Your Account
   Amazon                                     Sell apps on Amazon                             Amazon Store Card                                   Your Orders
   Newsletter
                                              Supply to Amazon                                Amazon Secured Card                                 Shipping Rates &
   About Amazon                                                                                                                                   Policies
                                              Protect & Build Your                            Amazon Business Card
   Accessibility                              Brand                                                                                               Amazon Prime
                                                                                              Shop with Points
   Sustainability                             Become an Aﬃliate                                                                                   Returns &
                                                                                              Credit Card Marketplace                             Replacements
   Press Center                               Become a Delivery Driver
                                                                                              Reload Your Balance                                 Manage Your
   Investor Relations                         Start a Package Delivery
                                                                                              Gift Cards                                          Content and Devices
                                              Business
   Amazon Devices
                                                                                              Amazon Currency Converter                           Recalls and Product
                                              Advertise Your Products                                                                             Safety Alerts
   Amazon Science
                                              Self-Publish with Us                                                                                Registry & Gift List
                                              Become an Amazon Hub                                                                                Help
                                              Partner
                                              › See More Ways to Make
                                              Money




                                                                                  English                  United States




   Amazon Music            Amazon Ads                 6pm                    AbeBooks                  ACX                  Sell on Amazon               Veeqo
   Stream millions         Reach customers            Score deals            Books, art                Audiobook            Start a Selling              Shipping Software
   of songs                wherever they              on fashion brands      & collectibles            Publishing           Account                      Inventory
                           spend their time                                                            Made Easy                                         Management

   Amazon Business         Amazon Fresh               AmazonGlobal           Home Services             Amazon Web           Audible                      Box Oﬃce Mojo
   Everything For          Groceries & More           Ship Orders            Experienced Pros          Services             Listen to Books &            Find Movie
   Your Business           Right To Your Door         Internationally        Happiness                 Scalable Cloud       Original                     Box Oﬃce Data
                                                                             Guarantee                 Computing            Audio
                                                                                                       Services             Performances

   Goodreads               IMDb                       IMDbPro                Kindle Direct             Amazon Photos        Prime Video Direct           Shopbop
   Book reviews            Movies, TV                 Get Info               Publishing                Unlimited Photo      Video Distribution           Designer
   &                       & Celebrities              Entertainment          Indie Digital &           Storage              Made Easy                    Fashion Brands
   recommendations                                    Professionals Need     Print Publishing          Free With Prime
                                                                             Made Easy
Case 2:25-cv-00472-CB                               Document 2-7                                Filed 04/10/25                            Page 70 of 227




   Amazon Resale    Whole Foods              Woot!                      Zappos                    Ring                      eero WiFi         Blink
   Great Deals on   Market                   Deals and                  Shoes &                   Smart Home                Stream 4K Video   Smart Security
   Quality Used     America’s                Shenanigans                Clothing                  Security Systems          in Every Room     for Every Home
   Products         Healthiest
                    Grocery Store

                    Neighbors App            Amazon                     PillPack                  Amazon Renewed
                    Real-Time Crime          Subscription Boxes         Pharmacy                  Like-new products
                    & Safety Alerts          Top subscription           Simpliﬁed                 you can trust
                                             boxes – right to
                                             your door



                             Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure   Your Ads Privacy Choices
                                                           © 1996-2025, Amazon.com, Inc. or its aﬃliates
              Case 2:25-cv-00472-CB                       Document 2-7         Filed 04/10/25     Page 71 of 227




                                                            Secure checkout

Delivering to steven howard                                                              Change                 Place your order
223 4TH AVE, PITTSBURGH, PA, 15222-1717, United States
                                                                                                  By placing your order, you agree to Amazon's
Add delivery instructions                                                                         privacy notice and conditions of use.

FREE pickup available nearby
                                                                                                  Items:                                $39.99
                                                                                                  Shipping & handling:                   $0.00
                                                                                                  Estimated tax to be collected:         $2.40
Paying with Visa 3651                                                                    Change
                                                                                                  Order total:                      $42.39
Use Chase Ultimate Rewards points
$78.61 (9,827 points) available
Use a gift card, voucher, or promo code




Arriving Jan 24, 2025
If you order in the next 9 hours and 49 minutes Details
                                                              Friday, Jan 24
                    Ziqili 2 Pack Kitchen Pendant             FREE Two Day Delivery
                    Light Fixtures,Farmhouse
                    Pendant Light Solid Wood                  Monday, Jan 27
                    Hammered Black Metal Shade,70             FREE Amazon Day Delivery
                    inch Adjustable Cable for Kitchen           Lower carbon option
                    Island, Bedroom, Dining Hall, E26
                    Base
                    $39.99 ($20.00 / Count)
                              & FREE Returns
                    Ships from Amazon.com
                    Sold by ZIQILI
                   Case 2:25-cv-00472-CB                          Document 2-7                 Filed 04/10/25                   Page 72 of 227




               1

   Add gift options




       Place your order             Order total: $42.39
                                    By placing your order, you agree to Amazon's privacy notice and conditions of use.




Why has sales tax been applied? See tax and seller information.
Do you need help? Explore our Help pages or contact us
For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message acknowledg
purchase an item will not be complete until we send you an email notifying you that the item has been shipped.
Colorado Purchasers: Important information regarding sales tax you may owe in your State
Within 30 days of delivery, you may return new, unopened merchandise in its original condition. Exceptions and restrictions a
Back to cart




                                                                               Back to top




                                                                     English                 United States               Help



                               Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure     Your Ads Privacy Choices
                                                             © 1996-2025, Amazon.com, Inc. or its aﬃliates
                              Case 2:25-cv-00472-CB                                               Document 2-7                                Filed 04/10/25                               Page 73 of 227




                          Deliver to steven
                                                   Tools & Home Improvement           B0C1VNFD2F                                                                                      OJRG 2Pcs NordicENBlack Hello, steven
                                                                                                                                                                                                              Chandelier            Returns
                                                                                                                                                                                                                            Single Kitchen         0
                                                                                                                                                                                                                                            Island …
                          Pittsburgh 15222                                                                                                                                                                    Account & Lists       & Orders
                                                                                                                                                                                      No featured oﬀers available
  All        Rufus      Medical Care          Groceries     Keep Shopping For         Amazon Basics   Livestreams      Buy Again      Amazon Business          Pharmacy       Gift Cards     Shop By Interest      Subscribe & Save

 Tools & Home Improvement         Best Sellers   Deals & Savings    Gift Ideas   Power & Hand Tools   Lighting & Ceiling Fans   Kitchen & Bath Fixtures     Smart Home       Shop by Room    Launchpad      Amazon Business


                                                                                  Boho Rattan UL Listed Pendant (6-Lights, 39")                                                   $159 99                Save 5% with coupon


                                                                                                                                                                                                                                                Sponsored
Tools & Home Improvement › Lighting & Ceiling Fans › Ceiling Lights › Island Lights                                                                       1 option


                                                                                                                                  2Pcs Nordic New
                                                                                                                                               Black Chandelier Single                   No featured oﬀers available
                                                                                                                                               $17107              Save 8% at checkout Shop
                                                                                                                                  Kitchen Island    Pendant Light items                  Learn more                  Add to Cart

                                                                                                                                                               FREE delivery March 25 - April 3.
                                                                                                                                  Hammered Metal Ceiling Light Details
                                                                                                                                                                      Fixture
                                                                                                                                                                                             Deliver to steven - Pittsburgh
                                                                                                                                  for Kitchen Island Dining Room                             15222
                                                                                                                                               Ships from      Gansu Yuanzelixin
                                                                                                                                  Bedroom BarSoldLiving
                                                                                                                                                    by
                                                                                                                                                          Room Aisle
                                                                                                                                                               Gansu Yuanzelixin                 See All Buying Options
                                                                                                                                  Corridor Hanging Light                 (3 ratings)
                                                                                                                                                                                      33% positive over last 12 months
                                                                                                                                  Brand: OJRG
                                                                                                                                                          Customer service            Amazon                             Add to List
                                                                                                                                  Search this page



                                                                                                                                  Brand              OJRG
                                                                                                                                                        End of results
                                                                                                                                  Color              Black
                                                                                                                                  Material           Iron, Metal
                                                                                                                                  Light ﬁxture       Ceiling
                                                                                                                                  form
                                                                                                                                  Room Type          Kitchen, Living Room, dining room droom                       CertiPUR-US Certiﬁed USA-Made
                                                                                                                                                                                                                   Cooling Gel Memory Foam Mattres…
                                                                                                                                       Report an issue with this product or seller
                                                                                                                                                                                                                   4.3                 3,420
                                                                                                                                                                                                                   -14% $599 00 $699.99


                                                                                                                                                                                                                                               Sponsored




                                                       Roll over image to zoom in
                                                                                                                                                     KOKAiZeeKi Dimmable Brass Gold Crystal Penda…
                                                                                                                                                     $199.99

                                                                                                                                                      Save $10 with coupon



                                                                                                                                  Sponsored
                                 Case 2:25-cv-00472-CB                                                   Document 2-7                                       Filed 04/10/25                                    Page 74 of 227




Based on your recent views                                                                                                                                                                                                                                Page
                                                                                                                                                                                                           OJRG 2Pcs Nordic Black Chandelier Single Kitchen     1 of…
                                                                                                                                                                                                                                                            Island  58
Sponsored
                                                                                                                                                                                                           No featured oﬀers available




                                                                                                                                                                         1 option

               Industrial Pendant Light          2 Pack Pendant Lights                 Farmhouse Pendant                    Black and Wood Pendant                 Darkaway Industrial                      2 Pieces17.72'' Large            ALAISLYC Black Matte
               Fixture, Small Pendant            Kitchen Island Black                  Lights, Adjustable                   Lights 2 Pack, 11.8"                   Pendant
                                                                                                                                                                       New Light Fixtures                   Black Pendant Light              Pendant Lights, Vintage
               Lighting for Kitchen              Farmhouse Pendant                     Hanging Light Fixtures               Hammered Metal Dome                    Ceiling
                                                                                                                                                                       $171Hanging
                                                                                                                                                                            07     with                     Kitchen
                                                                                                                                                                                                                SaveIsland
                                                                                                                                                                                                                       8% atIndustrial
                                                                                                                                                                                                                             checkout Shop   Dome Hanging Light
                                                                                                                                                                                                                                                                 Add to Cart
               Island, Black ...                 Light Fixtures 11.81 I...             with Hammered Metal…                 Pendant Light Fixtu...                 Hammered Metal Shad…                         items
                                                                                                                                                                                                            Black and Gold ...               Fixtures, Adjustable He…
               4.5               21              4.8              13                   4.7              76                  4.5              65                    4.7              156                    FREE
                                                                                                                                                                                                            4.8   delivery March
                                                                                                                                                                                                                              17 25  - April 3.
                                                                                                                                                                                                                                             5.0              13
                                                                                                                                                                                                           Details $
               $
                   3999                          -27% $6599                                Amazon's Choice                  -10% $10799                            $
                                                                                                                                                                       5499                                 -13% 199       99                $
                                                                                                                                                                                                                                              79 99
                                                                                                                                                                                                                                                   ($26.66 / Count)
               Save 10% with coupon              ($33.00 / Count)                      $
                                                                                           5699                             ($54.00 / Count)                       Save 10% with coupon
                                                                                                                                                                         Ships from
                                                                                                                                                                                                            ($100.00 / Count)
                                                                                                                                                                                                           Gansu Yuanzelixin
                                                 List: $89.99                          Save 10% with coupon                 Typical price: $119.99                                                          List: $229.99
                                                                                                                                                                         Sold by                           Gansu Yuanzelixin
                                                  Save 10% with coupon                                                      Save 20% with coupon
                                                                                                                                                                                                                       (3 ratings)
                                                                                                                                                                                                           33% positive over last 12 months

                                                                                                                                                                         Customer service                  Amazon

Related to items you've viewed See more

                                                                                                                                                                         End of results




          Mxsaoud Modern Black               Mgcanyu Black Pendant            SESIMENT Farmhouse                ELYONA Industrial                     Industrial Pendant Lights,            LOEHINLE Pendant
          Pendant Light Over                 Lights Kitchen Island,           Pendant Lighting for              Pendant Light, Rubber                 Black Pendant Light                   Lighting Vintage
          Kitchen Island, Adjustable         11.8" Hammered Metal             Kitchen Island,Black and          Wood Dome Hanging                     Fixtures, Vintage Pendant             Industrial Fixtures, Black
          Wood Hanging Light                 Black Dome Pendant               Gold Dome Pendant Light           Lamp with 12"                         Lights for Kitchen Island             Metal Farmhouse Light…
          Fixture,Industrial Penda…          Lighting Black and Woo…          Fixtures, Industrial…             Hammered Metal Shad…                  with Black Metal Shade…                                378
                           252                              65                                    85                             97                                     57                      Amazon's Choice
          $
              3999                           -10% $5669                       $
                                                                                  6799 ($34.00/Count)           $
                                                                                                                    5999                              $
                                                                                                                                                          6290 ($20.97/Count)               $
                                                                                                                                                                                                2997
                     FREE Delivery Friday,   $62.99                                     FREE Delivery Friday,              FREE Delivery Friday,                FREE Delivery Friday,
                                                                                                                                                                                                       FREE Delivery Friday,
          Jan 24                                      FREE Delivery Friday,   Jan 24                            Jan 24                                Jan 24
                                                                                                                                                                                            Jan 24
                                             Jan 24




Product information

Technical Details                                                                                                                           Additional Information

  Brand                                                             OJRG                                                                       ASIN                                                                    B0C1VNFD2F

  Color                                                             Black                                                                      Date First Available                                                    April 8, 2023
                          Case 2:25-cv-00472-CB                                      Document 2-7         Filed 04/10/25                           Page 75 of 227




  Material                                              Iron, Metal                               Warranty & Support
                                                                                                                                               OJRG 2Pcs Nordic Black Chandelier Single Kitchen Island …
  Light ﬁxture form                                     Ceiling                                   Amazon.com Return Policy: Amazon.com Voluntary      30-Day
                                                                                                                                               No featured     Return
                                                                                                                                                            oﬀers     Guarantee: You can return many items
                                                                                                                                                                  available
                                                                                                  you have purchased within 30 days following delivery of the item to you. Our Voluntary 30-Day Return
  Room Type                                             Kitchen, Living Room, dining room droom   Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out more about the
  Power Source                                          Corded Electric                           exceptions and conditions here.

  Special Feature                                       Dimmable                                  Feedback

  Control Method                                        App                                       Would you like to tell us about a lower price?

  Shade Material                                        Metal                                                        1 option

  Number of Light Sources                               1
                                                                                                                     New
  Bulb Base                                             E27                                                          $
                                                                                                                         17107                     Save 8% at checkout Shop                    Add to Cart
                                                                                                                                                   items
  Controller Type                                       Push Button                                                                            FREE delivery March 25 - April 3.
                                                                                                                                               Details
  Unit Count                                            1.0 Count
                                                                                                                     Ships from                Gansu Yuanzelixin
  Mounting Type                                         Hanging,Pendant Light
                                                                                                                     Sold by                   Gansu Yuanzelixin
  Fixture Type                                          Non Removable                                                                                     (3 ratings)
                                                                                                                                               33% positive over last 12 months
  Assembly Required                                     Yes
                                                                                                                     Customer service          Amazon
  Special Features                                      Dimmable


                                                                                                                     End of results

Product details
  Date First Available : April 8, 2023
  ASIN : B0C1VNFD2F




Videos
Help others learn more about this product by uploading a video!


  Upload your video




Frequently purchased items with fast delivery
                               Case 2:25-cv-00472-CB                                                     Document 2-7                                   Filed 04/10/25                             Page 76 of 227




                                                                                                                                                                                                 OJRG 2Pcs Nordic Black Chandelier Single Kitchen Island …

                                                                                                                                                                                                 No featured oﬀers available




         YCZHCC 3 Pack Pendant             MIAYBPH Pendant Lights             SeeU Modern Pendant                ELYONA 3 Pack White              ADCTHOME Modern LED                 OROILUPU 9.4'' Concrete
         Lights for Kitchen Island         Kitchen Island, 2-Pack             Lighting One Light                 Hammered Pendant                 Simple Pendant Light                Pendant Lights Kitchen
                                                                                                                                                                1 option
         Modern Pendant Lighting           Dome Pendant Light                 Chandelier Globe Black             Lights for Kitchen Island        ﬁxtures,Island Pendant              Island Hanging Lights
         Fixtures Hanging Vintage          Black and Gold Light               Pendant Light Indoor               7” Nordic Solid Wood             Lighting for Kitchen                Unique Pinecone
         Ceiling Light Fixture for…        Fixtures Industrial…               Hanging Light Fixture f…           Hanging Light Fixtures,…                       New
                                                                                                                                                  Island Dinning…                     Lampshade Industrial…
                         6                                  10                                 394                              132                               $17107
                                                                                                                                                                 10                                10 Save 8% at checkout Shop                 Add to Cart
                                                                                                                                                                                                      items
         $
             7999 ($26.66/Count)           $
                                               12999 ($65.00/Count)           $
                                                                                  6299                           -8% $10999                       $
                                                                                                                                                      16999 ($56.66/Count)            $8999
                                                                                                                                                                                                 FREE delivery March 25 - April 3.
                   FREE Delivery Friday,              FREE Delivery Friday,              FREE Delivery Friday,   ($36.66/Count)                             FREE Delivery Friday,            FREEDetails
                                                                                                                                                                                                  Delivery Friday,
         Jan 24                            Jan 24                             Jan 24                             List: $119.99                    Jan 24                              Jan 24
                                                                                                                          FREE Delivery Friday,
                                                                                                                                                                   Ships from                    Gansu Yuanzelixin
                                                                                                                 Jan 24
                                                                                                                                                                   Sold by                       Gansu Yuanzelixin
                                                                                                                                                                                                            (3 ratings)
                                                                                                                                                                                                 33% positive over last 12 months

                                                                                                                                                                   Customer service              Amazon




                                                                                                                                                                   End of results




                                                                                                                                                                                                                  Sponsored




     Looking for speciﬁc info?




Customer reviews                                                                  No customer reviews

5 star                                           0%

4 star                                           0%

3 star                                           0%

2 star                                           0%

1 star                                           0%

How customer reviews and ratings work
                         Case 2:25-cv-00472-CB                                              Document 2-7                          Filed 04/10/25                                Page 77 of 227




Review this product
                                                                                                                                                                           OJRG 2Pcs Nordic Black Chandelier Single Kitchen Island …
Share your thoughts with other customers
                                                                                                                                                                           No featured oﬀers available
           Write a customer review




                                                                                                                                              1 option
                                                                                                             Back to top
                                                                                                                                              New
                                                                                                                                              $
                                                                                                                                                  17107                        Save 8% at checkout Shop                  Add to Cart
                                                                                                                                                                               items
                                     Get to Know Us                          Make Money with Us                            Amazon Payment Products                         FREE delivery MarchYou
                                                                                                                                                                                 Let Us Help   25 - April 3.
                                                                                                                                                                           Details
                                     Careers                                 Sell on Amazon                                Amazon Visa                                           Your Account
                                     Amazon                                  Sell apps on Amazon                           Amazon Store CardShips from                     Gansu Yuanzelixin
                                                                                                                                                                                 Your Orders
                                     Newsletter                                                                                            Sold by                         Gansu Yuanzelixin
                                                                             Supply to Amazon                              Amazon Secured Card                                   Shipping Rates &
                                     About Amazon                                                                                                                                  Policies
                                                                                                                                                                                       (3 ratings)
                                                                             Protect & Build Your                          Amazon Business Card
                                                                                                                                                                           33% positive over last 12 months
                                     Accessibility                           Brand                                                                                                 Amazon Prime
                                                                                                                           Shop with Points Customer service               Amazon
                                     Sustainability                          Become an Aﬃliate                                                                                     Returns &
                                                                                                                           Credit Card Marketplace                                 Replacements
                                     Press Center                            Become a Delivery Driver
                                                                                                                           Reload Your Balance                                     Manage Your
                                     Investor Relations                      Start a Package Delivery                                        End of results                        Content and Devices
                                                                             Business                                      Gift Cards
                                     Amazon Devices                                                                                                                                Recalls and Product
                                                                             Advertise Your Products                       Amazon Currency Converter
                                     Amazon Science                                                                                                                                Safety Alerts
                                                                             Self-Publish with Us                                                                                  Registry & Gift List
                                                                             Become an Amazon Hub                                                                                  Help
                                                                             Partner
                                                                             › See More Ways to Make
                                                                             Money




                                                                                                               English                United States




                                     Amazon Music         Amazon Ads                 6pm                  AbeBooks                  ACX                       Sell on Amazon              Veeqo
                                     Stream millions      Reach customers            Score deals          Books, art                Audiobook                 Start a Selling             Shipping Software
                                     of songs             wherever they              on fashion brands    & collectibles            Publishing                Account                     Inventory
                                                          spend their time                                                          Made Easy                                             Management

                                     Amazon Business      Amazon Fresh               AmazonGlobal         Home Services             Amazon Web                Audible                     Box Oﬃce Mojo
                                     Everything For       Groceries & More           Ship Orders          Experienced Pros          Services                  Listen to Books &           Find Movie
                                     Your Business        Right To Your Door         Internationally      Happiness                 Scalable Cloud            Original                    Box Oﬃce Data
                                                                                                          Guarantee                 Computing                 Audio
                                                                                                                                    Services                  Performances

                                     Goodreads            IMDb                       IMDbPro              Kindle Direct             Amazon Photos             Prime Video Direct          Shopbop
                                     Book reviews         Movies, TV                 Get Info             Publishing                Unlimited Photo           Video Distribution          Designer
                                     &                    & Celebrities              Entertainment        Indie Digital &           Storage                   Made Easy                   Fashion Brands
                                     recommendations                                 Professionals Need   Print Publishing          Free With Prime
                                                                                                          Made Easy
Case 2:25-cv-00472-CB                               Document 2-7                                Filed 04/10/25                            Page 78 of 227




   Amazon Resale    Whole Foods              Woot!                      Zappos                    Ring                       eero WiFi             Blink
   Great Deals on   Market                   Deals and                  Shoes &                   Smart Home                 Stream 4K Video       Smart Security
   Quality Used     America’s                Shenanigans                Clothing                  Security Systems           in Every RoomOJRG 2Pcsfor
                                                                                                                                                    Nordic
                                                                                                                                                       Every Black
                                                                                                                                                             Home Chandelier Single Kitchen Island …
   Products         Healthiest
                    Grocery Store                                                                                                       No featured oﬀers available

                    Neighbors App            Amazon                     PillPack                  Amazon Renewed
                    Real-Time Crime          Subscription Boxes         Pharmacy                  Like-new products
                    & Safety Alerts          Top subscription           Simpliﬁed                 you can trust
                                             boxes – right to
                                             your door



                             Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure   Your Ads Privacy Choices
                                                           © 1996-2025, Amazon.com, Inc. or its aﬃliates    1 option


                                                                                                            New
                                                                                                            $
                                                                                                                17107                       Save 8% at checkout Shop                     Add to Cart
                                                                                                                                            items
                                                                                                                                        FREE delivery March 25 - April 3.
                                                                                                                                        Details

                                                                                                            Ships from                  Gansu Yuanzelixin
                                                                                                            Sold by                     Gansu Yuanzelixin
                                                                                                                                                   (3 ratings)
                                                                                                                                        33% positive over last 12 months

                                                                                                            Customer service            Amazon




                                                                                                            End of results
              Case 2:25-cv-00472-CB                     Document 2-7         Filed 04/10/25     Page 79 of 227




                                                          Secure checkout

Delivering to steven howard                                                            Change                 Place your order
223 4TH AVE, PITTSBURGH, PA, 15222-1717, United States
                                                                                                By placing your order, you agree to Amazon's
Add delivery instructions                                                                       privacy notice and conditions of use.



                                                                                                Items:                              $171.07
                                                                                       Change   Shipping & handling:                   $0.00
Paying with Visa 3651
                                                                                                Promotion Applied:                   -$13.69

Select a payment plan                                                                           Estimated tax to be collected:*        $9.44

Like $28.76/mo (6 mo) at 11.99% APR                                                             Order total:                      $166.82
Use Chase Ultimate Rewards points
$78.61 (9,827 points) available
Use a gift card, voucher, or promo code




Arriving Mar 25, 2025 - Apr 3, 2025
                                                            Tuesday, Mar 25 - Thursday, Apr 3
                    OJRG 2Pcs Nordic Black                  FREE Delivery
                    Chandelier Single Kitchen Island
                    Pendant Light Hammered Metal
                    Ceiling Light Fixture for Kitchen
                    Island Dining Room Bedroom Bar
                    Living Room Aisle Corridor
                    Hanging Light
                    $157.38
                    $13.69 discount applied
                    Ships from Gansu Yuanzelixin
                    Sold by Gansu Yuanzelixin
                   Case 2:25-cv-00472-CB                          Document 2-7                 Filed 04/10/25                   Page 80 of 227




               1

   Gift options not available




       Place your order             Order total: $166.82
                                    By placing your order, you agree to Amazon's privacy notice and conditions of use.




Why has sales tax been applied? See tax and seller information.
Do you need help? Explore our Help pages or contact us
For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message acknowledg
purchase an item will not be complete until we send you an email notifying you that the item has been shipped.
Colorado Purchasers: Important information regarding sales tax you may owe in your State
Within 30 days of delivery, you may return new, unopened merchandise in its original condition. Exceptions and restrictions a
Back to cart




                                                                               Back to top




                                                                     English                 United States               Help



                               Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure     Your Ads Privacy Choices
                                                             © 1996-2025, Amazon.com, Inc. or its aﬃliates
                              Case 2:25-cv-00472-CB                                               Document 2-7                                 Filed 04/10/25                            Page 81 of 227




                         Deliver to steven
                                                  Tools & Home Improvement         Search Amazon
                                                                                                                                                                                                                Hello, steven            Returns           0
                         Pittsburgh 15222                                                                                                                                                               EN      Account & Lists          & Orders


  All        Rufus      Medical Care         Groceries     Keep Shopping For           Amazon Basics   Livestreams      Buy Again     Amazon Business           Pharmacy    Gift Cards       Shop By Interest    Subscribe & Save

 Tools & Home Improvement        Best Sellers   Deals & Savings    Gift Ideas   Power & Hand Tools     Lighting & Ceiling Fans   Kitchen & Bath Fixtures    Smart Home     Shop by Room     Launchpad    Amazon Business

                                         EGOHOME 14" Inch US-Made Cooling Gel Mattress (CertiPUR-US,
                                         Medium, Black)
                                                                                                                                       4.3                 3,420   -14% 599 $       00
                                                                                                                                                                                          $699.99

                                                                                                                                                                                                                                                   Sponsored
Tools & Home Improvement › Lighting & Ceiling Fans › Ceiling Lights › Pendant Lights


                                                                                                                                 E27 Base Wood Pendant Lamp                                                        $
                                                                                                                                                                                                                       6645
                                                                                                                                 Bedroom and Bedside Hanging Lights
                                                                                                                                                                                                                   FREE delivery March 21 - April
                                                                                                                                 Vintage Restaurant Bar Decorative                                                 11. Details
                                                                                                                                 Ceiling Lighting Fixture Nordic Simple                                                 Deliver to steven - Pittsburgh

                                                                                                                                 Light Chandelier for Kitchen Bar Living                                                15222


                                                                                                                                 Room Lantern                                                                      Usually ships within 3 to 4
                                                                                                                                 Brand: Generic                                                                    weeks
                                                                                                                                 Search this page
                                                                                                                                                                                                                   Quantity:
                                                                                                                                                                                                                    1Quantity: 1
                                                                                                                                 $
                                                                                                                                     66   45
                                                                                                                                                                                                                                 Add to Cart
                                                                                                                                  Or $16.61 /2 weeks (x4). Select from 2 plans
                                                                                                                                                                                                                                     Buy Now
                                                                                                                                      Save 5% at checkout Shop items

                                                                                                                                 30-day refund/replacement                                                         Ships from            LANJINYIHE

                                                                                                                                 Brand                Generic                                                      Sold by               LANJINYIHE
                                                                                                                                                                                                                   Returns               30-day
                                                                                                                                 Color                One Color                                                                          refund/replacem
                                                                                                                                 Room Type            Normal                                                                             ent
                                                                                                                                                                                                                   Customer service LANJINYIHE
                                                                                                                                 Product              3"L x 2"W x 1"H
                                                                                                                                                                                                                     See more
                                                                                                                                 Dimensions
                                                                                                                                 Speciﬁc Uses         Home                                                         Add a Protection Plan:
                                                                                                                                 For Product                                                                            3-Year Protection Plan for
                                                                                                                                                                                                                        $8.99
                                                                                                                                 About this item                                                                        4-Year Protection Plan for
                                                                                                                                         【Retro and simple appearance】The chandelier adopts a                           $11.99
                                                                                                                                     simple and elegant design, creating a retro and fashionable                        Asurion Complete Protect:
                                                                                                                                     appearance, which helps to decorate your home and make it                          One plan covers all eligible
                                                                                                                                     more beautiful and charming. A great choice for kitchen islands,                   past and future purchases
                                                                                                                                     living rooms, bedrooms, corridors, porches, balconies or foyer.                    (Renews Monthly Until
                                                                                                                                        【Material】Hanging lights are made of metal and wood                             Cancelled) for
                                                      Roll over image to zoom in                                                     materials. Selected logs are made through multiple processes                       $16.99/month
                                                                                                                                     such as cutting, grinding, soaking, painting, and multiple
                                                                                                                                     sanding. Carefully designed and manufactured, smooth paint,                       Add to List
                                                                                                                                     uniform brightness, ﬁrm ceiling cup, strong bearing capacity,
                                                                                                                                     safe and stable, easy to clean.
                                                                                                                                       【International Standard E27/E26 Base】The chandelier is
                                                                                                                                     compatible with any E26/E27 base bulb regardless of style or
                        Case 2:25-cv-00472-CB                                            Document 2-7                          Filed 04/10/25                           Page 82 of 227




                                                                                                                      color temperature. Safety certiﬁcation standard interface for                   Fast delivery during business
                                                                                                                      easy replacement and installation. Suitable for various types of                hours, ﬂexible payment options.
                                                                                                                      light sources. You can choose your favorite bulb!
                                                                                                                         【Widely Used】Adjustable Pendant lamp can add charm to                                Create a free account
                                                                                                                      any space (adjustable between 0-47.2 inches). You can adjust
                                                                                                                      the length of the hanging wire according to the height of your
                                                                                                                      home's ﬂoor. Perfect for your kitchen island, bedside or above
                                                                                                                      the dining table. The farmhouse industrial pendant lamp ﬁxture
                                                                                                                      can be hung from a ﬂat or sloped ceiling.
                                                                                                                          【After-Sales Service】We are always committed to
                                                                                                                      providing an excellent shopping experience to all our customers.
                                                                                                                      If you have any questions about our chandelier, please feel to
                                                                                                                      send us an email and we will answer you within 24 hours.
                                                                                                                  › See more product details                                                      Modern Farmhouse Black Amber
                                                                                                                          Report an issue with this product or seller                             Glass Pendant Lights (2-Pack)
                                                                                                                                                                                                  $   48 91
                                                                                                                                       Mini Metal Pendant Lights (2PK) for Kitchen,                                             Sponsored
                                                                                                                                       Dining, Hallway
                                                                                                                                       4.6                260
                                                                                                                                       $   59.99

                                                                                                                  Sponsored

Based on your recent views
Sponsored




        3 Pack 1 Light Hanging   2 Pack Single Kitchen       3 Pack 1 Light Industrial    3-Pack Black Farmhouse      Karjearl Modern Black          Farmhouse Pendant           MELUCEE 3 Pack
        Rustic Farmhouse 5.7"    Island Mini Metal Drum      Hanging Indoor Mini          Pendant Light               and Gold Pendant Light         Lights, Adjustable          Hanging Pendant
        Metal Lantern Cage       Pendant Light Industrial    Pendant Ceiling Light        Adjustable Pendant          Fixtures, 11.8" Dome           Hanging Light Fixtures      Lighting Fixtures
        Pendant Ceiling Lig...   Hanging Ceiling Light…      Fixtures Black ...           Lighting for Kitchen Isl…   Farmhouse Hanging Li…          with Hammered Metal…        Brushed Nickel, Adjust…
        $
            11599                4.6              260        4.7                14        4.7               275       4.7               239          4.7              76         4.6               64
                                     Amazon's Choice         $
                                                                 5999 ($20.00 / Count)     Amazon's Choice            $
                                                                                                                          11999 ($40.00 / Count)     $
                                                                                                                                                         5699                    $
                                                                                                                                                                                     9999 ($33.33 / Count)
                                 $   5999 ($30.00 / Count)                                -6% $7999                   Save $10.00 with               Save 10% with coupon
                                                                                          ($26.66 / Count)            coupon
                                                                                          List: $84.99
                                                                                          Save 5% with coupon




Related to items you've viewed See more
                                Case 2:25-cv-00472-CB                                                  Document 2-7                                   Filed 04/10/25                                  Page 83 of 227




          SESIMENT Farmhouse                Mgcanyu Black Pendant            ALAISLYC Black                    Industrial Pendant Lights,        LOEHINLE Pendant                   LAMKNVS Matte Black
          Pendant Lighting for              Lights Kitchen Island,           Farmhouse Pendant                 Black Pendant Light               Lighting Vintage                   Mini Pendant Light 7.87in
          Kitchen Island,Black and          11.8" Hammered Metal             Lights Matte Pendant              Fixtures, Vintage Pendant         Industrial Fixtures, Black         Cone Kitchen Island
          Gold Dome Pendant Light           Black Dome Pendant               Lighting for Kitchen              Lights for Kitchen Island         Metal Farmhouse Light…             Pendant Lighting with
          Fixtures, Industrial…             Lighting Black and Woo…          Island Industrial…                with Black Metal Shade…                            378               Gold Modern Hollow…
                          85                               65                                151                               57                    Amazon's Choice                                 16
          $
              6799 ($34.00/Count)           -10% $5669                       $
                                                                                 7999 ($26.66/Count)           $
                                                                                                                   6290 ($20.97/Count)           $   2997
                                                                                                                                                                                    $
                                                                                                                                                                                        3395
                    FREE Delivery Friday,   $62.99                                     FREE Delivery Friday,             FREE Delivery Friday,                                                 FREE Delivery Friday,
                                                                                                                                                            FREE Delivery Friday,
          Jan 24                                     FREE Delivery Friday,   Jan 24                            Jan 24                                                               Jan 24
                                                                                                                                                 Jan 24
                                            Jan 24



Product information

Technical Details                                                                                                                         Additional Information

  Brand                                                            Generic                                                                ASIN                                                                 B0DFVZ1WSB

  Color                                                            One Color                                                              Date First Available                                                 August 30, 2024

  Room Type                                                        Normal                                                                 Warranty & Support
  Product Dimensions                                               3"L x 2"W x 1"H
                                                                                                                                          Amazon.com Return Policy: Amazon.com Voluntary 30-Day Return Guarantee: You can return many items
  Speciﬁc Uses For Product                                         Home                                                                   you have purchased within 30 days following delivery of the item to you. Our Voluntary 30-Day Return
                                                                                                                                          Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out more about the
  Indoor/Outdoor Usage                                             Indoor                                                                 exceptions and conditions here.

  Power Source                                                     AC
                                                                                                                                          Product Warranty: For warranty information about this product, please click here
  Item Weight                                                      50 Grams
                                                                                                                                          Feedback
  Number of Items                                                  1
                                                                                                                                          Would you like to tell us about a lower price?
  Unit Count                                                       1.0 Count

  Assembly Required                                                No

  Manufacturer                                                     Generic

  Model Name                                                       KJLPOKBKC

  Part Number                                                      KJLPOKBKC

  Item Weight                                                      1.76 ounces

  Country of Origin                                                China

  Item model number                                                KJLPOKBKC




Product details
                            Case 2:25-cv-00472-CB                                                Document 2-7                                Filed 04/10/25                    Page 84 of 227




Product details
  Product Dimensions : 1.18 x 0.79 x 0.39 inches; 1.76 ounces
  Item model number : KJLPOKBKC
  Department : Unisex Adult
  Date First Available : August 30, 2024
  Manufacturer : Generic
  ASIN : B0DFVZ1WSB
  Country of Origin : China




Videos
Help others learn more about this product by uploading a video!


  Upload your video




Product Description

     Product Description

     Style: Chandelier

     Applicable Space: This creative chandelier will light up your living space, suitable for bedroom, porch, restaurant, bar, cafe, living room, corridor, balcony, etc.

     Color: Black

     Material: Metal + Wood

     Size:

     Diameter: 26cm/10.2in, Height: 28cm/11.0in

     Indoor/Outdoor Use: Indoor/Outdoor

     Voltage: 110-220V(AC)

     Light Stand: E27/E26

     Included Components Mounting Hardware

     Item Quantity: 1

     Controller Type: Push Button

     Switch Type: Push Button

     Number of Light Sources: 1

     Mounting Type: Ceiling Mounting

     Assembly Required: No

     Warm Reminder.

     1.Due to the diﬀerence between monitors and ambient light, the color diﬀerence between the product image and the product will be slightly diﬀerent. Please refer to the real thing.
                              Case 2:25-cv-00472-CB                           Document 2-7              Filed 04/10/25   Page 85 of 227




         Please conﬁrm the size and color before purchase.




                                                                  2-Pack Mini Metal Pendant Light for Kitchen, Dining,
                                                                  Entry
                                                                  4.6              260
                                                                  $   59 99



                                                                                                                              Sponsored




     Looking for speciﬁc info?




Customer reviews                                             No customer reviews

5 star                                       0%

4 star                                       0%

3 star                                       0%

2 star                                       0%

1 star                                       0%

How customer reviews and ratings work




Review this product
Share your thoughts with other customers

               Write a customer review




                                                                                          Back to top
Case 2:25-cv-00472-CB                                     Document 2-7                                 Filed 04/10/25                               Page 86 of 227




   Get to Know Us                          Make Money with Us                                  Amazon Payment Products                                 Let Us Help You
   Careers                                 Sell on Amazon                                      Amazon Visa                                             Your Account
   Amazon                                  Sell apps on Amazon                                 Amazon Store Card                                       Your Orders
   Newsletter
                                           Supply to Amazon                                    Amazon Secured Card                                     Shipping Rates &
   About Amazon                                                                                                                                        Policies
                                           Protect & Build Your                                Amazon Business Card
   Accessibility                           Brand                                                                                                       Amazon Prime
                                                                                               Shop with Points
   Sustainability                          Become an Aﬃliate                                                                                           Returns &
                                                                                               Credit Card Marketplace
                                                                                                                                                       Replacements
   Press Center                            Become a Delivery Driver
                                                                                               Reload Your Balance                                     Manage Your
   Investor Relations                      Start a Package Delivery                                                                                    Content and Devices
                                           Business                                            Gift Cards
   Amazon Devices                                                                                                                                      Recalls and Product
                                           Advertise Your Products                             Amazon Currency Converter
   Amazon Science                                                                                                                                      Safety Alerts
                                           Self-Publish with Us                                                                                        Registry & Gift List
                                           Become an Amazon Hub                                                                                        Help
                                           Partner
                                           › See More Ways to Make
                                           Money




                                                                                    English                 United States




   Amazon Music         Amazon Ads                 6pm                        AbeBooks                  ACX                       Sell on Amazon              Veeqo
   Stream millions      Reach customers            Score deals                Books, art                Audiobook                 Start a Selling             Shipping Software
   of songs             wherever they              on fashion brands          & collectibles            Publishing                Account                     Inventory
                        spend their time                                                                Made Easy                                             Management

   Amazon Business      Amazon Fresh               AmazonGlobal               Home Services             Amazon Web                Audible                     Box Oﬃce Mojo
   Everything For       Groceries & More           Ship Orders                Experienced Pros          Services                  Listen to Books &           Find Movie
   Your Business        Right To Your Door         Internationally            Happiness                 Scalable Cloud            Original                    Box Oﬃce Data
                                                                              Guarantee                 Computing                 Audio
                                                                                                        Services                  Performances

   Goodreads            IMDb                       IMDbPro                    Kindle Direct             Amazon Photos             Prime Video Direct          Shopbop
   Book reviews         Movies, TV                 Get Info                   Publishing                Unlimited Photo           Video Distribution          Designer
   &                    & Celebrities              Entertainment              Indie Digital &           Storage                   Made Easy                   Fashion Brands
   recommendations                                 Professionals Need         Print Publishing          Free With Prime
                                                                              Made Easy

   Amazon Resale        Whole Foods                Woot!                      Zappos                    Ring                      eero WiFi                   Blink
   Great Deals on       Market                     Deals and                  Shoes &                   Smart Home                Stream 4K Video             Smart Security
   Quality Used         America’s                  Shenanigans                Clothing                  Security Systems          in Every Room               for Every Home
   Products             Healthiest
                        Grocery Store

                        Neighbors App              Amazon                     PillPack                  Amazon Renewed
                        Real-Time Crime            Subscription Boxes         Pharmacy                  Like-new products
                        & Safety Alerts            Top subscription           Simpliﬁed                 you can trust
                                                   boxes – right to
                                                   your door



                                 Conditions of Use    Privacy Notice    Consumer Health Data Privacy Disclosure   Your Ads Privacy Choices
                                                                 © 1996-2025, Amazon.com, Inc. or its aﬃliates
              Case 2:25-cv-00472-CB                     Document 2-7          Filed 04/10/25      Page 87 of 227




                                                          Secure checkout

Delivering to steven howard                                                              Change                 Place your order
223 4TH AVE, PITTSBURGH, PA, 15222-1717, United States
                                                                                                  By placing your order, you agree to Amazon's
Add delivery instructions                                                                         privacy notice and conditions of use.



                                                                                                  Items:                                $66.45
                                                                                         Change   Shipping & handling:                   $0.00
Paying with Visa 3651
                                                                                                  Promotion Applied:                    -$3.32

Select a payment plan                                                                             Estimated tax to be collected:*        $3.79

Like $11.54/mo (6 mo) at 11.99% APR                                                               Order total:                      $66.92
Use Chase Ultimate Rewards points
$78.61 (9,827 points) available
Use a gift card, voucher, or promo code




Arriving Mar 21, 2025 - Apr 11, 2025
                                                            Friday, Mar 21 - Friday, Apr 11
                    E27 Base Wood Pendant Lamp              FREE Delivery
                    Bedroom and Bedside Hanging
                    Lights Vintage Restaurant Bar
                    Decorative Ceiling Lighting
                    Fixture Nordic Simple Light
                    Chandelier for Kitchen Bar Living
                    Room Lantern
                    $63.13
                    $3.32 discount applied
                    Ships from LANJINYIHE
                    Sold by LANJINYIHE
                   Case 2:25-cv-00472-CB                          Document 2-7                 Filed 04/10/25                   Page 88 of 227




               1

   Gift options not available




       Place your order             Order total: $66.92
                                    By placing your order, you agree to Amazon's privacy notice and conditions of use.




Why has sales tax been applied? See tax and seller information.
Do you need help? Explore our Help pages or contact us
For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message acknowledg
purchase an item will not be complete until we send you an email notifying you that the item has been shipped.
Colorado Purchasers: Important information regarding sales tax you may owe in your State
Within 30 days of delivery, you may return new, unopened merchandise in its original condition. Exceptions and restrictions a
Back to cart




                                                                               Back to top




                                                                     English                 United States               Help



                               Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure     Your Ads Privacy Choices
                                                             © 1996-2025, Amazon.com, Inc. or its aﬃliates
                                                        Case 2:25-cv-00472-CB                                                                             Document 2-7                                                         Filed 04/10/25                                                Page 89 of 227




1/22/25, 2:21 PM                                                                                                                                                                    elegant industrial black metal chandelier jx 01 pendant - Temu


                                                                                 Free shipping                                                                                                                   Free returns
                                                                                 Excludes items shipped from local warehouses                                                                                    Up to 90 days*                                                                           Get the Temu App


                                                                                                                                                                                                                                                                          Hello, Mike Kate
                                                                                         Best Sellers       5-Star Rated        Valentine's Day        Local Warehouse         Categories           pendant light kitchen                                                                             Support              EN
                                                                                                                                                                                                                                                                          Orders & Account


                                                                         Home      Tools & Home Improvement         Lighting & Ceiling Fans    Elegant Industrial Black M...

                                                                                                                                                                                                                        Local warehouse Elegant Industrial Black Metal Chandelier - JX 01 Pendant
                                                                                                                                                                                                                     Light with Textured Shade, Matte Finish, DC Powered (Bulb Not Included) -
                                                                                                                                                                                                                     Ideal for Modern Home Decor, 9.32" Height, Chandeliers for Ceiling
                                                                                                                                                                                                                      Brand: OUKANING

                                                                                                                                                                                                                     Sold by


                                                                                                                                                                                                                     ALMOST SOLD OUT $98.30 Pay $9.10 today

                                                                                                                                                                                                                             Free shipping for this item


                                                                                                                                                                                                                     Color: Black

                                                                                                                                                                                                                     Qty       1


                                                                                                                                                                                                                                                                                         Few left! Buy now!
                                                                                                                                                                                                                                           Add to cart
                                                                                                                                                                                                                                                                                     Fastest delivery in 2 business days



                                                                                                                                                                                                                           Free shipping for this item
                                                                                                                                                                                                                           Standard: FREE, Fastest delivery in 2 business days

                                                                                                                                                                                                                           Why choose Temu

                                                                                                                                                                                                                             Security & Privacy      Delivery guarantee
                                                                                                                                                                                                                                 Safe payments           $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                                                                 Secure privacy          15-day no update refund        20-day no delivery refund


                                                                                                                                                                                                                           Free returns Price adjustment

                                                                                                                                                                                                                           Temu's Tree Planting Program (16M+ trees)

                                                                                               Full Goods Shop
                                                                                               317 Followers      1.2K+ Sold       4.5

                                                                                                                  Follow                             Shop all items (224)




                                                                         Product details                                                                                 Save     Report this item

                                                                         Material: Other material

                                                                         Style: Modern

                                                                         Shape: Other Shapes

                                                                         See more

                                                                         Store Information




                                                                                                                                                                                                                                                                                                                                                                                             99+

        BONUS                                                                                                                                                                                                                                                                                                                                                                            Messages
       COUPONS

                                                                                                                                                                                                                                                                                                                                                                                         Feedback
                                                                                 Free shipping (excluding items shipped
                                                                                                                                                            Price adjustment within 30 days
                                                                                 from local warehouses)
https://www.temu.com/goods.html?_bg_fs=1&refer_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_share_channel=copy_link&share_img=https%3A%2F%2Fimg.kwcdn.com%2Fproduct%2Ffancy%2F3a980c34-05ef-49dd-b34a-d5a7943ee9ee.jpg&from_share=1&goods_id=601099918178054&_oak_page_source=417&_oak_region=211&_x_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_page_name=goods&refer_page_id=10032_17…    1/6
                                                        Case 2:25-cv-00472-CB                                                                             Document 2-7                                                        Filed 04/10/25                                                Page 90 of 227




1/22/25, 2:21 PM                                                                                                                                                                   elegant industrial black metal chandelier jx 01 pendant - Temu


                                                                                 Free shipping                                                                                                                  Free returns
                                                                                 Excludes items shipped from local warehouses                                                                                   Up to 90 days*                                                                         Get the Temu App


                                                                                                                                                                                                                                                                         Hello, Mike Kate
                                                                                         Best Sellers       5-Star Rated         Valentine's Day         Local Warehouse     Categories             pendant light kitchen                                                                         Support           EN
                                                                                                                                                                                                                                                                         Orders & Account




                                                                         What you get:
                                                                         1x Unassembed Pendant Light (Bulbs Not Included)
                                                                         1x Screws sets
                                                                         1 xInstruction Manual




                                                                         Explore your interests
                                                                                                                    AD                                                                                                                                                                                                   AD




                                                                          Local Modern LED3 Chandelier, Very Sim…           Desktop Gyroscope,Office Desk Decorative…       Local Vintage Home Decor Candle Warm…                    Local Elegant Asymmetrical Wall Mirror - …    Local Large Outdoor Rocking Chair, Over…

                                                                         $18.74 $32.39                                      $9.93 $63.46    1.7K+ sold                     $17.79 $34.99         2.4K+ sold                         $49.65 463 sold                               $149.00 $622.38      1.9K+ sold
                                                                         after $1.26 off applied                            Lowest price ever                                                 210                                                                                 BEST SELLER in Patio Furniture
                                                                         Lowest price ever                                                                                  Brand: LUOJIBIE                                                                                                      172
                                                                             Direct from KYOEON                                High repeat customers store                                                                                                                           High repeat customers store




                                                                                                                                                                                                                                                                                                                                                                                             99+

        BONUS                                                                                                                                                                                                                                                                                                                                                                            Messages
       COUPONS

                                                                                                                                                                                                                                                                                                                                                                                         Feedback
                                                                                 Free shipping (excluding items shipped
                                                                                                                                                            Price adjustment within 30 days
                                                                                 from local warehouses)
https://www.temu.com/goods.html?_bg_fs=1&refer_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_share_channel=copy_link&share_img=https%3A%2F%2Fimg.kwcdn.com%2Fproduct%2Ffancy%2F3a980c34-05ef-49dd-b34a-d5a7943ee9ee.jpg&from_share=1&goods_id=601099918178054&_oak_page_source=417&_oak_region=211&_x_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_page_name=goods&refer_page_id=10032_17…    2/6
                                                        Case 2:25-cv-00472-CB                                                                                Document 2-7                                                     Filed 04/10/25                                                 Page 91 of 227




1/22/25, 2:21 PM                                                                                                                                                                   elegant industrial black metal chandelier jx 01 pendant - Temu


                                                                                 Free shipping                                                                                                                  Free returns                                                AD
                                                                                 Excludes items shipped from local warehouses                                                                                   Up to 90 days*                                                                          Get the Temu App


                                                                                                                                                                                                                                                                          Hello, Mike Kate
                                                                                         Best Sellers       5-Star Rated        Valentine's Day          Local Warehouse     Categories            pendant light kitchen                                                                              Support     EN
                                                                                                                                                                                                                                                                          Orders & Account




                                                                         A Weekly Pill Organizer, A 7-day Pill Box, A…     Local 16.2'' Large Digital Wall Clock with …     Local FABULETTA Cordless Vacuum Clean…                   Local Stove Sovers For Stove Top - Silicon…   1pc Woodcraft Wind Chime Healing Syste…

                                                                         $6.79 $19.99 72K+ sold                            $22.73 $43.99        1.1K+ sold                 $47.82       737 sold                                    $9.97 $29.99     5.5K+ sold                    $4.59 $42.98 23K+ sold
                                                                         #1 TOP RATED in Home Use Medical Su…              #8 TOP RATED in Office & School Suppl…          after $8.00 off applied                                  TOP RATED in Food Service Equipment …          #4 MOST REPURCHASED in Crafting
                                                                                          2,453                                            76                              #2 TOP RATED in Vacuums & Floor Care                                     625                                           1,226


                                                                                                                                                                            Brand: FABULETTA



                                                                                                                                                                                                                            AD




                                                                          Local 1-Hole or 3-Hole Single Handle Kitc…       Local Sleek 7-Color LED Face & Neck Mas…         Local 3-Pack Globe Pendant Light Fixture…               1pc USB-Powered Water Ripple Effect Proj…       Local ClocTeck Nixie Tube Clock Wooden …

                                                                         Last day $21.20 $136.99 355 sold                  $25.21 13 sold                                  $62.62 $99.99 11 sold                                    $5.85 $17.76 5.1K+ sold                        $45.80 $267.90 386 sold
                                                                                                                                                                           after $5.00 off applied                                  #2 TOP RATED in Lighting                       Lowest price in half year
                                                                                                                                                                           Lowest price ever                                                                                                      53
                                                                                                                                                                                                                                                                                    Brand: CLOCTECK



                                                                                                                                                                    AD




                                                                          Local Three in One Charging Station Alar…        Local Globe Pendant Light Fixtures Glass …      2Pcs/4pcs/6pcs Table Lamp Metal Adapter…                  Local 3pcs/6pcs/12pcs, Motion Sensor Ni…       Local 1pc Levitating Moon Table Lamp, M…

                                                                         $16.00 $48.39       2.2K+ sold                    $48.17 $85.99 3 sold                            $3.78 $21.95 750 sold                                    $8.97 $32.00     3.6K+ sold                    $47.24 $308.99 125 sold
                                                                         Lowest price in 30 days Original Design           after $4.00 off applied                                           51                                                     382                            Lowest price in 30 days
                                                                                          181                              ONLY 8 LEFT                                         High repeat customers store                              High repeat customers store
                                                                          Brand: RICHBIRD




                                                                                                                                                                                                                                                                                                                                                                                             99+

        BONUS                                                                                                                                                                                                                                                                                                                                                                            Messages
       COUPONS

                                                                                                                                                                                                                                                                                                                                                                                         Feedback
                                                                                 Free shipping (excluding items shipped
                                                                                                                                                             Price adjustment within 30 days
                                                                                 from local warehouses)
https://www.temu.com/goods.html?_bg_fs=1&refer_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_share_channel=copy_link&share_img=https%3A%2F%2Fimg.kwcdn.com%2Fproduct%2Ffancy%2F3a980c34-05ef-49dd-b34a-d5a7943ee9ee.jpg&from_share=1&goods_id=601099918178054&_oak_page_source=417&_oak_region=211&_x_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_page_name=goods&refer_page_id=10032_17…    3/6
                                                        Case 2:25-cv-00472-CB                                                                            Document 2-7                                                         Filed 04/10/25                                                 Page 92 of 227




1/22/25, 2:21 PM                                                                                                                                                                   elegant industrial black metal chandelier jx 01 pendant - Temu


                                                                                 Free shipping                      AD                                                                                          Free returns                                                                                               AD
                                                                                 Excludes items shipped from local warehouses                                                                                   Up to 90 days*                                                                         Get the Temu App


                                                                                                                                                                                                                                                                          Hello, Mike Kate
                                                                                         Best Sellers       5-Star Rated        Valentine's Day        Local Warehouse       Categories            pendant light kitchen                                                                            Support         EN
                                                                                                                                                                                                                                                                          Orders & Account




                                                                          Local 12 Inch High Pressure Rainfall Show…       Naked Eye 3D Visual Night Light, Optical Ill…    Local Black Motion Sensor USB Charging …                 Local Christmas Healing Gift Natural Heal…     Local Bedside Table Lamp Set Of 2 - Smal…

                                                                         $28.66 $118.07        11K+ sold                   $14.27 $69.99 365 sold                          $10.40 16 sold                                           $33.00 $93.57 705 sold                         $29.30 $79.99 127 sold
                                                                         #3 BEST SELLER in Bath Fixtures in Black                                                                                                                                   72                             Lowest price in 90 days
                                                                                          1,377                                                                                                                                         High repeat customers store
                                                                             Low item return rate store                                                                                                                                                                               High repeat customers store


                                                                                                                                                                                                                                                                            AD




                                                                         7-Day Dual Compartment Pill Organizer: B…         Local Couple Lazy Sofa, Adult Bean Bag C…        Local 3-lamp Bathroom Light Fixture, Silv…               Local 1Pc Microfiber Ceiling Fan Duster w…    [Mechanical Spider Puzzle Toy] Christmas …

                                                                         $4.94 $32.78 1.1K+ sold                           $83.17 $519.99 607 sold                         $29.37 26 sold                                           $6.52 $10.85 1K+ sold                          $9.26 $31.99     1.1K+ sold
                                                                                          74                                                                                                                                        BEST SELLER in Household & Cleaning …
                                                                             High repeat customers store                                                                                                                                                                              High repeat customers store


                                                                                                                                                                                                                            AD




                                                                          Local LED Garage Lights 1/2/4 Pack 6+1 …         Local 1pc WLIVE Wooden End Table with …          Local 1pc Whisker Wonders Interactive U…                Steampunk Snail Metal Model Kit - DIY Ass…      Local Soft & Warm Bear-Shaped Slippers …

                                                                            $7.21 $20.99       31K+ sold                   $68.36     665 sold                             Last day $3.04 $29.99 9.2K+ sold                         $15.33 $25.01 196 sold                         $22.24 69 sold
                                                                         #1 TOP RATED in Commercial Lighting               #9 MOST REPURCHASED in Office Furni…            #5 BEST SELLER in Pet Toys: Plastic
                                                                                          3,328                                                                                              688                                        High repeat customers store                   High repeat customers store
                                                                             High repeat customers store                   Brand: WLIVE



                                                                                                                                                                    AD




                                                                                                                                                                                                                                                                                                                                                                                             99+

        BONUS                                                                                                                                                                                                                                                                                                                                                                            Messages
       COUPONS

                                                                                                                                                                                                                                                                                                                                                                                         Feedback
                                                                                 Free shipping (excluding items shipped
                                                                                                                                                            Price adjustment within 30 days
                                                                                from local warehouses)
                                                                          Local High-Pressure Single Handle Kitche…        Local [Set of Two Modern Pendant Lights…        Weekly Pill Organizer, Four Times-a-Day, D…               Local Wireless Charging Station, 3 in 1 Ch…    Local [9.84in Metal Base Pendant Light] 2…
https://www.temu.com/goods.html?_bg_fs=1&refer_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_share_channel=copy_link&share_img=https%3A%2F%2Fimg.kwcdn.com%2Fproduct%2Ffancy%2F3a980c34-05ef-49dd-b34a-d5a7943ee9ee.jpg&from_share=1&goods_id=601099918178054&_oak_page_source=417&_oak_region=211&_x_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_page_name=goods&refer_page_id=10032_17…    4/6
                                                        Case 2:25-cv-00472-CB                                                                             Document 2-7                                                        Filed 04/10/25                                                 Page 93 of 227




1/22/25, 2:21 PM                                                                                                                                                                   elegant industrial black metal chandelier jx 01 pendant - Temu

                                                                         $77.26 161 sold
                                                                              Free  shipping                               $54.31 1 sold                                     $4.00 $22.64 30K+ sold             Free returns $21.42 $48.39 491 sold                                $95.25 $146.99 2 sold
                                                                              Excludes items shipped  from local                                                                                                Up to 90 days*BEST SELLER in Wireless Chargers: USB                                      Get the Temu App
                                                                         #10 MOST REPURCHASED    in Kitchen Fi… warehouses
                                                                                                                 after $5.00 off applied                                   Lowest price ever                                                                                       after $8.00 off applied
                                                                                                                                                                                             384                                                                                   ONLY 9 LEFT
                                                                                                                                                                                                                                                                          Hello, Mike Kate
                                                                             Fast delivery store
                                                                                        Best Sellers        5-Star Rated        Valentine's Day          Local Warehouse      High repeat customers
                                                                                                                                                                             Categories      pendantstore
                                                                                                                                                                                                     light kitchen                                                                                  Support        EN
                                                                                                                                                                                                                                                                          Orders & Account


                                                                                                                    AD                                                                                                                                                                                                    AD




                                                                          Local Modern Touch-Controlled LED Des…           Rechargeable LED Touch Control Table La…         Local 3Pcs Window Breaker Seatbelt Cutt…                 Local Sputnik Chandeliers, Modern 18-Li…       Local One Set, Household Cleaning Mop …

                                                                            $7.55 $15.90 37 sold                           $11.45 $56.69      1K+ sold                     $2.45 $19.89 20 sold                                     $44.18 1 sold                                  $17.78 1 sold
                                                                                                                           BEST SELLER in Adjustable Lighting & C…


                                                                                                                              High repeat customers store


                                                                                                                                                                                                                                                                            AD




                                                                         Steampunk Wooden Robot Pendant Neckl…             Local 48pcs Disposable Shower Drain Hai…         Local LORYERGO 1pc 27 Inch Tall C-Shap…                  Local Bielmeier Pink Cordless Staple Gun,…    1pc 15ft Pendant Light Cord, Hanging Ligh…

                                                                            $5.48 $12.99 97 sold                           $2.70 18 sold                                   Last day $16.66            9.4K+ sold                    $29.91 $38.68       4.2K+ sold                 $9.89 $78.92    3.5K+ sold
                                                                         Lowest price in 30 days                              High repeat customers store                  TOP RATED in Furniture                                   #9 TOP RATED in Power Tools                    MOST REPURCHASED in Lighting & Ceil…
                                                                                                                                                                                             917                                                    614                                            278
                                                                                                                                                                            Brand: LORYERGO                                          Brand: BIELMEIER                                 High repeat customers store


                                                                                                                                                                                                                            AD




                                                                          Local 1pc Tub Drain Overflow Kit Stainles…       Local 1PC Retro Vintage Crazy Horse Leat…        Local 1pc Square Round Corner Wood M…                   Iron Chain Wine Bottle Holder, Decorative …     Local 2pcs 3 Colors In 1 Guitar Wall Mou…

                                                                         $10.33 2 sold                                     $23.27 $109.57 60 sold                          $26.97 $46.99 210 sold                                   $7.17 $60.82    7.9K+ sold                     $17.72 $47.99 70 sold
                                                                             Low item return rate store                    Lowest price in 30 days                                                                                  BEST SELLER in Wine Making & Supplies
                                                                                                                                                                                                                                                    115                               Low item return rate store
                                                                                                                                                                                                                                        High repeat customers store


                                                                                                                                                                                                                                                                                                                                                                                             99+

        BONUS                                                                                                                                                                                                                                                                                                                                                                            Messages
       COUPONS

                                                                                                                                                                                                                                                                                                                                                                                         Feedback
                                                                                 Free shipping (excluding items shipped
                                                                                                                                                            Price adjustment within 30 days
                                                                                 from local warehouses)
https://www.temu.com/goods.html?_bg_fs=1&refer_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_share_channel=copy_link&share_img=https%3A%2F%2Fimg.kwcdn.com%2Fproduct%2Ffancy%2F3a980c34-05ef-49dd-b34a-d5a7943ee9ee.jpg&from_share=1&goods_id=601099918178054&_oak_page_source=417&_oak_region=211&_x_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_page_name=goods&refer_page_id=10032_17…    5/6
                                                        Case 2:25-cv-00472-CB                                                                              Document 2-7                                                         Filed 04/10/25                                                  Page 94 of 227




1/22/25, 2:21 PM                                                                                                                                                                     elegant industrial black metal chandelier jx 01 pendant - Temu


                                                                                 Free shipping                                                                          AD                                        Free returns
                                                                                 Excludes items shipped from local warehouses                                                                                     Up to 90 days*                                                                         Get the Temu App


                                                                                                                                                                                                                                                                             Hello, Mike Kate
                                                                                         Best Sellers       5-Star Rated        Valentine's Day          Local Warehouse       Categories            pendant light kitchen                                                                            Support          EN
                                                                                                                                                                                                                                                                             Orders & Account




                                                                          Local USB Rechargeable Interactive Cat T…        Local Bamboo Extra Thick Mattress Toppe…           Local 3/2pcs/Set LED Wall Mounted Light…                Durable Double-Layer Space-Saving Rollin…        Local 2pcs Bedside Table Lamp for Bedro…

                                                                         $3.12 $29.99 90 sold                              $34.34 $89.99      8.6K+ sold                     $21.44 310 sold                                          $5.36 $49.45 67K+ sold                          Last day $8.25 $20.70 204 sold
                                                                         Lowest price ever                                                 1,395                             BEST SELLER in Office Lighting: Plastic                  #1 BEST SELLER in Refrigerators, Freezer…       #2 NEW ARRIVAL in Lighting & Accesso…
                                                                                                                                                                                                                                                      1,776
                                                                                                                                                                                 High repeat customers store                                                                             Fast delivery store



                                                                                                                                                                                             View more




                                                                         Company info                                                    Customer service                                                     Help
                                                                                                                                                                                                                                                                   Start Selling to Millions of Buyers
                                                                         About Temu                                                      Return and refund policy                                             Support center & FAQ                                 on Temu
                                                                         Temu – Shop Like a Billionaire                                  Intellectual property policy                                         Safety center                                           Start a Selling Account
                                                                         Affiliate & Influencer: Earn Commission
                                                                                                                                         Shipping info                                                        Temu purchase protection
                                                                         Contact us
                                                                                                                                         Your Recalls and Product Safety Alerts                               Sitemap
                                                                                                                                                                                                                                                                 Download the Temu App
                                                                         Careers
                                                                                                                                         Report suspicious activity                                           How to order
                                                                                                                                                                                                                                                                     Price-drop alerts                  Track orders any time
                                                                         Press
                                                                                                                                                                                                              How to track
                                                                                                                                                                                                                                                                     Faster & more secure c…            Low stock items alerts
                                                                         Temu's Tree Planting Program
                                                                                                                                                                                                              Partner with Temu                                      Exclusive offers                   Coupons & offers alerts

                                                                                                                                                                                                                                                                             Download on the               Get it on
                                                                                                                                                                                                                                                                             App Store                     Google Play


                                                                                                                                                                                                                                                                 Connect with Temu




                                                                         Security certification                                                                                                               We accept




                                                                                                                                © 2024 WhaleCo Inc.      Terms of use    Privacy policy   Consumer health data privacy policy          Your privacy choices     Ad Choices




                                                                                                                                                                                                                                                                                                                                                                                             99+

        BONUS                                                                                                                                                                                                                                                                                                                                                                            Messages
       COUPONS

                                                                                                                                                                                                                                                                                                                                                                                         Feedback



https://www.temu.com/goods.html?_bg_fs=1&refer_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_share_channel=copy_link&share_img=https%3A%2F%2Fimg.kwcdn.com%2Fproduct%2Ffancy%2F3a980c34-05ef-49dd-b34a-d5a7943ee9ee.jpg&from_share=1&goods_id=601099918178054&_oak_page_source=417&_oak_region=211&_x_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&refer_page_name=goods&refer_page_id=10032_17…    6/6
                                                        Case 2:25-cv-00472-CB                                                                             Document 2-7                                                    Filed 04/10/25                                               Page 95 of 227




1/22/25, 2:22 PM                                                                                                                                                                                       Temu | Checkout


                                                                                 Free shipping                                                                                             Free returns
                                                                                 Special for you                                                                                           Up to 90 days*
                                                                                                                                                                                                                                                                                                    Get the Temu App


                                                                                          $5.00 Credit for delay


                                                                          Home      Checkout

                                                                                                                                                                                                                                                        Order summary
                                                                                    Free shipping on all items of this order
                                                                                                                                                                                                                                                          Enter coupon code                                       Apply
                                                                          Shipping address                                                                                                                               Change address

                                                                                                                                                                                                                                                        Apply coupon code
                                                                             Mike Kate +1 (847)653-0228
                                                                             223 4th Ave LBBY                                                                                                                                                           Item(s) total:                                               $98.30

                                                                             PITTSBURGH, PA 15222-1713, United States
                                                                                                                                                                                                                                                        Shipping:                                                      FREE

                                                                                                                                                                                                                                                        Sales tax:                                                    $6.88

                                                                          Ships from         Full Goods Shop (1)           Local Warehouse
                                                                                                                                                                                                                                                        Order total:                                               $105.18
                                                                                                          Elegant Industrial Black Metal Chandelier - JX 01 Pendant Light with Textured Shade, Matte Finish, DC Powered (Bul…
                                                                                                                                                                                                                                                        By submitting your order, you agree to our Terms of Use and
                                                                                                          Brand: OUKANING                                                                                                                               Privacy Policy.
                                                                                                                                                                                                                           Qty:   1
                                                                                                          Black
                                                                                                                                                                                                                                                        Plant with Temu
                                                                                                                                                                                                                                                             We invite you to plant a tree for $0.35

                                                                              ALMOST SOLD OUT                                                                                                                                                                                     Submit order
                                                                                                          $98.30
                                                                                                                                                                                                                                                                                     Almost sold out
                                                                          Standard shipping: FREE, delivery: 2-7 business days, fastest delivery in 2 business days
                                                                                                                                                                                                                                                            Temu's Tree Planting Program
                                                                                                                                                                                                                                                        Temu and its users have donated funds to Trees for the
                                                                          Payment methods
                                                                                                                                                                                                                                                        Future to plant trees across sub-Saharan Africa

                                                                                          Visa ...1950                                                                                                                            Edit


                                                                                                                                                                                                                                                            Delivery guarantee
                                                                                          Add a new card
                                                                                                                                                                                                                                                            $5.00 Credit for delay         Return if item damaged
                                                                                                                                                                                                                                                            15-day no update refund          20-day no delivery refund
                                                                                          PayPal           Remember my PayPal
                                                                                                                                                                                                                                                        Learn more


                                                                                          Cash App Pay                                                                                                                                                      Temu protects your card information
                                                                                                                                                                                                                                                            Temu follows the Payment Card Industry Data Security
                                                                                                                                                                                                                                                            Standard (PCI DSS) when handling card data
                                                                                          Klarna      4 interest-free payments of $26.29
                                                                                                                                                                                                                                                            Card information is secure and uncompromised
                                                                                                                                                                                                                                                            All data is encrypted
                                                                                          Afterpay       4 interest-free payments of $26.29
                                                                                                                                                                                                                                                            Temu never sells your card information


                                                                                          Affirm      4 interest-free payments or as low as $9.74/mo


                                                                                          Venmo
                                                                                                                                                                                                                                                            Secure privacy

                                                                                          Google Pay                                                                                                                                                    Protecting your privacy is important to us! Please be assured
                                                                                                                                                                                                                                                        that your information will be kept secured and
                                                                                                                                                                                                                                                        uncompromised. We do not sell your personal information
                                                                                          PayPal Pay Later                                                                                                                                              for money and will only use your information in accordance
                                                                                                                                                                                                                                                        with our privacy and cookie policy to provide and improve
                                                                                                                                                                                                                                                        our services to you.
                                                                                                                                                                                                                                                        Learn more

                                                                                                                                                                                                                                                            Temu purchase protection
                                                                                                                                                                                                                                                        Shop confidently on Temu knowing that if something goes
                                                                                                                                                                                                                                                        wrong, we've always got your back.
                                                                                                                                                                                                                                                        Learn more




https://www.temu.com/bgt_order_checkout.html?source_channel=1&title=Checkout&extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"31ccfa0f-8bfa-4381-ac17-61f4167054d1"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_amount%5C"%3A9830%7D"%7D&goods_amount=1&_x_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&_x_sessn_id=p9uzzyq09h&refer_page_name=shopping_cart&refer_page_id=10…   1/2
                                                        Case 2:25-cv-00472-CB                                                                             Document 2-7                                                   Filed 04/10/25                                                Page 96 of 227




1/22/25, 2:22 PM                                                                                                                                                                                       Temu | Checkout




https://www.temu.com/bgt_order_checkout.html?source_channel=1&title=Checkout&extend_map=%7B"ck_cart_login_status"%3A"1"%2C"cart_morgan_token"%3A"31ccfa0f-8bfa-4381-ac17-61f4167054d1"%2C"amount_extend"%3A"%7B%5C"parent_total_goods_amount%5C"%3A9830%7D"%7D&goods_amount=1&_x_share_id=l2yNiaAxzBibwnohfs2gWtcmu1Z2ejHE&_x_sessn_id=p9uzzyq09h&refer_page_name=shopping_cart&refer_page_id=10…   2/2
                           Case 2:25-cv-00472-CB                                     Document 2-7                       Filed 04/10/25                Page 97 of 227




1/22/25, 2:23 PM                                                         Industrial Pendant Light Rubber Wood Hanging Lamp With Hammered Metal Shade Mode | eBay
                                                                                                                                                                                                             1
      Hi Mike!       Daily Deals   Gift Cards    Help & Contact                                                                                                               Sell     My eBay



                       Shop by
                       category                 Search for anything                                                                                   All Categories                 Search          Advanced



         Back to home page     Home & Garden          Lamps, Lighting & Ceiling F…   Chandeliers & Ceiling Fixtu…                                                                                        Share


                                                                                                                                  Industrial Pendant Light Rubber Wood Hanging
                                                                                                                                  Lamp With Hammered Metal Shade Mode

                                                                                                                                         SuphapShop (3324)
                                                                                                                                         99.3% positive Seller's other items Contact seller



                                                                                                                                  Condition:    New




                                                                                                                                  US $77.36                                          Buy It Now


                                                                                                                                                                                     Add to cart


                                                                                                                                                                                 Add to Watchlist



                                                                                                                                  Shipping:      Free Standard Shipping. See details
                                                                                                                                                 Located in: New York, New York, United States

                                                                                                                                  Delivery:      Estimated between Fri, Jan 24 and Tue, Jan 28 to 60602



                                                                                                                                  Returns:       30 days returns. Seller pays for return shipping.
                                                                                                                                                 See details

                                                                                                                                  Payments:



                                                                                                                                                 Special financing available. See terms and apply now

                                                                                                                                                           Earn up to 5x points when you use your eBay
     Have one to sell? Sell now                                                                                                                            Mastercard®. Learn more



                                                                                                                                  Shop with confidence

                                                                                                                                       eBay Money Back Guarantee

     Similar Items                                                                                                                     Get the item you ordered or your money back. Learn more

     Sponsored                                                                        Feedback on our suggestions   |   See all




https://www.ebay.com/itm/314743337316?itmmeta=01J1YD2N2R5QTCSM7S096JD7WT&hash=item49482a3164:g:KE8AAOSwcNtkxsIc&itmprp=enc%3AAQAJAAAAwDhTdi9871CdbPNx%2BCJ5rvhK…                                                 1/7
                               Case 2:25-cv-00472-CB                                    Document 2-7                        Filed 04/10/25                      Page 98 of 227




1/22/25, 2:23 PM                                                           Industrial Pendant Light Rubber Wood Hanging Lamp With Hammered Metal Shade Mode | eBay




     (2 Pack) 1-Light Industrial         Industrial Pendant Light,      Eglo 94191A Black Tarbes     ELYONA 3 Pack Pendant
     Black Pendant Metal                 Rubber Wood Dome               12"W 3-Light Cage Style      Lights for Kitchen Island 7”
     Hanging Lamps Light…                Hanging Lamp with 12"…         Multi Light Pendant          Hammered Metal Solid…
     New (Other)                         New                            New                          New

     $49.87                              $112.05                        $89.99                       $58.00
     Free 2-4 day shipping               Free shipping                  Free shipping                Free shipping
        Top Rated Plus                   Seller with 100% positive
                                         feedback




     Inspired by your recent views
     Sponsored                                                                                                                                                             Feedback on our suggestions        |   See all




     Small Hanging Pendant Light Black             Wood Pendant Light "Bouwi" |          Rustic Wood Chandelier 4 Light             ELYONA 3 Pack Pendant Lights for   3 Pack Pendant Lights, Hammered             Copp
     Pack Of 3                                     Scandinavian Style Decor |            Pendant Light Country Industrial           Kitchen Island 7” Hammered Metal   Metal Solid Wood, Minimalist, Small,        & Glas
                                                   Handcrafted Wood Lamp                 Hanging Lamp                               Solid Wood                         Black                                       Kitche
     New (Other)                                   New                                   New                                        New                                New                                         New

     $49.99                                        $146.72                               $89.12                                     $58.00                             $30.00                                      $69.9
     Free shipping                                 + $9.99 shipping                      $97.93 9% off                              Free shipping                      Free shipping                               $99.99
     Seller with 100% positive feedback                                                  Free shipping                                                                 Seller with 100% positive feedback          Free s
                                                                                            Top Rated Plus                                                                                                         Seller




        About this item                                                                                                                                                                           Report this item



       Seller assumes all responsibility for this listing.                                                                                                                     eBay item number: 314743337316


https://www.ebay.com/itm/314743337316?itmmeta=01J1YD2N2R5QTCSM7S096JD7WT&hash=item49482a3164:g:KE8AAOSwcNtkxsIc&itmprp=enc%3AAQAJAAAAwDhTdi9871CdbPNx%2BCJ5rvhK…                                                            2/7
                            Case 2:25-cv-00472-CB                                 Document 2-7                    Filed 04/10/25                 Page 99 of 227




1/22/25, 2:23 PM                                                      Industrial Pendant Light Rubber Wood Hanging Lamp With Hammered Metal Shade Mode | eBay
       Last updated on Jan 21, 2025 00:34:28 PST View all revisions




       Item specifics
       Condition                     New: A brand-new, unused, unopened, undamaged item in its            Color                    Black
                                     original packaging (where packaging is ... Read more

       Size                          1 Pack                                                               Type1                    Type1

       Type2                         Type2                                                                Package Dimensions       11.22x10.98x7.8 Inches
                                                                                                          LxWxH

       Weight                        3.48 Pounds                                                          Type                     Does not apply

       MPN                           Does not apply                                                       Model                    Does not apply

       Brand                         ELYONA                                                               UPC                      Does not apply



       Item description from the seller




https://www.ebay.com/itm/314743337316?itmmeta=01J1YD2N2R5QTCSM7S096JD7WT&hash=item49482a3164:g:KE8AAOSwcNtkxsIc&itmprp=enc%3AAQAJAAAAwDhTdi9871CdbPNx%2BCJ5rvhK…   3/7
                           Case 2:25-cv-00472-CB                                         Document 2-7                           Filed 04/10/25                          Page 100 of 227




1/22/25, 2:23 PM                                                            Industrial Pendant Light Rubber Wood Hanging Lamp With Hammered Metal Shade Mode | eBay

       ELYONA Industrial Pendant Light, Rubber Wood Hanging Lamp with Hammered Metal Shade,
       Modern Pendant Light Fixtures for Kitchen Island, Bar, Farmhouse Dining Room, Bedroom,
       Living Room - Black
                 【Why can you trust ELYONA's Solid Wood?】① Unlike fiberboard’s wood grain paper surface and glued with unknown woodchips inside, ELYONA solid wood has a waterproof
             coating that won't cause edge warping when meeting water and is glue-free, formaldehyde-free. ②Made of FSC Certification Smooth Rubber Wood which has represents that the timber
             used is following the strict environmental standards of FSC. ③The pendant lamp has a certain weight to ensure that the wire will not bend when hanging.
                 【The Top Craftsmanship Hammered Metal Shade 】①Rather than the spray painting process, ELYONA dust-free constant temperature process is used for surface baking paint to
             ensure the color is free of impurities and smooth which won‘t crack, more durable and stable. ② Made of natural iron ore from Highland Mountains, melted at an ultra-high temperature of
             1538℃ to ensure no impurities.③The use of top japanese hammered craftsmanship ensures that each hammered pattern is full and round with the proper depth.
                 【 Medium Dimension & Wood Maintenance 】① Dimension & Adjustable Height：Max 54.5'' H x 10'' W x 10'' D, Ceiling Canopy: Dia. 4.72". ❥(We have 10 "and 6.8" sizes for
             different choices) ② Simply wipe with a damp cloth, then dry. We have been coated with mineral oil before packaging, and we still recommend coating mineral or olive oil 1-2 times 3
             month to make the wood grain more textured.
                 【Patent Design Pendant Light】①With over 20 years of illumination production experience and a professional design team, we have high strict control over product quality and detail
             & getting many patents for appearance design and functions at the same time. ② Rubber wood with hammered metal shade pendant light provides a modern industrial feeling. Ideal for
             kitchen, dining room, living room, office, coffee bar, bedroom, and beside nightstand. Add this modern industrial looking to your home now!
                 【Bulb Requirements & Dimmable & One Year Warranty】① ETL Listed, and cords are included for Height Adjustment. This hanging light fixture can be installed at any height of the
             ceiling and bevel. Supports any LED/CFL/Edison or other less than 40W bulbs with E26 Base. ❥When using dimmer and dimmable bulb can be dimmed (Bulbs NOT Included). ② We
             offer One Year Warranty to bring you a great value shopping experience. If you have any questions, please CONTACT US via the Amazon message box.

       SHIPPING
       International buyers

       – please note: Import duties, taxes, and charges aren't included in the item price or postage cost. These charges are the buyer's responsibility.
       - Please check with your country's customs office to determine what these additional costs will be prior to bidding or buying.
       Domestic Buyers

       - We ship within 3 business days of payment, usually sooner
       - We offer FREE shipping on all orders!
       - We only ship to the lower 48 states, no APO/FPO addresses or PO Boxes allowed
       - We have confidence in our products, but if you are not fully satisfied please contact us within 30 days of purchase and you will get full refund.




       * Order Cancellation Policy **
       You can return a product for up to 30 days from the date you purchased it.
       1. The seller reserves the right to cancel the special case only due to eBay cancellation fee.
       2. The decision of seller is the final.
       3. The seller will respond to the cancellation request within 2 business days. Please wait for the result of cancellation.
       4. In case the cancellation is not completed by some reasons, the buyer can follow the options below to get the refund.
       4.1 The buyer can reject the item when it arrives.
       4.2 The buyer can send the item back to the seller within 30 days If the buyer receives item (USA Shipment ONLY). The seller will provide the FREE return label to the buyer when the buyer opens " Return Item" case on
       eBay by using the reason as "Change my mind" ONLY.
       5. When buyer has placed the order. The order will be processed and completed by automatic warehouse system within 5 minutes. In case that buyer sends the cancellation request after 5 minutes of placing the order,
       the request will be rejected.



       **S          di         di         t                        t                  l th            d       i          t ll              df
https://www.ebay.com/itm/314743337316?itmmeta=01J1YD2N2R5QTCSM7S096JD7WT&hash=item49482a3164:g:KE8AAOSwcNtkxsIc&itmprp=enc%3AAQAJAAAAwDhTdi9871CdbPNx%2BCJ5rvhK…                *                                                 4/7
                            Case 2:25-cv-00472-CB                                         Document 2-7                      Filed 04/10/25                  Page 101 of 227




1/22/25, 2:23 PM                                                             Industrial Pendant Light Rubber Wood Hanging Lamp With Hammered Metal Shade Mode | eBay
       **Sending direct message to cancel the order is not allowed for every case *



           About this seller


                                       SuphapShop
                                       99.3% positive feedback • 9.1K items sold




               Joined Jan 2020

           My experience is over 6 years. I will do my best for your exceptionally efficient and friendly.


                                                                                                             Visit store


                                                                                                              Contact


                                                                                                              Save seller



           Detailed seller ratings

           Accurate description                                             4.9

           Reasonable shipping cost                                         5.0

           Shipping speed                                                   5.0

           Communication                                                    5.0

           Average for the last 12 months



           Seller feedback (3,420)
               i***n (386) Past 6 months                                                                                                                                                      Verified purchase

           As advertised. Item arrived ok but was packaged in a plastic bag with no protection. I live in a rural area and the mail handlers here are not careful with packages and most arrive damaged unless
           they are boxed and wrapped for protection. For this reason I will have to pass on future purchases.
           Chevrolet Super Service Arrow Metal Sign Vintage Chevrolet Sign For Garage Shop (#315147235752)


               o***o (1446) Past 6 months                                                                                                                                                     Verified purchase

           Exactly as advertised. EXCELLENT packaging, quick shipping. A+++ seller!
           12x16 Black Picture Photo Frame May To Display Photo Frame 12x16 Inch without M (#314062800956)

               e***7 (560) Past year                                                                                                                                                          Verified purchase

           This seller went the extra mile to get this purchase done quickly, even when the delivery company delivered my item to someone else. He answered msg's very quickly, got another one of the
           exact items shipped right and i received it very fast! It's a great product, made very well at a fantastic price and i couldn't be happier, i will buy here again!


https://www.ebay.com/itm/314743337316?itmmeta=01J1YD2N2R5QTCSM7S096JD7WT&hash=item49482a3164:g:KE8AAOSwcNtkxsIc&itmprp=enc%3AAQAJAAAAwDhTdi9871CdbPNx%2BCJ5rvhK…                                                  5/7
                            Case 2:25-cv-00472-CB                                          Document 2-7                        Filed 04/10/25                          Page 102 of 227




1/22/25, 2:23 PM                                                             Industrial Pendant Light Rubber Wood Hanging Lamp With Hammered Metal Shade Mode | eBay
            Petrol Engine Cylinder Compression Tester Kit 8pcs Automotive Engine Gas Pressur (#313705651008)


               r***r (1) Past 6 months                                                                                                                                                              Verified purchase

            My item arrived within two days of ordering in perfect condition. I had some email contact with my seller, SuphapShop (3141). The correspondence was friendly and helpful. Can’t recommend this
            seller enough. A very positive experience. Than you!!!
            Hourleey Garden Hose Quick Connector, 3/4 Inch Male Female Fitting 6 Set &amp (#313407395291)

               m***8 (1335) Past year                                                                                                                                                               Verified purchase

            Item Received as Described. Good Communication. Very Fast Shipping. AAA +++ Seller. Thank You.
            Universal Cast Iron Chicken Roaster Beer Can Chicken Holder With Roasting Pan Fo (#315129689330)


               9***4 (10) Past 6 months                                                                                                                                                             Verified purchase

            Beautiful wind kite! Arrived quickly, well packaged, and exactly as described.
            Koi Fish Windsock, 3-Feet,Rainbow,4117 (#313407569272)

               w***w (100) Past month                                                                                                                                                               Verified purchase

            As described, quick shipping, smooth transaction - highly recommend!
            2 3/4 Inch/70mm Hole Saw Bimetal Wood Hole Saw Tools Hole Saw Hole Cutter Cut Sm (#313855204308)

               i***d (224) Past 6 months                                                                                                                                                            Verified purchase

            Prompt delivery. Produce well packaged. Very satisfied. Good value
            Cricket XL, Largest Trap Available - 6 Glue Traps Garden &amp Outdoor (#313407389933)



               See all feedback




     Back to home page                                                                                                                                                                                           Return to top

     More to explore : Industrial Pendant Shades Lamp Shades, Pendant Shades Lamp Shades, Access Lighting Pendant Shades Lamp Shades, Metal Lamp Shades, Glass Pendant Shades Lamp Shades,
     Fabric Pendant Shades Lamp Shades, Brown Pendant Shades Lamp Shades, Industrial Lamp Shades, Yellow Pendant Shades Lamp Shades, Oval Pendant Shades Lamp Shades


     Shop Top Sellers and Highly Rated Products in Chandeliers & Ceiling Fixtures

     Best Sellers                                                                                                     Top Rated
     ZEEZ 9w 5" Round White LED Recessed Light Bulb Lamp                                                              Sea Gull 14540S-15 Traverse Lyte LED Downlight

     Commercial Electric 6 " LED Color Changing Recessed Trim with Night Light                                        Globe Electric 3 Light 15.4" Metal Chandelier - Oil-Rubbed Bronze

     Progress Lighting P350105-109-30 Elevate LED Flush Mount Brushed Bronze                                          Lithonia Lighting WF6 LED 30K40K50K 90CRI MW M6 6" LED Wafer Light

     Halo LT56079FS1EWHR4PK 5/6 in. LED Retrofit with Baffle Trim White 5 CCT                                         Halo HLB6 6" Ultra Thin Downlight LED Kit

     Commercial Electric 91478 6 inch Canless Recessed Lighting - White                                               Commercial Electric 91478 6 inch Canless Recessed Lighting - White


     Related Searches
       Hanging Work Light         Hanging Lamps for Living Room         Hanging Pendant Lights         Hanging Lamp Shade       Hammered Copper Pendant Light           Lamps Hanging      Hanging Lamp Modern


       Wrought Iron Hanging Lamp           Hanging Shop Light        Hammered Metal Lamps           Vintage Hanging Pendant Light      Floor Lamp Hanging         Hanging Lights Modern    Lamp Shade Hardware




https://www.ebay.com/itm/314743337316?itmmeta=01J1YD2N2R5QTCSM7S096JD7WT&hash=item49482a3164:g:KE8AAOSwcNtkxsIc&itmprp=enc%3AAQAJAAAAwDhTdi9871CdbPNx%2BCJ5rvhK…                                                                 6/7
                                Case 2:25-cv-00472-CB                                                  Document 2-7                               Filed 04/10/25                                  Page 103 of 227




1/22/25, 2:23 PM                                                                       Industrial Pendant Light Rubber Wood Hanging Lamp With Hammered Metal Shade Mode | eBay

        Pendant Light Shades




     About eBay     Announcements       Community      Security Center     Seller Center    Policies   Affiliates   Help & Contact     Site Map

     Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices    and AdChoice




https://www.ebay.com/itm/314743337316?itmmeta=01J1YD2N2R5QTCSM7S096JD7WT&hash=item49482a3164:g:KE8AAOSwcNtkxsIc&itmprp=enc%3AAQAJAAAAwDhTdi9871CdbPNx%2BCJ5rvhK…                                                    7/7
                        Case 2:25-cv-00472-CB                  Document 2-7        Filed 04/10/25                Page 104 of 227




1/22/25, 2:24 PM                                                              Checkout | eBay




                               Checkout                                                         How do you like our checkout? Give us feedback


       Pay with
                                                                                                Order Summary
                            PayPal
                                                                                                Item (1)                                      $77.36
                                                                                                Shipping                                          Free
                            Venmo                                                               Tax                                           $4.65


                            x-3651                                                              Order total                                 $82.01

                                                                                                By placing your order, you agree to eBay's User
                   Add new card                                                                 Agreement and Privacy Notice.



                                                                                                                  Pay with PayPal
                            Google Pay

                                                                                                           You'll finish checkout on PayPal
                            Special financing available.
                            Apply now. See terms                                                      Purchase protected by eBay Money Back
                                                                                                      Guarantee




       Ship to
       steven howard
       223 4TH AVE
       PITTSBURGH, PA 15222
       United States
       (312) 888-6633

       Change

https://pay.ebay.com/rxo?action=view&sessionid=2338372470019                                                                                             1/3
                        Case 2:25-cv-00472-CB                          Document 2-7        Filed 04/10/25   Page 105 of 227




1/22/25, 2:24 PM                                                                      Checkout | eBay




       Review order
               SuphapShop          Add note for seller
               99.3% positive feedback


                           LAST ONE

                         Industrial Pendant Light Rubber Wood Hanging Lamp With
                         Hammered Metal Shade Mode
                         $77.36
                         Quantity 1

                         Free returns
                                                                                                             Need Help?
                         Delivery                                                                            Our eBay agents are here to
                         Free Standard Shipping                                                              support you.
                         Est. delivery: Jan 24 – Jan 28
                                                                                                                            Request a call




       Gift cards and coupons

          Enter code:                                          Apply




       Donate to charity
       California Community Foundation

https://pay.ebay.com/rxo?action=view&sessionid=2338372470019                                                                                 2/3
                        Case 2:25-cv-00472-CB                        Document 2-7                  Filed 04/10/25               Page 106 of 227




1/22/25, 2:24 PM                                                                             Checkout | eBay

       Your donation helps the California Community Foundation support Los
       Angeles wildfire recovery efforts and aid those most in need. PayPal Giving
       Fund (PPGF) receives your donation and grants 100% to a charity no later than
       30 days after the end of the month in which the donation is made. Donations
       are non-refundable and typically tax deductible. PPGF may be unable to grant
       funds to a charity if the charity has lost tax exempt status, has closed, or no
       longer accepts funds from PPGF.


       Select amount            None




       Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments Terms of Use, Cookies, CA Privacy
       Notice, Your Privacy Choices       and AdChoice                                                                             Need Help?
                                                                                                                                   Our eBay agents are here to
                                                                                                                                   support you.




https://pay.ebay.com/rxo?action=view&sessionid=2338372470019                                                                                                           3/3
                   Case 2:25-cv-00472-CB                                Document 2-7                   Filed 04/10/25                    Page 107 of 227
2/13/25, 2:28 PM                                                              Small Hanging Pendant Light Black Pack Of 3 | eBay
                                                                                                                                                                                     2
   Hi Mike!        Daily Deals     Gift Cards   Help & Contact                                                                                        Sell    My eBay



                                  Search for anything


                                  |Listed in category:
        Back to home page                                                                                                                                                       Share
                                    Home & Garden        Lamps, Lighting & Ceiling F…   Chandeliers & Ceiling Fixt…


                                                                                                                         Small Hanging Pendant Light Black
                                                                                                           1
                                                                                                                         Pack Of 3
                                                                                                                                    neveranisland(6345)
                                                                                                                                    100% positive
                                                                                                                                    Seller's other items
                                                                                                                                    Contact seller



                                                                                                                         US $49.99
                                                                                                                         Condition:       Open box



                                                                                                                                                  Buy It Now


                                                                                                                                                 Add to cart


                                                                                                                                               Add to Watchlist



                                                                                                                                     Hurry before it's gone. 1 person is watching
                                                                                                                                     this item.


                                                                                                                         Shipping:         Free Standard Shipping. See details
                                                                                                                                           Located in: Conway, South Carolina,
                                                                                                                                           United States

   Have one to sell? Sell now                                                                                            Delivery:         Estimated between Tue, Feb 18 and Fri,
                                                                                                                                           Feb 21 to 60602

                                                                                                                         Returns:          30 days returns. Buyer pays for return

   Similar Items                                                                                                                           shipping. If you use an eBay shipping
                                                                                                                                           label, it will be deducted from your
   Sponsored                                                        Feedback on our suggestions        |       See all
                                                                                                                                           refund amount.. See details

                                                                                                                         Payments:




                                                                                                                                           Special financing available. See terms
                                                                                                                                           and apply now

   Licperron 3 Pack              Pendant Light Fixtures      Gold Chandelier            Collection 1-Light                                           Earn up to 5x points when you
   Hanging Pendant               2 Pack Industrial           Lighting Fixture Dining    Metal Black Pendant                                          use your eBay Mastercard®.
   Lighting Fixtures…            Pendant Light Black         Room Pendant Light…                                                                     Learn more
   New                           New                         New                        New

   $47.77                        $50.39                      $9.99                      $26.40                           Shop with confidence
   Free shipping                 $55.99 10% off              Free 6 day shipping        $30.00 12% off
   Seller with 99.7%             Free 9 day shipping            Top Rated Plus          Free shipping                         eBay Money Back Guarantee
   positive feedback                                         22 sold                       Top Rated Plus                     Get the item you ordered or your money
                                                                                                                              back. Learn more




   Inspired by your recent views
   Sponsored                                                                                                                              Feedback on our suggestions      |   See all

https://www.ebay.com/itm/126291975257?itmmeta=01J1YA02K6M2KPGXG3A1JA0JPG&hash=item1d67969c59:g:6XQAAOSwEu1lrF5f&itmprp=enc…                                                              1/4
                     Case 2:25-cv-00472-CB                          Document 2-7            Filed 04/10/25               Page 108 of 227
2/13/25, 2:28 PM                                                        Small Hanging Pendant Light Black Pack Of 3 | eBay




   Wall Mount Corner Shelf            ELYONA UP3011 Pendant          Wall Mount Corner Shelf     ELYONA UP3011 Dark Blue        Wall Mount Corner Shelf        ELYO
   Floating Wooden Shelf For          Light Fixture 10.2"            Floating Wooden Shelf For   Adjustable Height Modern       Floating Wooden Shelf For      Ligh
   Storage And Display Hom…           Hammered Metal Shade…          Storage And Display Hom…    Hanging Pendant Light          Storage And Display Hom…       Met
   New                                New (Other)                    New                         New (Other)                    New                            New

   $17.36                             $18.95                         $17.63                      $69.99                         $17.99                         $12
   $19.09 9% off                      $23.69 20% off                 $19.59 10% off              + $4.99 shipping               $19.99 10% off                 + $7
   Free shipping                      + $9.63 shipping               Free shipping               Seller with 99.1% positive     Free shipping
                                         Top Rated Plus                                          feedback
                                      Seller with 99.3% positive
                                      feedback




      About this item                                                                                                                            Report this item



     Seller assumes all responsibility for this listing.                                                                      eBay item number: 126291975257

     Last updated on Dec 06, 2024 15:59:44 PST View all revisions




     Item specifics
     Condition
     Open box: An item in excellent, new condition with no wear. The item may
     be missing the original ... Read more
     BrandElyo
          na
     TypePenda
         nt
     Sensor TypeLig
                 ht



     Item description from the seller

     Upgrade your home lighting with this pack of three Elyona pendant lights. The sleek black design adds a modern touch to any room, while the
     light sensor technology ensures energy-efficient usage. Perfect for a variety of spaces, these hanging lights are ideal for adding ambiance to
     dining rooms, bedrooms, or entryways. The adjustable cord allows for easy installation and customization to fit your desired height. Add a touch
     of elegance to your home with these stylish pendant lights.




            About this seller


                                    neveranisland
                                    100% positive feedback • 11K items sold




              Joined Sep 1999




https://www.ebay.com/itm/126291975257?itmmeta=01J1YA02K6M2KPGXG3A1JA0JPG&hash=item1d67969c59:g:6XQAAOSwEu1lrF5f&itmprp=enc…                                          2/4
                    Case 2:25-cv-00472-CB                                Document 2-7                        Filed 04/10/25   Page 109 of 227
2/13/25, 2:28 PM                                                               Small Hanging Pendant Light Black Pack Of 3 | eBay

                                                                                     Seller's other items


                                                                                           Contact


                                                                                           Save seller



          Detailed seller ratings

          Accurate description                                                 5.0

          Reasonable shipping cost                                             5.0

          Shipping speed                                                       5.0

          Communication                                                        5.0

          Average for the last 12 months


          Seller feedback (5,581)

                                                                                                                                         Filter: All ratings


              9***l (1201) Past 6 months                                                                                                          Verified purchase

          Outstanding seller. Received wrong item. Let seller know. Received a full refund. Excell communication and fast service. Would buy from again.
          Lighted Artificial Twig Birch Branch with Fairy Lights 30IN 100 LED Battery O... (#116020680277)


              d***a (1800) Past 6 months                                                                                                          Verified purchase

          Super-fast shipping. Great communication. Excellent customer service. Incredible item. Outstanding eBayer. A+ experience.
          Football Helmet Visor Purple Youth And Adult (visor Only) (#116083232063)


              i***e (1195) Past 6 months                                                                                                          Verified purchase

          Just as described... very fast shipping...A+++ seller...THANK YOU
          Baby Shower Games Boy Or Girl Kraft Brown (#116084892435)


              y***n (1032) Past 6 months                                                                                                          Verified purchase

          Perfect transaction, quick shipping, item as described. Thanks! A+++
          Double Medium White Drum Lamp Shades Set of 2 Fabric Lampshades (#116011699673)


              i***i (83) Past year                                                                                                                Verified purchase

          I received the item when I expected. The battery works. There was a problem so I contacted the seller. The reply back was very quick. They
          understood my problem. Gave me options to resolve it. Seller has excellent customer service. I am happy with my purchase. Would buy from this
          seller again.
          Laptop Battery Replacement For Lenovo Ideapad L14S4P22 L14M4P23 (#126333844764)


              c***b (444) Past month                                                                                                              Verified purchase

          Good product, price and shipping speed. Would do business with again.
          Organic Seaweed Wraps Sushi Nori .81 Oz 9 Sheets Per Pack 5 Packs (#126309704195)


              0***0 (143) Past 6 months                                                                                                           Verified purchase

          Item came as described and well-packaged. Holding item as a reserve, so I am not putting it to its in-service condition. But it looks brand new.
          Will do rudimentary testing out of circuit. Grade A.
          DC64-00519D (OB) Genuine OEM Samsung Washer Door Lock Switch for WF45R6100A* (#126267360135)


              _***e (599) Past 6 months                                                                                                           Verified purchase

          Great Ebayer. Fast Shipping. Item Just As Described
          Halloween Props Costume Light Up Eyes Pack Of 9 (#116160007290)



             See all feedback




   Back to home page                                                                                                                                           Return to top

   More to explore : Black LED Work Lights & Hanging Flashlights, Black 3 Number in Pack Water Filters, Pendants Fixtures 1-3 Lights, Black Wall Hanging Tapestries,
   Hanging Black Air Fresheners, Hanging Black Closet Organisers, Progress Lighting Black Pendants Fixtures, Capital Lighting Black Pendants Fixtures,

https://www.ebay.com/itm/126291975257?itmmeta=01J1YA02K6M2KPGXG3A1JA0JPG&hash=item1d67969c59:g:6XQAAOSwEu1lrF5f&itmprp=enc…                                                    3/4
                      Case 2:25-cv-00472-CB                                 Document 2-7                        Filed 04/10/25                    Page 110 of 227
2/13/25, 2:28 PM                                                                  Small Hanging Pendant Light Black Pack Of 3 | eBay
   Hanging Black Bathtub Caddies & Trays, Hanging Solar Walkway & Path Lights


   Shop Top Sellers and Highly Rated Products in Chandeliers & Ceiling Fixtures

   Best Sellers                                                                                    Top Rated

   Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White Hykolity 4FT 42W 3700 Lumens Linkable LED Shop Light with Pull Chain - Pack of 4
   (ACHR154595)                                                                      (HY-SL42W5KF-4)

   Halo HLB6 6" Ultra Thin Downlight LED Kit                                                       Sea Gull 14540S-15 Traverse Lyte LED Downlight

   Halo Smart Wi-Fi Slim Canless LED Downlight 6" HLB6099WZRGBWMWR                                 Artika Essence 27W Chrome Integrated LED 4 Pendant Light Chandelier

   Commercial Electric 6 " LED Color Changing Recessed Trim with Night Light                       Halo HLB6 6" Ultra Thin Downlight LED Kit

   Lithonia Lighting LED Strip Light                                                               Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White
                                                                                                   (ACHR154595)


   Related Searches
     Hanging Pendant Lights            Pendant Lights Black            Black Pendant Light             Black Pendant Light Fixture         Bedroom Pendant Lights


     Black Pendant Light Glass            Hanging Lights for Bedroom             Hanging Lights for Dining Room              Dining Room Hanging Light Fixture


     Black Light Pendant           Mini Pendant Light          Hanging Lights Modern             Chandelier for Living Room            Black Chandelier Light           Hanging Lights Led




     About eBay     Announcements       Community      Security Center     Seller Center    Policies     Affiliates   Help & Contact   Site Map

     Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices
          and AdChoice




https://www.ebay.com/itm/126291975257?itmmeta=01J1YA02K6M2KPGXG3A1JA0JPG&hash=item1d67969c59:g:6XQAAOSwEu1lrF5f&itmprp=enc…                                                                       4/4
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 111 of 227
2/13/25, 2:29 PM                                                      Checkout | eBay




                            Checkout                                  How do you like our checkout? Give us feedback



                    New! Pay with Venmo for fast and easy checkout.



    Pay with

                         PayPal



                         Venmo



                         x-3651


               Add new card




                         Google Pay


                         Special financing available.
                         Apply now. See terms




    Ship to
    steven howard
    223 4TH AVE
    PITTSBURGH, PA 15222
    United States
    (312) 888-6633

    Change




    Review order
            neveranisland        Add note for seller
            100% positive feedback

https://pay.ebay.com/rxo?action=view&sessionid=2352265883019                                                           1/3
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 112 of 227
2/13/25, 2:29 PM                                                      Checkout | eBay

                        LAST ONE

                      Small Hanging Pendant Light Black Pack Of 3
                      $49.99
                      Quantity 1

                      Returns accepted


                      Delivery
                      Free Standard Shipping
                      Est. delivery: Feb 15 – Feb 20




    Gift cards and coupons

       Enter code:                                       Apply




    Donate to charity
    Save a Child's Heart Foundation
    Give $2 to help provide lifesaving heart surgery for children in need. PayPal Giving Fund (PPGF)
    receives your donation and grants 100% to a charity no later than 30 days after the end of the month
    in which the donation is made. Donations are non-refundable and typically tax deductible. PPGF
    may be unable to grant funds to a charity if the charity has lost tax exempt status, has closed, or no
    longer accepts funds from PPGF.


    Select amount            None




    Order Summary
    Item (1)                                                                                                 $49.99
    Shipping                                                                                                  Free
    Tax                                                                                                      $3.00


    Order total                                                                                             $52.99


https://pay.ebay.com/rxo?action=view&sessionid=2352265883019                                                          2/3
                   Case 2:25-cv-00472-CB               Document 2-7        Filed 04/10/25        Page 113 of 227
2/13/25, 2:29 PM                                                        Checkout | eBay
    By placing your order, you agree to eBay's User Agreement and Privacy Notice.


                                                               Confirm and pay


                                         Purchase protected by eBay Money Back Guarantee




    Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments
    Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices      and AdChoice




https://pay.ebay.com/rxo?action=view&sessionid=2352265883019                                                                      3/3
                   Case 2:25-cv-00472-CB                                Document 2-7                   Filed 04/10/25                 Page 114 of 227
2/13/25, 2:30 PM                                     ELYONA Modern Pendant Light for Kitchen Island, Solid Wood Bar Hanging Lamp, ... | eBay

   Hi Mike!        Daily Deals     Gift Cards   Help & Contact                                                                                     Sell   My eBay



                                   Search for anything


                                  |Listed in category:
        Back to home page                                                                                                                                                    Share
                                    Home & Garden        Lamps, Lighting & Ceiling F…   Chandeliers & Ceiling Fixt…


                                                                                                                      ELYONA Modern Pendant Light for
                                                                                                                      Kitchen Island, Solid Wood Bar
                                                                                                                      Hanging Lamp, ...
                                                                                                                                 Stanton Surplus(4631)
                                                                                                                                 97.8% positive
                                                                                                                                 Seller's other items
                                                                                                                                 Contact seller



                                                                                                                      US $109.39
                                                                                                                      Condition:       New



                                                                                                                                               Buy It Now


                                                                                                                                              Add to cart


                                                                                                                                             Add to Watchlist


                                                                                                                      Shipping:         Free Standard Shipping. See details
                                                                                                                                        Located in: US, United States

                                                                                                                      Delivery:         Estimated between Tue, Feb 18 and Sat,
                                                                                                                                        Feb 22 to 15222

                                                                                                                      Returns:          30 days returns. Seller pays for return
   Have one to sell? Sell now                                                                                                           shipping. See details

                                                                                                                      Payments:


   Similar Items
   Sponsored                                                        Feedback on our suggestions        |   See all

                                                                                                                                        Special financing available. See terms
                                                                                                                                        and apply now

                                                                                                                                                 Earn up to 5x points when you
                                                                                                                                                 use your eBay Mastercard®.
                                                                                                                                                 Learn more



                                                                                                                      Shop with confidence
   ELYONA Modern                 ELYONA Modern               1/2/3x Lights Kitchen      ELYONA Hammered
                                                                                                                           eBay Money Back Guarantee
   Pendant Light for             Pendant Light for           Pendant Light              Pendant Light for
                                                                                                                           Get the item you ordered or your money
   Kitchen Island Wood…          Kitchen Island, 10.2”…      Dimmable Led…              Kitchen Island, 10.2”…
                                                                                                                           back. Learn more
   New                           New (Other)                 New                        Pre-owned

   $70.00                        $54.99                      $7.99                      $64.93
   Free shipping                 Free shipping               Free 5 day shipping        Free shipping
                                 Seller with 99.5%           68 sold                    Seller with 99.4%
                                 positive feedback                                      positive feedback




   Inspired by your recent views
   Sponsored                                                                                                                           Feedback on our suggestions      |   See all



https://www.ebay.com/itm/335452395298?itmmeta=01J1YA02K6V5A8N4734H10WHSV&hash=item4e1a855722:g:WJ0AAOSw33tmddfA&itmprp=enc…                                                           1/6
                     Case 2:25-cv-00472-CB                          Document 2-7              Filed 04/10/25           Page 115 of 227
2/13/25, 2:30 PM                                       ELYONA Modern Pendant Light for Kitchen Island, Solid Wood Bar Hanging Lamp, ... | eBay




   Small Hanging Pendant              ELYONA UP3011 Pendant           Wall Mount Corner Shelf     Wall Mount Corner Shelf     ELYONA UP3011 Dark Blue        Wal
   Light Black Pack Of 3              Light Fixture 10.2"             Floating Wooden Shelf For   Floating Wooden Shelf For   Adjustable Height Modern       Floa
                                      Hammered Metal Shade…           Storage And Display Hom…    Storage And Display Hom…    Hanging Pendant Light          Stor
   New (Other)                        New (Other)                     New                         New                         New (Other)                    New

   $49.99                             $18.95                          $17.36                      $17.63                      $69.99                         $17.
   Free shipping                      $23.69 20% off                  $19.09 9% off               $19.59 10% off              + $4.99 shipping               $19.9
   Seller with 100% positive          + $9.63 shipping                Free shipping               Free shipping               Seller with 99.1% positive     Free
   feedback                              Top Rated Plus                                                                       feedback
                                      Seller with 99.3% positive
                                      feedback




      About this item                                                                                                                          Report this item



     Seller assumes all responsibility for this listing.                                                                   eBay item number: 335452395298

     Last updated on Feb 02, 2025 06:30:42 PST View all revisions




     Item specifics
     Condition
     New: A brand-new, unused, unopened, undamaged item in its original
     packaging (where packaging is ... Read more
     EANDoes not
         apply
     MPNDoes not
          apply
     UPCDoes not
          apply
     Size1
         Pack
     BrandELYON
           A
     ColorBlu
           e
     TypeDoes Not
          Apply



     Item description from the seller




https://www.ebay.com/itm/335452395298?itmmeta=01J1YA02K6V5A8N4734H10WHSV&hash=item4e1a855722:g:WJ0AAOSw33tmddfA&itmprp=enc…                                         2/6
                   Case 2:25-cv-00472-CB                    Document 2-7               Filed 04/10/25             Page 116 of 227
2/13/25, 2:30 PM                             ELYONA Modern Pendant Light for Kitchen Island, Solid Wood Bar Hanging Lamp, ... | eBay



     ELYONA Modern Pendant Light for Kitchen Island, Solid Wood Bar
     Hanging Lamp, Hammered Metal Shade, Adjustable Height,
     Industrial Pendant Lighting for Dining Room,Bedroom,Bar,Office -
     Dark Blue

     Product Details
     Size: 1 Pack
     Color: Blue
     Brand: ELYONA
     MPN: Does not apply
     UPC: Does not apply
     EAN: Does not apply

          Brand: ELYONA
          Color: Blue
          Style: Modern, Industrial, Farmhouse, Coastal, Rustic, Retro, Vintage
          Light fixture form: Pendant
          Room Type: Kitchen, Dining Room, Bedroom, Living Room, Office, Bar, Hallway, Study Room
          Product Dimensions : 10.3 x 10.3 x 60 inches; 3.92 Pounds
          Date First Available : September 8, 2021
          Manufacturer : ELYONA
          Country of Origin : China
          Customer Reviews: 4.7 4.7 out of 5 stars 377 ratings
          Brand: ELYONA
          Color: Blue
          Style: Modern, Industrial, Farmhouse, Coastal, Rustic, Retro, Vintage
          Light fixture form: Pendant
          Room Type: Kitchen, Dining Room, Bedroom, Living Room, Office, Bar, Hallway, Study Room
          Product Dimensions: 10.3"L x 10.3"W x 60"H
          Specific Uses For Product: Kitchen islands, porch Lighting, hallways, bars, dining room, living rooms, cafes, clubs, foyers, barns, among
          many other indoor/outdoor applications
          Indoor/Outdoor Usage: Indoor
          Power Source: Corded Electric
          Installation Type: Semi Flush Mount
          Special Feature: Dimmable
          Control Method: App
          Light Source Type: Edison bulbs, incandescent bulbs, CFLs, LED bulbs
          Finish Type: 1538 ℃ Bake Painted & Solid Wood Polishing Process
          Shade Material: Hammered Blue Metal
          Number of Light Sources: 1
          Voltage: 110 Volts
          Theme: Space
          Shape: Dome
          Included Components: Mounting Hardware
          Warranty Type:       One-Year Warranty
          Lighting Method: Downlight
          Specification Met: ETL
          Item Weight: 3.92 Pounds
          Number of Items: 1
          Wattage: 40 watts
          Bulb Base: E26
          Controller Type: Push Button
          Switch Type: Push Button
          Unit Count: 1.0 Count
          Brightness: 805 Lumen
          Mounting Type: Ceiling Mount
https://www.ebay.com/itm/335452395298?itmmeta=01J1YA02K6V5A8N4734H10WHSV&hash=item4e1a855722:g:WJ0AAOSw33tmddfA&itmprp=enc…                           3/6
                   Case 2:25-cv-00472-CB                         Document 2-7                Filed 04/10/25       Page 117 of 227
2/13/25, 2:30 PM                                  ELYONA Modern Pendant Light for Kitchen Island, Solid Wood Bar Hanging Lamp, ... | eBay
                   g yp          g
          Shade Color: Modern Blue
          Fixture Type: Non Removable
          Assembly Required: Yes
          Manufacturer: ELYONA
          Item Weight: 3.92 pounds
          Country of Origin: China
          Finish types: 1538 ℃ Bake Painted & Solid Wood Polishing Process
          Maximum Compatible Wattage: 40 Watts
          Special Features: Dimmable
          Plug Format: A- US style
          Batteries Included?: No
          Batteries Required?: No
          Date First Available: September 8, 2021

          Why can you trust ELYONA's Solid Wood?1 Unlike fiberboards wood grain paper surface and glued with unknown woodchips inside,
          ELYONA solid wood has a waterproof coating that won't cause edge warping when meeting water and is glue-free, formaldehyde-free.
          2Made of FSC Certification Smooth Solid Wood which has represents that the timber used is following the strict environmental standards of
          FSC. 3The pendant lamp has a certain weight to ensure that the wire will not bend when hanging.
          Top Craftsmanship Hammered Metal Shade1Rather than the spray painting process, ELYONA dust-free constant temperature process is
          used for surface baking paint to ensure the color is free of impurities and smooth which wont crack, more durable and stable.2Made of
          natural iron ore from Highland Mountains,melted at an ultra-high temperature of 1538C to ensure no impurities.3The use of top japanese
          hammered craftsmanship ensures that each hammered pattern is full and round with the proper depth.
          ELYONA Unique Blue Modern Pendant Light1 ELYONA Modern Blue, According to home color trend, blue has returned to the public eye as
          "New Black", ELYONA blue with 36.5% gray tone.The low saturation tone brings soft elegant feeling, creating more New Possibilities about
          HOME. 2 With over 20 years of illumination production experience and a professional design team. Ideal for kitchen island, dining living




         About this seller


                                   Stanton Surplus
                                   97.8% positive feedback • 11K items sold




             Joined May 2014
             Usually responds within 24 hours


                                                                              Visit store


                                                                               Contact


                                                                               Save seller



         Detailed seller ratings

         Accurate description                                         4.9

         Reasonable shipping cost                                     5.0

         Shipping speed                                               4.9

         Communication                                                4.9

         Average for the last 12 months


         Seller feedback (2,939)

                                                                                                                            Filter: All ratings


             ***** Past 6 months                                                                                                     Verified purchase



https://www.ebay.com/itm/335452395298?itmmeta=01J1YA02K6V5A8N4734H10WHSV&hash=item4e1a855722:g:WJ0AAOSw33tmddfA&itmprp=enc…                              4/6
                      Case 2:25-cv-00472-CB                             Document 2-7                       Filed 04/10/25                    Page 118 of 227
2/13/25, 2:30 PM                                      ELYONA Modern Pendant Light for Kitchen Island, Solid Wood Bar Hanging Lamp, ... | eBay
           Item arrived as described. Excellent communication & packaging. Very pleased. Would do business again! There was a problem with the
           shippers tracking number so it appeared the parcel had been lost but it arrived safely and the seller was very attentive to the issue and
           communicated beautifully through the process of trying to find it!

               ***** Past year                                                                                                                                 Verified purchase

           Wow fast sipping came in a few days & in new condition with the box as described great product, price & service .Thanks !

               ***** Past 6 months                                                                                                                             Verified purchase

           The post office delivered my package to the wrong address. Seller was VERY responsive to this! Package finally turned up safe and sound, and
           everything in excellent condition. Thanks so much! Would definitely deal with again.

               ***** Past month                                                                                                                                Verified purchase

           Package was as described. Arrived on time and in great condition. Packaging was like new. Made a great gift. I will buy from this seller again in
           the future.

               ***** Past 6 months                                                                                                                             Verified purchase

           Great seller, fast shipping. Item as described.

               ***** Past 6 months                                                                                                                             Verified purchase

           Perfect addition to my "man cave". Item was exactly as described and shipping was fast. Would buy from this seller again.

               ***** Past year                                                                                                                                 Verified purchase

           Items as described well packed received promptly great ebayer

               ***** Past 6 months                                                                                                                             Verified purchase

           Lil hiccup in shipping but great communication with seller


              See all feedback




   This is a private listing and your identity will not be disclosed to anyone except the seller.



   Back to home page                                                                                                                                                       Return to top

   More to explore : Solid Wood Frame Kitchen Contemporary/Modern Bar Stools & Stools, Solid Wood Hanging Shelves,
   Solid Wood Kitchen Contemporary/Modern Tables, Kitchen Island Light Fixtures, Solid Wood Kitchen Carts, Kitchen Islands,
   Solid Wood Kitchen Cabinets & Cupboards, Solid Wood Kitchen Sideboards, Solid Wood Kitchen Storage Cabinets, Modern Kitchen, Dining & Bar Supplies


   Shop Top Sellers and Highly Rated Products in Chandeliers & Ceiling Fixtures

   Best Sellers                                                                              Top Rated
   Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White Hykolity 4FT 42W 3700 Lumens Linkable LED Shop Light with Pull Chain - Pack of 4
   (ACHR154595)                                                                      (HY-SL42W5KF-4)

   Halo HLB6 6" Ultra Thin Downlight LED Kit                                                 Sea Gull 14540S-15 Traverse Lyte LED Downlight

   Halo Smart Wi-Fi Slim Canless LED Downlight 6" HLB6099WZRGBWMWR                           Artika Essence 27W Chrome Integrated LED 4 Pendant Light Chandelier

   Commercial Electric 6 " LED Color Changing Recessed Trim with Night Light                 Halo HLB6 6" Ultra Thin Downlight LED Kit

   Lithonia Lighting LED Strip Light                                                         Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White
                                                                                             (ACHR154595)


   Related Searches
     Pendant Light for Kitchen Island         Pendant Lighting Kitchen Island          Kitchen Island Lighting          Farmhouse Kitchen Island Lighting


     Kitchen Island Lighting Gold         Kitchen Hanging Lighting          Hanging Kitchen Bar Lights             Outdoor Pendant Lamp          Chandelier for Kitchen


     Kitchen Lights        Kitchen Lights Ceiling        Kitchen Light Fixtures         Bedroom Pendant Lights              Ikea Pendant Light      Bathroom Pendant Lighting




     About eBay    Announcements       Community    Security Center    Seller Center   Policies     Affiliates   Help & Contact   Site Map




https://www.ebay.com/itm/335452395298?itmmeta=01J1YA02K6V5A8N4734H10WHSV&hash=item4e1a855722:g:WJ0AAOSw33tmddfA&itmprp=enc…                                                                5/6
                      Case 2:25-cv-00472-CB                                 Document 2-7                      Filed 04/10/25                     Page 119 of 227
2/13/25, 2:30 PM                                         ELYONA Modern Pendant Light for Kitchen Island, Solid Wood Bar Hanging Lamp, ... | eBay
     Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices
          and AdChoice




https://www.ebay.com/itm/335452395298?itmmeta=01J1YA02K6V5A8N4734H10WHSV&hash=item4e1a855722:g:WJ0AAOSw33tmddfA&itmprp=enc…                                                                       6/6
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 120 of 227
2/13/25, 2:30 PM                                                      Checkout | eBay




                            Checkout                                  How do you like our checkout? Give us feedback



                    New! Pay with Venmo for fast and easy checkout.



    Pay with

                         PayPal



                         Venmo



                         x-3651


               Add new card




                         Google Pay


                         Special financing available.
                         Apply now. See terms




    Ship to
    steven howard
    223 4TH AVE
    PITTSBURGH, PA 15222
    United States
    (312) 888-6633

    Change




    Review order

            Stanton Surplus         Add note for seller
            97.8% positive feedback

https://pay.ebay.com/rxo?action=view&sessionid=2352266534019                                                           1/3
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 121 of 227
2/13/25, 2:30 PM                                                      Checkout | eBay

                        LAST ONE

                      ELYONA Modern Pendant Light for Kitchen Island, Solid Wood
                      Bar Hanging Lamp, ...
                      $109.39
                      Quantity 1

                      Free returns


                      Delivery
                      Free Standard Shipping
                      Est. delivery: Feb 18 – Feb 22




    Gift cards and coupons

       Enter code:                                       Apply




    Donate to charity
    Save a Child's Heart Foundation
    Give $2 to help provide lifesaving heart surgery for children in need. PayPal Giving Fund (PPGF)
    receives your donation and grants 100% to a charity no later than 30 days after the end of the month
    in which the donation is made. Donations are non-refundable and typically tax deductible. PPGF
    may be unable to grant funds to a charity if the charity has lost tax exempt status, has closed, or no
    longer accepts funds from PPGF.


    Select amount            None




    Order Summary
    Item (1)                                                                                                $109.39
    Shipping                                                                                                   Free
    Tax                                                                                                       $6.57


    Order total                                                                                             $115.96

https://pay.ebay.com/rxo?action=view&sessionid=2352266534019                                                          2/3
                   Case 2:25-cv-00472-CB               Document 2-7        Filed 04/10/25        Page 122 of 227
2/13/25, 2:30 PM                                                        Checkout | eBay
    By placing your order, you agree to eBay's User Agreement and Privacy Notice.


                                                               Confirm and pay


                                         Purchase protected by eBay Money Back Guarantee




    Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments
    Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices      and AdChoice




https://pay.ebay.com/rxo?action=view&sessionid=2352266534019                                                                      3/3
                   Case 2:25-cv-00472-CB                                Document 2-7                   Filed 04/10/25                    Page 123 of 227
2/13/25, 2:30 PM                                     ELYONA Pendant Light for Kitchen Island Hammered Metal Solid Wood Small Hangi... | eBay

   Hi Mike!        Daily Deals     Gift Cards   Help & Contact                                                                                       Sell    My eBay



                                  Search for anything


                                  |Listed in category:
        Back to home page                                                                                                                                                       Share
                                    Home & Garden        Lamps, Lighting & Ceiling F…   Chandeliers & Ceiling Fixt…


                                                                                                                      ELYONA Pendant Light for Kitchen
                                                                                                                      Island Hammered Metal Solid Wood
                                                                                                                      Small Hangi...
                                                                                                                                 ericy23(25674)
                                                                                                                                 96.9% positive
                                                                                                                                 Seller's other items
                                                                                                                                 Contact seller



                                                                                                                      US $156.28
                                                                                                                      No Interest if paid in full in 6 mo on $149+ with PayPal
                                                                                                                      Credit*



                                                                                                                      Condition:         New


                                                                                                                      Quantity:      1           3 available



                                                                                                                                                Buy It Now


                                                                                                                                                Add to cart


                                                                                                                                               Add to Watchlist


   Have one to sell? Sell now                                                                                         Shipping:           Free Standard Shipping. See details
                                                                                                                                          Located in: US, United States

                                                                                                                      Delivery:           Estimated between Sat, Feb 15 and
   Similar Items                                                                                                                          Thu, Feb 20 to 15222

   Sponsored                                                        Feedback on our suggestions        |   See all    Returns:            30 days returns. Seller pays for return
                                                                                                                                          shipping. See details

                                                                                                                      Payments:




                                                                                                                                          *No Interest if paid in full in 6 months on
                                                                                                                                          $149+. See terms and apply now
   ELYONA Modern                 ELYONA Pendant              Hunter Vidria 3-Light      ELYONA Hammered
   Pendant Light for             Lights for Kitchen          Tiered LED Pendant         Pendant Light for                                          Earn up to 5x points when you
   Kitchen Island, 10.2”…        Island, 7” Solid Woo…       #19727                     Kitchen Island, 10.2”…                                     use your eBay Mastercard®.
   New (Other)                   Pre-owned                   New (Other)                Pre-owned                                                  Learn more

   $54.99                        $138.75                     $229.95                    $64.93
   Free 7 day shipping           Free shipping               Free 5 day shipping        Free 7 day shipping           Shop with confidence
   Seller with 99.5%             Seller with 99.4%           Seller with 99.2%          Seller with 99.4%
   positive feedback             positive feedback           positive feedback          positive feedback                  eBay Money Back Guarantee
                                                                                                                           Get the item you ordered or your money
                                                                                                                           back. Learn more




   Inspired by your recent views
https://www.ebay.com/itm/266651565621?itmmeta=01J1YCNYKHX681QV70WK6D51VG&hash=item3e15abfe35:g:RkEAAOSwMdZlvabU&itmprp=en…                                                              1/6
                     Case 2:25-cv-00472-CB                          Document 2-7             Filed 04/10/25           Page 124 of 227
2/13/25, 2:30 PM                                      ELYONA Pendant Light for Kitchen Island Hammered Metal Solid Wood Small Hangi... | eBay
   Sponsored                                                                                                           Feedback on our suggestions      |   See all




   Small Hanging Pendant              ELYONA UP3011 Dark Blue        Wall Mount Corner Shelf     Wall Mount Corner Shelf       ELYONA UP3011 Pendant          ELYO
   Light Black Pack Of 3              Adjustable Height Modern       Floating Wooden Shelf For   Floating Wooden Shelf For     Light Fixture 10.2"            Kitc
                                      Hanging Pendant Light          Storage And Display Hom…    Storage And Display Hom…      Hammered Metal Shade…          Ham
   New (Other)                        New (Other)                    New                         New                           New (Other)                    New

   $49.99                             $69.99                         $17.36                      $17.63                        $18.95                         $60
   Free shipping                      + $4.99 shipping               $19.09 9% off               $19.59 10% off                $23.69 20% off                 Free
   Seller with 100% positive          Seller with 99.1% positive     Free shipping               Free shipping                 + $9.63 shipping               Selle
   feedback                           feedback                                                                                    Top Rated Plus              feed
                                                                                                                               Seller with 99.3% positive
                                                                                                                               feedback




      About this item                                                                                                                          Report this item



     Seller assumes all responsibility for this listing.                                                                     eBay item number: 266651565621

     Last updated on Feb 10, 2025 19:59:37 PST View all revisions




     Item specifics
     Condition
     New: A brand-new, unused, unopened, undamaged item in its original
     packaging (where packaging is ... Read more
     EANDoes not
         apply
     MPNDoes not
         apply
     UPCDoes not
         apply
     SizeSm
         all
     BrandELYON
           A
     ColorBlack - 3
           Pack
     TypeDoes Not
          Apply



     Item description from the seller




https://www.ebay.com/itm/266651565621?itmmeta=01J1YCNYKHX681QV70WK6D51VG&hash=item3e15abfe35:g:RkEAAOSwMdZlvabU&itmprp=en…                                            2/6
                   Case 2:25-cv-00472-CB                           Document 2-7                   Filed 04/10/25                 Page 125 of 227
2/13/25, 2:30 PM                                  ELYONA Pendant Light for Kitchen Island Hammered Metal Solid Wood Small Hangi... | eBay



       ELYONA Pendant Light for Kitchen Island Hammered Metal Solid
       Wood Small Hanging Light Fixtures Farmhouse Pendant Lighting
       Dining Room Bedroom Bar Office, Industrial Black, 3 Pack
       Description
       Features:

             Why can you trust ELYONA's Solid Wood?1Made of FSC Certification Smooth Solid Wood which has represents that the timber used is following the strict envir
             standards of FSC. 2Unlike fiberboards wood grain paper surface and glued with unknown woodchips inside, ELYONA solid wood has a waterproof coating that w
             warping when meeting water and is glue-free, formaldehyde-free. 3 The pendant lamp has a certain weight to ensure that the wire will not bend when hanging
             The Top Craftsmanship Hammered Metal Shade 1Made of natural iron ore from Highland Mountains, melted at an ultra-high temperature of 1538C to ensure no
             impurities.2Rather than the spray painting process, ELYONA dust-free constant temperature process is used for surface baking paint to ensure the color is free o
             smooth which wont crack, more durable and stable. 3The use of top hammered craftsmanship ensures that each hammered pattern is full and round with the pr
             Small Dimension & Wood Maintenance 1Dimension & Adjustable Height:Max 54.5'' H x 6.8'' W x 6.8'' D, Ceiling Canopy: Dia. 4.72".This light can be installed at
             ceiling and bevel. 2 For easy maintenance, wipe it clean with a damp cloth, then dry. Our product has been coated with mineral oil before packaging, and we rec
             reapplying mineral or olive oil 1-2 times every 3 months to enhance the textured wood grain.(We have 10 "and 6.8" sizes for different choices)
             Patent Design Pendant Light1With over 20 years of illumination production experience and a professional design team, we have high strict control over product
             & getting many patents for appearance design and functions at the same time. 2 Rubber wood with hammered metal shade pendant light provides a modern ind
             Ideal for kitchen, dining room, living room, office, coffee bar, bedroom, and beside nightstand. Add this modern industrial looking to your home now!

       Product Details:

             Brand: ELYONA
             Color: Black - 3 Pack
             Material:      Handmade Hammered Black Metal,        FSC Certification Rubber Wood
             Style: Modern, Industrial, Farmhouse, Rustic, Retro, Vintage
             Light fixture form: Pendant
             Product Dimensions : 11.8 x 8.6 x 7.5 inches; 5.3 Pounds
             Date First Available : November 22, 2022
             Manufacturer : ELYONA
             Customer Reviews: 4.5 4.5 out of 5 stars 60 ratings
             Brand: ELYONA
             Color: Black - 3 Pack
             Material:      Handmade Hammered Black Metal,        FSC Certification Rubber Wood
             Style: Modern, Industrial, Farmhouse, Rustic, Retro, Vintage
             Light fixture form: Pendant
             Room Type: Kitchen, Dining Room, Bedroom, Living Room, Office, Bar, Hallway, Study Room
             Product Dimensions: 7"L x 7"W x 63"H
             Specific Uses For Product: Kitchen islands, porch Lighting, hallways, bars, dining room, living rooms, cafes, clubs, foyers, barns, among many other indoor/outd
             Indoor/Outdoor Usage: Indoor
             Power Source: Corded Electric
             Installation Type: Semi Flush Mount
             Special Feature:      FSC Certification Rubber Wood,      Handmade Hammered Metal,            Dimmable with dimmer (NOT Included), Adjustable Height
             Control Method: App
             Light Source Type: Edison bulbs, incandescent bulbs, CFLs, LED bulbs
             Finish Type: 1538 ℃ Bake Painted & Solid Wood Polishing Process
             Shade Material: Hammered Metal
             Number of Light Sources: 1
             Voltage: 110 Volts
             Theme: Space
             Shape: Dome
             Included Components: Mounting Hardware
             Warranty Type:       One-Year Warranty
             Lighting Method: Downlight
             Specification Met: ETL
             Item Weight: 2.4 Kilograms
             Number of Items: 1
             Wattage: 40 watts
             Bulb Base: E26
             Controller Type: Push Button
             Unit Count: 3.0 Count
             Mounting Type: Ceiling Mount
             Shade Color: Black
             Fixture Type: Non Removable
             Assembly Required: Yes
             Manufacturer: ELYONA
             Item Weight: 5.29 pounds
             Finish types: 1538 ℃ Bake Painted & Solid Wood Polishing Process
             Special Features:      FSC Certification Rubber Wood,      Handmade Hammered Metal,            Dimmable with dimmer (NOT Included), Adjustable Height
             Plug Format: A- US style

https://www.ebay.com/itm/266651565621?itmmeta=01J1YCNYKHX681QV70WK6D51VG&hash=item3e15abfe35:g:RkEAAOSwMdZlvabU&itmprp=en…                                                      3/6
                    Case 2:25-cv-00472-CB                                Document 2-7                      Filed 04/10/25                    Page 126 of 227
2/13/25, 2:30 PM                                      ELYONA Pendant Light for Kitchen Island Hammered Metal Solid Wood Small Hangi... | eBay
             Batteries Included?: No
             Batteries Required?: No
             Date First Available: November 22, 2022




       Shipping
             Most orders will be shipped within 1 business days once we receive your payment. Except on weekend or public holidays.
             A shipping notification will be emailed to you once your order has been shipped.
             International shipping via eBay Global Shipping Program.
             No shipping to AK, HI, PR, APO/FPO, US Protectorates and PO Box.



       Payment
             We Accept Payment Via PayPal and All Major Credit Cards.



       Return
             We stand behind our products. Items can be returned for exchange or full refund within 30 days from the date you receive your merchandise.
             Return shipping is the responsibility of buyer unless the return is a result of our mistake (i.e., your receive the wrong item). We will pay for shipping replacement back to you
             the same product is requested.



       Contact us
       If you have any questions please contact us. We respond within 1 business day or less.




         About this seller


                                    ericy23
                                    96.9% positive feedback • 101K items sold




              Joined Apr 2004
              Usually responds within 24 hours


                                                                                          Visit store


                                                                                            Contact


                                                                                            Save seller



         Detailed seller ratings

         Accurate description                                                    4.9

         Reasonable shipping cost                                                5.0

         Shipping speed                                                          4.9

         Communication                                                           4.9

         Average for the last 12 months



         Popular categories from this store                            See all




https://www.ebay.com/itm/266651565621?itmmeta=01J1YCNYKHX681QV70WK6D51VG&hash=item3e15abfe35:g:RkEAAOSwMdZlvabU&itmprp=en…                                                                       4/6
                     Case 2:25-cv-00472-CB                              Document 2-7                  Filed 04/10/25               Page 127 of 227
2/13/25, 2:30 PM                                     ELYONA Pendant Light for Kitchen Island Hammered Metal Solid Wood Small Hangi... | eBay

             Other



           Seller feedback (26,618)

                                                                                                                                              Filter: All ratings


               ***** Past 6 months                                                                                                                     Verified purchase

           Holy $H1T!!! This stove is PERFECT! It’s better than the description! Easy to light, easy to keep burning. Extremely well built, securely packaged,
           rapidly (like, lightening fast) shipped, and superb craftsmanship. I got this stove, here, for two-thirds the asking (retail) price! eBay has become
           total dog $h1t in recent years; Their fees are high, their taxes are absolutely unnecessary, and they defend neither the seller nor the buyer; they
           protect only themselves. This seller offers hope.

               ***** Past 6 months                                                                                                                     Verified purchase

           Excellent communication, well packaged and exactly as described. The only issue I have was the shipping which I don't blame the seller. USPS
           decided to take the scenic route, package arrived and left Arkansas 4 times on its way to Louisiana.

               ***** Past month                                                                                                                        Verified purchase

           Great item. Fast delivery and well packed, although damaged on transit. Excellent customer service, responded quickly and all sorted to my
           satisfaction. Would definitely buy from this ebayer again. Thanks you.

               ***** Past 6 months                                                                                                                     Verified purchase

           Item shipped quickly and was delivered on-time. The only suggestion I would have would be to not use a box that describes the item on the
           outside. As this was a gift it could have been awkward. I was very happy with this vendor. Thank you, -bob

               ***** Past 6 months                                                                                                                     Verified purchase

           Smooth Transaction. Fast Delivery. Very nice and soft Rifle Paper Co x Loloi area rug. It came well wrapped, brand new. Great price. A+seller. Big
           with confidence. High recommend.

               ***** Past 6 months                                                                                                                     Verified purchase

           Looking at the photos it appeared that this tent and cot came as a set. Nothing in the description indicated otherwise. All that arrived was the
           tent, and it was delivered by Amazon to my residence. I paid this vendor $ 253.93 for this tent. The same tent is available on Amazon for $179.10. So
           buyer be ware. I did contact the vendor and they offered to send me a return shipping label and refund my money, since I caught onto their scam.

               ***** Past 6 months                                                                                                                     Verified purchase

           CLASS A-1 Seller! Great communication with seller! We explained that we needed these outdoor laser lights projectors very quickly and this
           seller not only responded immediately but also provided lightning-fast shipping to ensure we got these on time. This seller is the exception, sets
           the example for excellence and customer care. BTW, we don't pass out roses often, so believe us when we tell you that you will not be
           disappointed with this seller. Many thanks & continued success in 2025!!!

               ***** Past 6 months                                                                                                                     Verified purchase

           The item was in excellent condition, just as described in the description, fast shipping, great communication, and step by step flow-up in
           shipping details.. i would buy from them again..


              See all feedback




   This is a private listing and your identity will not be disclosed to anyone except the seller.



   Back to home page                                                                                                                                                Return to top

   More to explore : Kitchen Island Light Fixtures, Solid Wood Kitchen Carts, Kitchen Islands, Solid Wood Kitchen Cabinets, Solid Wood Kitchen Furniture,
   Solid Wood Kitchen Cabinets & Cupboards, Solid Wood Kitchen Storage Cabinets, Metal Island Light Fixtures, Handmade Solid Wood Kitchen Furniture,
   Solid Wood Kitchen Farmhouse Tables


   Shop Top Sellers and Highly Rated Products in Chandeliers & Ceiling Fixtures

   Best Sellers                                                                              Top Rated
   Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White Hykolity 4FT 42W 3700 Lumens Linkable LED Shop Light with Pull Chain - Pack of 4
   (ACHR154595)                                                                      (HY-SL42W5KF-4)

   Halo HLB6 6" Ultra Thin Downlight LED Kit                                                 Sea Gull 14540S-15 Traverse Lyte LED Downlight



https://www.ebay.com/itm/266651565621?itmmeta=01J1YCNYKHX681QV70WK6D51VG&hash=item3e15abfe35:g:RkEAAOSwMdZlvabU&itmprp=en…                                                          5/6
                      Case 2:25-cv-00472-CB                                 Document 2-7                      Filed 04/10/25                      Page 128 of 227
2/13/25, 2:30 PM                                        ELYONA Pendant Light for Kitchen Island Hammered Metal Solid Wood Small Hangi... | eBay
   Halo Smart Wi-Fi Slim Canless LED Downlight 6" HLB6099WZRGBWMWR                                 Artika Essence 27W Chrome Integrated LED 4 Pendant Light Chandelier

   Commercial Electric 6 " LED Color Changing Recessed Trim with Night Light                       Halo HLB6 6" Ultra Thin Downlight LED Kit

   Lithonia Lighting LED Strip Light                                                               Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White
                                                                                                   (ACHR154595)


   Related Searches
     Pendant Light for Kitchen Island           Pendant Lighting Kitchen Island             Kitchen Island Lighting          Kitchen Island Lighting Gold


     Farmhouse Kitchen Island Lighting             Chandelier for Kitchen           Kitchen Hanging Lighting             Kitchen Lights Ceiling          Farmhouse Chandelier Black


     Hanging Pendant Lights            Kitchen Light Fixtures          Modern Farmhouse Chandelier                  Schoolhouse Pendant Light            Kitchen Light Fixture Black


     Farmhouse Chandelier Wood




     About eBay     Announcements       Community      Security Center     Seller Center    Policies   Affiliates    Help & Contact    Site Map

     Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices
         and AdChoice




https://www.ebay.com/itm/266651565621?itmmeta=01J1YCNYKHX681QV70WK6D51VG&hash=item3e15abfe35:g:RkEAAOSwMdZlvabU&itmprp=en…                                                                        6/6
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 129 of 227
2/13/25, 2:31 PM                                                      Checkout | eBay




                            Checkout                                  How do you like our checkout? Give us feedback



                    New! Pay with Venmo for fast and easy checkout.



    Pay with

                         PayPal



                         Venmo



                         x-3651


               Add new card




                         Google Pay


                         No Interest if paid in full in 6 months.
                         Apply now. See terms




    Ship to
    steven howard
    223 4TH AVE
    PITTSBURGH, PA 15222
    United States
    (312) 888-6633

    Change




    Review order
            ericy23      Add note for seller
            96.9% positive feedback

https://pay.ebay.com/rxo?action=view&sessionid=2352266976019                                                           1/3
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 130 of 227
2/13/25, 2:31 PM                                                      Checkout | eBay

                      ELYONA Pendant Light for Kitchen Island Hammered Metal
                      Solid Wood Small Hangi...
                      $156.28

                         Quantity
                         1


                      Free returns


                      Delivery
                      Free Standard Shipping
                      Est. delivery: Feb 15 – Feb 20




    Gift cards and coupons

       Enter code:                                       Apply




    Donate to charity
    Save a Child's Heart Foundation
    Give $2 to help provide lifesaving heart surgery for children in need. PayPal Giving Fund (PPGF)
    receives your donation and grants 100% to a charity no later than 30 days after the end of the month
    in which the donation is made. Donations are non-refundable and typically tax deductible. PPGF
    may be unable to grant funds to a charity if the charity has lost tax exempt status, has closed, or no
    longer accepts funds from PPGF.


    Select amount            None




    Order Summary
    Item (1)                                                                                                $156.28
    Shipping                                                                                                  Free
    Tax                                                                                                       $9.38




https://pay.ebay.com/rxo?action=view&sessionid=2352266976019                                                          2/3
                   Case 2:25-cv-00472-CB               Document 2-7         Filed 04/10/25       Page 131 of 227
2/13/25, 2:31 PM                                                         Checkout | eBay



    Order total                                                                                                          $165.66

    By placing your order, you agree to eBay's User Agreement and Privacy Notice.


                                                               Confirm and pay


                                         Purchase protected by eBay Money Back Guarantee




    Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments
    Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices      and AdChoice




https://pay.ebay.com/rxo?action=view&sessionid=2352266976019                                                                       3/3
                   Case 2:25-cv-00472-CB                                Document 2-7                   Filed 04/10/25                    Page 132 of 227
2/13/25, 2:31 PM                                    ELYONA UP3011 Pendant Light Fixture 10.2" Hammered Metal Shade (Brushed Brass) | eBay

   Hi Mike!        Daily Deals     Gift Cards   Help & Contact                                                                                         Sell     My eBay



                                  Search for anything


                                  |Listed in category:
        Back to home page                                                                                                                                                      Share
                                    Home & Garden        Lamps, Lighting & Ceiling F…   Chandeliers & Ceiling Fixt…


      SAVE UP TO 20% See all eligible items and terms

                                                                                                                         ELYONA UP3011 Pendant Light Fixture
                                                                                                           1
                                                                                                                         10.2" Hammered Metal Shade (Brushed
                                                                                                                         Brass)
                                                                                                                                    newuseddeals(3047)
                                                                                                                                    99.3% positive
                                                                                                                                    Seller's other items
                                                                                                                                    Contact seller



                                                                                                                         US $18.95
                                                                                                                         or Best Offer

                                                                                                                         Was US $23.69 (20% off)           Price details

                                                                                                                         Condition:       Open box

                                                                                                                         Sale ends in: 3d 12h


                                                                                                                                                    Buy It Now


                                                                                                                                                 Add to cart


                                                                                                                                                  Make offer


                                                                                                                                               Add to Watchlist


   Have one to sell? Sell now
                                                                                                                                    Hurry before it's gone. 1 person is watching
                                                                                                                                    this item.


   Similar Items                                                                                                         Shipping:         US $9.63 delivery in 2–4 days
   Sponsored                                                        Feedback on our suggestions        |       See all                     Get it between Sat, Feb 15 and Wed,
                                                                                                                                           Feb 19 to 15222. See details
                                                                                                                                           Located in: Fort Wayne, Indiana, United
                                                                                                                                           States

                                                                                                                         Returns:          60 days returns. Seller pays for return
                                                                                                                                           shipping. See details

                                                                                                                         Payments:

   ELYONA Modern                 ELYONA Set Of 3             Gold Chandelier            3 Pack 8.3" Vintage
   Pendant Light for             Pendant Light Fixture       Lighting Fixture Dining    Indoor Hammered
   Kitchen Island, 10.2”…        Hammered Metal…             Room Pendant Light…        Metal Black/White…
   New (Other)                   New (Other)                 New                        New (Other)                                        Special financing available. See terms
   $54.99                        $12.95                      $9.99                      $24.99                                             and apply now
   Free 7 day shipping           + $8.15 shipping            Free 5 day shipping        Free 2-4 day shipping                                        Earn up to 5x points when you
   Seller with 99.5%                                            Top Rated Plus          Seller with 100%                                             use your eBay Mastercard®.
   positive feedback                                         22 sold                    positive feedback                                            Learn more



                                                                                                                         Shop with confidence

                                                                                                                              Top Rated Plus


https://www.ebay.com/itm/404656211309?_trkparms=amclksrc%3DITM%26aid%3D1110018%26algo%3DHOMESPLICE.COMPLISTINGS%26ao%3D…                                                               1/4
                     Case 2:25-cv-00472-CB                          Document 2-7            Filed 04/10/25              Page 133 of 227
2/13/25, 2:31 PM                                     ELYONA UP3011 Pendant Light Fixture 10.2" Hammered Metal Shade (Brushed Brass) | eBay
                                                                                                               Top rated seller, fast shipping, and free
                                                                                                               returns. Learn more

                                                                                                               eBay Money Back Guarantee
                                                                                                               Get the item you ordered or your money
                                                                                                               back. Learn more




   Inspired by your recent views
   Sponsored                                                                                                             Feedback on our suggestions       |   See all




   Small Hanging Pendant              ELYONA UP3011 Dark Blue        Wall Mount Corner Shelf     ELYONA Pendant Light for       ELYONA Pendant Lights for        Pend
   Light Black Pack Of 3              Adjustable Height Modern       Floating Wooden Shelf For   Kitchen Island 3 Pack          Kitchen Island, 7” Solid         Islan
                                      Hanging Pendant Light          Storage And Display Hom…    Hammered Metal Solid…          Wood Vintage Hammered…           Han
   New (Other)                        New (Other)                    New                         New                            Pre-owned                        New

   $49.99                             $69.99                         $17.36                      $60.00                         $138.75                          $85
   Free shipping                      + $4.99 shipping               $19.09 9% off               Free shipping                  Free shipping                    + $3
   Seller with 100% positive          Seller with 99.1% positive     Free shipping               Seller with 100% positive      Seller with 99.4% positive       Selle
   feedback                           feedback                                                   feedback                       feedback                         feed




      About this item                                                                                                                            Report this item



     Seller assumes all responsibility for this listing.                                                                     eBay item number: 404656211309

     Last updated on Jan 17, 2025 06:45:02 PST View all revisions




     Item specifics
     Condition
     Open box: An item in excellent, new condition with no wear. The item may
     be missing the original ... Read more
     BrandElyo
            na
     Number of Settings1
     TypePenda
          nt
     Sensor TypeLig
                   ht
     ColorGol
            d
     StyleIndustri
          al
     MaterialMet
              al
     FinishBrushe
            d
     Room
     Attic, Bar, Bedroom, Dining Room, Entryway, Foyer, Home Office/Study,
     Kitchen
     Lighting TechnologyE2
                          7



     Item description from the seller
https://www.ebay.com/itm/404656211309?_trkparms=amclksrc%3DITM%26aid%3D1110018%26algo%3DHOMESPLICE.COMPLISTINGS%26ao%3D…                                                 2/4
                   Case 2:25-cv-00472-CB                             Document 2-7                Filed 04/10/25           Page 134 of 227
2/13/25, 2:31 PM                                  ELYONA UP3011 Pendant Light Fixture 10.2" Hammered Metal Shade (Brushed Brass) | eBay
     New open box




         About this seller


                                     newuseddeals
                                     99.3% positive feedback • 9.5K items sold




             Joined Sep 2021
             Usually responds within 24 hours


                                                                                 Visit store


                                                                                  Contact


                                                                                   Save seller



         Detailed seller ratings

         Accurate description                                              4.9

         Reasonable shipping cost                                          4.9

         Shipping speed                                                    5.0

         Communication                                                     5.0

         Average for the last 12 months



         Popular categories from this store                      See all


           Antiques          Pottery & Glass         Coins & Paper Money         Sports Mem, Cards & Fan Shop



         Seller feedback (2,992)

                                                                                                                                Filter: All ratings


             s***i (70) Past month                                                                                                       Verified purchase

         Fast ship, great communication, as described. A+++ packaging. Arrived perfectly. Fair price.
         Clear Seeded Glass Globe Lamp Shades Replacement Lampshade Cover with 1-5/8-inch (#405469806750)

             i***i (1628) Past 6 months                                                                                                  Verified purchase

         Just as described, packed well, shipped promptly. Responsive seller. A+++++
         2 Pack 300 Replacement Filter for Coway AIRMEGA Max2 300/300S Combined True HEPA (#405403690920)


             8***c (127) Past year                                                                                                       Verified purchase

         Great seller! Item was shipped immediately and communicated when he sent it. Received it earlier than earliest estimated date. As described,
         well packed, and perfect condition.
         Ouray Colorado Shot Glass Black With Gold (#404175997261)


             o***m (2625) Past month                                                                                                     Verified purchase

         The Seller wrapped it perfectly, shipped it quickly and it arrived as was described. Definitely a great value.
         Lenox MICKEY MOUSE Profile Popper Porcelain Fits Nora Fleming Bases H84 (#405465529543)


             m***l (139) Past month                                                                                                      Verified purchase




https://www.ebay.com/itm/404656211309?_trkparms=amclksrc%3DITM%26aid%3D1110018%26algo%3DHOMESPLICE.COMPLISTINGS%26ao%3D…                                     3/4
                      Case 2:25-cv-00472-CB                                 Document 2-7                      Filed 04/10/25                      Page 135 of 227
2/13/25, 2:31 PM                                        ELYONA UP3011 Pendant Light Fixture 10.2" Hammered Metal Shade (Brushed Brass) | eBay
           Price was right! Fast shipping! Item inside, as described, arrived like new and undamaged in slightly beat up factory packaging. Installed
           perfectly! Totally satisfied!
           AMI PARTS DA97-12650A,DA63-06963A,DA63-07104A Refrigerator Door Shelf Basket Bin (#405334161128)


               6***m (1119) Past month                                                                                                                                   Verified purchase

           One of the best sellers I've dealt with! Fast response with excellent communication and super fast shipping. Exactly as described. If only all
           transactions were this easy! Thank you
           50Amp to 30Amp Dryer Adapter Compatible with NEMA 10-50P to 14-30R 3 Prong to 4 (#405416365437)


               l***m (429) Past month                                                                                                                                    Verified purchase

           Item was just as described and for a good price. Shipped quickly and arrived well packaged. Thanks. A+.
           30 Amp to 110 Volt RV Adapter Cord with Locking Connector 12 Inch, ETL Listed (#405453902225)


               e***7 (40) Past 6 months                                                                                                                                  Verified purchase

           Great seller. Contacted me and shipped right away. Happy with purchase. Exactly as described. Would buy from this seller again. Thank You.
           Plug In Pendant Light, 15FT Hemp Rope Cord,Hanging Lights With Plug In Cord... (#405380055852)



              See all feedback


   Back to home page                                                                                                                                                                  Return to top

   More to explore : Brushed Brass Pendant Chandeliers & Ceiling Fixtures, Brass Brushed Track Lighting Fixtures, Brass Brushed Wall Lighting Fixtures,
   Metallic Brass Pendant Chandeliers & Ceiling Fixtures, Brushed Metal Wall Lighting Fixtures, Brushed Nickel Pendants Fixtures, Aluminum Brushed Pendants Fixtures,
   Pewter Brushed Pendants Fixtures, Brass Modern Pendants Fixtures, Brass Frosted Pendants Fixtures


   Shop Top Sellers and Highly Rated Products in Chandeliers & Ceiling Fixtures

   Best Sellers                                                                                    Top Rated
   Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White Hykolity 4FT 42W 3700 Lumens Linkable LED Shop Light with Pull Chain - Pack of 4
   (ACHR154595)                                                                      (HY-SL42W5KF-4)

   Halo HLB6 6" Ultra Thin Downlight LED Kit                                                       Sea Gull 14540S-15 Traverse Lyte LED Downlight

   Halo Smart Wi-Fi Slim Canless LED Downlight 6" HLB6099WZRGBWMWR                                 Artika Essence 27W Chrome Integrated LED 4 Pendant Light Chandelier

   Commercial Electric 6 " LED Color Changing Recessed Trim with Night Light                       Halo HLB6 6" Ultra Thin Downlight LED Kit

   Lithonia Lighting LED Strip Light                                                               Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White
                                                                                                   (ACHR154595)


   Related Searches
     Bronze Ceiling Light          Polished Brass Ceiling Light            Bronze Crystal Chandelier            Vintage Brass Pendant Light            Eleanor Chandelier


     Pendant Light Shades            Etched Glass Chandelier             Brass Chandelier Parts           Pendant Light Shade only            Crystal Ceiling Light


     Fluted Pendant Light           Edison Lighting Fixtures          Vintage Pendant Light Shade              Hallway Light Fixture         Vintage Metal Pendant Light




     About eBay     Announcements       Community      Security Center     Seller Center    Policies   Affiliates   Help & Contact     Site Map

     Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices
          and AdChoice




https://www.ebay.com/itm/404656211309?_trkparms=amclksrc%3DITM%26aid%3D1110018%26algo%3DHOMESPLICE.COMPLISTINGS%26ao%3D…                                                                              4/4
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 136 of 227
2/13/25, 2:31 PM                                                      Checkout | eBay




                            Checkout                                  How do you like our checkout? Give us feedback



                    New! Pay with Venmo for fast and easy checkout.



    Pay with

                         PayPal



                         Venmo



                         x-3651


               Add new card




                         Google Pay


                         Special financing available.
                         Apply now. See terms




    Ship to
    steven howard
    223 4TH AVE
    PITTSBURGH, PA 15222
    United States
    (312) 888-6633

    Change




    Review order
            newuseddeals          Add note for seller
            99.3% positive feedback

https://pay.ebay.com/rxo?action=view&sessionid=2352267357019                                                           1/3
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 137 of 227
2/13/25, 2:31 PM                                                      Checkout | eBay

                        LAST ONE

                      ELYONA UP3011 Pendant Light Fixture 10.2" Hammered Metal
                      Shade (Brushed Brass)
                      $18.95 $23.69
                      Quantity 1

                      Free returns


                      Delivery
                      $9.63 delivery in 2–4 days
                      Get it by Feb 15 – Feb 19
                      USPS Priority Mail


                      Save up to 20%




    Gift cards and coupons

       Enter code:                                       Apply




    Donate to charity
    Save a Child's Heart Foundation
    Give $2 to help provide lifesaving heart surgery for children in need. PayPal Giving Fund (PPGF)
    receives your donation and grants 100% to a charity no later than 30 days after the end of the month
    in which the donation is made. Donations are non-refundable and typically tax deductible. PPGF
    may be unable to grant funds to a charity if the charity has lost tax exempt status, has closed, or no
    longer accepts funds from PPGF.


    Select amount            None




    Order Summary
    Item (1)                                                                                                $18.95


https://pay.ebay.com/rxo?action=view&sessionid=2352267357019                                                         2/3
                   Case 2:25-cv-00472-CB               Document 2-7         Filed 04/10/25       Page 138 of 227
2/13/25, 2:31 PM                                                         Checkout | eBay

    Shipping                                                                                                                 $9.63
    Tax                                                                                                                       $1.72


    Order total                                                                                                          $30.30

    By placing your order, you agree to eBay's User Agreement and Privacy Notice.


                                                               Confirm and pay


                                         Purchase protected by eBay Money Back Guarantee




    Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments
    Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices      and AdChoice




https://pay.ebay.com/rxo?action=view&sessionid=2352267357019                                                                          3/3
                   Case 2:25-cv-00472-CB                                Document 2-7                    Filed 04/10/25                    Page 139 of 227
2/13/25, 2:33 PM                                     Vintage Pendant Light Fixtures Industrial Hammered Metal Hanging Bar Lamp Wood | eBay

   Hi Mike!        Daily Deals     Gift Cards   Help & Contact                                                                                         Sell   My eBay



                                  Search for anything


                                  |Listed in category:
        Back to home page                                                                                                                                                         Share
                                    Home & Garden        Lamps, Lighting & Ceiling F…   Chandeliers & Ceiling Fixt…


                                                                                                                          Vintage Pendant Light Fixtures
                                                                                                            2
                                                                                                                          Industrial Hammered Metal Hanging
                                                                                                                          Bar Lamp Wood
                                                                                                                                     musicman1a2a3a4(9639)
                                                                                                                                     99.1% positive
                                                                                                                                     Seller's other items
                                                                                                                                     Contact seller



                                                                                                                          US $34.99
                                                                                                                                                        “Open Box Liquidation -
                                                                                                                                           Open
                                                                                                                          Condition:                    SEE ALL PHOTOS - Small
                                                                                                                                           box
                                                                                                                                                        Scratch on Wood Surface”


                                                                                                                                                   Buy It Now


                                                                                                                                                  Add to cart


                                                                                                                                                 Add to Watchlist



                                                                                                                                      People are checking this out. 2 have added
                                                                                                                                      this to their watchlist.


                                                                                                                          Pickup:           Free local pickup from Flint, Michigan,
   Have one to sell? Sell now                                                                                                               United States 48504

                                                                                                                          Shipping:         US $12.85 USPS Ground Advantage®.
                                                                                                                                            See details
   Similar Items                                                                                                                            Located in: Flint, Michigan, United
   Sponsored                                                        Feedback on our suggestions         |       See all                     States

                                                                                                                          Delivery:         Estimated between Sat, Feb 15 and
                                                                                                                                            Thu, Feb 20 to 15222

                                                                                                                          Returns:          30 days returns. Buyer pays for return
                                                                                                                                            shipping. If you use an eBay shipping
                                                                                                                                            label, it will be deducted from your
                                                                                                                                            refund amount.. See details

                                                                                                                          Payments:
                                                                                          ALMOST GONE

   1Pc 200W UFO LED              3 Pack 8.3" Vintage         Standard Dome 16"          Antique Wood Wine
   High Bay Light                Indoor Hammered             Industrial Lighting        Barrel Pendant Lamp
   Industrial &…                 Metal Black/White…          Fixture Satin Copper…      Hanging Rustic…
                                                                                        New                                                 Special financing available. See terms
   New                           New (Other)                 New                        $59.99                                              and apply now
                                                                                        Free 5 day shipping                                          Earn up to 5x points when you
   $345.00                       $24.99                      $195.00
                                                                                        13 watchers                                                  use your eBay Mastercard®.
   + $47.91 shipping             Free 2-4 day shipping       + $18.00 shipping
   Seller with 100%              Seller with 100%            14 watchers                                                                             Learn more
   positive feedback             positive feedback

                                                                                                                          Shop with confidence

                                                                                                                               eBay Money Back Guarantee



https://www.ebay.com/itm/116279119177?_trkparms=amclksrc%3DITM%26aid%3D1110006%26algo%3DHOMESPLICE.SIM%26ao%3D1%26asc%3…                                                                  1/5
                     Case 2:25-cv-00472-CB                          Document 2-7                   Filed 04/10/25            Page 140 of 227
2/13/25, 2:33 PM                                       Vintage Pendant Light Fixtures Industrial Hammered Metal Hanging Bar Lamp Wood | eBay
                                                                                                                    Get the item you ordered or your money
                                                                                                                    back. Learn more




   Inspired by your recent views
   Sponsored                                                                                                                  Feedback on our suggestions    |   See all




   ELYONA UP3011 Pendant              Small Hanging Pendant           ELYONA UP3011 Dark Blue         ELYONA Pendant Light for      ELYONA Pendant Lights for      Pend
   Light Fixture 10.2"                Light Black Pack Of 3           Adjustable Height Modern        Kitchen Island 3 Pack         Kitchen Island, 7” Solid       Islan
   Hammered Metal Shade…                                              Hanging Pendant Light           Hammered Metal Solid…         Wood Vintage Hammered…         Han
   New (Other)                        New (Other)                     New (Other)                     New                           Pre-owned                      New

   $18.95                             $49.99                          $69.99                          $60.00                        $138.75                        $85
   $23.69 20% off                     Free shipping                   + $4.99 shipping                Free shipping                 Free shipping                  + $3
   + $9.63 shipping                   Seller with 100% positive       Seller with 99.1% positive      Seller with 100% positive     Seller with 99.4% positive     Selle
      Top Rated Plus                  feedback                        feedback                        feedback                      feedback                       feed
   Seller with 99.3% positive
   feedback




      About this item                                                                                                                               Report this item



     Seller assumes all responsibility for this listing.                                                                          eBay item number: 116279119177

     Last updated on Aug 04, 2024 16:28:54 PDT View all revisions




     Item specifics
     ConditionOpen box
     Seller Notes
     “Open Box Liquidation - SEE ALL PHOTOS - Small Scratch on Wood
     Surface”
     Power SourceHardwire
                     d
     SizeMediu
          m
     ColorBrushed
           Brass
     MaterialMetal,
               Wood
     MPNB091B2G4V
          P
     Installation AreaIndo
                       or
     BrandUnbrande
            d
     TypePenda
          nt
     Sensor TypeLig
                   ht
     StyleIndustri
          al
     Shade ShapeDom
                    e
     RoomB
            ar
     FinishHammere
            d

https://www.ebay.com/itm/116279119177?_trkparms=amclksrc%3DITM%26aid%3D1110006%26algo%3DHOMESPLICE.SIM%26ao%3D1%26asc%3…                                                   2/5
                     Case 2:25-cv-00472-CB                           Document 2-7                    Filed 04/10/25                  Page 141 of 227
2/13/25, 2:33 PM                                      Vintage Pendant Light Fixtures Industrial Hammered Metal Hanging Bar Lamp Wood | eBay
     UPCn
        a



     Item description from the seller
     Vintage Pendant Light Fixtures, Industrial Hammered Metal Hanging Bar Lamp, Solid Wood,
     Antique Gold Adjustable Pendant Lights for Kitchen Island, Farmhouse, Dining Room, Brushed
     Brass

     Brand          ELYONA

     Color          Brass

     Style          Vintage, Industrial, Retro, Mid

                    Century Modern, Rustic

     Light fixture Pendant

     form

     Room Type Kitchen, Dining Room, Bedroom,

                    Living Room, Office, Bar, Hallway,

                    Study Room


     About this item

             【The Top Craftsmanship Brushed Brass Hammered Metal Shade 】①Rather than the spray painting process, ELYONA brushed brass hammered surface,

       present special texture to provide vintage industrial feeling smooth which won‘t crack, more durable and stable. ② Made of natural iron ore from Highland

       Mountains, melted at an ultra-high temperature of 1538℃ to ensure no impurities. ③ The use of top hammered craftsmanship ensures that each hammered

       pattern is full and round with the proper depth.

             【Why can you trust ELYONA's Solid Wood?】① Unlike fiberboard’s wood grain paper surface and glued with unknown woodchips inside, ELYONA solid wood

       has a waterproof coating that won't cause edge warping when meeting water and is glue-free, formaldehyde-free. ②Made of FSC Certification Smooth Solid Wood

       which has represents that the timber used is following the strict environmental standards of FSC. ③The pendant lamp has a certain weight to ensure that the wire

       will not bend when hanging.

             【 Medium Dimension & Wood Maintenance 】① Dimension & Adjustable Height：Max 54.5'' H x 10'' W x 10'' D, Ceiling Canopy: Dia. 4.5". ❥(We have 10

       "and 6.8" sizes for different choices) ② Simply wipe with a damp cloth, then dry. We have been coated with mineral oil before packaging, and we still recommend

       coating mineral or olive oil 1-2 times 3 month to make the wood grain more textured.

             【Patent Design Pendant Light】①With over 20 years of illumination production experience and a professional design team, we have high strict control over

       product quality and detail & getting many patents for appearance design and functions at the same time. ② Rubber wood with hammered metal shade pendant

       light provides vintage industrial feeling. Ideal for kitchen, dining room, living room, office, coffee bar, bedroom, and beside nightstand. Add this modern industrial

       looking to your home now!

             【Bulb Requirements & Dimmable】① ETL Listed, and cords are included for Height Adjustment. This hanging light fixture can be installed at any height of the

       ceiling and bevel. Supports any LED/CFL/Edison or other less than 40W bulbs with E26 Base. ❥When using dimmer and dimmable bulb can be dimmed (Bulbs

       NOT Included).



     Open Box Liquidation - SEE ALL PHOTOS - Small Scratch on Wood Surface
     REDUCED PRICE !! Currently Sells for $62.99 on Amazon B091B2G4VP




            About this seller


https://www.ebay.com/itm/116279119177?_trkparms=amclksrc%3DITM%26aid%3D1110006%26algo%3DHOMESPLICE.SIM%26ao%3D1%26asc%3…                                                        3/5
                   Case 2:25-cv-00472-CB                              Document 2-7                   Filed 04/10/25              Page 142 of 227
2/13/25, 2:33 PM                                       Vintage Pendant Light Fixtures Industrial Hammered Metal Hanging Bar Lamp Wood | eBay



                                     musicman1a2a3a4
                                     99.1% positive feedback • 45K items sold




             Joined Oct 2015
             Usually responds within 24 hours

         A little of our history: Full time online sales since 1999 originally starting as a brick and mortar music/video store way back in 1980. With the
         steady decline of music sales, in 2015 we started ...
         See more



                                                                                     Visit store


                                                                                      Contact


                                                                                      Save seller



         Detailed seller ratings

         Accurate description                                                  4.9

         Reasonable shipping cost                                              4.8

         Shipping speed                                                        5.0

         Communication                                                         5.0

         Average for the last 12 months



         Popular categories from this store                          See all


           Tom Ford Parfum              Filters - Water, Air, etc.    Mens Clothing        Tools           Toys - Games - Collectables


           Electronics / Electrical           Womens Clothing           Atomizers Empty            Music CDs



         Seller feedback (11,359)

                                                                                                                                         Filter: All ratings


             a***o (108) Past year                                                                                                                Verified purchase

         Just received this cd and it came packaged very,very secure and it did come factory sealed as described & shown!Good price & fast shipping
         as well!Highly recommend this seller!!THANKS AGAIN!!!
         CHOCOLATE MILK / Ice Cold Funk The Greatest Grooves of Hits CD 1998 New Sealed (#114393885545)


             z***4 (95) Past 6 months                                                                                                             Verified purchase

         Received my cd order today in brand new sealed condition as advertised and packaged very securely as well. Quick shipping to delivery.
         Wonderful customer service with this seller. Thank you.
         BOOK OF REFLECTIONS / Chapter II Unfold The Future CD IMPORT 2006 New Sealed 2 (#114362738795)


             7***a (5943) Past 6 months                                                                                                           Verified purchase

         EXCELLENT TRANSACTION!! AWESOME SELLER!! SUPER FAST SHIPPING & DELIVERY!! THE CD IS EXACTLY AS DESCRIBED AND PICTURED IN
         LISTING!! PACKAGED AND PROTECTED VERY WELL!! HIGHLY RECOMMENDED SELLER!! THANKS. VERY PLEASED.
         STEEPWATER BAND / Grace And Melody CD 2008 New Sealed (#114162880405)


             a***3 (32) Past month                                                                                                                Verified purchase

         This was a stellar transaction! Checked all the boxes with five stars! as described, lightning fast shipper, wrapped to arrive in perfect condition!
         Thank you!!!!
         3 Pack 6x8 inch Acrylic Picture Frame Clear 6 x 8 Photo Frames Magnetic Picture (#116440489758)


             n***7 (580) Past year                                                                                                                Verified purchase

         CD is exactly as described, great price, shipped SUPER FAST & packaged very well. Thanks so much for the excellent service!! A+++


https://www.ebay.com/itm/116279119177?_trkparms=amclksrc%3DITM%26aid%3D1110006%26algo%3DHOMESPLICE.SIM%26ao%3D1%26asc%3…                                              4/5
                      Case 2:25-cv-00472-CB                                 Document 2-7                      Filed 04/10/25                      Page 143 of 227
2/13/25, 2:33 PM                                          Vintage Pendant Light Fixtures Industrial Hammered Metal Hanging Bar Lamp Wood | eBay
           MISFITS IN THE ATTIC / Enter At Your Own Risk CD 1994 NEW SEALED (#113232529128)


               i***i (669) Past month                                                                                                                                    Verified purchase

           Trusted and reliable seller.Super fast shipping and delivery and CD in perfect condition as described and well packaged,thanks!
           TURISAS / Battle Metal CD IMPORT 2004 New Sealed (#114180608412)


               a***e (1165) Past month                                                                                                                                   Verified purchase

           Superfast shipping. Described and packaged well. Good price. A+ 5***** Thank you!
           Beer Faucet Draft Homebrew Stainless Steel Intertap Kegerator Sealing Tap Brewer (#116418950534)


               8***d (450) Past month                                                                                                                                    Verified purchase

           Item is as described by seller. Brand new CD, great price and well packed, very happy with my purchase, excellent seller.
           BRUCE DICKINSON / Skunkworks CD 1996 NEW SEALED Castle Music Ltd Iron Maiden (#114444737459)



              See all feedback




   Back to home page                                                                                                                                                                  Return to top

   More to explore : Metallic Industrial Pendants Fixtures, Metal Pendants Fixtures, Metallic Pendants Fixtures, Bar Pendants Fixtures,
   Compact Fluorescent Lamp Industrial Pendants Fixtures, Cal Lighting Industrial Pendants Fixtures, Light Pendants Fixtures,
   Golden Lighting Industrial Pendants Fixtures, Wood Pendant Chandeliers and Ceiling Fixtures, Vintage/Retro Metal Wall Lighting Fixtures


   Shop Top Sellers and Highly Rated Products in Chandeliers & Ceiling Fixtures

   Best Sellers                                                                                    Top Rated
   Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White Hykolity 4FT 42W 3700 Lumens Linkable LED Shop Light with Pull Chain - Pack of 4
   (ACHR154595)                                                                      (HY-SL42W5KF-4)

   Halo HLB6 6" Ultra Thin Downlight LED Kit                                                       Sea Gull 14540S-15 Traverse Lyte LED Downlight

   Halo Smart Wi-Fi Slim Canless LED Downlight 6" HLB6099WZRGBWMWR                                 Artika Essence 27W Chrome Integrated LED 4 Pendant Light Chandelier

   Commercial Electric 6 " LED Color Changing Recessed Trim with Night Light                       Halo HLB6 6" Ultra Thin Downlight LED Kit

   Lithonia Lighting LED Strip Light                                                               Halo 3008722 6" 10.1W HLB Lite LED Recessed Direct Mount Light Trim - Matte White
                                                                                                   (ACHR154595)


   Related Searches
     Industrial Hanging Light           Vintage Hanging Pendant Light             Vintage Metal Pendant Light             Hanging Light Fixture Vintage            Hanging Pendant Lights


     Modern Hanging Light Fixture             Vintage Brass Pendant Light             Hanging Fixture Light          Vintage Hanging Bar Lights            Vintage Pendant Light


     Dining Room Hanging Light Fixture              Hanging Vintage Light            Hammered Copper Pendant Light                 Bar Pendant Light          Vintage Brass Light Fixture




     About eBay     Announcements       Community      Security Center     Seller Center    Policies   Affiliates   Help & Contact     Site Map

     Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices
          and AdChoice




https://www.ebay.com/itm/116279119177?_trkparms=amclksrc%3DITM%26aid%3D1110006%26algo%3DHOMESPLICE.SIM%26ao%3D1%26asc%3…                                                                              5/5
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 144 of 227
2/13/25, 2:33 PM                                                      Checkout | eBay




                            Checkout                                  How do you like our checkout? Give us feedback



                    New! Pay with Venmo for fast and easy checkout.



    Pay with

                         PayPal



                         Venmo



                         x-3651


               Add new card




                         Google Pay


                         Special financing available.
                         Apply now. See terms




    Ship to
    steven howard
    223 4TH AVE
    PITTSBURGH, PA 15222
    United States
    (312) 888-6633

    Change




    Review order
            musicman1a2a3a4            Add note for seller
            99.1% positive feedback

https://pay.ebay.com/rxo?action=view&sessionid=2352268536019                                                           1/3
                   Case 2:25-cv-00472-CB               Document 2-7      Filed 04/10/25   Page 145 of 227
2/13/25, 2:33 PM                                                      Checkout | eBay

                        LAST ONE

                      Vintage Pendant Light Fixtures Industrial Hammered Metal
                      Hanging Bar Lamp Wood
                      $34.99
                      Quantity 1

                      Returns accepted


                            Delivery

                                   Est. delivery: Feb 15 – Feb 20
                                   USPS Ground Advantage
                                   $12.85

                                   Est. delivery: Feb 15 – Feb 20
                                   USPS Priority Mail
                                   $14.25


                            Pickup
                            Free Local Pickup
                            Contact seller after checkout to arrange pickup
                            You'll pick up in Flint, Michigan




    Gift cards and coupons

       Enter code:                                       Apply




    Donate to charity
    Save a Child's Heart Foundation
    Give $2 to help provide lifesaving heart surgery for children in need. PayPal Giving Fund (PPGF)
    receives your donation and grants 100% to a charity no later than 30 days after the end of the month
    in which the donation is made. Donations are non-refundable and typically tax deductible. PPGF
    may be unable to grant funds to a charity if the charity has lost tax exempt status, has closed, or no
    longer accepts funds from PPGF.




https://pay.ebay.com/rxo?action=view&sessionid=2352268536019                                                 2/3
                   Case 2:25-cv-00472-CB               Document 2-7        Filed 04/10/25        Page 146 of 227
2/13/25, 2:33 PM                                                        Checkout | eBay


    Select amount            None




    Order Summary
    Item (1)                                                                                                               $34.99
    Shipping                                                                                                                $12.85
    Tax                                                                                                                      $2.87


    Order total                                                                                                           $50.71

    By placing your order, you agree to eBay's User Agreement and Privacy Notice.



                                                               Confirm and pay


                                         Purchase protected by eBay Money Back Guarantee




    Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments
    Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices      and AdChoice




https://pay.ebay.com/rxo?action=view&sessionid=2352268536019                                                                         3/3
                          Case 2:25-cv-00472-CB                                      Document 2-7                       Filed 04/10/25                   Page 147 of 227




1/22/25, 2:26 PM                                                            3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal Solid Wood Hanging Li | eBay
                                                                                                                                                                                                                     1
      Hi Mike!       Daily Deals   Gift Cards    Help & Contact                                                                                                                    Sell     My eBay



                       Shop by
                       category                 Search for anything                                                                                        All Categories                 Search           Advanced



         Back to home page     Home & Garden          Lamps, Lighting & Ceiling F…   Chandeliers & Ceiling Fixtu…                                                                                             Share


                                                                                                                                     3 Pack Pendant Lights for Kitchen Island 7”
                                                                                                                                     Hammered Metal Solid Wood Hanging Li

                                                                                                                                             kirit4181 (139)
                                                                                                                                             98.6% positive Seller's other items Contact seller



                                                                                                                                     Condition:      New




                                                                                                                                     US $162.99                                           Buy It Now
                                                                                                                                     No Interest if paid in full in 6 mo
                                                                                                                                     on $149+ with PayPal Credit*
                                                                                                                                                                                          Add to cart


                                                                                                                                                                                       Add to Watchlist



                                                                                                                                     Shipping:        Free Standard Shipping. See details
                                                                                                                                                      Located in: Denver, Colorado, United States

                                                                                                                                     Delivery:           Estimated between Sat, Jan 25 and Thu, Jan 30 to
                                                                                                                                                      60602
                                                                                                                                                      Includes 5 business days handling time after receipt of
                                                                                                                                                      cleared payment.

                                                                                                                                     Returns:         30 days returns. Buyer pays for return shipping.
                                                                                                                                                      See details

                                                                                                                                     Payments:



                                                                                                                                                      *No Interest if paid in full in 6 months on $149+. See terms
     Have one to sell? Sell now
                                                                                                                                                      and apply now

                                                                                                                                                                Earn up to 5x points when you use your eBay
                                                                                                                                                                Mastercard®. Learn more



     Similar Items                                                                                                                   Shop with confidence
     Sponsored                                                                        Feedback on our suggestions   |   See all
                                                                                                                                          eBay Money Back Guarantee
                                                                                                                                          Get the item you ordered or your money back. Learn more



https://www.ebay.com/itm/335633841585?_skw=elyona&itmmeta=01JAYE2Y5HWY1Q4SG93FV1PRK5&hash=item4e2555fdb1:g:LfgAAOSw~mxnGcwp&itmprp=enc%3AAQAJAAAA4HoV3kP08IDx%2…                                                         1/9
                          Case 2:25-cv-00472-CB                                  Document 2-7                             Filed 04/10/25                     Page 148 of 227




1/22/25, 2:26 PM                                                       3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal Solid Wood Hanging Li | eBay




                                                                  ALMOST GONE

     Black suspended industrial   ELYONA Pendant Light for      20" Modern Fan Lights Flush      ELYONA 3 Pack Pendant
     chandelier. Rustic ceiling   Kitchen Island 3 Pack         Mount LED Ceiling Light kit      Lights for Kitchen Island 7”
     light.                       Hammered Metal Solid…         With Remote APP Control          Hammered Metal Solid…
     New                          New                           New                              New

     $347.00                      $60.00                        $76.99                           $58.00
     Free shipping                Free shipping                 $85.54 10% off                   Free shipping
     Seller with 100% positive    Seller with 100% positive     Free shipping
     feedback                     feedback                         Top Rated Plus
                                                                52 sold




     Inspired by your recent views
     Sponsored                                                                                                                                                           Feedback on our suggestions     |   See all




                                            LAST ONE

     ELYONA 3 Pack Pendant Lights for      Modern 3-pack Pendant Light              3 Pack White Hammered Pendant               Pendant Light for Kitchen Island 3   3 Pack Pendant Lights for Kitchen        3 Pack
     Kitchen Island 7” Hammered Metal      Kitchen Island Ceiling Hanging Lamp      Lights for Kitchen Island 7” Nordic         Pack Hammered Metal Solid Wood       Island 7” Hammered Metal Solid           Island
     Solid Wood                            ChandelierOpens                          Solid Wood ...                              Hanging Light                        Wood Hanging Li                          Wood
     New                                   New                                      New                                         New                                  New                                      New

     $58.00                                $119.19                                  $158.54                                     $167.99                              $165.99                                  $168.
     Free shipping                         $148.99 20% off                          Free shipping                               Free shipping                        Free shipping                            Free s
                                           Free shipping                            Seller with 100% positive feedback
                                              Top Rated Plus
                                           Seller with 99.2% positive feedback




        About this item                                                                                                                                                                         Report this item



https://www.ebay.com/itm/335633841585?_skw=elyona&itmmeta=01JAYE2Y5HWY1Q4SG93FV1PRK5&hash=item4e2555fdb1:g:LfgAAOSw~mxnGcwp&itmprp=enc%3AAQAJAAAA4HoV3kP08IDx%2…                                                       2/9
                             Case 2:25-cv-00472-CB                                      Document 2-7                     Filed 04/10/25                     Page 149 of 227




1/22/25, 2:26 PM                                                              3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal Solid Wood Hanging Li | eBay


       Seller assumes all responsibility for this listing.                                                                                                                    eBay item number: 335633841585

       Last updated on Jan 08, 2025 01:03:15 PST View all revisions




       Item specifics
       Condition                         New: A brand-new, unused, unopened, undamaged item in its                Brand                       Does not apply
                                         original packaging (where packaging is ... Read more

       Type                              Does not apply                                                           Light Source Type           Edison bulbs, incandescent bulbs, CFLs, LED bulbs

       Style                             Modern, Industrial, Farmhouse, Coastal, Rustic, Retro, Vintage           Power Source                Corded Electric

       Fixture Type                      Non Removable                                                            Number of Light Sources     1

       Control Method                    App                                                                      Warranty Type                    One-Year Warranty

       Theme                             Space                                                                    Batteries Included?         No

       Lighting Method                   Downlight                                                                Specification Met           ETL

       Controller Type                   Push Button                                                              Unit Count                  3.0 Count

       Room Type                         Kitchen, Dining Room, Bedroom, Living Room, Office, Bar,                 Assembly Required           Yes
                                         Hallway,

       Product Dimensions                7"L x 7"W x 63"H                                                         Installation Type           Semi Flush Mount

       Finish Type                       1538 ℃ Bake Painted & Solid Wood Polishing Process                       Specific Uses For Product   Kitchen islands, porch Lighting, hallways, bars, dining room, liv

       Included Components               Mounting Hardware                                                        Indoor/Outdoor Usage        Indoor

       Batteries Required?               No                                                                       Item Weight                 5.34 pounds

       Light fixture form                Pendant                                                                  Bulb Base                   E26

       Shade Color                       Modern Blue                                                              Mounting Type               Ceiling Mount

       Color                             Blue - 3 Pack                                                            Wattage                     40 watts

       Shape                             Dome                                                                     Voltage                     110 Volts

       Plug Format                       A- US style                                                              Shade Material              Hammered Blue Metal

       Finish types                      1538 ℃ Bake Painted & Solid Wood Polishing Process                       Size                        Small

       UPC                               313028481479



       Item description from the seller




https://www.ebay.com/itm/335633841585?_skw=elyona&itmmeta=01JAYE2Y5HWY1Q4SG93FV1PRK5&hash=item4e2555fdb1:g:LfgAAOSw~mxnGcwp&itmprp=enc%3AAQAJAAAA4HoV3kP08IDx%2…                                                  3/9
                    Case 2:25-cv-00472-CB                       Document 2-7                     Filed 04/10/25                         Page 150 of 227




1/22/25, 2:26 PM                                        3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal Solid Wood Hanging Li | eBay




                                OTHER ITEMS        FEEDBACKS           ABOUT US            CONTACT US                ADD TO FAVORITES




                                                                                               3 Pack Pendant Lights for
                                                                                               Kitchen Island 7” Hammered
                                                                                               Metal Solid Wood Hanging
                                                                                               Light Fixtures Adjustable
                                                                                               Height Industrial Pendant
                                                                                               Lighting for Dining Room
                                                                                               Bedroom Bar Office, Modern
                                                                                               Blue Small

                                                                                               【Why can you trust ELYONA's Solid Wood?】①Made of FSC
                                                                                               Certification Smooth Rubber Wood which has represents that the
                                                                                               timber used is following the strict environmental standards of FSC.
                                                                                               ②Unlike fiberboard’s wood grain paper surface and glued with
                                                                                               unknown woodchips inside, ELYONA solid wood has a waterproof
                                                                                               coating that won't cause edge warping when meeting water and is
                                                                                               glue-free, formaldehyde-free. ③ The pendant lamp has a certain
                                                                                               weight to ensure that the wire will not bend when hanging
                                                                                               【The Top Craftsmanship Hammered Metal Shade 】①Rather
                                                                                               than the spray painting process, ELYONA dust-free constant
                                                                                               temperature process is used for surface baking paint to ensure the
                                                                                               color is free of impurities and smooth which won‘t crack, more
                                                                                               durable and stable. ②Made of natural iron ore from Highland
                                                                                               Mountains, melted at an ultra-high temperature of 1538℃ to
                                                                                               ensure no impurities. ③Top japanese hammered craftsmanship
                                                                                               ensures that each hammered pattern is full and round with the
                                                                                               proper depth.
                                                                                                  【Small Dimension & Wood Maintenance】 ①Dimension &
                                                                                               Adjustable Height：Max 54.5'' H x 6.8'' W x 6.8'' D, Ceiling
                                                                                               Canopy: Dia. 4.3".This light can be installed at any height of the
                                                                                               ceiling and bevel. ② For easy maintenance, wipe it clean with a
                                                                                               damp cloth, then dry. Our product has been coated with mineral oil

https://www.ebay.com/itm/335633841585?_skw=elyona&itmmeta=01JAYE2Y5HWY1Q4SG93FV1PRK5&hash=item4e2555fdb1:g:LfgAAOSw~mxnGcwp&itmprp=enc%3AAQAJAAAA4HoV3kP08IDx%2…     4/9
                    Case 2:25-cv-00472-CB                       Document 2-7                     Filed 04/10/25                          Page 151 of 227




1/22/25, 2:26 PM                                        3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal Solid Wood Hanging Li | eBay
                                                                                               before packaging, and we recommend reapplying mineral or olive
                                                                                               oil 1-2 times every 3 months to enhance the textured wood
                                                                                               grain.❥(We have 10 "and 6.8" sizes for different choices)
                                                                                               【ELYONA Unique Blue Modern Pendant Light】① ELYONA
                                                                                               “Modern Blue”, According to home color trend, blue has returned to
                                                                                               the public eye as "New Black", ELYONA blue with 36.5% gray
                                                                                               tone.The low saturation tone brings soft elegant feeling, creating
                                                                                               more “New Possibilities” about HOME. ② With over 20 years of
                                                                                               illumination production experience and a professional design team.
                                                                                               Ideal for kitchen island, dining living room, office, bar, bedroom.
                                                                                               Add this modern industrial looking to your home now!
                                                                                                   【Dimmable & Bulb Requirements & One Year 】① ETL Listed,
                                                                                               and cords are included for Height Adjustment. This hanging light
                                                                                               fixture can be installed at any height of the ceiling and bevel.
                                                                                               Supports any LED/CFL/Edison or other less than 40W bulbs with
                                                                                               E26 Base. ❥When using dimmer and dimmable bulb can be
                                                                                               dimmed (Bulbs NOT Included). ②We offer One Year to bring you a
                                                                                               great value shopping experience. If you have any questions,
                                                                                               please via the message box.


                                                                                               Product Description
                                                                                               WHY CHOOSE ELYONA ?
                                                                                                  1. The video showcases the product in use.The video guides
                                                                                                     you through product setup.The video compares multiple
                                                                                                     products.The video shows the product being unpacked.

                                                                                                     Solid Wood From ELYONA
                                                                                                     Global procurement of top timber production areas
                                                                                                     FSC Certified Solid Wood
                                                                                                     This certification represents that the timber used is managed
                                                                                                     according to the strict social and environmental standards of
                                                                                                     FSC.(licence code: FSC-C158069/Valid Date: 25 June 2025
                                                                                                     )
                                                                                                     All of ELYONA timbers use FSC certified wood of the best
                                                                                                     quality.Unlike fiberboard, solid wood texture is natural, glue-
                                                                                                     free, formaldehyde-free and healthier
                                                                                                  2. The video showcases the product in use.The video guides
                                                                                                     you through product setup.The video compares multiple
                                                                                                     products.The video shows the product being unpacked.

                                                                                                     Hammered Metal From
                                                                                                     ELYONA
                                                                                                    Primitive Iron Ores from Pure Plateau Mountains
                                                                                                    Ultra High Temperature Melting at 1538℃
                                                                                                    Use the extremely hard black gold mold to ensure that each
                                                                                                    hammer pattern is full and round, with a proper proportion of
                                                                                                    depth
                                                                                                    Use disposable toner baking varnish, never recycle.Ensure
                                                                                                    the color without impurities, anti-corrosion, no cracking, and
                                                                                                    good ductility.
                                                                                                  3 The video showcases the product in use The video guides
https://www.ebay.com/itm/335633841585?_skw=elyona&itmmeta=01JAYE2Y5HWY1Q4SG93FV1PRK5&hash=item4e2555fdb1:g:LfgAAOSw~mxnGcwp&itmprp=enc%3AAQAJAAAA4HoV3kP08IDx%2…       5/9
                            Case 2:25-cv-00472-CB                                        Document 2-7                        Filed 04/10/25                            Page 152 of 227




1/22/25, 2:26 PM                                                                 3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal Solid Wood Hanging Li | eBay
                                                                                                                              3. The video showcases the product in use.The video guides
                                                                                                                                 you through product setup.The video compares multiple
                                                                                                                                 products.The video shows the product being unpacked.

                                                                                                                                   ELYONA Industrial
                                                                                                                                   Hammered Pendant Light
           About this seller
                                                                                                                                   Series
                                                                                                                                   ELYONA pendant light fixture a classic scandinavian style.
                                     kirit4181                                                                                     Classic solid wood with black hammered metal shade,
                                     98.6% positive feedback • 647 items sold                                                      provide a modern and industrial feeling. Ideal for kitchen,
                                                                                                                                   dining room, living room, office, coffee bar, bedroom, beside
                                                                                                                                   nightstand.
                                                                                                                                   Dimension & Adjustable Height: Max59.4'' H x 10.2'' W x
               Joined Jun 2020                                                                                                     10.2'' D Ceiling Canopy: Dia. 4.72". Cords are included for
                                                                                                                                   height adjustment. This hanging light fixture can be installed
                                                                                                                                   at any height of the ceiling and bevel.
                                                                                                           Visit store
                                                                                                                              4.   Why Choose Real Solid
                                                                                                            Contact
                                                                                                                                   Wood?
                                                                                                             Save seller
                                                                                                                                   1.Machine-printed imitation wood lacks real wood's natural
                                                                                                                                   grain.
                                                                                                                                   2.The surfaces are thin, making them prone to scratches and
           Detailed seller ratings                                                                                                 wear.
                                                                                                                                   3.Worn surface coating requires full board .
           Accurate description                                            4.8
                                                                                                                            1 Kitchen Island  2 Dining Table  3 Bedroom & Home Office
           Reasonable shipping cost                                        5.0
                                                                                                                           Dimension&Adjustable Height：Max 54.5'' H x 6.7'' W x 6.7'' D,
           Shipping speed                                                  5.0                                             Ceiling Canopy: Dia. 4.72". (We have 10 "and 6.8" sizes for
           Communication                                                   5.0                                             different choices)

           Average for the last 12 months                                                                                  ELYONA Pendant Lights in
           Seller feedback (150)                                                                                           Different Size
                                                                                                                   1
               8***8 (188) Past month                                                                              " data-position="triggerHorizontal"> 2                                                Verified purchase
                                                                                                                   3
           Everything came intact and well packaged and the price for it was excellent seller response is awesome too all the way from purchase to track
                                                                                                                   " data-position="triggerHorizontal"> 4 thanks again
           68218057AB ATF+4 Automatic Transmission Fluid, 1 Quart (6 Pack) (#335269965849)                         5

               9***u (181) Past 6 months                                                                                   ELYONA Modern Blue Series                                                     Verified purchase

           Order came as described. Was packed great and received faster then I thought it would come. Seller had good
                                                                                                                  Add tocommunication as well.
                                                                                                                           Add to Cart Add to Cart                   Add to Cart    Add to Cart     Add to Cart   Add to Cart
           18X24 Poster Topload Holder - 10 Ct (#335335965043)                                                    Cart
                                                                                                                                    4.6 out of 5      4.7 out of 5   4.5 out of 5   5.0 out of 5    4.5 out of 5 4.6 out of 5
               -***r (2044) Past 6 months                                                                                  Customer
                                                                                                                                    stars             stars          stars          stars           stars Verified purchase
                                                                                                                                                                                                                    stars
                                                                                                                           Reviews
           Great Seller, item received as described, excellent communication, fast shipping                                         111               364            61             9               327             172
           8WD1234 Portable Seat Stand for Boat Seats, Black Powder Coat Finish (#335472733944)                            Price       $49.99$49.99 $64.99$64.99 $64.99$64.99 $138.99$138.99 $54.99$54.99 $35.63$35.6
                                                                                                                                                 Hammered
               m***r (220) Past month                                                                                              FSC Listed                 Blue                          TYPE-C   & purchase
                                                                                                                                                                                                 Verified  FSC Listed
                                                                                                                                                 Metal &                    Blue Hammered
                                                                                                                       Features Rubber                        Hammered                      Wireless       Rubber
                                                                                                                                                 Rubber
           I purchased this item and had to return it for personal reasons, nothing wrong with the item. Regarding the seller, I had no issue with                          Metal the busiest time of the year and
                                                                                                                                                   them. I bought the item during
                                                                                                                                   Wood                       Metal                         Charging       Wood
                                                                                                                                                 Wood was fast for both times when it came in and I returned it.
           I understood the time it took for the seller to respond. Once they did reply the whole return went by smoothly and efficiently. The shipping
                                                                                                                                       68x68x         10 x 10 x      12 x 12 x                                    11 6 x 11 6 x
https://www.ebay.com/itm/335633841585?_skw=elyona&itmmeta=01JAYE2Y5HWY1Q4SG93FV1PRK5&hash=item4e2555fdb1:g:LfgAAOSw~mxnGcwp&itmprp=enc%3AAQAJAAAA4HoV3kP08IDx%2…                                                                  6/9
                             Case 2:25-cv-00472-CB                                          Document 2-7                           Filed 04/10/25                             Page 153 of 227




1/22/25, 2:26 PM                                                                  3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal Solid Wood Hanging Li | eBay
            Ellipse by - Motorized Power Assisted Movement (#335304031313)                                                                  6.8 x 6.8 x     10 x 10 x       12 x 12 x                                           11.6 x 11.6 x
                                                                                                                                                                                            16 x 16 x Max        6.3 x 6.3 x 19
                                                                                                                                 Size       Max 56.5        Max 59.5        Max 57.5                                            Max 60
                                                                                                                                                                                            83 inches            inches
                1***u (193) Past 6 months                                                                                                   inches          inches          inches                                              inches
                                                                                                                                                                                                                      Verified purchase

                                                                                                                       Max
            Real fast shipping, packaged real good and good quality. I will buy again and I highly recommend this seller.      40 Watts                     40 Watts        40 Watts        40 Watts             40 Watts         40 Watts
            Portable 12V Lithium Battery, 20Ah Lifepo4 Deep Cycle Rechargeable Battery, Buil (#335325697927)
                                                                                                                       Wattage
                                                                                                                                            Solid Wood & Solid Wood & Solid Wood & Solid Wood &
                                                                                                                                                                                                                 Metal, Solid
                l***v (319) Past 6 months                                                                                        Material   Hammered     Hammered     Hammered     Hammered                                    Metal
                                                                                                                                                                                                                     Verified purchase
                                                                                                                                                                                                                 Wood
            Items as described, well packagd, prompt delivery - thank you!                                                                  Metal        Metal        Metal        Metal
                                                                                                                                 Bulb
            2 Pack Acrylic DVD/CD Storage Box, Clear DVD Holder Case with Handles, Stackable (#335374985323)                                E26             E26             E26             E26                  E26              E26
                                                                                                                                 Base
                n***t (1020) Past 6 months                                                                                                                                                                              Verified purchase

            Quick shipping. Product as described. Great seller.
                                                                                                                                 ELYONA Floor Lamp Series
                                                                                                                                 Add to                     Add to
            Conversation Hearts Candy 5 Pound Bag (#335300830013)                                                                           Add to Cart                 Add to Cart     Add to Cart
                                                                                                                                 Cart                       Cart
                8***8 (236) Past 6 months                                                                                                                   3.8 out                                                     Verified purchase    4
                                                                                                                                          4.1 out of 5                  4.3 out of 5    4.3 out of 5     4.1 out of 5       4.2 out of 5
                                                                                                                                 Customer                   of 5                                                                             o
            Fast shipping and great comms. Made the process very simple to successfully complete the transaction.                         stars                         stars           stars            stars              stars
                                                                                                                                 Reviews                    stars                                                                            s
            Christmas Tree Skirt for Tree Decorations, 60 Inch Fabric Sliver Medium Xmas Vel (#335619894525)                              24                            246             181              35                 32
                                                                                                                                                            33                                                                               2
                                                                                                                                 Price      $64.99$64.99 —              $47.99$47.99 $89.99$89.99 $124.99$124.99 $108.99$108.99 —
               See all feedback
                                                                                                                                                        TYPE C
                                                                                                                                                                 Dimmable &                              Stepless           FSC Listed
                                                                                                                                            3 Color     Charging              FSC Listed
                                                                                                                                 Features                        Color                                   Dimmable &         Birch Wood
                                                                                                                                            Temperature Port &                Solid Wood
                                                                                                                                                                 Temperatures                            Solid Wood         Beads            W
                                                                                                                                                        Outlet

                                                                                                                                                  11.7 x                                                                                     6
     Back to home page                                                                                                              20.3 x 20.3 x 13.4 x   10 x 10 x 67 21.9 x 21.9 x 26 x 26 x 63                          13 x 13Return
                                                                                                                                                                                                                                    x 58 to top
                                                                                                                                                                                                                                             6
                                                                                                                                 Size
                                                                                                                                    61 inches
     More to explore : Solid Wood Hanging Shelves, Kitchen Island Light Fixtures, Solid Wood Kitchen Carts, Kitchen Islands, Solid Wood           65
                                                                                                                                         Kitchen Cabinets, inchesWood Kitchen
                                                                                                                                                           Solid         60.5 inches
                                                                                                                                                                               Furniture,inches                             inches
     Solid Wood Kitchen Cabinets & Cupboards, Solid Wood Kitchen Storage Cabinets, Solid Wood Kitchen Foldable Tables, Solid Wood 3 Nightstands   inches
                                                                                                                                                                        Touch &
                                                                                                                                                                                        Pull Chain                          Pull Chain
                                                                              Swtich                                                        Foot Switch     Rocker      Remote                           Dimmer Switch                       C
     Shop Top Sellers and Highly Rated Products in Chandeliers & Ceiling Fixtures                                                                                                       Control                             Control
                                                                                                                                                                        Control                                                              C
                                                                                                                                                         Solid
     Best Sellers                                                                                                        Top Rated                                                      Solid Rubber Solid Rubber
                                                                                                                                 Material   Solid Wood   Rubber Metal                                                       Birch Wood
                                                                                                                                                                                        Wood         Wood                                    W
     ZEEZ 9w 5" Round White LED Recessed Light Bulb Lamp                                                                 Sea Gull 14540S-15 Traverse LyteWood
                                                                                                                                                         LED Downlight

     Commercial Electric 6 " LED Color Changing Recessed Trim with Night Light                                                  Bulb 3 Light 15.4" Metal Chandelier
                                                                                                                         Globe Electric                          Integrated
                                                                                                                                                                    - Oil-RubbedE26
                                                                                                                                                                                 Bronze
                                                                                                                                         E26            E26                                              E26                E26
                                                                                                                                Base                             LED
     Progress Lighting P350105-109-30 Elevate LED Flush Mount Brushed Bronze                                             Lithonia Lighting WF6 LED 30K40K50K 90CRI MW M6 6" LED Wafer Light

     Halo LT56079FS1EWHR4PK 5/6 in. LED Retrofit with Baffle Trim White 5 CCT                                                   Item
                                                                                                                         Halo HLB6     Specification
                                                                                                                                   6" Ultra Thin Downlight LED Kit

     Commercial Electric 91478 6 inch Canless Recessed Lighting - White                                                  Commercial Electric 91478 6 inch Canless Recessed Lighting - White
                                                                                                                                   Light Source       Edison bulbs, incandescent bulbs, CFLs,
                                                                                                                                   Type               LED bulbs
     Related Searches                                                                                                                                 Modern, Industrial, Farmhouse, Coastal,
                                                                                                                                   Style
       Pendant Light for Kitchen Island         Pendant Lighting Kitchen Island       Kitchen Island Lighting      Kitchen Island Lighting Gold       Rustic, Retro,
                                                                                                                                                      Farmhouse      Vintage
                                                                                                                                                                 Kitchen  Island Lighting              Kitchen Hanging Lighting
                                                                                                                                   Power Source       Corded Electric
       Hanging Kitchen Bar Lights           Hanging Pendant Lights       Hanging Lights for Dining Room         Kitchen Lights      KitchenType
                                                                                                                                   Fixture  Light Fixtures    Kitchen Light Fixture Led
                                                                                                                                                      Non Removable                                     Kitchen Lights Ceiling

                                                                                                                                   Number of Light
       Kitchen Island Wood          Hanging Lights Modern                                                                                          1
                                                                                                                                   Sources
                                                                                                                                   Control Method     App
                                                                                                                                   Warranty Type           One-Year Warranty
                                                                                                                                   Theme              Space
                                                                                                                                   Batteries
                                                                                                                                                      No
                                                                                                                                   Included?
https://www.ebay.com/itm/335633841585?_skw=elyona&itmmeta=01JAYE2Y5HWY1Q4SG93FV1PRK5&hash=item4e2555fdb1:g:LfgAAOSw~mxnGcwp&itmprp=enc%3AAQAJAAAA4HoV3kP08IDx%2…                                                                                  7/9
                                Case 2:25-cv-00472-CB                                                  Document 2-7                               Filed 04/10/25                                  Page 154 of 227




1/22/25, 2:26 PM                                                                           3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal Solid Wood Hanging Li | eBay
                                                                                                                                                   Included?
                                                                                                                                                   Lighting Method Downlight
                                                                                                                                                   Specification Met ETL
                                                                                                                                                   Controller Type      Push Button
     About eBay     Announcements       Community      Security Center     Seller Center    Policies   Affiliates   Help & Contact     Site Map
                                                                                                                                                   Unit Count           3.0 Count
     Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments Terms of Use, Cookies, CA Privacy Notice, Your Privacy Choices    and AdChoice
                                                                                                                                                                        Kitchen, Dining Room, Bedroom, Living
                                                                                                                                                   Room Type
                                                                                                                                                                        Room, Office, Bar, Hallway, Study Room
                                                                                                                                                   Assembly
                                                                                                                                                                        Yes
                                                                                                                                                   Required
                                                                                                                                                   Product
                                                                                                                                                                        7"L x 7"W x 63"H
                                                                                                                                                   Dimensions
                                                                                                                                                   Installation Type Semi Flush Mount
                                                                                                                                                                        1538 ℃ Bake Painted & Solid Wood
                                                                                                                                                   Finish Type
                                                                                                                                                                        Polishing Process
                                                                                                                                                                        Kitchen islands, porch Lighting, hallways,
                                                                                                                                                   Specific Uses        bars, dining room, living rooms, cafes,
                                                                                                                                                   For Product          clubs, foyers, barns, among many other
                                                                                                                                                                        indoor/outdoor applications
                                                                                                                                                   Included
                                                                                                                                                                        Mounting Hardware
                                                                                                                                                   Components
                                                                                                                                                   Indoor/Outdoor
                                                                                                                                                                        Indoor
                                                                                                                                                   Usage
                                                                                                                                                   Batteries
                                                                                                                                                                        No
                                                                                                                                                   Required?
                                                                                                                                                   Item Weight          5.34 pounds
                                                                                                                                                   Light fixture form Pendant
                                                                                                                                                   Bulb Base            E26
                                                                                                                                                   Shade Color          Modern Blue
                                                                                                                                                   Mounting Type        Ceiling Mount
                                                                                                                                                   Color                Blue - 3 Pack
                                                                                                                                                   Wattage              40 watts
                                                                                                                                                   Shape                Dome
                                                                                                                                                   Voltage              110 Volts
                                                                                                                                                   Plug Format          A- US style
                                                                                                                                                   Shade Material       Hammered Blue Metal
                                                                                                                                                                        1538 ℃ Bake Painted & Solid Wood
                                                                                                                                                   Finish types
                                                                                                                                                                        Polishing Process
                                                                                                                                                   Size                 Small




                                                                                              Product Dimensions: 7.0 "h x 7.0 "h x 63.0 "h. Weight: 5.34 lb

https://www.ebay.com/itm/335633841585?_skw=elyona&itmmeta=01JAYE2Y5HWY1Q4SG93FV1PRK5&hash=item4e2555fdb1:g:LfgAAOSw~mxnGcwp&itmprp=enc%3AAQAJAAAA4HoV3kP08IDx%2…                                                     8/9
                    Case 2:25-cv-00472-CB                       Document 2-7                     Filed 04/10/25                   Page 155 of 227




1/22/25, 2:26 PM                                        3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal Solid Wood Hanging Li | eBay




https://www.ebay.com/itm/335633841585?_skw=elyona&itmmeta=01JAYE2Y5HWY1Q4SG93FV1PRK5&hash=item4e2555fdb1:g:LfgAAOSw~mxnGcwp&itmprp=enc%3AAQAJAAAA4HoV3kP08IDx%2…   9/9
                        Case 2:25-cv-00472-CB                     Document 2-7        Filed 04/10/25              Page 156 of 227




3/12/25, 9:46 AM                                                                 Checkout | eBay




                               Checkout                                                            How do you like our checkout? Give us feedback



                       Buy with PayPal. It’s fast and simple.



       Pay with
                                                                                                   Order Summary
                            PayPal
                                                                                                   Item (1)                                    $163.99
                                                                                                   Shipping                                          Free
                            Venmo                                                                  Tax                                               $9.84


                            x-3651                                                                 Order total                                $173.83

                                                                                                   By placing your order, you agree to eBay's User
                   Add new card                                                                    Agreement and Privacy Notice.



                                                                                                                  Confirm and pay
                            Google Pay

                                                                                                         Purchase protected by eBay Money Back
                            No Interest if paid in full in 6 months.
                                                                                                         Guarantee
                            Apply now. See terms




       Ship to
       steven howard
       223 4TH AVE
       PITTSBURGH, PA 15222
https://pay.ebay.com/rxo?action=view&sessionid=2369025839019                                                                                                 1/3
                        Case 2:25-cv-00472-CB                          Document 2-7        Filed 04/10/25   Page 157 of 227




3/12/25, 9:46 AM                                                                      Checkout | eBay

       United States
       (312) 888-6633

       Change




       Review order
               kirit4181     Add note for seller
               98.7% positive feedback


                            LAST ONE

                           3 Pack Pendant Lights for Kitchen Island 7” Hammered Metal
                           Solid Wood Hanging Li
                           $163.99
                           Quantity 1

                           Returns accepted


                           Delivery
                           Free Standard Shipping
                           Est. delivery: Mar 15 – Mar 20




       Gift cards and coupons

          Enter code:                                          Apply




https://pay.ebay.com/rxo?action=view&sessionid=2369025839019                                                                  2/3
                        Case 2:25-cv-00472-CB                        Document 2-7                  Filed 04/10/25               Page 158 of 227




3/12/25, 9:46 AM                                                                             Checkout | eBay




       Donate to charity
       National Multiple Sclerosis Society
       It's Multiple Sclerosis Awareness Week! The National MS Society’s mission is
       to cure MS while empowering people affected by MS to live their best life
       PayPal Giving Fund (PPGF) receives your donation and grants 100% to a
       charity no later than 30 days after the end of the month in which the donation
       is made. Donations are non-refundable and typically tax deductible. PPGF
       may be unable to grant funds to a charity if the charity has lost tax exempt
       status, has closed, or no longer accepts funds from PPGF.


       Select amount            None




       Copyright © 1995-2025 eBay Inc. All Rights Reserved. Accessibility, User Agreement, Privacy, Consumer Health Data, Payments Terms of Use, Cookies, CA Privacy
       Notice, Your Privacy Choices       and AdChoice




https://pay.ebay.com/rxo?action=view&sessionid=2369025839019                                                                                                           3/3
1/22/25, 2:31 PM
                                        Case 2:25-cv-00472-CB                                                      Document 2-7                                      Filed 04/10/25                                     Page 159 of 227
                                  Wood Tripod Floor Lamp, Mid Century Modern Reading Standing Light, Tall Studying Light with 3 Color Temperatures LED Bulb & Nature Linen Shade for Farmhouse Living Room Bedroom Office, Walnut - Walmart.com



                                     Everybunny’s favorite


            Sponsored 

                                                                                                               
                                                                                                               
                                                                                                               




                                                                                                               



                +   12
                View all




          Unbranded
          Wood Tripod Floor Lamp, Mid Century Modern Reading Standing Light, Tall Studying Light with 3 Color Temperatures LED Bulb & Nature Linen Shade for Farmhouse Living Room Bedroom O ice, Walnut
           (No ratings yet)


          Actual Color: Walnut




                            $90.98                                            $104.98



          About this item

             【Why can you trust ELYONA
                                  ELYONA's Solid Wood?】① All our wood is sourced from internationally certified legal forests by FSC, ensuring responsible harvesting that does not compromise ecological stabilit. Simultaneously we advocate against any form of illegal logging. ② "Derived
             from Nature, Returning to Nature" has been the guiding principle we uphold. Showing the beauty of solid wood lamp, and collaborate to lessen the environmental impact of plastics. Let's say "YES" to fostering a greener Earth.
             【 3-Color Temperatures Bulb Included & Foot Switch 】①The foot switch allows easy on/o and light color adjustment. ②Includes a 3-Color Temperatures E26 LED Bulb (9W) o ering 3000K warm light, 4500K natural light, and 6000K white light, suitable for various settings like
             bedroom night light or living room reading light. It also supports smart bulbs with built-in switch functions. ❥(Ensure replacement bulbs are under 60 Watts）
             【Vintage Solid Wood Floor Lamp & Sturdy Tripod Legs 】There is no exactly the same wood grain in the world,each lamp is a unique individual,retain the breath of nature,retain the pure natural wood grain. ELYONA Tripod Floor Lamp is hand-painted walnut wood color,ideal for
             farmhouse,industrial,country.The classic triangular design ensures a sturdy structure,making it highly suitable for households with children or pets to prevent accidental collisions that could cause the lamp to topple over
             【ETL Listed & One Year Warranty】With over 20 years of illumination production experience and a professional design team, we have high strict control over product quality and detail & getting many patents for appearance design and functions at the same time. We o er One
             Year Warranty to bring you a great value shopping experience. If you have any questions, please CONTACT US via the Amazon message box.…

          View more



          At a glance


                                                           Brand
                                                         Unbranded


          View all specifications




             $104.98
                Price when purchased online 

                As low as $10/mo with                Learn how

              Free shipping          Free 30-day returns


                                                                                                                                                 Buy now


                                                                                                                                               Add to cart


                           Add a protection plan What's covered
                           (Only one option can be selected at a time)

                                 3-Year plan - $18.00

                                 2-Year plan - $14.00



             How do you want your item?



                                                              Shipping                                                                            Pickup                                                                                     Delivery
                                                             Arrives Jan 31                                                                     Not available                                                                               Not available
                                                                  Free


             Delivery to 1 N La Salle St


                    Sold and shipped by hendianzisha

                    Free 30-day returns Details


                                                                                         Add to list                                                                                                               Add to registry




https://www.walmart.com/ip/Wood-Tripod-Floor-Lamp-Mid-Century-Modern-Reading-Standing-Light-Tall-Studying-Light-3-Color-Temperatures-LED-Bulb-Nature-Linen-Shade-Farmhouse-Livin/14845701286?classType=VARIANT&from=/search                                                                      1/4
1/22/25, 2:31 PM
                                          Case 2:25-cv-00472-CB                                                       Document 2-7                              Filed 04/10/25                                 Page 160 of 227
                                    Wood Tripod Floor Lamp, Mid Century Modern Reading Standing Light, Tall Studying Light with 3 Color Temperatures LED Bulb & Nature Linen Shade for Farmhouse Living Room Bedroom Office, Walnut - Walmart.com



                                              Sponsored

                                              $64.99
                                              LEPOWER Wood Tripod Floor Lamp, Mid Century Standing Lamp, Modern Design Floor Light for Living Room, Bedroom and O ice, Flaxen Lamp Shade with E26 Lamp Base Brown

                                              2-day shipping



                                                                                                                            Add




                                                                                                                                                                                                                                                            




              Options                                                                                                    Add                                                                                                     Add
           Sponsored                                                                                                    Sponsored

           Now $29.99 $69.99                                                                                            $59.95                                                                                                  $53.99
           Options from $29.99 – $39.99
                                                                                                                        360 Lighting Mid Century Modern Table Lamp 24" High Walnut Faux Wood Brown O White Linen Drum           EE Eleven Master Wood Tripod Floor Lamp with 3 Color Tem
           Sunmory Floor Lamp, Floor Lamp for Living Room Modern Standing Lamps with Lampshade 3 Color                  Shade for Bedroom Living Room House Bedside O ice                                                       Lamp, Modern Design Tall Light for Living Room, Bedroom
           Temperature Tall Lamp, Suitable for Modern/Boho/Farmhouse and Other Home Decor Styles
                                                                                                                         22                                                                                                Save with
            14                                                                                                     Shipping, arrives in 3+ days
                                                                                                                                                                                                                                Shipping, arrives in 2 days
           Save with

           Shipping, arrives in 2 days




            Best seller                                                                                 Best seller



                                                                                                                                                                                                                      




            Add                                                                                        Add                                                                                   Add

           Now $39.99 $75.99                                                                          Now $37.99 $75.99                                                                       Now $35.99 $99.99
           NATYSWAN Tripod Floor Lamp,Modern Gold Standing Lamp with Drum Shade,Minimalist            NATYSWAN Tripod Floor Lamp, Mid Century Black Standing Lamp, Modern Minimalist          LED Modern Floor Lamp Night Light for Living Room, 5 Colors and Brightness with Remote
           Studying Light for Living Room, Bedroom, Study Room and O ice                              Design Studying Light for Living Room, Bedroom, Study Room                              and Touch Control,Standing Lamp with 1H Timer, Dimmable Reading Floor Lights
            61                                                                                    61                                                                                 70

           2-day shipping                                                                              2-day shipping                                                                         2-day shipping




          About this item


             Product details
                                                                                                                                                                                                                                                                                 

             Product Description




             Previous page




             Next page

             1 Bedroom 2 O ice 3 Living Room


             Previous page




             Next page

             1 3 Color LED Bulb Included 2 Smart Bulb Compatible 3 Di erent Colors




             SOLID WOOD SERIES


             1
             2
             3
             4




             Dimmable Floor Lamp


             SOLID WOOD SERIES




https://www.walmart.com/ip/Wood-Tripod-Floor-Lamp-Mid-Century-Modern-Reading-Standing-Light-Tall-Studying-Light-3-Color-Temperatures-LED-Bulb-Nature-Linen-Shade-Farmhouse-Livin/14845701286?classType=VARIANT&from=/search                                                                2/4
1/22/25, 2:31 PM
                                      Case 2:25-cv-00472-CB                                                                Document 2-7                         Filed 04/10/25   Page 161 of 227
                                 Wood Tripod Floor Lamp, Mid Century Modern Reading Standing Light, Tall Studying Light with 3 Color Temperatures LED Bulb & Nature Linen Shade for Farmhouse Living Room Bedroom Office, Walnut - Walmart.com


            Add to Cart

            SOLID WOOD SERIES



            Add to Cart

            SOLID WOOD SERIES



            Add to Cart

            SOLID WOOD SERIES



            Buying Options

            SOLID WOOD SERIES


            Add to Cart

            SOLID WOOD SERIES


            Add to Cart

            INDUSTRIAL SERIES


            Buying Options


            Customer Reviews
            4.7 out of 5 stars
            21


            4.3 out of 5 stars
            39


            4.2 out of 5 stars
            185

            4.3 out of 5 stars
            560


            4.2 out of 5 stars
            159


            4.2 out of 5 stars
            159

            4.2 out of 5 stars
            8


            Price
            $64.99$64.99 $64.99$64.99 $89.99$89.99 — $49.99$49.99 $124.99$124.99 —
            Features
            3 Color Temperature Included 3 Color Temperature Included Grey Solid Wood FSC Listed Solid Wood Board TYPE C Charging Port &
            Outlet Stepless Dimmable & Solid Wood Stepless Dimmable
            Size
            20 x 20 x 59.61 inches 20.3 x 20.3 x 61 inches 22 x 22 x 60.5 inches 13 x 13 x 65 inches 11.7 x 13.4 x 65 inches 26 x 26 x 63 inches 11 x 11 x 71
            inches
            Swtich
            Foot Switch Foot Switch Pull Chain Control Foot Switch Rocker Dimmer Switch Foot Switch
            Material
            Solid Wood Solid Wood Solid Wood Solid Wood Solid Rubber Wood Solid Rubber Wood Baking Paint Metal
            Bulb Base
            E26 E26 E26 E26 E26 E26 E26


                   【Why can you trust ELYONA
                                         ELYONA's Solid Wood?】① All our wood is sourced from internationally certified legal forests by FSC, ensuring
                   responsible harvesting that does not compromise ecological stabilit. Simultaneously we advocate against any form of illegal
                   logging. ② "Derived from Nature, Returning to Nature" has been the guiding principle we uphold. Showing the beauty of solid wood
                   lamp, and collaborate to lessen the environmental impact of plastics. Let's say "YES" to fostering a greener Earth.
                   【 3-Color Temperatures Bulb Included & Foot Switch 】①The foot switch allows easy on/o and light color adjustment. ②Includes
                   a 3-Color Temperatures E26 LED Bulb (9W) o ering 3000K warm light, 4500K natural light, and 6000K white light, suitable for
                   various settings like bedroom night light or living room reading light. It also supports smart bulbs with built-in switch functions.
                   ❥(Ensure replacement bulbs are under 60 Watts）
                   【Vintage Solid Wood Floor Lamp & Sturdy Tripod Legs 】There is no exactly the same wood grain in the world,each lamp is a
                   unique individual,retain the breath of nature,retain the pure natural wood grain. ELYONA Tripod Floor Lamp is hand-painted walnut
                   wood color,ideal for farmhouse,industrial,country.The classic triangular design ensures a sturdy structure,making it highly suitable
                   for households with children or pets to prevent accidental collisions that could cause the lamp to topple over
                   【ETL Listed & One Year Warranty】With over 20 years of illumination production experience and a professional design team, we
                   have high strict control over product quality and detail & getting many patents for appearance design and functions at the same
                   time. We o er One Year Warranty to bring you a great value shopping experience. If you have any questions, please CONTACT US via
                   the Amazon message box.
                   【Wood Maintenance & High Density Nature Linen Shade】①Simply wipe with a damp cloth, then dry. We have been coated with
                   mineral oil before packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more
                   textured. ②We use high-quality primary color linen with tight texture, Water&oil-resistant nature linen shade, making the light more
                   comfortable. It can be focused on any area you want to read, study, and work.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have
                   not verified it. See our disclaimer


            Specifications
                                                                                                                                                                                                                                 
            Brand
            Unbranded



            Warranty
                                                                                                                                                                                                                                 
            Warranty information
            Please be aware that the warranty terms on items o ered for sale by third party Marketplace sellers may di er from those displayed in
            this section (if any). To confirm warranty terms on an item o ered for sale by a third party Marketplace seller, please use the 'Contact
            seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




              Report incorrect product information




https://www.walmart.com/ip/Wood-Tripod-Floor-Lamp-Mid-Century-Modern-Reading-Standing-Light-Tall-Studying-Light-3-Color-Temperatures-LED-Bulb-Nature-Linen-Shade-Farmhouse-Livin/14845701286?classType=VARIANT&from=/search                      3/4
1/22/25, 2:31 PM
                                           Case 2:25-cv-00472-CB                                                   Document 2-7                                 Filed 04/10/25                                     Page 162 of 227
                                    Wood Tripod Floor Lamp, Mid Century Modern Reading Standing Light, Tall Studying Light with 3 Color Temperatures LED Bulb & Nature Linen Shade for Farmhouse Living Room Bedroom Office, Walnut - Walmart.com




          Customer ratings & reviews
                         0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                                   Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.        Learn more.




             As low as $278




                                                                                                                                                                                                                                                                          Sponsored 




                                                                                                                                                                                                                                                           




              Options                                                                                                    1                                                                                                       Options



           $51.98                                                                                                     $116.98                                                                                                 $149.98
           Options from $51.98 – $110.48                                                                                                                                                                                      More options from $82.48
                                                                                                                      Solid Wood Tripod Floor Lamp, Tall Standing Light with Table, Mid Century Modern Corner Shelf Reading
           2 Pack Bubble Glass Pendant Lights, 8 Inch Vintage Hanging Lamp Seeded Glass Industrial Pendant Light      Floor Lamp with Drum Shade for Living Room, Bedroom, O ice, LED Bulb Included, Brown                    2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid W
           Fixtures for Kitchen Island, Farmhouse, Bar, Bathroom, Dining Room, Oil Rubbed Bronze                      Shipping, arrives in 3+ days                                                                            Industrial Metal Pendant Lighting for for Farmhouse, Kitche
           Shipping, arrives in 3+ days                                                                                                                                                                                       Shipping, arrives in 3+ days




               Report:        Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Lamps / Table Lamps / Shop All Table Lamps




https://www.walmart.com/ip/Wood-Tripod-Floor-Lamp-Mid-Century-Modern-Reading-Standing-Light-Tall-Studying-Light-3-Color-Temperatures-LED-Bulb-Nature-Linen-Shade-Farmhouse-Livin/14845701286?classType=VARIANT&from=/search                                                                 4/4
3/12/25, 9:50 AM
                               Case 2:25-cv-00472-CB                                       DocumentReview
                                                                                                    2-7your orderFiled      04/10/25
                                                                                                                  - Walmart.com
                                                                                                                                                         Page 163 of 227



                         Free shipping, arrives by Mon, Mar 24
                                                                                                                                                             Place order for $112.33
                                                                                                                                              By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                              Edit
          223 4th Ave, 4th Floor, Pittsburgh, PA 15222
                                                                                                                                         Subtotal (1 item)                                                         $104.98
                                                                                                                                         Shipping                                                                       Free
          Delivery instructions (optional)                                                                                        Edit
                                                                                                                                         Estimated taxes                                                                $7.35

          House


                                                                                                                                                Give $0.67 to Feeding America® to support your                          
                                                                                                                                                local community.
          Items details                                                                                                   Hide details
                                                                                                                                                Round up your total to the nearest dollar to donate

          Arrives by Mon, Mar 24                                                                                                1 item

          Sold and shipped by hendianzisha                                                                                                 Donate a whole dollar to Feeding America. 
          Free shipping
                                                                                                                                             $1.00            $2.00             $5.00
                            Wood Tripod Floor Lamp, Mid Century Modern
                            Reading Standing Light, Tall Studying Light with 3…
                            Actual Color: Walnut
                                                                                                                                         Estimated total                                                      $112.33
                                                              $104.98

                                                                                                      Remove             1      
                                                                                                                                         Have a promo code?                                                             




              Payment method

                     Please enter your CVV.


                           Ending in 1950                                                                                  $112.33

                         Please enter the CVV for the card

                         * Required field

                                               CVV *


                                                  3 digits


             + Add new payment                                                                                 Change payment




                               $10 cash back when you spend $10+                                                      Sign up


                         Add any credit or debit card, and claim cash back with a One Cash account.




             as low as $10/mo with                                                                                      Apply now




                       Free 30-day trial




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                                       1/2
3/12/25, 9:50 AM
                               Case 2:25-cv-00472-CB                                          DocumentReview
                                                                                                       2-7your orderFiled      04/10/25
                                                                                                                     - Walmart.com
                                                                                                                                                      Page 164 of 227


          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data rates
          may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                               2/2
1/22/25, 2:36 PM
                                        Case 2:25-cv-00472-CB                                                        Document 2-7                                        Filed 04/10/25                                      Page 165 of 227
                                      35.5" Wood Linear Pendant Light 20W LED Stepless Dimmable Kitchen Island Light Fixture with Remote & Touch Control Brass Metal Adjustable Color Temperature for Dining Room Office Pool Table - Walmart.com



                                     Big game, bigger value


            Sponsored 

                                                                                                                  
                                                                                                                  
                                                                                                                  




                                                                                                                 



                 +   5
                View all




          Unbranded
          35.5" Wood Linear Pendant Light 20W LED Stepless Dimmable Kitchen Island Light Fixture with Remote & Touch Control Brass Metal Adjustable Color Temperature for Dining Room O ice Pool Table
           (No ratings yet)



          About this item

             【Why you trust ELYONA's
                               ELYONA solid Wood?】①There is no exactly the same wood grain in the world, each lamp is a unique individual, retain the breath of nature, retain the pure natural wood grain. All our wood is sourced from internationally certified legal forests by FSC, that does not
             compromise ecological stability. ②Beyond showcasing the inherent beauty of solid wood light fixtures, our mission extends to the widespread promotion of Degradable, Eco-friendly Lighting.
             【Stepless Dimming & Color Temperatures】ELYONA   ELYONA LED Remote Control wood linear chandelier has stepless brightness adjustment (from 30%-100%), and color temperatures (from 2700K-6500K). O ering a broader color spectrum compared to most temperature-adjustable
             products on the market. 2700k provides extremely warm light during rest, while 6500k is perfect for e icient o ice work. Better meet your diverse needs in various scenarios, such as living room, dining room, bedroom, and home o ice.
             【Integrated LED Light】ELYONAELYONA wood linear touch control pendant light features an integrated LED light bar, delivering 20 watts of power with a maximum luminous flux of 2000 lumens. This surpasses the standard 500-1000 lumens of ordinary bulbs. With higher e iciency and
             durability than traditional bulbs, no need to replace the bulbs. Combined with stepless dimming, it o ers a brighter adjustment range to meet all your lighting needs
             【Remote & Touch Control】The ELYONA Modern Solid Wood Linear Pendant Light o ers 2 control methods: touch and remote. The touch switch, located at the bottom and made of U-shaped brass metal, is positioned at an ideal height for easy on/o and color adjustment. The
             remote control works up to a distance of 20 meters, providing stepless dimming and multiple preset scenes, allowing you to e ortlessly adjust to your preferred setting with just one click.
             【Dimension & Adjust Height & Warranty】①Dimension: Max73'' H x 35.4''W. Ceiling Canopy: 4.3" x 12.5". Cords are included for height adjustment. This hanging light fixture can be installed at any height of the ceiling and bevel. ②Total power of 20 watts and voltage compatibility
             from 100V to 240V. ③To enhance your shopping experience, we provide 1-year warranty. Feel free to contact us through the Amazon message box at any time with any inquiries, and we assure you a response within 24 hours.

          View full item details



          At a glance


                                                           Brand
                                                         Unbranded


          View all specifications




             $128.55
                Price when purchased online 

                As low as $13/mo with               Learn how

              Free shipping          Free 30-day returns


                                                                                                                                                    Buy now


                                                                                                                                                   Add to cart


                           Add a protection plan What's covered
                           (Only one option can be selected at a time)

                                 3-Year plan - $22.00

                                 2-Year plan - $16.00



                           Get expert help What's covered
                                 Indoor Light Fixture Installation - $147.00



             How do you want your item?



                                                              Shipping                                                                                Pickup                                                                                       Delivery
                                                            Arrives Feb 4                                                                           Not available                                                                                 Not available
                                                                 Free


             Delivery to 1 N La Salle St


                     Sold and shipped by XYY

                    4 seller reviews

                     Free 30-day returns Details




https://www.walmart.com/ip/35-5-Wood-Linear-Pendant-Light-20W-LED-Stepless-Dimmable-Kitchen-Island-Fixture-Remote-Touch-Control-Brass-Metal-Adjustable-Color-Temperature-Dining/15112365114?classType=REGULAR&from=/search                                                                               1/4
1/22/25, 2:36 PM
                                          Case 2:25-cv-00472-CB                                                         Document 2-7                                     Filed 04/10/25                                      Page 166 of 227
                                         35.5" Wood Linear Pendant Light 20W LED Stepless Dimmable Kitchen Island Light Fixture with Remote & Touch Control Brass Metal Adjustable Color Temperature for Dining Room Office Pool Table - Walmart.com


                                                                               Add to list                                                                                                                               Add to registry

                                                Sponsored

                                                $281.00
                                                Urban Ambiance Luxury Farmhouse Island/Linear, Size: 9"H x 38"W, with Urban Industrial Style Elements, Charcoal Finish, UHP2127

                                                 1

                                                3+ day shipping




                                                                                                          Add




                                                                                                                                                                                                                                                                         




              Options                                                                                                           Add                                                                                                          Add
           Sponsored

           $89.99                                                                                                              $13.99                                                                                                        Now $25.99 $32.99
           DoungRos Kitchen Island Ceiling Green Mid Century Pendant Light with 3-Layer Metal Shade                            Puck Lights,13 Colors Changeable LED Puck Lightings, LED Lights for Bedroom, Under Cabinet Lights,            ADISUN Modern Led Pendant Lights Round Island Light Fix
            23                                                                                                            Under Cabinet Lighting with 1 Wireless Remote Controls for Kitchen(6 Pack)                                    Room Dining Room Bar Bedroom Pendant Lamp Warm Wh

           Save with                                                                                                            10                                                                                                      Save with
                                                                                                                               Save with
           Shipping, arrives in 2 days                                                                                                                                                                                                       Shipping, arrives in 2 days
                                                                                                                               Shipping, arrives in 2 days




                                                                                                                                                                                                                                    




            Add                                                                                             Add                                                                                          Add

           $199.99 $199.99/count                                                                            $129.99 $129.99/count                                                                        $79.99
           Possini Euro Design Caliari Modern Ceiling Light Semi Flush Mount Fixture 18" Wide Warm          Possini Euro Design Clarival Modern Ceiling Light Flush Mount Fixture 12 1/2" Wide Chrome    Depuley 18" LED Ceiling Light Fixture Modern Flush Mount Ceiling Light Brushed Nickel
           Brass Double Drum Shade for Bedroom Kitchen Hallway Bathroom                                     Dimmable LED Clear Ring White Acrylic Di user for Bedroom                                    Round Ceiling Light for Living Room Bedroom Kitchen Hallway, 5 Color Adjustable, Super
            32                                                                                          22
                                                                                                                                                                                                         Bright 48W
                                                                                                                                                                                                          27
           3+ day shipping                                                                                   3+ day shipping
                                                                                                                                                                                                          2-day shipping




          About this item


             Product details
                                                                                                                                                                                                                                                                                              

             Product Description




             Dimension & Adjustable Height：Max 77.5" H x 35.4" W x 0.79" D, Ceiling Canopy: 12.6" x 4.3" . Cords are included for height
             adjustment. This hanging light fixture can be installed at any height of the ceiling and bevel.




             Previous page




             Next page

             1 Kitchen 2 Home O ice 3 Dining Room 4 Bedroom




             Stepless Dimming & Color Temperature Adjustment




             Cleaning & Maintenance: Simply wipe with a damp cloth, then dry. We have been coated with mineral oil before packaging, and we
             still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more textured.




https://www.walmart.com/ip/35-5-Wood-Linear-Pendant-Light-20W-LED-Stepless-Dimmable-Kitchen-Island-Fixture-Remote-Touch-Control-Brass-Metal-Adjustable-Color-Temperature-Dining/15112365114?classType=REGULAR&from=/search                                                                             2/4
1/22/25, 2:36 PM
                                        Case 2:25-cv-00472-CB                                                             Document 2-7                               Filed 04/10/25                                 Page 167 of 227
                                      35.5" Wood Linear Pendant Light 20W LED Stepless Dimmable Kitchen Island Light Fixture with Remote & Touch Control Brass Metal Adjustable Color Temperature for Dining Room Office Pool Table - Walmart.com



            TOUCH CONTROL & REMOTE CONTROL
                   【Why you trust ELYONA
                                    ELYONA's solid Wood?】①There is no exactly the same wood grain in the world, each lamp is a unique individual,
                   retain the breath of nature, retain the pure natural wood grain. All our wood is sourced from internationally certified legal forests by
                   FSC, that does not compromise ecological stability. ②Beyond showcasing the inherent beauty of solid wood light fixtures, our
                   mission extends to the widespread promotion of Degradable, Eco-friendly Lighting.
                   【Stepless Dimming & Color Temperatures】ELYONA   ELYONA LED Remote Control wood linear chandelier has stepless brightness
                   adjustment (from 30%-100%), and color temperatures (from 2700K-6500K). O ering a broader color spectrum compared to most
                   temperature-adjustable products on the market. 2700k provides extremely warm light during rest, while 6500k is perfect for
                   e icient o ice work. Better meet your diverse needs in various scenarios, such as living room, dining room, bedroom, and home
                   o ice.
                   【Integrated LED Light】ELYONA
                                              ELYONA wood linear touch control pendant light features an integrated LED light bar, delivering 20 watts
                   of power with a maximum luminous flux of 2000 lumens. This surpasses the standard 500-1000 lumens of ordinary bulbs. With
                   higher e iciency and durability than traditional bulbs, no need to replace the bulbs. Combined with stepless dimming, it o ers a
                   brighter adjustment range to meet all your lighting needs
                   【Remote & Touch Control】The ELYONA Modern Solid Wood Linear Pendant Light o ers 2 control methods: touch and remote.
                   The touch switch, located at the bottom and made of U-shaped brass metal, is positioned at an ideal height for easy on/o and color
                   adjustment. The remote control works up to a distance of 20 meters, providing stepless dimming and multiple preset scenes,
                   allowing you to e ortlessly adjust to your preferred setting with just one click.
                   【Dimension & Adjust Height & Warranty】①Dimension: Max73'' H x 35.4''W. Ceiling Canopy: 4.3" x 12.5". Cords are included for
                   height adjustment. This hanging light fixture can be installed at any height of the ceiling and bevel. ②Total power of 20 watts and
                   voltage compatibility from 100V to 240V. ③To enhance your shopping experience, we provide 1-year warranty. Feel free to contact
                   us through the Amazon message box at any time with any inquiries, and we assure you a response within 24 hours.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have
                   not verified it. See our disclaimer


            Specifications
                                                                                                                                                                                                                                           
            Brand
            Unbranded



            Warranty
                                                                                                                                                                                                                                           
            Warranty information
            Please be aware that the warranty terms on items o ered for sale by third party Marketplace sellers may di er from those displayed in
            this section (if any). To confirm warranty terms on an item o ered for sale by a third party Marketplace seller, please use the 'Contact
            seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
                        0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                                          Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.   Learn more.




              As low as $278




                                                                                                                                                                                                                                      Sponsored 




https://www.walmart.com/ip/35-5-Wood-Linear-Pendant-Light-20W-LED-Stepless-Dimmable-Kitchen-Island-Fixture-Remote-Touch-Control-Brass-Metal-Adjustable-Color-Temperature-Dining/15112365114?classType=REGULAR&from=/search                          3/4
1/22/25, 2:36 PM
                                           Case 2:25-cv-00472-CB                                                 Document 2-7                               Filed 04/10/25                                    Page 168 of 227
                                          35.5" Wood Linear Pendant Light 20W LED Stepless Dimmable Kitchen Island Light Fixture with Remote & Touch Control Brass Metal Adjustable Color Temperature for Dining Room Office Pool Table - Walmart.com



                                                                                                                                                                                                                                                      




              1                                                                                                      Options                                                                                               Options



           $64.98                                                                                                 $104.98                                                                                               $51.98
                                                                                                                  More options from $90.98                                                                              Options from $51.98 – $110.48
           Modern Pendant Light, Wood Pattern Dome Lantern, 11.8" Industrial Metal Hanging Lamp, Pendant Light
           Fixtures for Kitchen Island, Bar, Dining Room, Living Room, Bedroom - Black                            Wood Tripod Floor Lamp, Mid Century Modern Reading Standing Light, Tall Studying Light with 3 Color   2 Pack Bubble Glass Pendant Lights, 8 Inch Vintage Hangin
           Shipping, arrives in 3+ days                                                                           Temperatures LED Bulb & Nature Linen Shade for Farmhouse Living Room Bedroom O ice, Walnut            Fixtures for Kitchen Island, Farmhouse, Bar, Bathroom, Dini
                                                                                                                  Shipping, arrives in 3+ days                                                                          Shipping, arrives in 3+ days




               Report:        Report seller         Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Fixtures




https://www.walmart.com/ip/35-5-Wood-Linear-Pendant-Light-20W-LED-Stepless-Dimmable-Kitchen-Island-Fixture-Remote-Touch-Control-Brass-Metal-Adjustable-Color-Temperature-Dining/15112365114?classType=REGULAR&from=/search                                                            4/4
1/22/25, 2:37 PM
                               Case 2:25-cv-00472-CB                                       DocumentReview
                                                                                                    2-7your orderFiled      04/10/25
                                                                                                                  - Walmart.com
                                                                                                                                                         Page 169 of 227



                         Free shipping, arrives by Tue, Feb 4
                                                                                                                                                             Place order for $141.73
                                                                                                                                              By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                              Edit
          223 4th Ave, 4th Floor, Pittsburgh, PA 15222
                                                                                                                                         Subtotal (1 item)                                                          $128.55
                                                                                                                                         Shipping                                                                        Free
          Delivery instructions (optional)                                                                                        Add
                                                                                                                                         Estimated taxes                                                                $13.18

          Add access codes, adjust your map location and more

                                                                                                                                         Estimated total                                                      $141.73
          Items details                                                                                                   Hide details


          Arrives by Tue, Feb 4                                                                                                 1 item
                                                                                                                                         Have a promo code?                                                              
          Sold and shipped by XYY
          Free shipping

                            35.5" Wood Linear Pendant Light 20W LED Stepless
                            Dimmable Kitchen Island Light Fixture with Remote &…

                                                               $128.55

                                                                                                      Remove             1      




              Payment method

                     Please enter your CVV.


                           Ending in 1950                                                                                  $141.73

                         Please enter the CVV for the card

                         * Required field

                                               CVV *


                                                  3 digits


             + Add new payment                                                                                 Change payment




                               $15 cash back when you spend $15+                                                      Sign up


                         Add any credit or debit card, and claim cash back with a One Cash account.




             as low as $13/mo with                                                                                      Apply now




                       Free 30-day trial




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                                        1/2
1/22/25, 2:37 PM
                               Case 2:25-cv-00472-CB                                          DocumentReview
                                                                                                       2-7your orderFiled      04/10/25
                                                                                                                     - Walmart.com
                                                                                                                                                      Page 170 of 227


          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a di erent phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data rates
          may apply. By continuing, you agree to our Mobile Alert Terms.
          ;




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                               2/2
1/22/25, 2:37 PM
                                         Case 2:25-cv-00472-CB                                                      Document 2-7                                       Filed 04/10/25                                     Page 171 of 227
                                   Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho Pendant Light Fixtures for Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway - Walmart.com



                                      Classics at a value


            Sponsored 

                                                                                                                
                                                                                                                
                                                                                                                




                                                                                                                



                 +   5
                View all




          Vadktai
          Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho Pendant Light Fixtures for Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway
           (No ratings yet)


          Size: Free&nbsp;Size

                                          Free&nbsp;Size
                                               $8.41

          Actual Color: Brown




          About this item

             【 Boho Woven Series】Minimalist geometric design meet natural hand-woven, This pendant light perfect complement to minimalist, modern, traditional, bohemian style. Bring the feeling of the outdoors, epitomize the serene feeling of a comfortable atmosphere. And add
             natural texture to every living space.
             【 Small Dimension & Adjustable Height 】This hanging light fixture can be installed at any height of the ceiling and bevel.
             【 Dimmable & Bulb Requirements & ETL Listed 】 All of ELYONA lighting is ETL Listed and meets 120-volt UL standards for safety and quality. Professional installation is recommended for all pendant light fixtures.
             【 Natural Twine Shade 】A sophisticated, matte brown finish complements natural hand-woven jute rope, Filtering the light from within, each piece creates a play of light and shadow in a room, adding an inviting ambience. We pay attention to details and use only the highest
             quality material.
             【 CONTACT US 】If you have any question, please CONTACT US.

          View full item details



          At a glance


                                                             Color                                                                                  Size                                                                                          Brand
                                                             Brown                                                                             Free&nbsp;Size                                                                                     Vadktai



                                                            Features
                                                            Dimmable




             $8.41
                Price when purchased online 

                Free 30-day returns


                                                                                                                                                  Buy now


                                                                                                                                                 Add to cart


             How do you want your item?



                                                              Shipping                                                                              Pickup                                                                                      Delivery
                                                             Arrives Feb 13                                                                       Not available                                                                                Not available
                                                                 $4.97


             Delivery to 1 N La Salle St


                     Sold and shipped by YangSiYu

                     5 seller reviews

                     Free 30-day returns Details


                                                                               Add to list                                                                                                                            Add to registry




https://www.walmart.com/ip/Vadktai-Woven-Pendant-Lights-Rustic-Rattan-Hanging-Lamp-Adjustable-Handwoven-Basket-Shade-Boho-Light-Fixtures-Kitchen-Island-Dining-Room-Bedroom-Farm/5842029567?classType=VARIANT&athbdg=L1…                                                                        1/5
1/22/25, 2:37 PM
                                          Case 2:25-cv-00472-CB                                                     Document 2-7                                        Filed 04/10/25                                 Page 172 of 227
                                   Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho Pendant Light Fixtures for Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway - Walmart.com

                                              Sponsored

                                              $49.99
                                              DONGPAI Boho Light Fixtures Ceiling Mount, 3-Light Farmhouse Flush Mount Ceiling Light, Rattan Woven Chandelier Lighting for Bedroom Hallway Entryway Kitchen Nursery
                                               1

                                              2-day shipping



                                                                                                                            Add

                                                                                                                                                                                                                                                                        




              Options                                                                                                       Add                                                                                                            Options

                                                                                                                                                                                                                                         Sponsored

           $14.99                                                                                                         $19.95                                                                                                         $179.99
                                                                                                                                                                                                                                         Options from $179.99 – $329.99
           Retro Style Pendant Lamp Shade Hanging Light Fixture Paper Rope Rattan Handwoven Lampshade for                 Industrial Pendant Light Fixtures Modern, Ceiling Adjustable Metal Hanging Lamp For Kitchen, Dinning
           Teahouse Home Bedroom Room , A                                                                                 Room, Living Room, Bedroom, Country Rustic Pendant Lamp, Brown                                                 Arturesthome Wabi-sabi Vintage Pastoral Basket Weave Lig
           Shipping, arrives in 3+ days                                                                                   Shipping, arrives in 3+ days                                                                                   Lamps
                                                                                                                                                                                                                                         Shipping, arrives in 3+ days




            Best seller



                                                                                                                                                                                                                               




            Add                                                                                          Add                                                                                        Add

           $27.97                                                                                       $56.99                                                                                       $78.98
           Better Homes & Gardens 12" Architectural Woven Pendant Light, Natural Rattan Shade           Industrial Sputnik Chandeliers, 8 Lights Pendant Lighting Fixture, Black, Vintage Ceiling    6-Light Farmhouse Chandelier, Industrial Iron Chandelier Lighting, Classic Candle Ceiling
            61                                                                                     Light for Kitchen Dining Living Room Bedroom Lighting                                        Pendant Light Fixture for Foyer, Living Room, Kitchen Island, Dining Room, Bedroom,Black
                                                                                                         100                                                                                     24
           2-day shipping
                                                                                                         2-day shipping                                                                               2-day shipping




          About this item


             Product details
                                                                                                                                                                                                                                                                                           
                      Hello     Dear Customer, Welcome to Vadktai Store

             We Will Give Every Customer The Best Service

                  We cares about each customer's true feelings and considers them the key to success.

                 According to the suggestions of the customers, always better with the products.

                 Your 100% satisfaction is our pursuit !!!

             Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho Pendant Light Fixtures for
             Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway

             Feature:

                Hand-woven boho rattan lamp: the mini shade of this battery-operated pendant light is hand-woven with natural paper rattan,
             which exudes Bohemian or rustic. Its cute design gently illuminates your gazebo on porch or patio.

                  Battery-operated pendant light for indoor or outdoor use: This battery-operated outdoor pendant lamp is powered by 4 x AA
             batteries (not included) and provides up to 120 hours of soft, warm white decorative ambient lighting.

                 IP55 pendant light: This hanging lamp with battery for garden is designed for use in any weather. It provides decorative lighting
             indoors and outdoors, day and night, rain . Battery operated, it replaces solar or plug-in gazebo chandelier outdoors, a ected by
             lack of sun, weather or failures.

                  Easy to use: This battery-operated pendant light comes with a remote control for on/o , 4 timer and dimming functions. The
             outdoor gazebo chandelier can be hung anywhere without additional installation costs or external wiring.

             Product Description:

             Material: Plastic

             Color: Brown

             Product size: 15.5x15cm/6.1x5.9in

             Packing size: 16x16x16cm/6.3x6.3x6.3in

             Net weight: 240g / 0.53lb

             Gross weight: 350g / 0.77lb

             Power supply : 4AA (not included)

             Power cord length: 1m/39.37in

             Power: 2W

             Package Content:

             1 x Woven Pendant Lights




https://www.walmart.com/ip/Vadktai-Woven-Pendant-Lights-Rustic-Rattan-Hanging-Lamp-Adjustable-Handwoven-Basket-Shade-Boho-Light-Fixtures-Kitchen-Island-Dining-Room-Bedroom-Farm/5842029567?classType=VARIANT&athbdg=L1…                                                                            2/5
1/22/25, 2:37 PM
                                          Case 2:25-cv-00472-CB                                                         Document 2-7                                     Filed 04/10/25                                   Page 173 of 227
                                   Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho Pendant Light Fixtures for Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway - Walmart.com


             1 x remote control

                   【 Boho Woven Series】Minimalist geometric design meet natural hand-woven, This pendant light perfect complement to
                   minimalist, modern, traditional, bohemian style. Bring the feeling of the outdoors, epitomize the serene feeling of a comfortable
                   atmosphere. And add natural texture to every living space.
                   【 Small Dimension & Adjustable Height 】This hanging light fixture can be installed at any height of the ceiling and bevel.
                   【 Dimmable & Bulb Requirements & ETL Listed 】 All of ELYONA lighting is ETL Listed and meets 120-volt UL standards for safety
                   and quality. Professional installation is recommended for all pendant light fixtures.
                   【 Natural Twine Shade 】A sophisticated, matte brown finish complements natural hand-woven jute rope, Filtering the light from
                   within, each piece creates a play of light and shadow in a room, adding an inviting ambience. We pay attention to details and use only
                   the highest quality material.
                   【 CONTACT US 】If you have any question, please CONTACT US.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have
                   not verified it. See our disclaimer


             Specifications
                                                                                                                                                                                                                                                                                    
             Color
             Brown

             Size
             Free Size

             Brand
             Vadktai

             Features
             Dimmable



             Warranty
                                                                                                                                                                                                                                                                                    
             Warranty information
             Please be aware that the warranty terms on items o ered for sale by third party Marketplace sellers may di er from those displayed in
             this section (if any). To confirm warranty terms on an item o ered for sale by a third party Marketplace seller, please use the 'Contact
             seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.…


             More details




             Warnings
                                                                                                                                                                                                                                                                                    
                WARNING: woven pendant lights woven pendant lights kitchen island woven pendant lights kitchen island white woven cane
             pendant lights kitchen island basket woven pendant lights woven rattan pendant lights large woven rattan pendant lights 3 pack woven
             pendant lights 5-lights hand-woven rattan pendant light rattan pendant light rattan pendant lights rattan light pendant 6 lights hand
             woven rattan pendant




                                                                                                                                                                                                                                                                      




            Add                                                                                                                  Options                                                                                                 Options

                                                                                                                               Sponsored                                                                                               Sponsored

           Now $12.27 $16.27 +$3.79 shipping                                                                                   $179.99                                                                                                 $149.99
                                                                                                                               Options from $179.99 – $299.99                                                                          Options from $149.99 – $185.99
           Eease Rattan Lampshade for Pendant Light Cafe Home Decor
           Shipping, arrives in 3+ days
                                                                                                                               Arturesthome Rattan Pendant Lights Wicker Chandelier Boho Basket Lighting Fixture Large Natural Woven   Arturesthome White Handwoven Rattan Boho Pendant Lig
                                                                                                                               Hanging Lamp for Kitchen Island Co ee                                                                   Chandelier Handmade Woven Basket Lampshade- Lights
                                                                                                                               Shipping, arrives in 3+ days                                                                            Shipping, arrives in 3+ days




               Report incorrect product information




          Customer ratings & reviews
                         0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                                         Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.         Learn more.




https://www.walmart.com/ip/Vadktai-Woven-Pendant-Lights-Rustic-Rattan-Hanging-Lamp-Adjustable-Handwoven-Basket-Shade-Boho-Light-Fixtures-Kitchen-Island-Dining-Room-Bedroom-Farm/5842029567?classType=VARIANT&athbdg=L1…                                                                      3/5
1/22/25, 2:37 PM
                                          Case 2:25-cv-00472-CB                                                   Document 2-7                               Filed 04/10/25                                   Page 174 of 227
                                   Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho Pendant Light Fixtures for Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway - Walmart.com




             Hispanic Heritage Month




                                                                                                                                                                                                                                                                   Sponsored 




                                                                                                                                                                                                                                                      




              Options                                                                                               Add                                                                                                  Add
           Sponsored

           $79.99                                                                                                  $62.99                                                                                                $101.99
           More options from $49.99
                                                                                                                   Farmhouse LED Rattan Pendant Lights, Boho Chandelier Light Fixture, Rustic Wicker Hand Woven Rope     Farmhouse Rattan Pendant Lights, 15.7" 4-Light Boho Chan
           Depuley Bamboo Pendant Light Fixture Woven Wicker Chandelier Lamp, Rustic Farmhouse Hanging Ceiling     Cage Basket Pendant Hanging for Dining Room Living Room Kitchen Bedroom Nursery Foyer Hallway         Pendant Hanging for Dining Room Living Room Kitchen Isla
           Lamp for Dining Table Kitchen Island Bedroom                                                            Entryway                                                                                              Shipping, arrives in 3+ days
            2                                                                                                 Shipping, arrives in 3+ days
           Save with

           Shipping, arrives in 2 days




                                                                                                                                                                                                                                                      




              1                                                                                                     Add                                                                                                    Options



           $128.55                                                                                                 $64.98                                                                                                $104.98
                                                                                                                                                                                                                         More options from $90.98
           35.5" Wood Linear Pendant Light 20W LED Stepless Dimmable Kitchen Island Light Fixture with Remote &    Modern Pendant Light, Wood Pattern Dome Lantern, 11.8" Industrial Metal Hanging Lamp, Pendant Light
           Touch Control Brass Metal Adjustable Color Temperature for Dining Room O ice Pool Table                 Fixtures for Kitchen Island, Bar, Dining Room, Living Room, Bedroom - Black                           Wood Tripod Floor Lamp, Mid Century Modern Reading Sta
           Shipping, arrives in 3+ days                                                                            Shipping, arrives in 3+ days                                                                          Temperatures LED Bulb & Nature Linen Shade for Farmhou
                                                                                                                                                                                                                         Shipping, arrives in 3+ days




               Report:        Report seller    Report suspected stolen goods (to CA Attorney General)




             Related pages




https://www.walmart.com/ip/Vadktai-Woven-Pendant-Lights-Rustic-Rattan-Hanging-Lamp-Adjustable-Handwoven-Basket-Shade-Boho-Light-Fixtures-Kitchen-Island-Dining-Room-Bedroom-Farm/5842029567?classType=VARIANT&athbdg=L1…                                                            4/5
1/22/25, 2:37 PM
                                    Case 2:25-cv-00472-CB                                                    Document 2-7                 Filed 04/10/25                    Page 175 of 227
                                 Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho Pendant Light Fixtures for Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway - Walmart.com


            Pendant Lights Fabric Porch Patio                                                                              Chicken Wire Pendant Light

            Ikea Light Fixture                                                                                             Rattan Ceiling Lights

            Led Suspension Light                                                                                           Jar Pendant Lights

            Rattan Pendant Lights                                                                                          Outdoor Pendant Lights

            Lantern Pendant Lights                                                                                         Lantern Pendant Lights

            Globe Pendant Lights


          Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Rattan Pendant Lights




https://www.walmart.com/ip/Vadktai-Woven-Pendant-Lights-Rustic-Rattan-Hanging-Lamp-Adjustable-Handwoven-Basket-Shade-Boho-Light-Fixtures-Kitchen-Island-Dining-Room-Bedroom-Farm/5842029567?classType=VARIANT&athbdg=L1…                    5/5
1/22/25, 2:38 PM
                               Case 2:25-cv-00472-CB                                       DocumentReview
                                                                                                    2-7your orderFiled      04/10/25
                                                                                                                  - Walmart.com
                                                                                                                                                           Page 176 of 227



                         Shipping, arrives by Thu, Feb 13
                                                                                                                                                               Place order for $14.75
                                                                                                                                                By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                               Edit
          223 4th Ave, 4th Floor, Pittsburgh, PA 15222
                                                                                                                                          Subtotal (1 item)                                                               $8.41

                                                                                                                                          Seller shipping                                                                 $4.97
          Delivery instructions (optional)                                                                                        Add
                                                                                                                                          Estimated taxes                                                                 $1.37
          Add access codes, adjust your map location and more


                                                                                                                                          Estimated total                                                         $14.75
          Items details                                                                                                   Hide details


          Arrives by Thu, Feb 13                                                                                                1 item    Have a promo code?                                                               
          Sold and shipped by YangSiYu
          $4.97 seller shipping fee

                            Vadktai Woven Pendant Lights, Rustic Rattan Hanging
                            Lamp Adjustable Handwoven Basket Shade, Boho…
                            Size: Free&nbsp;Size, Actual Color: Brown

                                                                  $8.41

                                                                                                      Remove             1       




              Payment method

                           Ending in 1950                                                                                     $14.75

                         Please enter the CVV for the card

                         * Required field

                                               CVV *


                                                  •••


             + Add new payment                                                                                 Change payment




                               $15 cash back when you spend $15+                                                      Sign up


                         Add any credit or debit card, and claim cash back with a One Cash account.




                       Free 30-day trial




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                                         1/2
1/22/25, 2:38 PM
                               Case 2:25-cv-00472-CB                                          DocumentReview
                                                                                                       2-7your orderFiled      04/10/25
                                                                                                                     - Walmart.com
                                                                                                                                                      Page 177 of 227


          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a di erent phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data rates
          may apply. By continuing, you agree to our Mobile Alert Terms.
          ;




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                               2/2
                               Case 2:25-cv-00472-CB                                                Document 2-7                               Filed 04/10/25                              Page 178 of 227




1/23/25, 2:32 PM              Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …

                            Deliver to steven
                                                   Tools & Home Improvement          Search Amazon
                                                                                                                                                                                                                     Hello, steven              Returns            0
                            Chicago 60602                                                                                                                                                                  EN        Account & Lists            & Orders


     All        Rufus      Same-Day Delivery        Medical Care         Groceries        Keep Shopping For   Amazon Basics         Livestreams      Buy Again     Amazon Business         Pharmacy   Gift Cards          Shop By Interest

    Tools & Home Improvement        Best Sellers    Deals & Savings     Gift Ideas   Power & Hand Tools   Lighting & Ceiling Fans    Kitchen & Bath Fixtures     Smart Home   Shop by Room     Launchpad      Amazon Business


                                                                      Modern Farmhouse Pendant Light 3-Pack (Brushed Bronze, 6.3" Amber Glass)                                       4.8              28      $
                                                                                                                                                                                                                  76 91
                                                                                                                                                                                                                                                          Sponsored
   Tools & Home Improvement › Lighting & Ceiling Fans › Ceiling Lights › Pendant Lights


                                                                                                                                      Modern Style Black Pendant
                                                                                                                                      lamp,Hollow Craft Hanging
                                                                                                                                                                                                                          $
                                                                                                                                                                                                                              5990
                                                                                                                                      lamp,Remote Control Light,Battery                                                   FREE Returns

                                                                                                                                      Operated lamp,Dimmable Light,Black                                                  FREE delivery Monday, January
                                                                                                                                                                                                                          27. Order within 10 hrs 30 mins
                                                                                                                                      Pendant Light,with Remote
                                                                                                                                                                                                                               Deliver to steven - Chicago 60602
                                                                                                                                      Control+Bulb+Charging Cable (Color :
                                                                                                                                      Black)                                                                              In Stock
                                                                                                                                      Visit the jengush Store                                                             Quantity:
                                                                                                                                                                                                                           1Quantity: 1
                                                                                                                                      4.1             7 | Search this page


                                                                                                                                      $
                                                                                                                                          5990                                                                                         Add to Cart


                                                                                                                                      Or $14.98 /2 weeks (x4). Select from 2 plans                                                          Buy Now


                                                                                                                                      FREE Returns                                                                        Ships from Amazon
                                                                                                                                                                                                                          Sold by    Hengyu Lighting Store
                                                                                                                                      30-day refund/replacement         | Product support included
                                                                                                                                                                                                                          Returns         30-day
     2+
                                                                                                                                      Color: Black                                                                                        refund/replacement

                                                                                                                                                                                                                          Support         Product support
                                                                                                                                      Brand               jengush                                                                         included
                                                                                                                                      Color               Black                                                                See more

                                                                                                                                      Material            Wrought Iron
                                                                                                                                                                                                                          Add a Protection Plan:
                                                                                                                                      Light ﬁxture        Pendant                                                              3-Year Protection Plan for
                                                                                                                                      form                                                                                     $7.99
                                                                                                                                      Room Type           Bedroom                                                              4-Year Protection Plan for
                                                                                                                                                                                                                               $10.99
                                                                                                                                      About this item                                                                          Asurion Complete Protect:
                                                                                                                                          Personalized design: The surface of the lampshade is treated                         One plan covers all eligible
                                                                                                                                          with a two-color paint process with black outside and inside                         past and future purchases
                                                                                                                                          gold, which is not easy to rust, not easy to dust, and is easy to                    (Renews Monthly Until
                                                                                                                                          clean and daily care.                                                                Cancelled) for
                                                         Roll over image to zoom in                                                                                                                                            $16.99/month
                                                                                                                                          Wrought iron hollow lamp body: double-mirror wrought iron
                                                                                                                                          material, 360° hollow, makes the lamp bright and shiny,                              Add a gift receipt for easy
                                                                                                                                          highlighting fashion and taste.                                                      returns
                                                                                                                                          Wireless Remote Control and Battery Run: The long-lasting LED
                                                                                                                                          lights are powered by Rechargeable 4500mAh lithium
                                                                                                                                                                                                                              Add to List
                                                                                                                                          battery(bulb working current 16mA--100mA) with a 120 hour


https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                                                                                          1/11
                                  Case 2:25-cv-00472-CB                                                     Document 2-7                                Filed 04/10/25                                Page 179 of 227




1/23/25, 2:32 PM                  Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …
                                                                                                                                                 run time; Adjustable light and Color temperature（3000K-
                                                                                                                                                 6500K）.Include a remote .                                                          Other sellers on Amazon
                                                                                                                                                 Rechargeable LED bulb: LED bulb charged through Android USB
                                                                                                                                                 interface,Battery capacity 4500mAh，Max charge current                              New (3) from $5990
                                                                                                                                                 2A）,Flash red light indicate charging，Constant red light
                                                                                                                                                 indicates full charge（not Includes Android USB charger，Can
                                                                                                                                                 charged with mobile phone charger） .（2A charger Android
                                                                                                                                                 recommended，not include charger）.
                                                                                                                                                 A wide range of style applications: suitable styles: post-modern                    Fast delivery during business
                                                                                                                                                 style, modern minimalist style, Nordic style, American style, mix                   hours, ﬂexible payment options.
                                                                                                                                                 and match style.
                                                                                                                                                                                                                                            Create a free account
                                                                                                                                               › See more product details
                                                                                                                                                   Report an issue with this product or seller

                                                                                                                                                                                 SlHYFMO Battery Operated
                                                                                                                                                                                 Pendant Light Set of 2, RGB Color
                                                                                                                                                                                 Changing Rechargeable Hanging
                                                                                                                                                                                 Light with...

                                                                                                                                                                                              42
                                                                                                                                                                                 $69.99
                                                                                                                                               Sponsored
                                                                                                                                                                                                                                    ELYONA 2-Pack Hammered Metal…
                                                                                                                                                                                                                                    4.7               385
   Buy it with                                                                                                                                                                                                                      $114 99

                                                                                                                                                                                                                                    Save $25 with coupon

                                                                                                                                                                                                                                                                Sponsored
                                                                                                                                                       Total price: $120.88

                                            +                                              +                                                               Add all 3 to Cart



                                                                                                                                                These items are shipped from and sold by
                                                                                                                                                diﬀerent sellers.
                                                                                                                                                Show details
    This item: Modern Style Black               Ivilon Drapery Window Curtain                   FUNCHDAY Picture
    Pendant lamp,Hollow Craft                   Rod - End Cap Style Design 1 Inch               Light,5000mAh Battery Operated
    Hanging lamp,Remote Control…                Pole. 48 to 86 Inch Color Warm…                 Picture Light for Wall,Wireless…
    $
        5990                                    $
                                                    2699                                        $
                                                                                                    3399


   Discover similar items
        More ﬁlters                                            & Up    Number of Lights: 1          Number of Lights: 2          Black          Grey       Styles: Modern       Styles: Mid-Century       Light Type: LED      Light Type: Incandescent      Material: Cast Ir




    $
        74140                 $
                                  1,42736                  $
                                                               24742                $
                                                                                        58653                   $
                                                                                                                    28498                $
                                                                                                                                             1,02740                $
                                                                                                                                                                        79640                 $
                                                                                                                                                                                                  74140                 $
                                                                                                                                                                                                                            74140                $
                                                                                                                                                                                                                                                     74140
         See more like this       See more like this           See more like this       See more like this          See more like this       See more like this         See more like this        See more like this        See more like this       See more like this


https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                                                                                               2/11
                                      Case 2:25-cv-00472-CB                                                Document 2-7                         Filed 04/10/25                           Page 180 of 227




1/23/25, 2:32 PM                      Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …




    $
        79640                     $
                                      44440
        See more like this            See more like this


                                                                                                                            Show more


   Customers frequently viewed
    Sponsored        | Popular products in the last 7 days




                Black Solid Wood                   Industrial Pendant Light,   Eustace 17.7'' Farmhouse      Modern style battery       Battery Operated           LMS 8-inch Modern           Industrial Pendant Light
                Pendant Light, 11.8in              Rubber Wood Dome            Vintage Pendant               operated pendant light     Pendant Light Set of 2,    Globe Pendant Light         3 Pack, Black Adjustable
                Modern Pendant Lights              Hanging Lamp with           Lighting,Black and Gold       with remote control,Mini   RGB Color Changing         Frosted Glass with Black    Hanging Light ﬁxtures
                Fixtures Adjustable Fa...          15.8" Hammered Meta…        Large Pendant Light Fi…       kitchen island...          Rechargeable Hanging…      Finish Contemporary…        for Kitche...
                4.5                    29          $
                                                       10690                   4.8                 7         4.2             46         4.6                   42   4.5                   63    4.5                 21
                $
                    5999                                                       $
                                                                                   10990                     $
                                                                                                                 8000                       Amazon's Choice        $
                                                                                                                                                                       5999                    $
                                                                                                                                                                                                   9999 ($33.33 / Count)
                Save 10% with coupon                                                                                                    $
                                                                                                                                            6999                   Save 6% with coupon         Save 10% with coupon



   Based on your recent views
    Sponsored




                Black Pendant Light                3 Pack Modern               Industrial Black Pendant      BoostArea Black Pendant    Battery Operated           2 Pack Single Kitchen       1 Light 2 Pack Hanging
                11.81in Wood Metal                 Farmhouse Hanging           Lights with Golden            Lights Kitchen Island,     Pendant Light Set of 2,    Island Mini Metal Drum      Indoor 12" Black
                Dome Hanging Ceiling               Kitchen Island 3.9 Inch     Finish Vintage 10" Mini       10.6" Large Metal Shade    RGB Color Changing         Pendant Light Industrial    Pendant Ceiling Light
                Lights Farmhouse Rou…              Clear Frosted Glass Sh…     Dome Pendant Li...            and 70.9'' Adjustable…     Rechargeable Hanging…      Hanging Ceiling Light…      Fixture,Brushed Bronz...
                5.0                    1           4.7                4        4.8                 18        4.0             1          4.6                   42   4.6                   260   3.9                 14
                -14% $5099                         -5% $6999                   $
                                                                                   7199 ($24.00 / Count)     -30% $6999                     Amazon's Choice            Amazon's Choice         $
                                                                                                                                                                                                   6999
                Typical: $59.00                    ($17.50 / Count)            Save 5% with coupon           List: $99.99               $
                                                                                                                                            6999                   $
                                                                                                                                                                       5999 ($30.00 / Count)
                Save 20% with coupon               Typical: $73.99                                           Save $20.00 with
                                                                                                             coupon


https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                                              3/11
                         Case 2:25-cv-00472-CB                                 Document 2-7                  Filed 04/10/25                        Page 181 of 227




1/23/25, 2:32 PM         Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …


   Product information

   Technical Details                                                                                  Additional Information

     Brand                                          jengush                                           ASIN                                                   B0BGGXMG9C

     Color                                          Black                                             Customer Reviews                                       4.1             7
                                                                                                                                                             4.1 out of 5 stars
     Material                                       Wrought Iron
                                                                                                      Best Sellers Rank                                      #623,271 in Tools & Home Improvement (See Top
     Light ﬁxture form                              Pendant                                                                                                  100 in Tools & Home Improvement)
                                                                                                                                                             #4,229 in Pendant Light Fixtures
     Room Type                                      Bedroom
                                                                                                      Date First Available                                   September 26, 2022
     Speciﬁc Uses For Product                       Home

     Indoor/Outdoor Usage                           Indoor                                            Warranty & Support
     Power Source                                   Battery Powered                                   Amazon.com Return Policy: Amazon.com Voluntary 30-Day Return Guarantee: You can return many items
                                                                                                      you have purchased within 30 days following delivery of the item to you. Our Voluntary 30-Day Return
     Installation Type                              Hanging
                                                                                                      Guarantee does not aﬀect your legal right of withdrawal in any way. You can ﬁnd out more about the
     Special Feature                                Dimmable                                          exceptions and conditions here.

     Control Method                                 Remote                                            Product Warranty: For warranty information about this product, please click here
     Light Source Type                              LED
                                                                                                      Feedback
     Finish Type                                    Etched
                                                                                                      Would you like to tell us about a lower price?
     Shade Material                                 Iron

     Number of Light Sources                        1

     Voltage                                        3.7 Volts

     Theme                                          modern and minimalist design

     Light Color                                    white

     Shape                                          Round

     Included Components                            Remote Control, Rechargeable LED Bulb,
                                                    Charging Cable

     Embellishment                                  Embroidery

     Lighting Method                                Remote

     Number of Items                                1

     Bulb Base                                      E26

     Controller Type                                Remote Control

     Switch Type                                    Remote

     Unit Count                                     1.0 Count

     Water Resistance Level                         Not Water Resistant

     Mounting Type                                  Ceiling Mount



https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                                4/11
                             Case 2:25-cv-00472-CB                                       Document 2-7          Filed 04/10/25                  Page 182 of 227




1/23/25, 2:32 PM            Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …

     Shade Color                                           Black

     Fixture Type                                          Non Removable

     Assembly Required                                     No

     Manufacturer                                          jengush

     Recommended Uses For Product                          indoor lighting and decor

     Item Weight                                           2.94 pounds

     Package Dimensions                                    11.12 x 10 x 9.15 inches

     Item model number                                     9132848003989

     Batteries                                             1 Lithium Polymer batteries required. (included)

     Finish types                                          Etched

     Special Features                                      Dimmable

     Plug Format                                           A- US style

     Batteries Included?                                   Yes

     Batteries Required?                                   No




   Product details
     Package Dimensions : 11.12 x 10 x 9.15 inches; 2.95 Pounds
     Item model number : 9132848003989
     Department : unisex-adult
     Batteries : 1 Lithium Polymer batteries required. (included)
     Date First Available : September 26, 2022
     Manufacturer : jengush
     ASIN : B0BGGXMG9C
     Customer Reviews:
     4.1              7




   What's in the box
           Remote Control, Rechargeable LED Bulb, Charging Cable




   Videos
   Help others learn more about this product by uploading a video!


     Upload your video




   Product Description

https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                      5/11
                      Case 2:25-cv-00472-CB                                          Document 2-7                            Filed 04/10/25                          Page 183 of 227




1/23/25, 2:32 PM     Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …


                                 Battery operated pendant lights
                                 This is a battery operated pendant light ﬁxture. You do not need to access home electricity during installation, and you can still use it during power
                                 outages.



                                 Rechargeable LED Bulb                                  Remote Control                                         Dimmable
                                 The long-term LED light is powered by                  The remote control can control multiple bulbs          You can use the remote control to adjust the
                                 rechargeable lithium battery (battery capacity         at the same time. The farthest control range is        color temperature and brightness. It has a
                                 4500mAh, maximum charging current 2A),                 16 feet.                                               brightness adjustment range of 10% to 100%,
                                 When charging, the red light illuminates to                                                                   four diﬀerent color temperature changes, and
                                 indicate that it is charging. When charging is                                                                an emergency ﬂashing mode.
                                 complete, the red light will turn to green. (with
                                 charging cable)




                                 Modern style
                                 The design of the Modern Style can match your home well, and it is a good choice to decorate various styles. It has a metal lampshade and has a solid
                                 wood decorative block above the lampshade.


                                       Name: Battery operated pendant light with remote control

                                       Color: Black

                                       Lampshade Size: 24cm/9.44in

                                       Material: Metal

                                       Style: Industrial/Modern/Simple

                                       Energy source: Battery powered (Included in the product, the battery cannot be disassembled.)

                                       Light source: E26 Base

                                       Special Function: Adjustable Height/Dimmable/Remote control/Battery operated




                                 Easy to insall
                                 This lamp is cordless design.You don't need to consider the distribution of the wire at home when installing it, you can freely install it.


   Compare with similar items
                     This Item                                          Recommendations




https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                 6/11
                            Case 2:25-cv-00472-CB                                    Document 2-7                     Filed 04/10/25                      Page 184 of 227




1/23/25, 2:32 PM        Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …




                        Modern Style Black Pendant lamp,Hollow Craft   Modern Style Battery Operated Pendant Light    Battery Operated Pendant Light with Remote       ANUOMY 1 Pack Battery Operated Pendant
                        Hanging lamp,Remote Control Light,Battery      Over Kitchen Island,6 RGB Colors dimmable      Control,White Ceiling Pendant Lights             Light with Remote,Indoor Black No Wiring
                        Operated lamp,Dimmable Light,Black Pendan…     Hanging Lighting with Remote Control,Wirele…   Fixtures,Nordic Style Hanging Lamp for Dining…   Ceiling Hanging Lamp,Vintage Wireless Penda…

                            Add to cart                                    Add to cart                                    Add to cart                                      Add to cart


    Price               $
                            5990                                       $
                                                                           6000                                       $
                                                                                                                          6500                                         $
                                                                                                                                                                           3990
    Delivery                     FREE Delivery                                  FREE Delivery                                  FREE Delivery                           Get it Feb 4 - 14


    Customer Ratings    4.1                7                           4.7                9                           3.9                22                            4.1                 23

    Sold By             Hengyu Lighting Store                          Xuancong grocery store                         Hengyu Lighting Store                            Light GoGo US

    Material            Wrought Iron                                   Metal                                          Metal                                            Metal

    Light Source Type   LED                                            LED                                            LED                                              LED

    Bulb Base           e26                                            e26                                            —                                                e26 medium

    Light Sources       1                                              1                                              1                                                1

    Power Source        Battery Powered                                Corded Electric, Battery Powered               Battery Powered                                  Battery Powered

    Shade Material      Iron                                           Metal, Iron                                    Wood                                             Metal

    Style               —                                              Modern                                         Modern                                           Industrial

    Finish Type         Etched                                         —                                              Matte                                            Painted

    Mounting Type       Ceiling Mount                                  Ceiling Mount                                  Hanging,Pendant Light                            Ceiling Mount

    Fixture Type        Non Removable                                  Non Removable                                  Non Removable                                    Non Removable

    Shade Color         Black                                          Black                                          White                                            black




   Related products with free delivery
https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                                         7/11
                               Case 2:25-cv-00472-CB                                         Document 2-7                            Filed 04/10/25                 Page 185 of 227




1/23/25, 2:32 PM              Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …
   Related products with free delivery
    Sponsored




               Omgomne Modern              Omgomne Industrial        1-Pack Modern Style           Dijiahua Gold Battery       LIANGMH 2 Light
               Pendant Light Fixture for   Pendant Lights Kitchen    Battery Operated              Operated Pendant Lights     Pendant Lights Kitchen
               Kitchen Island,1-Light      Island,Black Ceiling      Pendant Lighting with         Kitchen Island 3 Pack       Island Dimmable LED
               Black Gold Ceiling Han…     Lighting Fixture Chand…   Remote Control,Wirele…        with Remote Control,…       Modern Mini Pendant…
               4.5             186         4.5              19       4.1               11          3.7                  28     4.4            118
               $   4099                    $   4399                  $   6900                      $   6900 ($23.00 / Count)   -21% $6988
                Save 10% with coupon       Save 10% with coupon                                    Save 10% with coupon        List: $88.88




                                                                                Industrial Pendant Lights (2pcs, Black)
                                                                                4.7            385
                                                                                $
                                                                                    114 99
                                                                                 Save $25 with coupon




                                                                                                                                                                                 Sponsored



   Similar brands on Amazon
   Sponsored




                               SCOPOW 2Packs E26 Rechargeable Light                          Battery Operated Wall Sconces Set of                       Neporal MagicGlow Rechargeable Light   Wowag
                               Bulbs with Remote Control Timer and 3…                        Two, Rechargeable Wall Lights with…                        Bulbs with Remote, 3 Colors Shift +…   Rechar
                               4.1                    988                                    4.6                   15                                   3.8            1,929                   4.5
                               $24.99                                                        $89.95                                                     $21.59                                 $41.99




https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                           8/11
                             Case 2:25-cv-00472-CB                                Document 2-7                            Filed 04/10/25       Page 186 of 227




1/23/25, 2:32 PM            Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …
        Looking for speciﬁc info?




   Customer reviews                                              Top reviews
                                                                 Top  reviews

                      4.1 out of 5
   7 global ratings                                             Top reviews from the United States

   5 star                                   76%
                                                                       Amazon Customer
   4 star                                     0%                              Great when no out let
                                                                Reviewed in the United States on May 5, 2024
   3 star                                     0%
                                                                Color: Black Veriﬁed Purchase
   2 star                                     0%                Just right for what we need over our morning kitchen table.

   1 star                                   24%                     Helpful           Report

   How customer reviews and ratings work
                                                                       James Basile

                                                                              Easy to install
   Review this product                                          Reviewed in the United States on April 21, 2023
                                                                Color: Black Veriﬁed Purchase
   Share your thoughts with other customers
                                                                Easy to install. Looks like the picture. Really cool changeable bulb
               Write a customer review
                                                                    Helpful           Report



                                                                       Stewart watterson

                                                                              Starts blinking on its own
                                                                Reviewed in the United States on January 11, 2024
                                                                Color: Black Veriﬁed Purchase
                                                                The bulb will begin to blink on its own for no reason
       Unprecedented                                            One person found this helpful
     Reliability For NAS
      Storage Systems                                               Helpful           Report


                                                                       Shawn and Ash

                                                                              Would Recommend!
                                                                Reviewed in the United States on February 15, 2023
                                         Sponsored
                                                                Color: Black Veriﬁed Purchase
                                                                Really cool and easy to install

                                                                    Helpful           Report



                                                                See more reviews




https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                      9/11
                      Case 2:25-cv-00472-CB                                       Document 2-7                          Filed 04/10/25            Page 187 of 227




1/23/25, 2:32 PM     Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …
                                               Top reviews from other countries

                                                      Kat

                                                             Fantastic
                                               Reviewed in the United Kingdom on October 7, 2023
                                               Color: Black Veriﬁed Purchase
                                               Easy to install & stylish!




                                               Report




                                               See more reviews

                                                                                 ELYONA Industrial Pendant Lights (10.2", Black)
                                                                                 $114 99

                                                                                 Save $25 with coupon

                                                                                                                                              Sponsored




                                                                                                        Back to top




                              Get to Know Us                          Make Money with Us                          Amazon Payment Products                 Let Us Help You
                              Careers                                 Sell on Amazon                              Amazon Visa                             Your Account
                              Amazon                                  Sell apps on Amazon                         Amazon Store Card                       Your Orders
                              Newsletter
                                                                      Supply to Amazon                            Amazon Secured Card                     Shipping Rates &
                              About Amazon                                                                                                                Policies
                                                                      Protect & Build Your                        Amazon Business Card
                              Accessibility                           Brand                                                                               Amazon Prime
                                                                                                                  Shop with Points
                              Sustainability                          Become an Aﬃliate                                                                   Returns &
                                                                                                                  Credit Card Marketplace
                                                                                                                                                          Replacements
                              Press Center                            Become a Delivery Driver
                                                                                                                  Reload Your Balance                     Manage Your
                              Investor Relations                      Start a Package Delivery
                                                                                                                  Gift Cards                              Content and Devices
                                                                      Business
                              Amazon Devices
                                                                                                                  Amazon Currency Converter               Recalls and Product
                                                                      Advertise Your Products                                                             Safety Alerts
                              Amazon Science
                                                                      Self-Publish with Us                                                                Registry & Gift List
                                                                      Become an Amazon Hub                                                                Help
                                                                      Partner
                                                                      › See More Ways to Make
                                                                      Money




https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                              10/11
                      Case 2:25-cv-00472-CB                                     Document 2-7                               Filed 04/10/25                              Page 188 of 227




1/23/25, 2:32 PM     Modern Style Black Pendant lamp,Hollow Craft Hanging lamp,Remote Control Light,Battery Operated lamp,Dimmable Light,Black Pendant Light,with Remote Control+Bulb+Charging …


                                                                                                           English               United States




                              Amazon Music       Amazon Ads               6pm                        AbeBooks                  ACX                       Sell on Amazon       Veeqo
                              Stream millions    Reach customers          Score deals                Books, art                Audiobook                 Start a Selling      Shipping Software
                              of songs           wherever they            on fashion brands          & collectibles            Publishing                Account              Inventory
                                                 spend their time                                                              Made Easy                                      Management

                              Amazon Business    Amazon Fresh             AmazonGlobal               Home Services             Amazon Web                Audible              Box Oﬃce Mojo
                              Everything For     Groceries & More         Ship Orders                Experienced Pros          Services                  Listen to Books &    Find Movie
                              Your Business      Right To Your Door       Internationally            Happiness                 Scalable Cloud            Original             Box Oﬃce Data
                                                                                                     Guarantee                 Computing                 Audio
                                                                                                                               Services                  Performances

                              Goodreads          IMDb                     IMDbPro                    Kindle Direct             Amazon Photos             Prime Video Direct   Shopbop
                              Book reviews       Movies, TV               Get Info                   Publishing                Unlimited Photo           Video Distribution   Designer
                              &                  & Celebrities            Entertainment              Indie Digital &           Storage                   Made Easy            Fashion Brands
                              recommendations                             Professionals Need         Print Publishing          Free With Prime
                                                                                                     Made Easy

                              Amazon Resale      Whole Foods              Woot!                      Zappos                    Ring                      eero WiFi            Blink
                              Great Deals on     Market                   Deals and                  Shoes &                   Smart Home                Stream 4K Video      Smart Security
                              Quality Used       America’s                Shenanigans                Clothing                  Security Systems          in Every Room        for Every Home
                              Products           Healthiest
                                                 Grocery Store

                                                 Neighbors App            Amazon                     PillPack                  Amazon Renewed
                                                 Real-Time Crime          Subscription Boxes         Pharmacy                  Like-new products
                                                 & Safety Alerts          Top subscription           Simpliﬁed                 you can trust
                                                                          boxes – right to
                                                                          your door



                                                          Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure   Your Ads Privacy Choices
                                                                                        © 1996-2025, Amazon.com, Inc. or its aﬃliates




https://www.amazon.com/dp/B0BGGXMG9C/ref=mweb_up_am_fl_st_na_un_up_sm_sxts_snpl_1_1_d26e24db-d6a0-41ff-bb8a-bf1969aea086?th=1                                                                     11/11
                       Case 2:25-cv-00472-CB                            Document 2-7                   Filed 04/10/25         Page 189 of 227




3/12/25, 9:54 AM                                                                        Place Your Order - Amazon Checkout



                                                                               Secure checkout

        Delivering to steven howard                                                                                 Change                   Place your order
        223 4TH AVE, PITTSBURGH, PA, 15222-1717, United States
                                                                                                                               By placing your order, you agree to Amazon's
        Add delivery instructions                                                                                              privacy notice and conditions of use.

        FREE pickup available nearby
                                                                                                                               Items:                                $59.90
                                                                                                                               Shipping & handling:                   $0.00
                                                                                                                               Estimated tax to be collected:         $3.59
        Paying with Visa 3651                                                                                       Change
                                                                                                                               Order total:                      $63.49
        Select a payment plan
        Like $10.95/mo (6 mo) at 11.99% APR

        Use Chase Ultimate Rewards points
        $80.84 (10,105 points) available
        Use a gift card, voucher, or promo code




        Arriving Mar 17, 2025
        If you order in the next 14 hours and 5 minutes Details
                                                                                 Standard Monday, Mar 17               FREE
                                Modern Style Black Pendant
                                lamp,Hollow Craft Hanging
                                lamp,Remote Control
                                Light,Battery Operated
                                lamp,Dimmable Light,Black
                                Pendant Light,with Remote
                                Control+Bulb+Charging Cable
                                (Color : Black)
                                $59.90
                                & FREE Returns
https://www.amazon.com/checkout/p/p-106-3115417-0077048/spc?pipelineType=Chewbacca&referrer=spc                                                                               1/3
                         Case 2:25-cv-00472-CB                            Document 2-7                 Filed 04/10/25                   Page 190 of 227




3/12/25, 9:54 AM                                                                        Place Your Order - Amazon Checkout

                                           Ships from Amazon.com
                                           Sold by Hengyu Lighting Store

            Quantity: 1 Change

            Add gift options




                   Place your order         Order total: $63.49
                                            By placing your order, you agree to Amazon's privacy notice and conditions of use.




        Why has sales tax been applied? See tax and seller information.
        Do you need help? Explore our Help pages or contact us
        For an item sold by Amazon.com: When you click the "Place your order" button, we'll send you an email message acknowledg
        purchase an item will not be complete until we send you an email notifying you that the item has been shipped.
        Colorado Purchasers: Important information regarding sales tax you may owe in your State
        Within 30 days of delivery, you may return new, unopened merchandise in its original condition. Exceptions and restrictions a

        Back to cart




                                                                                       Back to top




                                                                             English                 United States                Help



                                       Conditions of Use   Privacy Notice   Consumer Health Data Privacy Disclosure      Your Ads Privacy Choices




https://www.amazon.com/checkout/p/p-106-3115417-0077048/spc?pipelineType=Chewbacca&referrer=spc                                                           2/3
                       Case 2:25-cv-00472-CB                            Document 2-7                   Filed 04/10/25        Page 191 of 227




3/12/25, 9:54 AM                                                                        Place Your Order - Amazon Checkout
                                                                     © 1996-2025, Amazon.com, Inc. or its aﬃliates




https://www.amazon.com/checkout/p/p-106-3115417-0077048/spc?pipelineType=Chewbacca&referrer=spc                                                3/3
1/22/25, 2:28 PM
                                        Case 2:25-cv-00472-CB                                                    Document 2-7                                      Filed 04/10/25                                    Page 192 of 227
                                       Solid Wood Tripod Floor Lamp, Tall Standing Light with Table, Mid Century Modern Corner Shelf Reading Floor Lamp with Drum Shade for Living Room, Bedroom, Office, LED Bulb Included, Brown - Walmart.com



                                     New year. Better water.*


            Sponsored 

                                                                                                              
                                                                                                              
                                                                                                              




                                                                                                             



                +   14
                View all




          Unbranded
          Solid Wood Tripod Floor Lamp, Tall Standing Light with Table, Mid Century Modern Corner Shelf Reading Floor Lamp with Drum Shade for Living Room, Bedroom, O ice, LED Bulb Included, Brown
           (No ratings yet)


          Actual Color: Gray




                            $116.98



          About this item

                【Why can you trust ELYONA
                                     ELYONA's Solid Wood?】①Unlike fiberboard’s wood grain paper surface and is glued with unknown woodchips inside. ELYONA solid wood board is real wood, free of glue, formaldehyde. More durable, healthier for your family and pets. And has waterproof
             coating easy to clean. ②Using smooth texture FSC Certification Solid Wood represents that the timber used is following the strict environmental standards of FSC. ELYONA ensures every product will make with the best quality timber.
                 【Modern Thicken Tripod Shelf Floor Lamp】① Compared with the slim leg floor lamp, We thickened the tripod to make the floor lamp more stable, longer use. ②Standing lamp with side table to put your phone, cup, magazine. It easy to match with a range of decor styles
             about farmhouse industrial, boho, country or loft etc.
                【Pull Chain Controls & 30, 000 Hours Long Lifespan LED Bulb Included】 ① Pull chain controls allows you to easily turn on or o without getting out of bed or bend down, convenient for living room, bedroom, o ice. ② Compatible with 3-color temperatures bulbs. You can
             purchase them separately if needed. This product Includes a 30,000 hours lifetime Single-color LED Bulb (3000k / 9w).
                【Wood Maintenance & High Density Nature Linen Shade】①Simply wipe with a damp cloth, then dry. We have been coated with mineral oil before packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more textured. ②We
             use high-quality primary color linen with tight texture, Water&oil-resistant nature linen shade, making the light more comfortable. It can be focused on any area you want to read, study, and work.…

          View more



          At a glance


                                                           Brand
                                                         Unbranded


          View all specifications




             $116.98
                Price when purchased online 

                As low as $11/mo with               Learn how

              Free shipping          Free 30-day returns


                                                                                                                                               Buy now


                                                                                                                                              Add to cart


                           Add a protection plan What's covered
                           (Only one option can be selected at a time)

                                 3-Year plan - $18.00

                                 2-Year plan - $14.00



             How do you want your item?



                                                                Shipping                                                                         Pickup                                                                                   Delivery
                                                            Arrives Jan 31                                                                    Not available                                                                              Not available
                                                                 Free


             Delivery to 223 4TH AVE


                    Sold and shipped by gxuandian

                     1 seller review

                    Free 30-day returns Details




https://www.walmart.com/ip/Solid-Wood-Tripod-Floor-Lamp-Tall-Standing-Light-Table-Mid-Century-Modern-Corner-Shelf-Reading-Lamp-Drum-Shade-Living-Room-Bedroom-Office-LED-Bulb-In/14823067136?classType=VARIANT&from=/search                                                                  1/5
1/22/25, 2:28 PM
                                         Case 2:25-cv-00472-CB                                                         Document 2-7                              Filed 04/10/25                                   Page 193 of 227
                                         Solid Wood Tripod Floor Lamp, Tall Standing Light with Table, Mid Century Modern Corner Shelf Reading Floor Lamp with Drum Shade for Living Room, Bedroom, Office, LED Bulb Included, Brown - Walmart.com


                                                                            Add to list                                                                                                                       Add to registry

                                               Sponsored

                                               $64.99
                                               LEPOWER Wood Tripod Floor Lamp, Mid Century Standing Lamp, Modern Design Floor Light for Living Room, Bedroom and O ice, Flaxen Lamp Shade with E26 Lamp Base Brown

                                               2-day shipping



                                                                                                                             Add




                                                                                                                                                                                                                                                              




              Options                                                                                                       Options                                                                                                Add
           Sponsored                                                                                                     Sponsored

           $79.99                                                                                                        Now $55.98 $85.99                                                                                        Now $39.99 $49.99
           SUNMORY 78” 3-Light Modern Rotary Switch Black Arc Floor Lamp with Linen Drum                                 NATYSWAN 65" Floor Lamp, 3 Way Dimmable Led Floor Lamp Column Floor Lamp Standing Lamp Corner            Tripod Floor Lamp, Mid Century Wood Standing Lamp, Mod
            143                                                                                                     Floor Lamp Modern Floor Lamp for Bedroom, O ice& Living Room (Bulbs Included)                            Bedroom, O ice, Flaxen Lamp Shade with E26 Lamp Base

            Save an extra $8.00                                                                                          86                                                                                                 Save with
                                                                                                                         Save with
           Save with                                                                                                                                                                                                              Shipping, arrives in 2 days
                                                                                                                         Shipping, arrives in 2 days
           Shipping, arrives in 2 days




            Best seller                                                                                  Best seller



                                                                                                                                                                                                                         




            Add                                                                                         Add                                                                                   Add

           Now $39.99 $75.99                                                                           Now $37.99 $75.99                                                                       Now $35.99 $99.99
           NATYSWAN Tripod Floor Lamp,Modern Gold Standing Lamp with Drum Shade,Minimalist             NATYSWAN Tripod Floor Lamp, Mid Century Black Standing Lamp, Modern Minimalist          LED Modern Floor Lamp Night Light for Living Room, 5 Colors and Brightness with Remote
           Studying Light for Living Room, Bedroom, Study Room and O ice                               Design Studying Light for Living Room, Bedroom, Study Room                              and Touch Control,Standing Lamp with 1H Timer, Dimmable Reading Floor Lights
            61                                                                                     61                                                                                 70

           2-day shipping                                                                               2-day shipping                                                                         2-day shipping




          About this item


             Product details
                                                                                                                                                                                                                                                                                  

             Product Description



             WHY CHOOSE ?


                1.
                     The video showcases the product in use. The video guides you through product setup. The video compares multiple products.
                     The video shows the product being unpacked.




             Dimmable Solid Wood Tripod Floor Lamp


                     FSC Certification Thicken Solid Wood



             All wood used in products has FSC Certification.Compared with the MDF Boards, our solid wood boards are Healthier, No Glue,
             Formaldehyde-free, Durable,and we also come with Waterproof Coating.



                     Pull Chain Controls



             Pull chain controls allows you to easily turn on or o without getting out of bed or bend down, convenient for livingroom,
             bedroom, o ice.




                     The video showcases the product in use. The video guides you through product setup. The video compares multiple products.



https://www.walmart.com/ip/Solid-Wood-Tripod-Floor-Lamp-Tall-Standing-Light-Table-Mid-Century-Modern-Corner-Shelf-Reading-Lamp-Drum-Shade-Living-Room-Bedroom-Office-LED-Bulb-In/14823067136?classType=VARIANT&from=/search                                                                2/5
1/22/25, 2:28 PM
                                     Case 2:25-cv-00472-CB                                                            Document 2-7                    Filed 04/10/25            Page 194 of 227
                                     Solid Wood Tripod Floor Lamp, Tall Standing Light with Table, Mid Century Modern Corner Shelf Reading Floor Lamp with Drum Shade for Living Room, Bedroom, Office, LED Bulb Included, Brown - Walmart.com


                   The video shows the product being unpacked.




                   Solid Wood From



                       Global procurement of top timber production areas


                       FSC Certified Solid Wood



                   This certification represents that the timber used is managed according to the strict social and environmental standards of FSC.
                   (licence code: FSC-C158069/Valid Date: 25 June 2025 )



                       All of timbers use FSC certified wood of the best quality.Unlike fiberboard, solid wood texture is natural, glue-free,
                       formaldehyde-free and healthier




                   Why Choose Real Solid Wood?



                   1.Machine-printed imitation wood lacks real wood's natural grain.



                   2.The surfaces are thin, making them prone to scratches and wear.


                   3.Worn surface coating requires full board replacement.




            Previous page




            Next page

            1 Living Room 2 Home O ice 3 Bedroom




            SOLID WOOD SERIES


            Classic Scandinavian style. Classic Solid wood with black metal shade, provide a modern and industrial feeling. Ideal for kitchen,
            dining room, living room, o ice, co ee bar, bedroom, beside nightstand. Add this industrial looking to your home now!




            1
            2
            3




            Dimmable Floor Lamp


            SOLID WOOD SERIES



            Add to Cart

            SOLID WOOD SERIES



            Add to Cart

            SOLID WOOD SERIES



            Add to Cart

            SOLID WOOD SERIES



            Add to Cart

            57.4” Floor Lamp




https://www.walmart.com/ip/Solid-Wood-Tripod-Floor-Lamp-Tall-Standing-Light-Table-Mid-Century-Modern-Corner-Shelf-Reading-Lamp-Drum-Shade-Living-Room-Bedroom-Office-LED-Bulb-In/14823067136?classType=VARIANT&from=/search                      3/5
1/22/25, 2:28 PM
                                        Case 2:25-cv-00472-CB                                                          Document 2-7                                    Filed 04/10/25                               Page 195 of 227
                                       Solid Wood Tripod Floor Lamp, Tall Standing Light with Table, Mid Century Modern Corner Shelf Reading Floor Lamp with Drum Shade for Living Room, Bedroom, Office, LED Bulb Included, Brown - Walmart.com


            Add to Cart

            INDUSTRIAL SERIES



            Buying Options

            INDUSTRIAL SERIES



            Add to Cart


            Customer Reviews
            4.2 out of 5 stars
            185


            4.3 out of 5 stars
            560

            4.3 out of 5 stars
            38


            4.2 out of 5 stars
            157


            4.3 out of 5 stars
            80


            4.2 out of 5 stars
            8


            4.2 out of 5 stars
            254


                       【Why can you trust ELYONA's
                                             ELYONA Solid Wood?】①Unlike fiberboard’s wood grain paper surface and is glued with unknown
                   woodchips inside. ELYONA solid wood board is real wood, free of glue, formaldehyde. More durable, healthier for your family and
                   pets. And has waterproof coating easy to clean. ②Using smooth texture FSC Certification Solid Wood represents that the timber
                   used is following the strict environmental standards of FSC. ELYONA ensures every product will make with the best quality timber.
                        【Modern Thicken Tripod Shelf Floor Lamp】① Compared with the slim leg floor lamp, We thickened the tripod to make the
                   floor lamp more stable, longer use. ②Standing lamp with side table to put your phone, cup, magazine. It easy to match with a range
                   of decor styles about farmhouse industrial, boho, country or loft etc.
                       【Pull Chain Controls & 30, 000 Hours Long Lifespan LED Bulb Included】 ① Pull chain controls allows you to easily turn on or
                   o without getting out of bed or bend down, convenient for living room, bedroom, o ice. ② Compatible with 3-color temperatures
                   bulbs. You can purchase them separately if needed. This product Includes a 30,000 hours lifetime Single-color LED Bulb (3000k /
                   9w).
                       【Wood Maintenance & High Density Nature Linen Shade】①Simply wipe with a damp cloth, then dry. We have been coated
                   with mineral oil before packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain
                   more textured. ②We use high-quality primary color linen with tight texture, Water&oil-resistant nature linen shade, making the light
                   more comfortable. It can be focused on any area you want to read, study, and work.
                       【One Year Warranty】With over 20 years of illumination production experience and a professional design team, we have high
                   strict control over product quality and detail & getting many patents for appearance design and functions at the same time. We o er
                   One Year Warranty to bring you a great value shopping experience. If you have any questions, please CONTACT US via the Amazon
                   message box.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have
                   not verified it. See our disclaimer


            Warranty
                                                                                                                                                                                                                                                                                
            Warranty information
            Please be aware that the warranty terms on items o ered for sale by third party Marketplace sellers may di er from those displayed in
            this section (if any). To confirm warranty terms on an item o ered for sale by a third party Marketplace seller, please use the 'Contact
            seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




              Report incorrect product information


                                                                                                                                                                                                   Best seller



                                                                                                                                                                                                                        




            Add                                                                                             Add                                                                                  Add

           $64.99                                                                                           $87.97                                                                                Now $39.99 $75.99
           LEPOWER Wood Tripod Floor Lamp, Mid Century Standing Lamp, Modern Design Floor                   Brightech Eden Tripod Floor Lamp, Dimmable Standing Lamp With Solid Wood Legs for     NATYSWAN Tripod Floor Lamp,Modern Gold Standing Lamp with Drum Shade,Minimalist
           Light for Living Room, Bedroom and O ice, Flaxen Lamp Shade with E26 Lamp Base Brown             Bedroom Reading, Tall Tree Lamp for O ices, Modern LED Lamp for Living Rooms, Great   Studying Light for Living Room, Bedroom, Study Room and O ice
                                                                                                            Living Room Decor - Havana Brown                                                       61
           2-day shipping
                                                                                                             78
                                                                                                                                                                                                  2-day shipping
                                                                                                            3+ day shipping




          Customer ratings & reviews
                        0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                                        Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.     Learn more.




https://www.walmart.com/ip/Solid-Wood-Tripod-Floor-Lamp-Tall-Standing-Light-Table-Mid-Century-Modern-Corner-Shelf-Reading-Lamp-Drum-Shade-Living-Room-Bedroom-Office-LED-Bulb-In/14823067136?classType=VARIANT&from=/search                                                         4/5
1/22/25, 2:28 PM
                                          Case 2:25-cv-00472-CB                                                     Document 2-7                                  Filed 04/10/25                                  Page 196 of 227
                                          Solid Wood Tripod Floor Lamp, Tall Standing Light with Table, Mid Century Modern Corner Shelf Reading Floor Lamp with Drum Shade for Living Room, Bedroom, Office, LED Bulb Included, Brown - Walmart.com




             As low as $278




                                                                                                                                                                                                                                                                               Sponsored 

                                                                                                                                                                                                  Clearance



                                                                                                                                                                                                                           




            Add                                                                                          Add                                                                                    Add

           $64.99                                                                                       $39.99                                                                                   Now $41.39 $45.99
           LEPOWER Wood Tripod Floor Lamp, Mid Century Standing Lamp, Modern Design Floor               Floor Lamp, 18w 1800lm Super Bright Led Floor Lamps for Living Room,Stepless             CAALOGT Crystal Floor Lamp, Modern Standing Tall Pole Lamp with Foot Switch, RGB
           Light for Living Room, Bedroom and O ice, Flaxen Lamp Shade with E26 Lamp Base Brown         Dimmable Modern Floor Lamp 2700k-6500k, Reading Standing Tall Floor Lamps for            Bulb, Remote Control for Living Room, Bedroom, O ice
                                                                                                        Bedroom O ice                                                                             4
           2-day shipping
                                                                                                         3
                                                                                                                                                                                                 2-day shipping
                                                                                                         2-day shipping




                                                                                                                                                                                                                                                                




              1                                                                                                            Add                                                                                                       Options



           $149.98                                                                                                        $8.41 +$4.97 shipping                                                                                    $100.48
           More options from $82.48                                                                                                                                                                                                More options from $73.48
                                                                                                                          Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho
           2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height,                   Pendant Light Fixtures for Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway            2 Pack Hammered Semi Flush Mount Light Fixture, 12 inch F
           Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,O ice             Shipping, arrives in 3+ days                                                                             Black and Gold Finish for Bedroom, Bathrooms, Hallway, Kit
           Shipping, arrives in 3+ days                                                                                                                                                                                            Shipping, arrives in 3+ days




               Report:        Report seller        Report suspected stolen goods (to CA Attorney General)




             For the planet




                                                                                                                                                                                                                                                                               Sponsored 


          Home / Decor / Lighting & Light Fixtures / Floor Lamps / LED Floor Lamps




https://www.walmart.com/ip/Solid-Wood-Tripod-Floor-Lamp-Tall-Standing-Light-Table-Mid-Century-Modern-Corner-Shelf-Reading-Lamp-Drum-Shade-Living-Room-Bedroom-Office-LED-Bulb-In/14823067136?classType=VARIANT&from=/search                                                                     5/5
1/22/25, 2:30 PM
                                        Case 2:25-cv-00472-CB                                                        Document 2-7                                      Filed 04/10/25                                      Page 197 of 227
                                       2 Pack Bubble Glass Pendant Lights, 8 Inch Vintage Hanging Lamp Seeded Glass Industrial Pendant Light Fixtures for Kitchen Island, Farmhouse, Bar, Bathroom, Dining Room, Oil Rubbed Bronze - Walmart.com



                                     New year. Better water.*


            Sponsored 

                                                                                                                 
                                                                                                                 
                                                                                                                 




                                                                                                                



                 +   9
                View all




          Unbranded
          2 Pack Bubble Glass Pendant Lights, 8 Inch Vintage Hanging Lamp Seeded Glass Industrial Pendant Light Fixtures for Kitchen Island, Farmhouse, Bar, Bathroom, Dining Room, Oil Rubbed Bronze
           (No ratings yet)


          Actual Color: Bronze




                            $58.48                                           $110.48                        $58.48                                  $110.48                                  $51.98                                   $102.68



          About this item

                 【 Hand Blown Bubble Glass Pendant Lighting】 The industrial pendant lights with Hand Blown Bubble Glass Shade, create a relaxed atmosphere, produced by craftsman with experience for over 20 years in art glass.Gives you a timeless retro vintage touch and a clean modern
             aesthetic, adds vibrant vibe to any room, especially kitchen island, dining room, breakfast bar. ❥(The handcrafted nature of the glass shade will produce minor di erences in terms of bubble size. Each light is unique )
                 【The Top Craftsmanship Oil Rubbed Bronze Metal Base 】Rather than the spray painting process, ELYONA oil rubbed bronze finished surface to provide vintage industrial feeling smooth which won‘t crack, more durable and stable. Simply rinse with water or wipe with a damp
             cloth, then dry.② Made of natural iron ore from Highland Mountains, melted at an ultra-high temperature of 1538℃ to ensure no impurities.
                 【Dimmable & Bulb Requirements & One Year Warranty】① Cords are included for Height Adjustment. This hanging light fixture can be installed at any height of the ceiling and bevel. Supports any LED/CFL/Edison or other less than 40W bulbs with E26 Base. ❥When using
             dimmer and dimmable bulb can be dimmed (Bulbs NOT Included). ②We o er One Year Warranty to bring you a great value shopping experience. If you have any questions, please CONTACT US via the Amazon message box.
                 【 Medium Dimension & Sturdy Package 】① Dimension & Adjustable Height: Max56'' H x 8'' W x 8'' D Ceiling Canopy: Dia. 4.3". Cords are included for height adjustment. This island hanging light can be installed at any height of the ceiling and bevel. We filled the entire shade
             with foam.This packaging method can protect the glass to the greatest extent and avoid damage.
                 【 Vintage & Industrial 】 ELYONA seeded pendant light uses handcraft bubble glass lampshade with oil rubbed bronze metal base, creates the comfortable atmosphere for you when emitting the softer light. Perfect for kitchen islands, dining room, bedroom, bars, restaurants,
             or any place where creative lights are needed. Add this vintage industrial looking to your home now!

          View full item details



          At a glance


                                                          Brand
                                                        Unbranded




             $51.98
                Price when purchased online 

                As low as $10/mo or 0% APR with                   Learn how

              Free shipping          Free 30-day returns


                                                                                                                                                   Buy now


                                                                                                                                                 Add to cart


                           Add a protection plan What's covered

                                2-Year plan - $7.00



             How do you want your item?



                                                                Shipping                                                                             Pickup                                                                                      Delivery
                                                            Arrives Jan 31                                                                        Not available                                                                                 Not available
                                                                 Free


             Delivery to 1 N La Salle St


                     Sold and shipped by gxuandian

                    1 seller review

                     Free 30-day returns Details




https://www.walmart.com/ip/2-Pack-Bubble-Glass-Pendant-Lights-8-Inch-Vintage-Hanging-Lamp-Seeded-Industrial-Light-Fixtures-Kitchen-Island-Farmhouse-Bar-Bathroom-Dining-Room-Oil/14786622461?classType=VARIANT&from=/search                                                                           1/4
1/22/25, 2:30 PM
                                         Case 2:25-cv-00472-CB                                                        Document 2-7                                     Filed 04/10/25                                    Page 198 of 227
                                         2 Pack Bubble Glass Pendant Lights, 8 Inch Vintage Hanging Lamp Seeded Glass Industrial Pendant Light Fixtures for Kitchen Island, Farmhouse, Bar, Bathroom, Dining Room, Oil Rubbed Bronze - Walmart.com


                                                                              Add to list                                                                                                                            Add to registry

                                               Sponsored

                                               $134.99
                                               Vintage Crystal Branch Chandeliers with 7-Light, Black Flush Mount Pendant Light, Farmhouse Hanging Ceiling Lighting Fixtures for Dining Room Living Room Bedroom Restaurant Porch Foyer

                                               3+ day shipping




                                                                                                                                         Add




                                                                                                                                                                                                                                                                        




            Add                                                                                                               Add                                                                                                          Options

           Sponsored                                                                                                         Sponsored

           $62.99                                                                                                            $69.99                                                                                                       $76.99
                                                                                                                                                                                                                                          Options from $76.99 – $112.99
           2 Packs Depuley Industrial Pendant Light Farmhouse Plug in Ceiling Light Black Vintage Metal Hanging              Depuley 3 Light Glass Pendant Light Industrial Kitchen Island Light Dimmable LED Matte Black Farmhouse
           Lamp Lighting Fixture Adjustable for Living Room Kitchen Island Dining, E26 Base                                  Semi Flush Mount Ceilinglight for Living Room Dining Patio, E26 Socket                                       Black Hollow-out Metal Pendant Lighting, Retro Industrial P
           Save with                                                                                                          8
                                                                                                                                                                                                                                          Farmhouse Pendant Light Fixture for Kitchen Island Dining
                                                                                                                                                                                                                                          Shipping, arrives in 3+ days
                                                                                                                             Save with
           Shipping, arrives in 2 days
                                                                                                                             Shipping, arrives in 2 days




          About this item


             Product details
                                                                                                                                                                                                                                                                                             

             Product Description




             HAND BLOWN GLASS SERIES HAND BLOWN GLASS SERIES INDUSTRIAL LAMP SERIES Solid Wood Floor Lamp Solid Wood Floor Lamp
             Solid Wood Floor Lamp
             Buying Options
             Buying Options
             Buying Options
             Add to Cart
             Buying Options
             Add to Cart

             Customer Reviews 4.6 out of 5 stars
             206

             4.3 out of 5 stars
             80


             4.2 out of 5 stars
             8


             4.3 out of 5 stars
             80


             4.3 out of 5 stars
             560

             4.3 out of 5 stars
             38


             Price $39.99$39.99 — — $89.99$89.99 — $64.99$64.99
             Features Hand Blown Bubble Glass Hand Blown Bubble Glass Stepless Dimmable Dimmable & Color Temperature FSC Listed Solid
             Wood Board 3 Color Temperature
             Size 8 x 8 x Max 56 inches 9.5 x 18 x 58 inches 11 x 11 x 71 inches 9.8 x 9.8 x 57.4 inches 13 x 13 x 65 inches 20.3 x 20.3 x 61 inches
             Max. Power 1 x 40W 1 x 60W 1 x 60W Integrated LED 1 x 60W 1 x 60W


             HAND BLOWN GLASS SERIES HAND BLOWN GLASS SERIES 10" Pendant Light 11.8” Pendant Light 12” Pendant Light 12” Pendant Light
             Buying Options
             Buying Options
             Add to Cart
             Add to Cart
             Add to Cart
             Add to Cart


             Customer Reviews 4.2 out of 5 stars
             46

             4.2 out of 5 stars
             46


             4.7 out of 5 stars
             377


             4.5 out of 5 stars
             86

             4.8 out of 5 stars
             34



https://www.walmart.com/ip/2-Pack-Bubble-Glass-Pendant-Lights-8-Inch-Vintage-Hanging-Lamp-Seeded-Industrial-Light-Fixtures-Kitchen-Island-Farmhouse-Bar-Bathroom-Dining-Room-Oil/14786622461?classType=VARIANT&from=/search                                                                             2/4
1/22/25, 2:30 PM
                                        Case 2:25-cv-00472-CB                                                               Document 2-7                                     Filed 04/10/25                                Page 199 of 227
                                       2 Pack Bubble Glass Pendant Lights, 8 Inch Vintage Hanging Lamp Seeded Glass Industrial Pendant Light Fixtures for Kitchen Island, Farmhouse, Bar, Bathroom, Dining Room, Oil Rubbed Bronze - Walmart.com



             4.5 out of 5 stars
             86


             Price — — $64.99$64.99 $69.99$69.99 $49.99$49.99 $69.99$69.99
             Size 6 x 6 x 11 inches 6 x 6 x 11 inches 10.2 x 10.2 x Max 59.4 inches 11.8 x 11.8 x Max 57.5 inches 12 x 12 x Max 57.5 inches 11.8 x 11.8 x Max
             57.5 inches
             Features Hand Blown Bubble Glass Hand Blown Bubble Glass Handmade Hammered Metal & FSC Listed Rubber Wood Walnut Wood
             Grain Metal FSC Listed Solid Wood Handmade Hammered Metal & FSC Listed Rubber Wood



                       【 Hand Blown Bubble Glass Pendant Lighting】 The industrial pendant lights with Hand Blown Bubble Glass Shade, create a
                   relaxed atmosphere, produced by craftsman with experience for over 20 years in art glass.Gives you a timeless retro vintage touch
                   and a clean modern aesthetic, adds vibrant vibe to any room, especially kitchen island, dining room, breakfast bar. ❥(The
                   handcrafted nature of the glass shade will produce minor di erences in terms of bubble size. Each light is unique )
                       【The Top Craftsmanship Oil Rubbed Bronze Metal Base 】Rather than the spray painting process, ELYONA oil rubbed bronze
                   finished surface to provide vintage industrial feeling smooth which won‘t crack, more durable and stable. Simply rinse with water or
                   wipe with a damp cloth, then dry.② Made of natural iron ore from Highland Mountains, melted at an ultra-high temperature of
                   1538℃ to ensure no impurities.
                       【Dimmable & Bulb Requirements & One Year Warranty】① Cords are included for Height Adjustment. This hanging light fixture
                   can be installed at any height of the ceiling and bevel. Supports any LED/CFL/Edison or other less than 40W bulbs with E26 Base.
                   ❥When using dimmer and dimmable bulb can be dimmed (Bulbs NOT Included). ②We o er One Year Warranty to bring you a great
                   value shopping experience. If you have any questions, please CONTACT US via the Amazon message box.
                       【 Medium Dimension & Sturdy Package 】① Dimension & Adjustable Height: Max56'' H x 8'' W x 8'' D Ceiling Canopy: Dia. 4.3".
                   Cords are included for height adjustment. This island hanging light can be installed at any height of the ceiling and bevel. We filled
                   the entire shade with foam.This packaging method can protect the glass to the greatest extent and avoid damage.
                       【 Vintage & Industrial 】 ELYONA seeded pendant light uses handcraft bubble glass lampshade with oil rubbed bronze metal
                   base, creates the comfortable atmosphere for you when emitting the softer light. Perfect for kitchen islands, dining room, bedroom,
                   bars, restaurants, or any place where creative lights are needed. Add this vintage industrial looking to your home now!

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have
                   not verified it. See our disclaimer


            Specifications
                                                                                                                                                                                                                                                                                             
            Brand
            Unbranded



            Warranty
                                                                                                                                                                                                                                                                                             
            Warranty information
            Please be aware that the warranty terms on items o ered for sale by third party Marketplace sellers may di er from those displayed in
            this section (if any). To confirm warranty terms on an item o ered for sale by a third party Marketplace seller, please use the 'Contact
            seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




                                                                                                                                                                                                                                 




            Add                                                                                                 Add                                                                                     Add

           $199.00                                                                                              $87.99                                                                                   Now $35.99 $39.99
           Black Iron Canopy Industrial Modern Clear Glass Globe Pendant,Pendant Lights for Living              3-Pack 1-Light Kitchen Island Pendant Lighting Teardrop Clear Glass Pendant Light with   Modern Linear Pendant Light for Kitchen Island, LED Hanging Light Fixture with Bubble
           Room,Hanging Lights for Living Room,Island Kitchen Lights,Hanging Lights for Bedroom                 Brushed Nickle Finish for Dining Room, Bar                                               Acrylic, 3 Color 3000K/4500K/6500K, Mini Ceiling Chandelier Lighting for Dining Room,
                                                                                                                 1
                                                                                                                                                                                                         Bedroom, Hallway
           3+ day shipping
                                                                                                                3+ day shipping                                                                          3+ day shipping




          Customer ratings & reviews
                        0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                                           Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.        Learn more.




https://www.walmart.com/ip/2-Pack-Bubble-Glass-Pendant-Lights-8-Inch-Vintage-Hanging-Lamp-Seeded-Industrial-Light-Fixtures-Kitchen-Island-Farmhouse-Bar-Bathroom-Dining-Room-Oil/14786622461?classType=VARIANT&from=/search                                                                      3/4
1/22/25, 2:30 PM
                                          Case 2:25-cv-00472-CB                                                     Document 2-7                                     Filed 04/10/25                                     Page 200 of 227
                                          2 Pack Bubble Glass Pendant Lights, 8 Inch Vintage Hanging Lamp Seeded Glass Industrial Pendant Light Fixtures for Kitchen Island, Farmhouse, Bar, Bathroom, Dining Room, Oil Rubbed Bronze - Walmart.com




             Black-led. For all.




                                                                                                                                                                                                                                                                                    Sponsored 




                                                                                                                                                                                                                              




            Add                                                                                          Add                                                                                         Add

           $149.99                                                                                      Now $35.99 $39.99                                                                            $199.00
           ZHLWIN Gold Pendant Lighting Modern Pendant Light, Mini Crystal                              Modern Linear Pendant Light for Kitchen Island, LED Hanging Light Fixture with Bubble        Black Iron Canopy Industrial Modern Clear Glass Globe Pendant,Pendant Lights for Living
           Chandeliers,Adjustable Pendant Light Fixture for Kitchen Island Dinning Room Bedroom, 3      Acrylic, 3 Color 3000K/4500K/6500K, Mini Ceiling Chandelier Lighting for Dining Room,        Room,Hanging Lights for Living Room,Island Kitchen Lights,Hanging Lights for Bedroom
           Pack                                                                                         Bedroom, Hallway
                                                                                                                                                                                                      3+ day shipping
           2-day shipping                                                                                3+ day shipping




                                                                                                                                                                                                                                                                     




              1                                                                                                               Options                                                                                                     Add

           $116.98                                                                                                         $149.98                                                                                                      $8.41 +$4.97 shipping
                                                                                                                           More options from $82.48
           Solid Wood Tripod Floor Lamp, Tall Standing Light with Table, Mid Century Modern Corner Shelf Reading                                                                                                                        Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lam
           Floor Lamp with Drum Shade for Living Room, Bedroom, O ice, LED Bulb Included, Brown                            2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height,                 Pendant Light Fixtures for Kitchen Island, Dining Room, Bed
           Shipping, arrives in 3+ days                                                                                    Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,O ice           Shipping, arrives in 3+ days
                                                                                                                           Shipping, arrives in 3+ days




               Report:        Report seller        Report suspected stolen goods (to CA Attorney General)




             Glazed donut holes cereal




                                                                                                                                                                                                                                                                                    Sponsored 


          Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Industrial Pendant Lights




https://www.walmart.com/ip/2-Pack-Bubble-Glass-Pendant-Lights-8-Inch-Vintage-Hanging-Lamp-Seeded-Industrial-Light-Fixtures-Kitchen-Island-Farmhouse-Bar-Bathroom-Dining-Room-Oil/14786622461?classType=VARIANT&from=/search                                                                           4/4
1/22/25, 2:29 PM
                               Case 2:25-cv-00472-CB                                       DocumentReview
                                                                                                    2-7your orderFiled      04/10/25
                                                                                                                  - Walmart.com
                                                                                                                                                         Page 201 of 227



                         Free shipping, arrives by Fri, Jan 31
                                                                                                                                                            Place order for $128.97
                                                                                                                                              By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                              Edit
          223 4th Ave, 4th Floor, Pittsburgh, PA 15222
                                                                                                                                         Subtotal (1 item)                                                          $116.98
                                                                                                                                         Shipping                                                                        Free
          Delivery instructions (optional)                                                                                        Add
                                                                                                                                         Estimated taxes                                                                $11.99

          Add access codes, adjust your map location and more

                                                                                                                                         Estimated total                                                     $128.97
          Items details                                                                                                   Hide details


          Arrives by Fri, Jan 31                                                                                                1 item
                                                                                                                                         Have a promo code?                                                              
          Sold and shipped by gxuandian
          Free shipping

                            Solid Wood Tripod Floor Lamp, Tall Standing Light
                            with Table, Mid Century Modern Corner Shelf Readin…
                            Actual Color: Gray

                                                               $116.98

                                                                                                      Remove             1      




              Payment method

                           Ending in 1950                                                                                  $128.97

                         Please enter the CVV for the card

                         * Required field

                                               CVV *


                                                  •••


             + Add new payment                                                                                 Change payment




                               $15 cash back when you spend $15+                                                      Sign up


                         Add any credit or debit card, and claim cash back with a One Cash account.




             as low as $11/mo with                                                                                      Apply now




                       Free 30-day trial




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                                        1/2
1/22/25, 2:29 PM
                               Case 2:25-cv-00472-CB                                          DocumentReview
                                                                                                       2-7your orderFiled      04/10/25
                                                                                                                     - Walmart.com
                                                                                                                                                      Page 202 of 227


          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a di erent phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data rates
          may apply. By continuing, you agree to our Mobile Alert Terms.
          ;




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                               2/2
1/23/25, 2:25 PM
                                        Case 2:25-cv-00472-CB                                                    Document 2-7                                     Filed 04/10/25                                    Page 203 of 227
                                     Industrial Table Floor Lamp, Solid Wood End Table lamp with USB Type-C Charging Port & Power Outlet, Side Table Shelf Tall Pole Standing Light for Living Room,Bedroom,LED Bulb Included, Brown - Walmart.com



                                     New year. Better water.*


            Sponsored 

                                                                                                             
                                                                                                             
                                                                                                             




                                                                                                             



                +   14
                View all




          Unbranded
          Industrial Table Floor Lamp, Solid Wood End Table lamp with USB Type-C Charging Port & Power Outlet, Side Table Shelf Tall Pole Standing Light for Living Room,Bedroom,LED Bulb Included, Brown
           (No ratings yet)


          Count: Modern

                                             Modern                                                          Vintage
                                             $162.48                                                         $84.48



          About this item

                【Why can you trust ELYONA's Solid Wood?】①Unlike fiberboard’s wood grain paper surface and is glued with unknown woodchips inside. ELYONA solid wood board is real wood, free of glue, formaldehyde. More durable, healthier for your family and pets. And has waterproof
             coating easy to clean. ②Using smooth texture FSC Certification Solid Wood represents that the timber used is following the strict environmental standards of FSC. ELYONA ensures every product will make with the best quality timber.
                【 Upgraded USB C& 5V/2A USB Charging Port 】Why you choose USB C charging? The reason is that it can provide up to 10W of power output, more faster than normal usb charging, and it can not only charge the device itself, but also supply power to external devices. We
             provide dual charging ports. You can charge your mobile phones, iPad, laptops at the same time and saving you from wall plug cord messes, which largely saves your time and energy.
                【ETL Listed & Long Lifespan 30, 000 Hours LED Bulb Included & 12 Months Quality Service】Compatible with 3-color temperatures bulbs. You can purchase them separately if needed. This product Includes a 30,000 hours lifetime Single-color LED Bulb (3000k / 9w). We o er
             One Year Warranty to bring you a great value shopping experience. If you have any questions, please CONTACT US via the Amazon message box. ❥( pls assure the replace bulb is less than 60 Watts）
                【Wood Maintenance & High Density Adjustable Nature Linen Shade】①Simply wipe with a damp cloth, then dry. We have been coated with mineral oil before packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more
             textured. ②We use high-quality primary color linen with tight texture, Water&oil-resistant nature linen shade, making the light more comfortable. It can be focused on any area you want to read, study, and work.…

          View more



          At a glance


                                                           Brand
                                                         Unbranded


          View all specifications




             $162.48
                Price when purchased online 

              Free shipping          Free 30-day returns


                                                                                                                                              Buy now


                                                                                                                                             Add to cart


                           Add a protection plan What's covered
                           (Only one option can be selected at a time)

                                 3-Year plan - $24.00

                                 4-Year plan - $29.00



                           Get expert help What's covered
                                 Night Stand Assembly - $59.00



             How do you want your item?



                                                                Shipping                                                                        Pickup                                                                                   Delivery
                                                             Arrives Feb 3                                                                    Not available                                                                             Not available
                                                                  Free


             Delivery to 1 N La Salle St


                    Sold and shipped by gxuandian

                     1 seller review

                    Free 30-day returns Details



https://www.walmart.com/ip/Industrial-Table-Floor-Lamp-Solid-Wood-End-lamp-USB-Type-C-Charging-Port-Power-Outlet-Side-Shelf-Tall-Pole-Standing-Light-Living-Room-Bedroom-LED-Bul/14852610755?classType=VARIANT&from=/search                                                                 1/5
1/23/25, 2:25 PM
                                          Case 2:25-cv-00472-CB                                                       Document 2-7                                     Filed 04/10/25                                       Page 204 of 227
                                         Industrial Table Floor Lamp, Solid Wood End Table lamp with USB Type-C Charging Port & Power Outlet, Side Table Shelf Tall Pole Standing Light for Living Room,Bedroom,LED Bulb Included, Brown - Walmart.com



                                                                              Add to list                                                                                                                               Add to registry



                                                Sponsored

                                                Now $209.99 $239.99
                                                Round Solid Wood End Table Brown Pedestal Side Table Living Room Furniture Accent End Table with Solid Wood Base

                                                 2-day shipping



                                                                                                  Add


            Best seller                                                                                                       Best seller



                                                                                                                                                                                                                                                                        




              Options                                                                                                           Options                                                                                                      Add
           Sponsored                                                                                                         Sponsored

           Now $35.99 $69.99                                                                                                 Now $17.99 $45.99                                                                                              $15.99
           Options from $35.99 – $37.99                                                                                      Options from $17.99 – $27.99
                                                                                                                                                                                                                                            Bedside Table Lamp Pull Chain Table Lamp With USB C&A F
           Table Lamps Set of 2, Fully Dimmable Nightstand Lamps with USB C&A Charging Port and Outlets, Lamps               Table Lamp, 3 Way Dimmable Light Touch Lamp, USB C&A Fast Charging Ports, Fabric Shade Silver Base, for        Lamps with Fabric Shade Nightstand Light for Living Room
           for Bedroom Living Room O ice                                                                                     Bedroom, Living Room, O ice                                                                                     12
            301                                                                                                          650                                                                                                      Save with
           Save with                                                                                                         Save with
                                                                                                                                                                                                                                            Shipping, arrives in 2 days
           Shipping, arrives in 2 days                                                                                       Shipping, arrives in 2 days




            Best seller



                                                                                                                                                                                                                                   




            Add                                                                                           Add                                                                                         Add

           Now $44.99 $64.99                                                                              $109.99                                                                                      $109.99
           Yoobure LED Night Stand with Charging Station, End Tables Living Room Nightstand for           ATAMIN Ava - 59” End Table with Charging Station, Floor Lamp with Table, Bedside             59" Bedside End Table with Lamp Attached, Floor Lamp With USB Ports, Premium
           Bedroom with Adjustable Fabric Drawer, 3-Tier Wood Bed side Table，Black                        Nightstand with USB, USB-C, Power Outlet, Black                                              Nightstand
            73                                                                                        593                                                                                     593

           2-day shipping                                                                                  3+ day shipping                                                                              3+ day shipping




          About this item


             Product details
                                                                                                                                                                                                                                                                                            

             Product Description



             WHY CHOOSE ?


                1.
                     The video showcases the product in use. The video guides you through product setup. The video compares multiple products.
                     The video shows the product being unpacked.




             USB & Type-C Charging Rubber Wood Floor Lamp


             Why can you trust ELYONA's Solid Wood?



                     Unlike fiberboard’s wood grain paper surface and is glued with unknown woodchips inside. solid wood board is real wood and
                     has a waterproof coating that won't cause edge warping when meeting water and is glue-free, formaldehyde-free.


                     Using smooth texture FSC Certification Rubber Wood represents that the timber used is following the strict environmental
                     standards of FSC. ensures every product will make with the best quality timber.




                     The video showcases the product in use. The video guides you through product setup. The video compares multiple products.
                     The video shows the product being unpacked.




https://www.walmart.com/ip/Industrial-Table-Floor-Lamp-Solid-Wood-End-lamp-USB-Type-C-Charging-Port-Power-Outlet-Side-Shelf-Tall-Pole-Standing-Light-Living-Room-Bedroom-LED-Bul/14852610755?classType=VARIANT&from=/search                                                                            2/5
1/23/25, 2:25 PM
                                     Case 2:25-cv-00472-CB                                                            Document 2-7                    Filed 04/10/25            Page 205 of 227
                                   Industrial Table Floor Lamp, Solid Wood End Table lamp with USB Type-C Charging Port & Power Outlet, Side Table Shelf Tall Pole Standing Light for Living Room,Bedroom,LED Bulb Included, Brown - Walmart.com



                   Solid Wood From



                       Global procurement of top timber production areas


                       FSC Certified Solid Wood



                   This certification represents that the timber used is managed according to the strict social and environmental standards of FSC.



                       All of timbers use FSC certified wood of the best quality.Unlike fiberboard, solid wood texture is natural, glue-free,
                       formaldehyde-free and healthier




            Previous page




            Next page

            1 Bedroom 2 Living Room




                   Cleaning & Maintenance: Simply rinse with water or wipe with a damp cloth, then dry. We have been coated with mineral oil
                   before packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more textured.




            SOLID WOOD SERIES


            Classic Scandinavian style. Classic Solid wood with black metal shade, provide a modern and industrial feeling. Ideal for kitchen,
            dining room, living room, o ice, co ee bar, bedroom, beside nightstand. Add this industrial looking to your home now!




            1
            2




            Dimmable Floor Lamp


            SOLID WOOD SERIES


            Add to Cart

            SOLID WOOD SERIES


            Add to Cart

            SOLID WOOD SERIES


            Add to Cart

            BOHO LIGHT SERIES


            Add to Cart

            INDUSTRIAL SERIES


            Add to Cart

            BOHO LIGHT SERIES



            Add to Cart

            INDUSTRIAL SERIES



            Add to Cart


            Customer Reviews
            4.2 out of 5 stars
            157


            4.2 out of 5 stars
            157


            4.3 out of 5 stars
            38


https://www.walmart.com/ip/Industrial-Table-Floor-Lamp-Solid-Wood-End-lamp-USB-Type-C-Charging-Port-Power-Outlet-Side-Shelf-Tall-Pole-Standing-Light-Living-Room-Bedroom-LED-Bul/14852610755?classType=VARIANT&from=/search                        3/5
1/23/25, 2:25 PM
                                        Case 2:25-cv-00472-CB                                                          Document 2-7                                Filed 04/10/25                                 Page 206 of 227
                                     Industrial Table Floor Lamp, Solid Wood End Table lamp with USB Type-C Charging Port & Power Outlet, Side Table Shelf Tall Pole Standing Light for Living Room,Bedroom,LED Bulb Included, Brown - Walmart.com



            4.2 out of 5 stars
            185


            4.2 out of 5 stars
            254


            4.3 out of 5 stars
            80


            4.3 out of 5 stars
            274



                       【Why can you trust ELYONA's Solid Wood?】①Unlike fiberboard’s wood grain paper surface and is glued with unknown
                   woodchips inside. ELYONA solid wood board is real wood, free of glue, formaldehyde. More durable, healthier for your family and
                   pets. And has waterproof coating easy to clean. ②Using smooth texture FSC Certification Solid Wood represents that the timber
                   used is following the strict environmental standards of FSC. ELYONA ensures every product will make with the best quality timber.
                       【 Upgraded USB C& 5V/2A USB Charging Port 】Why you choose USB C charging? The reason is that it can provide up to 10W of
                   power output, more faster than normal usb charging, and it can not only charge the device itself, but also supply power to external
                   devices. We provide dual charging ports. You can charge your mobile phones, iPad, laptops at the same time and saving you from
                   wall plug cord messes, which largely saves your time and energy.
                       【ETL Listed & Long Lifespan 30, 000 Hours LED Bulb Included & 12 Months Quality Service】Compatible with 3-color
                   temperatures bulbs. You can purchase them separately if needed. This product Includes a 30,000 hours lifetime Single-color LED
                   Bulb (3000k / 9w). We o er One Year Warranty to bring you a great value shopping experience. If you have any questions, please
                   CONTACT US via the Amazon message box. ❥( pls assure the replace bulb is less than 60 Watts）
                       【Wood Maintenance & High Density Adjustable Nature Linen Shade】①Simply wipe with a damp cloth, then dry. We have been
                   coated with mineral oil before packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood
                   grain more textured. ②We use high-quality primary color linen with tight texture, Water&oil-resistant nature linen shade, making the
                   light more comfortable. It can be focused on any area you want to read, study, and work.
                       【Modern Nightstand Floor Lamp】Dimension: 65 in. H overall, end table is 21.6in. H from floor and 12*13.5in.W. ELYONA standing
                   lamp is combined with 3 Tier shelves to put your phone, cup, ornaments, magazine, etc. It easy to match with a range of decor styles
                   including rustic, industrial, farmhouse, apartment or loft etc. Add a touch of modern natural feeling to your bedrooms, living room,
                   and o ice.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have
                   not verified it. See our disclaimer


            Specifications
                                                                                                                                                                                                                                      
            Brand
            Unbranded



            Warranty
                                                                                                                                                                                                                                      
            Warranty information
            Please be aware that the warranty terms on items o ered for sale by third party Marketplace sellers may di er from those displayed in
            this section (if any). To confirm warranty terms on an item o ered for sale by a third party Marketplace seller, please use the 'Contact
            seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




              Report incorrect product information




          Customer ratings & reviews
                        0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                                        Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.   Learn more.




https://www.walmart.com/ip/Industrial-Table-Floor-Lamp-Solid-Wood-End-lamp-USB-Type-C-Charging-Port-Power-Outlet-Side-Shelf-Tall-Pole-Standing-Light-Living-Room-Bedroom-LED-Bul/14852610755?classType=VARIANT&from=/search                          4/5
1/23/25, 2:25 PM
                                          Case 2:25-cv-00472-CB                                                   Document 2-7                             Filed 04/10/25                                  Page 207 of 227
                                      Industrial Table Floor Lamp, Solid Wood End Table lamp with USB Type-C Charging Port & Power Outlet, Side Table Shelf Tall Pole Standing Light for Living Room,Bedroom,LED Bulb Included, Brown - Walmart.com




             Quartz electric heater




                                                                                                                                                                                                                                                                 Sponsored 




                                                                                                                                                                                                                                                   




              Options                                                                                                 1                                                                                                Add

           $89.98                                                                                                  $8.41 +$4.97 shipping                                                                              $128.55
           More options from $80.98
                                                                                                                   Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho   35.5" Wood Linear Pendant Light 20W LED Stepless Dimma
           Modern Pendant Light Kitchen Island, 10" Solid Wood Hanging Lamp with Matte Black Metal Shade & Gold    Pendant Light Fixtures for Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway      Touch Control Brass Metal Adjustable Color Temperature fo
           Inner Finish, Farmhouse Pendant Light Fixtures for Dining Room Bedroom Living Room Hallway              Shipping, arrives in 3+ days                                                                       Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days




               Report:        Report seller     Report suspected stolen goods (to CA Attorney General)


          Home / Furniture / Living Room Furniture / End Tables / All End Tables




https://www.walmart.com/ip/Industrial-Table-Floor-Lamp-Solid-Wood-End-lamp-USB-Type-C-Charging-Port-Power-Outlet-Side-Shelf-Tall-Pole-Standing-Light-Living-Room-Bedroom-LED-Bul/14852610755?classType=VARIANT&from=/search                                                       5/5
1/23/25, 2:26 PM
                               Case 2:25-cv-00472-CB                                       DocumentReview
                                                                                                    2-7your orderFiled      04/10/25
                                                                                                                  - Walmart.com
                                                                                                                                                           Page 208 of 227



                         Free shipping, arrives by Mon, Feb 3
                                                                                                                                                               Place order for $179.13
                                                                                                                                                By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                                Edit
          223 4th Ave, 4th Floor, Pittsburgh, PA 15222
                                                                                                                                           Subtotal (1 item)                                                         $162.48
                                                                                                                                           Shipping                                                                        Free
          Delivery instructions (optional)                                                                                         Add
                                                                                                                                           Estimated taxes                                                                $16.65

          Add access codes, adjust your map location and more

                                                                                                                                           Estimated total                                                      $179.13
          Items details                                                                                                   Hide details


          Arrives by Mon, Feb 3                                                                                                  1 item
                                                                                                                                           Have a promo code?                                                              
          Sold and shipped by gxuandian
          Free shipping

                            Industrial Table Floor Lamp, Solid Wood End Table
                            lamp with USB Type-C Charging Port & Power Outlet,…
                            Count: Modern

                                                              $162.48

                                                                                                      Remove             1        




              Payment method

                           Ending in 1950                                                                                     $179.13

                         Please enter the CVV for the card

                         * Required field

                                               CVV *


                                                  •••


             + Add new payment                                                                                 Change payment




                               $15 cash back when you spend $15+                                                      Sign up


                         Add any credit or debit card, and claim cash back with a One Cash account.




             as low as $16/mo with                                                                                      Apply now




                       Free 30-day trial




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                                          1/2
1/23/25, 2:26 PM
                               Case 2:25-cv-00472-CB                                          DocumentReview
                                                                                                       2-7your orderFiled      04/10/25
                                                                                                                     - Walmart.com
                                                                                                                                                      Page 209 of 227


          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a di erent phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data rates
          may apply. By continuing, you agree to our Mobile Alert Terms.
          ;




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                               2/2
1/22/25, 2:16 PM
                                        Case 2:25-cv-00472-CB                                                     Document 2-7                                      Filed 04/10/25                                    Page 210 of 227
                                   2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,Office - Walmart.com



                                     New year. Better water.*


            Sponsored 

                                                                                                              
                                                                                                              
                                                                                                              




                                                                                                              



                +   12
                View all




          Unbranded
          2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,O ice
           (No ratings yet)


          Size: M

                                                M
                                             $149.98

          Actual Color: Blue - 2 Pack




          About this item

                 【Why can you trust ELYONA's Solid Wood?】① Unlike fiberboard’s wood grain paper surface and glued with unknown woodchips inside, ELYONA solid wood has a waterproof coating that won't cause edge warping when meeting water and is glue-free, formaldehyde-free.
             ②Made of FSC Certification Smooth Solid Wood which has represents that the timber used is following the strict environmental standards of FSC. ③The pendant lamp has a certain weight to ensure that the wire will not bend when hanging.
                 【Top Craftsmanship Hammered Metal Shade】①Rather than the spray painting process, ELYONA dust-free constant temperature process is used for surface baking paint to ensure the color is free of impurities and smooth which won’t crack, more durable and stable.②Made
             of natural iron ore from Highland Mountains,melted at an ultra-high temperature of 1538℃ to ensure no impurities.③The use of top japanese hammered craftsmanship ensures that each hammered pattern is full and round with the proper depth.
                 【ELYONA Unique Blue 2 Pack Modern Pendant Lights】① ELYONA “Modern Blue”, According to home color trend, blue has returned to the public eye as "New Black", ELYONA blue with 36.5% gray tone.The low saturation tone brings soft elegant feeling, creating more “New
             Possibilities” about HOME. ② With over 20 years of illumination production experience and a professional design team. Ideal for kitchen island, dining living room, o ice, bedroom. Add this modern industrial looking to your home now!
                 【 Medium Dimension & Wood Maintenance 】① Dimension & Adjustable Height：Max 54.5'' H x 10'' W x 10'' D, Ceiling Canopy: Dia. 4.3". ❥(We have 10 "and 6.8" sizes for di erent choices) ② Simply wipe with a damp cloth, then dry. We have been coated with mineral oil before
             packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more textured.…

          View more



          At a glance


                                                           Brand
                                                         Unbranded




             $149.98
                Price when purchased online 

                As low as $15/mo with               Learn how

              Free shipping          Free 30-day returns


                                                                                                                                                Buy now


                                                                                                                                              Add to cart


                           Add a protection plan What's covered
                           (Only one option can be selected at a time)

                                 3-Year plan - $22.00

                                 2-Year plan - $16.00


                           Get expert help What's covered
                                 Indoor Light Fixture Installation - $147.00



             How do you want your item?




https://www.walmart.com/ip/2-Pack-Modern-Pendant-Lights-10-2-Hammered-Blue-Solid-Wood-Hanging-Lamp-Adjustable-Height-Industrial-Metal-Lighting-Farmhouse-Kitchen-Island-Dining-R/14819824606?athcpid=14819824606&athpgid=Ath…                                                                  1/4
1/22/25, 2:16 PM
                                         Case 2:25-cv-00472-CB                                                      Document 2-7                                        Filed 04/10/25                                  Page 211 of 227
                                    2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,Office - Walmart.com




                                                          Shipping                                                                                        Pickup                                                                             Delivery
                                                         Arrives Feb 5                                                                                  Not available                                                                      Not available
                                                              Free


             Delivery to 1 N La Salle St


                    Sold and shipped by houhaojiasha

                    2 seller reviews

                    Free 30-day returns Details

               Best seller                   Sponsored
                                                                              Add to list                                                                                                                           Add to registry
                                             Now $77.99 $95.19
                                             DEWENWILS 2 Pack Farmhouse Pendant Lighting for Kitchen Island, Wood and Metal Hanging Light Fixture for Dining Room, Adjustable Height
                                              14

                                              3+ day shipping




                                                                                                            Add




                                                                                                                                                                                                                                                                      




            Add                                                                                                           Add                                                                                                            Options

           Sponsored                                                                                                      Sponsored

           $62.99                                                                                                         $69.99                                                                                                        $76.99
                                                                                                                                                                                                                                        Options from $76.99 – $112.99
           2 Packs Depuley Industrial Pendant Light Farmhouse Plug in Ceiling Light Black Vintage Metal Hanging           Depuley 3 Light Glass Pendant Light Industrial Kitchen Island Light Dimmable LED Matte Black Farmhouse
           Lamp Lighting Fixture Adjustable for Living Room Kitchen Island Dining, E26 Base                               Semi Flush Mount Ceilinglight for Living Room Dining Patio, E26 Socket                                        Black Hollow-out Metal Pendant Lighting, Retro Industrial P
                                                                                                                                                                                                                                        Farmhouse Pendant Light Fixture for Kitchen Island Dining
           Save with                                                                                                       8
                                                                                                                                                                                                                                        Shipping, arrives in 3+ days
                                                                                                                          Save with
           Shipping, arrives in 2 days
                                                                                                                          Shipping, arrives in 2 days




                                                                                                                                                                                                     Best seller



                                                                                                                                                                                                                               




            Add                                                                                         Add                                                                                        Add

           $56.99                                                                                       $78.98                                                                                      $30.99
           Industrial Sputnik Chandeliers, 8 Lights Pendant Lighting Fixture, Black, Vintage Ceiling    6-Light Farmhouse Chandelier, Industrial Iron Chandelier Lighting, Classic Candle Ceiling   DEWENWILS 2-Pack Plug in Metal Industrial Pendant Light,Hanging Light with 15FT Cord,
           Light for Kitchen Dining Living Room Bedroom Lighting                                        Pendant Light Fixture for Foyer, Living Room, Kitchen Island, Dining Room, Bedroom,Black    E26 Light Socket, Farmhouse Pendant Lighting for Bedroom Kitchen Island Dining Room
            100                                                                                     24                                                                                     27

           2-day shipping                                                                                2-day shipping                                                                              2-day shipping




          About this item


             Product details
                                                                                                                                                                                                                                                                                           

             Product Description


             WHY CHOOSE ?


             FSC Certification Rubber Wood



                   All wood used in products has FSC Certification.


                   We carefully screen the wood, Handcrafted with care using the Finest Quality Rubber Hardwood.


                   Unlike fiberboard’s wood grain paper surface and glued with unknown woodchips inside, solid wood has a waterproof coating
                   that won't cause edge warping when meeting water and is glue-free, formaldehyde-free. Easy to clean. Simply rinse with water
                   or wipe with a damp cloth, then dry.




             Wood Maintenance & Dimension


                   Wood Maintenance




https://www.walmart.com/ip/2-Pack-Modern-Pendant-Lights-10-2-Hammered-Blue-Solid-Wood-Hanging-Lamp-Adjustable-Height-Industrial-Metal-Lighting-Farmhouse-Kitchen-Island-Dining-R/14819824606?athcpid=14819824606&athpgid=Ath…                                                                         2/4
1/22/25, 2:16 PM
                                     Case 2:25-cv-00472-CB                                                                Document 2-7                         Filed 04/10/25   Page 212 of 227
                                 2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,Office - Walmart.com


            Simply rinse with water or wipe with a damp cloth, then dry. We have been coated with mineral oil before packaging, and we still
            recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more textured.



                   Dimension & Adjustable Height



            Max59.4'' H x 10.2'' W x 10.2'' D Ceiling Canopy: Dia. 4.72". Cords are included for height adjustment. This hanging light fixture can be
            installed at any height of the ceiling and bevel.




            NORDIC STYLE SERIES


                   Dimmable Floor Lamp



            Modern Dimmable Floor Lamp is combined with solid wood side table to put your phone, co ee cup, ornaments, magazine, etc.
            Space saving design dimension：64 in. H overall, end table is 21.6 in. H from floor and 13 in.W. It easy to match with a range of decor
            styles including rustic, industrial space, farmhouse, etc.



                   Modern Pendant Light



            Classic Scandinavian style. Classic Solid wood with white metal shade, provide a nature feeling. Ideal for kitchen, dining room,
            living room, o ice, co ee bar, bedroom, beside nightstand. Add this nordic looking to your home now!




            Modern Pendant Light Fixtures, 10.2” Hammered Metal & Rubber Wood Isla... Modern Pendant Light, 12" Hammered Metal Dome
            Hanging Lamp Solid Wood ... Modern Ash Wood Pendant Light Fixtures 12" Hanging Lamp Nordic White M... White Desk Lamp with
            Wireless Charger, Solid Wood Table Lamp with USB ... Nordic Wood Tripod Floor Lamp, Modern Reading Standing Lamp for Living...
            16.5” Large Woven Pendant Light, Modern Boho Chandelier Handwoven Ratt...
            Add to Cart
            Add to Cart
            Add to Cart
            Add to Cart
            Add to Cart
            Add to Cart


            Customer Reviews 4.7 out of 5 stars
            377

            4.5 out of 5 stars
            86


            4.1 out of 5 stars
            16


            4.5 out of 5 stars
            341

            4.3 out of 5 stars
            38


            4.6 out of 5 stars
            121


            Price $58.99$58.99 $59.99$59.99 $54.99$54.99 $39.99$39.99 $74.99$74.99 $144.99$144.99
            Size 10.2 x 10.2 x Max 54.5 inches 12 x 12 x Max 57 inches 12 x 12 x Max 80.7 inches 6.1 x 6.1 x 19 inches 20.3 x 20.3 x 61 inches 16.5 x 16.5 x
            61 inches
            Features Rubber Wood & Hammered Metal Rubber Wood & Hammered Metal FSC Listed Solid Wood TYPE-C Charging Ports &
            Wireless Charging Station FSC Listed Birch Wood Beads Handwoven Natural Twine
            Max. Power 1 x 40W 1 x 40W 1 x 40W 1 x 40W 1 x 40W 1 x 40W



            Bohemia Birch Wood Beaded Lamp Series


            Decorated classic bohemia style elements made up of solid wood bead and hand rope knot, creating an eye-catching look that
            lends bohemian flair to any area.We designed table lamps, chandeliers, floor lamp，ceiling light to meet your di erent needs.




                       【Why can you trust ELYONA's Solid Wood?】① Unlike fiberboard’s wood grain paper surface and glued with unknown
                   woodchips inside, ELYONA solid wood has a waterproof coating that won't cause edge warping when meeting water and is glue-
                   free, formaldehyde-free. ②Made of FSC Certification Smooth Solid Wood which has represents that the timber used is following the
                   strict environmental standards of FSC. ③The pendant lamp has a certain weight to ensure that the wire will not bend when hanging.
                       【Top Craftsmanship Hammered Metal Shade】①Rather than the spray painting process, ELYONA dust-free constant
                   temperature process is used for surface baking paint to ensure the color is free of impurities and smooth which won’t crack, more
                   durable and stable.②Made of natural iron ore from Highland Mountains,melted at an ultra-high temperature of 1538℃ to ensure no
                   impurities.③The use of top japanese hammered craftsmanship ensures that each hammered pattern is full and round with the
                   proper depth.
                       【ELYONA Unique Blue 2 Pack Modern Pendant Lights】① ELYONA “Modern Blue”, According to home color trend, blue has
                   returned to the public eye as "New Black", ELYONA blue with 36.5% gray tone.The low saturation tone brings soft elegant feeling,
                   creating more “New Possibilities” about HOME. ② With over 20 years of illumination production experience and a professional
                   design team. Ideal for kitchen island, dining living room, o ice, bedroom. Add this modern industrial looking to your home now!
                       【 Medium Dimension & Wood Maintenance 】① Dimension & Adjustable Height：Max 54.5'' H x 10'' W x 10'' D, Ceiling Canopy:
                   Dia. 4.3". ❥(We have 10 "and 6.8" sizes for di erent choices) ② Simply wipe with a damp cloth, then dry. We have been coated with
                   mineral oil before packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more
                   textured.
                       【Bulb Requirements & Dimmable & One Year Warranty】① ETL Listed, and cords are included for Height Adjustment. This
                   hanging light fixture can be installed at any height of the ceiling and bevel. Supports any LED/CFL/Edison or other less than 40W
                   bulbs with E26 Base. ❥When using dimmer and dimmable bulb can be dimmed (Bulbs NOT Included). ② We o er One Year Warranty
                   to bring you a great value shopping experience. If you have any questions, please CONTACT US via the Amazon message box.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have
                   not verified it. See our disclaimer


            Specifications
                                                                                                                                                                                                                                  
            Brand
            Unbranded




https://www.walmart.com/ip/2-Pack-Modern-Pendant-Lights-10-2-Hammered-Blue-Solid-Wood-Hanging-Lamp-Adjustable-Height-Industrial-Metal-Lighting-Farmhouse-Kitchen-Island-Dining-R/14819824606?athcpid=14819824606&athpgid=Ath…                     3/4
1/22/25, 2:16 PM
                                          Case 2:25-cv-00472-CB                                                        Document 2-7                                      Filed 04/10/25                                    Page 213 of 227
                                    2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,Office - Walmart.com



             Warranty
                                                                                                                                                                                                                                                                                       
             Warranty information
             Please be aware that the warranty terms on items o ered for sale by third party Marketplace sellers may di er from those displayed in
             this section (if any). To confirm warranty terms on an item o ered for sale by a third party Marketplace seller, please use the 'Contact
             seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




               Report incorrect product information




          Customer ratings & reviews
                         0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                                        Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.           Learn more.




              Kickstart your year




                                                                                                                                                                                                                                                                                 Sponsored 




                                                                                                                                                                                                                                                                  




            Add                                                                                                                  Options                                                                                               Options



           $8.41 +$4.97 shipping                                                                                               $100.48                                                                                               $116.98
                                                                                                                               More options from $73.48
           Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lamp Adjustable Handwoven Basket Shade, Boho                                                                                                                          Solid Wood Tripod Floor Lamp, Tall Standing Light with Tab
           Pendant Light Fixtures for Kitchen Island, Dining Room, Bedroom, Farmhouse Bar, Foyer Hallway                       2 Pack Hammered Semi Flush Mount Light Fixture, 12 inch Farmhouse Ceiling Light Fixture with Modern   Floor Lamp with Drum Shade for Living Room, Bedroom, O
           Shipping, arrives in 3+ days                                                                                        Black and Gold Finish for Bedroom, Bathrooms, Hallway, Kitchen, Porch, Laundry, Foyer                 Shipping, arrives in 3+ days
                                                                                                                               Shipping, arrives in 3+ days




               Report:        Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Industrial Pendant Lights




https://www.walmart.com/ip/2-Pack-Modern-Pendant-Lights-10-2-Hammered-Blue-Solid-Wood-Hanging-Lamp-Adjustable-Height-Industrial-Metal-Lighting-Farmhouse-Kitchen-Island-Dining-R/14819824606?athcpid=14819824606&athpgid=Ath…                                                                     4/4
1/22/25, 2:19 PM
                               Case 2:25-cv-00472-CB                                       DocumentReview
                                                                                                    2-7your orderFiled      04/10/25
                                                                                                                  - Walmart.com
                                                                                                                                                         Page 214 of 227



                         Free shipping, arrives by Wed, Feb 5
                                                                                                                                                            Place order for $160.48
                                                                                                                                              By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                              Edit
          223 4TH AVE, Pittsburgh, PA 15222
                                                                                                                                         Subtotal (1 item)                                                         $149.98
                                                                                                                                         Shipping                                                                        Free
          Delivery instructions (optional)                                                                                        Edit
                                                                                                                                         Estimated taxes                                                                $10.50

          Apartment

                                                                                                                                         Estimated total                                                    $160.48
          Items details                                                                                                   Hide details


          Arrives by Wed, Feb 5                                                                                                 1 item
                                                                                                                                         Have a promo code?                                                               
          Sold and shipped by houhaojiasha
          Free shipping

                            2 Pack Modern Pendant Lights 10.2” Hammered Blue
                            Solid Wood Hanging Lamp, Adjustable Height,…
                            Size: Medium, Actual Color: Blue - 2 Pack

                                                              $149.98

                                                                                                      Remove             1      




              Payment method

                           Ending in 1950                                                                                 $160.48

                         Please enter the CVV for the card

                         * Required field

                                               CVV *


                                                  •••


             + Add new payment                                                                                 Change payment




                               $15 cash back when you spend $15+                                                      Sign up


                         Add any credit or debit card, and claim cash back with a One Cash account.




             as low as $15/mo with                                                                                      Apply now




                       Free 30-day trial




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                                        1/2
1/22/25, 2:19 PM
                               Case 2:25-cv-00472-CB                                          DocumentReview
                                                                                                       2-7your orderFiled      04/10/25
                                                                                                                     - Walmart.com
                                                                                                                                                      Page 215 of 227


          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a di erent phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data rates
          may apply. By continuing, you agree to our Mobile Alert Terms.
          ;




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                               2/2
1/22/25, 2:33 PM
                                        Case    2:25-cv-00472-CB Document 2-7 Filed 04/10/25 Page 216 of 227
                                          Modern Pendant Light, Wood Pattern Dome Lantern, 11.8" Industrial Metal Hanging Lamp, Pendant Light Fixtures for Kitchen Island, Bar, Dining Room, Living Room, Bedroom - Black - Walmart.com



                                     Together we holiday


            Sponsored 

                                                                                                                 
                                                                                                                 
                                                                                                                 




                                                                                                                 



                 +   5
                View all




          Unbranded
          Modern Pendant Light, Wood Pattern Dome Lantern, 11.8" Industrial Metal Hanging Lamp, Pendant Light Fixtures for Kitchen Island, Bar, Dining Room, Living Room, Bedroom - Black
           (No ratings yet)



          About this item

                【 Modern & Industrial 】 ELYONA pendant light fixture a classic Scandinavian style. Classic wood pattern with black metal shade, provide a modern and industrial feeling. Ideal for kitchen island, dining room, living room, o ice, co ee bar, bedroom, beside nightstand. Add this
             industrial looking to your home now!
                【 Medium Dimension & Adjustable Height 】Dimension: Max 55'' H x 11.8'' W x 11.8'' D Ceiling Canopy: Dia. 4.3". Cords are included for height adjustment. This pendant light fixture can be installed at any height of the ceiling and bevel.
                【Bulb Requirements & Dimmable 】ETL Listed, Supports any LED/CFL/Edison or other less than 40W bulbs with E26 Base. ❥When using dimmer and dimmable bulb can be dimmed (Bulbs NOT Included).
                【ELYONA
                  ELYONA Product Quality Service】We value materials and share designs that are attuned with the laws of nature. We proudly stand behind all of our products 100%, we o er a full 1-year warranty to bring you a great value shopping experience. If you have any queries, please
             CONTACT US via Amazon message box.
                【Quick & Easy installation】Easy Installation: Instruction manual inside, all mounting hardware for quick and easy installation. Uses one maximum 40 watt standard E26 base LED bulb (not included).

          View full item details



          At a glance


                                                           Brand
                                                         Unbranded




             $64.98
                Price when purchased online 

                As low as $12/mo or 0% APR with                  Learn how

              Free shipping          Free 30-day returns


                                                                                                                                                    Buy now


                                                                                                                                                  Add to cart


                           Add a protection plan What's covered
                           (Only one option can be selected at a time)

                                 3-Year plan - $11.00

                                 2-Year plan - $8.00



             How do you want your item?



                                                              Shipping                                                                               Pickup                                                                                       Delivery
                                                             Arrives Feb 5                                                                         Not available                                                                                Not available
                                                                  Free


             Delivery to 1 N La Salle St


                     Sold and shipped by houhaojiasha

                    2 seller reviews

                     Free 30-day returns Details


                                                                              Add to list                                                                                                                              Add to registry




https://www.walmart.com/ip/Modern-Pendant-Light-Wood-Pattern-Dome-Lantern-11-8-Industrial-Metal-Hanging-Lamp-Light-Fixtures-Kitchen-Island-Bar-Dining-Room-Living-Bedroom-Black/14464019499?classType=REGULAR&from=/search                                                                            1/4
1/22/25, 2:33 PM
                                         Case    2:25-cv-00472-CB Document 2-7 Filed 04/10/25 Page 217 of 227
                                           Modern Pendant Light, Wood Pattern Dome Lantern, 11.8" Industrial Metal Hanging Lamp, Pendant Light Fixtures for Kitchen Island, Bar, Dining Room, Living Room, Bedroom - Black - Walmart.com

                                              Sponsored

                                              $134.99
                                              Vintage Crystal Branch Chandeliers with 7-Light, Black Flush Mount Pendant Light, Farmhouse Hanging Ceiling Lighting Fixtures for Dining Room Living Room Bedroom Restaurant Porch Foyer

                                               3+ day shipping




                                                                                                                                       Add
                                                                                                                                                                                                                                                                       




            Add                                                                                                            Add                                                                                                           Add
           Sponsored                                                                                                       Sponsored

           $69.99                                                                                                          $62.99                                                                                                         $58.99
           Depuley 3 Light Glass Pendant Light Industrial Kitchen Island Light Dimmable LED Matte Black Farmhouse          2 Packs Depuley Industrial Pendant Light Farmhouse Plug in Ceiling Light Black Vintage Metal Hanging           Pendant Light Modern Lantern Lighting ,Minimalist Industr
           Semi Flush Mount Ceilinglight for Living Room Dining Patio, E26 Socket                                          Lamp Lighting Fixture Adjustable for Living Room Kitchen Island Dining, E26 Base                               Barn, Dining Room, Living Room, Bedroom
            8                                                                                                         Save with                                                                                                      Shipping, arrives in 3+ days

           Save with
                                                                                                                           Shipping, arrives in 2 days
           Shipping, arrives in 2 days




                                                                                                                                                                                                                                




            Add                                                                                           Add                                                                                        Add

           $56.99                                                                                        $25.97                                                                                       $78.98
           Industrial Sputnik Chandeliers, 8 Lights Pendant Lighting Fixture, Black, Vintage Ceiling     Better Homes & Gardens 56” Black Metal Pendant Ceiling Light, Adjustable Cord, LED Bulb      6-Light Farmhouse Chandelier, Industrial Iron Chandelier Lighting, Classic Candle Ceiling
           Light for Kitchen Dining Living Room Bedroom Lighting                                         Included                                                                                     Pendant Light Fixture for Foyer, Living Room, Kitchen Island, Dining Room, Bedroom,Black
            100                                                                                      60                                                                                      24

           2-day shipping                                                                                 2-day shipping                                                                               2-day shipping




          About this item


             Product details
                                                                                                                                                                                                                                                                                            

             Product Description




             Modern & Industrial Pendant Light


             pendant light fixture a classic Scandinavian style. Classic wood grain with high quality black metal shade, provide a modern and
             industrial feeling. Ideal for kitchen, dining room, living room, o ice, co ee bar, bedroom, beside nightstand. Add this industrial
             looking to your home now!




             Product Dimensions


             Shade 11.8"Dia x 8.1"H. A durable and stylish adjustable nylon cable (1.2 meters long) is included.




             SOLID WOOD SERIES


                   Modern Pendant Light



             Classic Scandinavian style. Classic Solid wood with black metal shade, provide a modern and industrial feeling. Ideal for kitchen,
             dining room, living room, o ice, co ee bar, bedroom, beside nightstand. Add this industrial looking to your home now!



                   Modern Floor Lamp with End Table



             The standing lamp is combined with wood side table to put your phone, co ee cup, ornaments, magazine, etc. Space saving design
             dimension：65 in. H overall, end table is 21.6 in. H from floor and 13 in.W. It easy to match with a range of decor styles including
             rustic, industrial space, farmhouse, etc.




             SOLID WOOD PENDANT LIGHT SOLID WOOD PENDANT LIGHT 16” Pendant Light SOLID WOOD PENDANT LIGHT SOLID WOOD DESK




https://www.walmart.com/ip/Modern-Pendant-Light-Wood-Pattern-Dome-Lantern-11-8-Industrial-Metal-Hanging-Lamp-Light-Fixtures-Kitchen-Island-Bar-Dining-Room-Living-Bedroom-Black/14464019499?classType=REGULAR&from=/search                                                                            2/4
1/22/25, 2:33 PM
                                        Case    2:25-cv-00472-CB Document 2-7 Filed 04/10/25 Page 218 of 227
                                          Modern Pendant Light, Wood Pattern Dome Lantern, 11.8" Industrial Metal Hanging Lamp, Pendant Light Fixtures for Kitchen Island, Bar, Dining Room, Living Room, Bedroom - Black - Walmart.com


            LAMP SOLID WOOD FLOOR LAMP
            Add to Cart
            Buying Options
            Add to Cart
            Add to Cart
            Buying Options
            Add to Cart


            Customer Reviews 3.6 out of 5 stars
            13


            4.7 out of 5 stars
            373


            5.0 out of 5 stars
            17


            4.6 out of 5 stars
            114


            4.5 out of 5 stars
            333

            4.3 out of 5 stars
            556


            Price $49.99$49.99 $91.99$91.99 $169.99$169.99 $124.99$124.99 $39.99$39.99 $59.99$59.99
            Size 11.8" L x 11.8" W x Max 47.3" H 10.2" L x 10.2" W x Max 59.4" H 16 x 16 x Max 83 inches 7" L x 7" W x Max 63" H 6.3 x 6.3 x 19 inches 13 x
            13 x 65 inches
            Features Modern Design FSC Listed Solid Wood Solid Wood & Hammered Metal FSC Listed Solid Wood USB-C & Wireless Charging
            Ports & Wireless Charging Station FSC Listed Solid Wood
            Max. Power 1 x 40W 1 x 40W 1 x 40W 1 x 40W 1 x 40W 1 x 60W
            Color Black Black Black Brass Black Walnut


                       【 Modern & Industrial 】 ELYONA pendant light fixture a classic Scandinavian style. Classic wood pattern with black metal
                   shade, provide a modern and industrial feeling. Ideal for kitchen island, dining room, living room, o ice, co ee bar, bedroom, beside
                   nightstand. Add this industrial looking to your home now!
                       【 Medium Dimension & Adjustable Height 】Dimension: Max 55'' H x 11.8'' W x 11.8'' D Ceiling Canopy: Dia. 4.3". Cords are included
                   for height adjustment. This pendant light fixture can be installed at any height of the ceiling and bevel.
                       【Bulb Requirements & Dimmable 】ETL Listed, Supports any LED/CFL/Edison or other less than 40W bulbs with E26 Base.
                   ❥When using dimmer and dimmable bulb can be dimmed (Bulbs NOT Included).
                       【ELYONA
                         ELYONA Product Quality Service】We value materials and share designs that are attuned with the laws of nature. We proudly
                   stand behind all of our products 100%, we o er a full 1-year warranty to bring you a great value shopping experience. If you have any
                   queries, please CONTACT US via Amazon message box.
                       【Quick & Easy installation】Easy Installation: Instruction manual inside, all mounting hardware for quick and easy installation.
                   Uses one maximum 40 watt standard E26 base LED bulb (not included).

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have
                   not verified it. See our disclaimer


            Specifications
                                                                                                                                                                                                                                   
            Brand
            Unbranded



            Warranty
                                                                                                                                                                                                                                   
            Warranty information
            Please be aware that the warranty terms on items o ered for sale by third party Marketplace sellers may di er from those displayed in
            this section (if any). To confirm warranty terms on an item o ered for sale by a third party Marketplace seller, please use the 'Contact
            seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




              Report incorrect product information




          Customer ratings & reviews
                        0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                                          Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.   Learn more.




https://www.walmart.com/ip/Modern-Pendant-Light-Wood-Pattern-Dome-Lantern-11-8-Industrial-Metal-Hanging-Lamp-Light-Fixtures-Kitchen-Island-Bar-Dining-Room-Living-Bedroom-Black/14464019499?classType=REGULAR&from=/search                3/4
1/22/25, 2:33 PM
                                          Case    2:25-cv-00472-CB Document 2-7 Filed 04/10/25 Page 219 of 227
                                            Modern Pendant Light, Wood Pattern Dome Lantern, 11.8" Industrial Metal Hanging Lamp, Pendant Light Fixtures for Kitchen Island, Bar, Dining Room, Living Room, Bedroom - Black - Walmart.com




             23" Ceramic Tower Heater




                                                                                                                                                                                                                                                                       Sponsored 




                                                                                                                                                                                                                                                        




              1                                                                                                       Options                                                                                                 Options



           $104.98                                                                                                 $51.98                                                                                                  $116.98
           More options from $90.98                                                                                Options from $51.98 – $110.48
                                                                                                                                                                                                                           Solid Wood Tripod Floor Lamp, Tall Standing Light with Tab
           Wood Tripod Floor Lamp, Mid Century Modern Reading Standing Light, Tall Studying Light with 3 Color     2 Pack Bubble Glass Pendant Lights, 8 Inch Vintage Hanging Lamp Seeded Glass Industrial Pendant Light   Floor Lamp with Drum Shade for Living Room, Bedroom, O
           Temperatures LED Bulb & Nature Linen Shade for Farmhouse Living Room Bedroom O ice, Walnut              Fixtures for Kitchen Island, Farmhouse, Bar, Bathroom, Dining Room, Oil Rubbed Bronze                   Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days                                                                            Shipping, arrives in 3+ days




               Report:        Report seller       Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Lantern Pendant Lights




https://www.walmart.com/ip/Modern-Pendant-Light-Wood-Pattern-Dome-Lantern-11-8-Industrial-Metal-Hanging-Lamp-Light-Fixtures-Kitchen-Island-Bar-Dining-Room-Living-Bedroom-Black/14464019499?classType=REGULAR&from=/search                                                              4/4
3/12/25, 9:51 AM
                               Case 2:25-cv-00472-CB                                       DocumentReview
                                                                                                    2-7your orderFiled      04/10/25
                                                                                                                  - Walmart.com
                                                                                                                                                          Page 220 of 227



                         Free shipping, arrives by Thu, Mar 27
                                                                                                                                                              Place order for $69.53
                                                                                                                                               By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                               Edit
          223 4th Ave, 4th Floor, Pittsburgh, PA 15222
                                                                                                                                          Subtotal (1 item)                                                          $64.98
                                                                                                                                          Shipping                                                                       Free
          Delivery instructions (optional)                                                                                         Edit
                                                                                                                                          Estimated taxes                                                                $4.55

          House


                                                                                                                                                 Give $0.47 to Feeding America® to support your                          
                                                                                                                                                 local community.
          Items details                                                                                                   Hide details
                                                                                                                                                 Round up your total to the nearest dollar to donate

          Arrives by Thu, Mar 27                                                                                                1 item

          Sold and shipped by houhaojiasha                                                                                                  Donate a whole dollar to Feeding America. 
          Free shipping
                                                                                                                                              $1.00            $2.00             $5.00
                            Modern Pendant Light, Wood Pattern Dome Lantern,
                            11.8" Industrial Metal Hanging Lamp, Pendant Light…

                                                               $64.98                                                                     Estimated total                                                       $69.53
                                                                                                      Remove             1       
                                                                                                                                          Have a promo code?                                                              



              Payment method

                     Please enter your CVV.


                           Ending in 1950                                                                                     $69.53

                         Please enter the CVV for the card

                         * Required field

                                               CVV *


                                                  3 digits


             + Add new payment                                                                                 Change payment




                               $10 cash back when you spend $10+                                                      Sign up


                         Add any credit or debit card, and claim cash back with a One Cash account.




             As low as $12/mo or 0% APR                                                                                 Apply now




                       Free 30-day trial




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                                        1/2
3/12/25, 9:51 AM
                               Case 2:25-cv-00472-CB                                          DocumentReview
                                                                                                       2-7your orderFiled      04/10/25
                                                                                                                     - Walmart.com
                                                                                                                                                      Page 221 of 227


          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data rates
          may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                               2/2
1/23/25, 2:28 PM
                                        Case 2:25-cv-00472-CB                                                     Document 2-7                                      Filed 04/10/25                                    Page 222 of 227
                                   2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,Office - Walmart.com



                                     New year. Better water.*


            Sponsored 

                                                                                                              
                                                                                                              
                                                                                                              




                                                                                                             



                +   12
                View all




          Unbranded
          2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,O ice
           (No ratings yet)


          Size: M

                                                M
                                             $149.98

          Actual Color: Blue - 2 Pack




          About this item

                 【Why can you trust ELYONA's Solid Wood?】① Unlike fiberboard’s wood grain paper surface and glued with unknown woodchips inside, ELYONA solid wood has a waterproof coating that won't cause edge warping when meeting water and is glue-free, formaldehyde-free.
             ②Made of FSC Certification Smooth Solid Wood which has represents that the timber used is following the strict environmental standards of FSC. ③The pendant lamp has a certain weight to ensure that the wire will not bend when hanging.
                 【Top Craftsmanship Hammered Metal Shade】①Rather than the spray painting process, ELYONA dust-free constant temperature process is used for surface baking paint to ensure the color is free of impurities and smooth which won’t crack, more durable and stable.②Made
             of natural iron ore from Highland Mountains,melted at an ultra-high temperature of 1538℃ to ensure no impurities.③The use of top japanese hammered craftsmanship ensures that each hammered pattern is full and round with the proper depth.
                 【ELYONA Unique Blue 2 Pack Modern Pendant Lights】① ELYONA “Modern Blue”, According to home color trend, blue has returned to the public eye as "New Black", ELYONA blue with 36.5% gray tone.The low saturation tone brings soft elegant feeling, creating more “New
             Possibilities” about HOME. ② With over 20 years of illumination production experience and a professional design team. Ideal for kitchen island, dining living room, o ice, bedroom. Add this modern industrial looking to your home now!
                 【 Medium Dimension & Wood Maintenance 】① Dimension & Adjustable Height：Max 54.5'' H x 10'' W x 10'' D, Ceiling Canopy: Dia. 4.3". ❥(We have 10 "and 6.8" sizes for di erent choices) ② Simply wipe with a damp cloth, then dry. We have been coated with mineral oil before
             packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more textured.…

          View more



          At a glance


                                                           Brand
                                                         Unbranded




             $149.98
                Price when purchased online 

              Free shipping          Free 30-day returns


                                                                                                                                                Buy now


                                                                                                                                              Add to cart


                           Add a protection plan What's covered
                           (Only one option can be selected at a time)

                                 3-Year plan - $22.00

                                 2-Year plan - $16.00


                           Get expert help What's covered
                                 Indoor Light Fixture Installation - $147.00



             How do you want your item?




https://www.walmart.com/ip/2-Pack-Modern-Pendant-Lights-10-2-Hammered-Blue-Solid-Wood-Hanging-Lamp-Adjustable-Height-Industrial-Metal-Lighting-Farmhouse-Kitchen-Island-Dining-R/14819824606?athcpid=14819824606&athpgid=Ath…                                                                  1/4
1/23/25, 2:28 PM
                                         Case 2:25-cv-00472-CB                                                      Document 2-7                                       Filed 04/10/25                                   Page 223 of 227
                                    2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,Office - Walmart.com




                                                        Shipping                                                                                         Pickup                                                                              Delivery
                                                       Arrives Feb 6                                                                                   Not available                                                                       Not available
                                                            Free


             Delivery to 1 N La Salle St


                    Sold and shipped by houhaojiasha

                    2 seller reviews

                    Free 30-day returns Details
               Reduced price               Sponsored

                                             Now $77.99 $95.19
                                                                        Add to list                                                                                                                                 Add to registry
                                             DEWENWILS 2 Pack Farmhouse Pendant Lighting for Kitchen Island, Wood and Metal Hanging Light Fixture for Dining Room, Adjustable Height
                                              14

                                              3+ day shipping




                                                                                                           Add




                                                                                                                                                                                                                                                                      




            Add                                                                                                          Add                                                                                                             Options

           Sponsored                                                                                                     Sponsored

           $69.99                                                                                                        $62.99                                                                                                         $76.99
                                                                                                                                                                                                                                        Options from $76.99 – $112.99
           Depuley 3 Light Glass Pendant Light Industrial Kitchen Island Light Dimmable LED Matte Black Farmhouse        2 Packs Depuley Industrial Pendant Light Farmhouse Plug in Ceiling Light Black Vintage Metal Hanging
           Semi Flush Mount Ceilinglight for Living Room Dining Patio, E26 Socket                                        Lamp Lighting Fixture Adjustable for Living Room Kitchen Island Dining, E26 Base                               Black Hollow-out Metal Pendant Lighting, Retro Industrial P
                                                                                                                                                                                                                                        Farmhouse Pendant Light Fixture for Kitchen Island Dining
            8                                                                                                       Save with
           Save with                                                                                                                                                                                                                    Shipping, arrives in 3+ days
                                                                                                                         Shipping, arrives in 2 days
           Shipping, arrives in 2 days




                                                                                                                                                                                                     Best seller



                                                                                                                                                                                                                               




            Add                                                                                        Add                                                                                         Add

           $56.99                                                                                      $78.98                                                                                       Now $30.99 $39.99
           Industrial Sputnik Chandeliers, 8 Lights Pendant Lighting Fixture, Black, Vintage Ceiling   6-Light Farmhouse Chandelier, Industrial Iron Chandelier Lighting, Classic Candle Ceiling    DEWENWILS 2-Pack Plug in Metal Industrial Pendant Light,Hanging Light with 15FT Cord,
           Light for Kitchen Dining Living Room Bedroom Lighting                                       Pendant Light Fixture for Foyer, Living Room, Kitchen Island, Dining Room, Bedroom,Black     E26 Light Socket, Farmhouse Pendant Lighting for Bedroom Kitchen Island Dining Room
            100                                                                                    24                                                                                      27

           2-day shipping                                                                               2-day shipping                                                                               2-day shipping




          About this item


             Product details
                                                                                                                                                                                                                                                                                           

             Product Description


             WHY CHOOSE ?


             FSC Certification Rubber Wood



                   All wood used in products has FSC Certification.


                   We carefully screen the wood, Handcrafted with care using the Finest Quality Rubber Hardwood.


                   Unlike fiberboard’s wood grain paper surface and glued with unknown woodchips inside, solid wood has a waterproof coating
                   that won't cause edge warping when meeting water and is glue-free, formaldehyde-free. Easy to clean. Simply rinse with water
                   or wipe with a damp cloth, then dry.




             Wood Maintenance & Dimension


                   Wood Maintenance



             Simply rinse with water or wipe with a damp cloth, then dry. We have been coated with mineral oil before packaging, and we still
             recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more textured.



https://www.walmart.com/ip/2-Pack-Modern-Pendant-Lights-10-2-Hammered-Blue-Solid-Wood-Hanging-Lamp-Adjustable-Height-Industrial-Metal-Lighting-Farmhouse-Kitchen-Island-Dining-R/14819824606?athcpid=14819824606&athpgid=Ath…                                                                         2/4
1/23/25, 2:28 PM
                                     Case 2:25-cv-00472-CB                                                                Document 2-7                         Filed 04/10/25   Page 224 of 227
                                 2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,Office - Walmart.com




                   Dimension & Adjustable Height



            Max59.4'' H x 10.2'' W x 10.2'' D Ceiling Canopy: Dia. 4.72". Cords are included for height adjustment. This hanging light fixture can be
            installed at any height of the ceiling and bevel.




            NORDIC STYLE SERIES


                   Dimmable Floor Lamp



            Modern Dimmable Floor Lamp is combined with solid wood side table to put your phone, co ee cup, ornaments, magazine, etc.
            Space saving design dimension：64 in. H overall, end table is 21.6 in. H from floor and 13 in.W. It easy to match with a range of decor
            styles including rustic, industrial space, farmhouse, etc.



                   Modern Pendant Light



            Classic Scandinavian style. Classic Solid wood with white metal shade, provide a nature feeling. Ideal for kitchen, dining room,
            living room, o ice, co ee bar, bedroom, beside nightstand. Add this nordic looking to your home now!




            Modern Pendant Light Fixtures, 10.2” Hammered Metal & Rubber Wood Isla... Modern Pendant Light, 12" Hammered Metal Dome
            Hanging Lamp Solid Wood ... Modern Ash Wood Pendant Light Fixtures 12" Hanging Lamp Nordic White M... White Desk Lamp with
            Wireless Charger, Solid Wood Table Lamp with USB ... Nordic Wood Tripod Floor Lamp, Modern Reading Standing Lamp for Living...
            16.5” Large Woven Pendant Light, Modern Boho Chandelier Handwoven Ratt...
            Add to Cart
            Add to Cart
            Add to Cart
            Add to Cart
            Add to Cart
            Add to Cart


            Customer Reviews 4.7 out of 5 stars
            377


            4.5 out of 5 stars
            86

            4.1 out of 5 stars
            16


            4.5 out of 5 stars
            341


            4.3 out of 5 stars
            38

            4.6 out of 5 stars
            121


            Price $58.99$58.99 $59.99$59.99 $54.99$54.99 $39.99$39.99 $74.99$74.99 $144.99$144.99
            Size 10.2 x 10.2 x Max 54.5 inches 12 x 12 x Max 57 inches 12 x 12 x Max 80.7 inches 6.1 x 6.1 x 19 inches 20.3 x 20.3 x 61 inches 16.5 x 16.5 x
            61 inches
            Features Rubber Wood & Hammered Metal Rubber Wood & Hammered Metal FSC Listed Solid Wood TYPE-C Charging Ports &
            Wireless Charging Station FSC Listed Birch Wood Beads Handwoven Natural Twine
            Max. Power 1 x 40W 1 x 40W 1 x 40W 1 x 40W 1 x 40W 1 x 40W



            Bohemia Birch Wood Beaded Lamp Series


            Decorated classic bohemia style elements made up of solid wood bead and hand rope knot, creating an eye-catching look that
            lends bohemian flair to any area.We designed table lamps, chandeliers, floor lamp，ceiling light to meet your di erent needs.




                       【Why can you trust ELYONA's Solid Wood?】① Unlike fiberboard’s wood grain paper surface and glued with unknown
                   woodchips inside, ELYONA solid wood has a waterproof coating that won't cause edge warping when meeting water and is glue-
                   free, formaldehyde-free. ②Made of FSC Certification Smooth Solid Wood which has represents that the timber used is following the
                   strict environmental standards of FSC. ③The pendant lamp has a certain weight to ensure that the wire will not bend when hanging.
                       【Top Craftsmanship Hammered Metal Shade】①Rather than the spray painting process, ELYONA dust-free constant
                   temperature process is used for surface baking paint to ensure the color is free of impurities and smooth which won’t crack, more
                   durable and stable.②Made of natural iron ore from Highland Mountains,melted at an ultra-high temperature of 1538℃ to ensure no
                   impurities.③The use of top japanese hammered craftsmanship ensures that each hammered pattern is full and round with the
                   proper depth.
                       【ELYONA Unique Blue 2 Pack Modern Pendant Lights】① ELYONA “Modern Blue”, According to home color trend, blue has
                   returned to the public eye as "New Black", ELYONA blue with 36.5% gray tone.The low saturation tone brings soft elegant feeling,
                   creating more “New Possibilities” about HOME. ② With over 20 years of illumination production experience and a professional
                   design team. Ideal for kitchen island, dining living room, o ice, bedroom. Add this modern industrial looking to your home now!
                       【 Medium Dimension & Wood Maintenance 】① Dimension & Adjustable Height：Max 54.5'' H x 10'' W x 10'' D, Ceiling Canopy:
                   Dia. 4.3". ❥(We have 10 "and 6.8" sizes for di erent choices) ② Simply wipe with a damp cloth, then dry. We have been coated with
                   mineral oil before packaging, and we still recommend coating mineral or olive oil 1-2 times 3 month to make the wood grain more
                   textured.
                       【Bulb Requirements & Dimmable & One Year Warranty】① ETL Listed, and cords are included for Height Adjustment. This
                   hanging light fixture can be installed at any height of the ceiling and bevel. Supports any LED/CFL/Edison or other less than 40W
                   bulbs with E26 Base. ❥When using dimmer and dimmable bulb can be dimmed (Bulbs NOT Included). ② We o er One Year Warranty
                   to bring you a great value shopping experience. If you have any questions, please CONTACT US via the Amazon message box.

                   We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we have
                   not verified it. See our disclaimer


            Specifications
                                                                                                                                                                                                                                  
            Brand
            Unbranded



            Warranty
                                                                                                                                                                                                                                  


https://www.walmart.com/ip/2-Pack-Modern-Pendant-Lights-10-2-Hammered-Blue-Solid-Wood-Hanging-Lamp-Adjustable-Height-Industrial-Metal-Lighting-Farmhouse-Kitchen-Island-Dining-R/14819824606?athcpid=14819824606&athpgid=Ath…                     3/4
1/23/25, 2:28 PM
                                          Case 2:25-cv-00472-CB                                                          Document 2-7                                     Filed 04/10/25                                   Page 225 of 227
                                    2 Pack Modern Pendant Lights 10.2” Hammered Blue Solid Wood Hanging Lamp, Adjustable Height, Industrial Metal Pendant Lighting for for Farmhouse, Kitchen Island, Dining Room,Bedroom,Bar,Office - Walmart.com


             Warranty information
             Please be aware that the warranty terms on items o ered for sale by third party Marketplace sellers may di er from those displayed in
             this section (if any). To confirm warranty terms on an item o ered for sale by a third party Marketplace seller, please use the 'Contact
             seller' feature on the third party Marketplace seller's information page and request the item's warranty terms prior to purchase.




                 Report incorrect product information




          Customer ratings & reviews
                         0 ratings | 0 reviews




          This item does not have any reviews yet



                                                                                                         Debit with rewards. Get 3% cash back at Walmart, up to $50 a year. See terms for eligibility.          Learn more.




              Members save more




                                                                                                                                                                                                                                                                                   Sponsored 




                                                                                                                                                                                                                                                                    




              1                                                                                                                    Options                                                                                              Add
                                                             +5 options

           $162.48                                                                                                              $89.98                                                                                                 $8.41 +$4.97 shipping
           More options from $84.48                                                                                             More options from $80.98
                                                                                                                                                                                                                                       Vadktai Woven Pendant Lights, Rustic Rattan Hanging Lam
           Industrial Table Floor Lamp, Solid Wood End Table lamp with USB Type-C Charging Port & Power Outlet,                 Modern Pendant Light Kitchen Island, 10" Solid Wood Hanging Lamp with Matte Black Metal Shade & Gold   Pendant Light Fixtures for Kitchen Island, Dining Room, Bed
           Side Table Shelf Tall Pole Standing Light for Living Room,Bedroom,LED Bulb Included, Brown                           Inner Finish, Farmhouse Pendant Light Fixtures for Dining Room Bedroom Living Room Hallway             Shipping, arrives in 3+ days
           Shipping, arrives in 3+ days                                                                                         Shipping, arrives in 3+ days




               Report:        Report seller      Report suspected stolen goods (to CA Attorney General)


          Home / Decor / Lighting & Light Fixtures / Ceiling Lights & Fixtures / Pendant Lights / Industrial Pendant Lights




https://www.walmart.com/ip/2-Pack-Modern-Pendant-Lights-10-2-Hammered-Blue-Solid-Wood-Hanging-Lamp-Adjustable-Height-Industrial-Metal-Lighting-Farmhouse-Kitchen-Island-Dining-R/14819824606?athcpid=14819824606&athpgid=Ath…                                                                        4/4
3/12/25, 9:54 AM
                               Case 2:25-cv-00472-CB                                       DocumentReview
                                                                                                    2-7your orderFiled      04/10/25
                                                                                                                  - Walmart.com
                                                                                                                                                         Page 226 of 227



                         Free shipping, arrives by Thu, Mar 27
                                                                                                                                                            Place order for $160.48
                                                                                                                                              By placing this order, you agree to our Privacy Policy and Terms of Use
          Steven kal                                                                                                              Edit
          223 4th Ave, 4th Floor, Pittsburgh, PA 15222
                                                                                                                                         Subtotal (1 item)                                                         $149.98
                                                                                                                                         Shipping                                                                        Free
          Delivery instructions (optional)                                                                                        Edit
                                                                                                                                         Estimated taxes                                                                $10.50

          House


                                                                                                                                                Give $0.52 to Feeding America® to support your                          
                                                                                                                                                local community.
          Items details                                                                                                   Hide details
                                                                                                                                                Round up your total to the nearest dollar to donate

          Arrives by Thu, Mar 27                                                                                                1 item

          Sold and shipped by houhaojiasha                                                                                                 Donate a whole dollar to Feeding America. 
          Free shipping
                                                                                                                                             $1.00            $2.00             $5.00
                            2 Pack Modern Pendant Lights 10.2” Hammered Blue
                            Solid Wood Hanging Lamp, Adjustable Height,…
                            Size: Medium, Actual Color: Blue - 2 Pack
                                                                                                                                         Estimated total                                                    $160.48
                                                              $149.98

                                                                                                      Remove             1      
                                                                                                                                         Have a promo code?                                                               




              Payment method

                     Please enter your CVV.


                           Ending in 1950                                                                                 $160.48

                         Please enter the CVV for the card

                         * Required field

                                               CVV *


                                                  3 digits


             + Add new payment                                                                                 Change payment




                               $10 cash back when you spend $10+                                                      Sign up


                         Add any credit or debit card, and claim cash back with a One Cash account.




             as low as $15/mo with                                                                                      Apply now




                       Free 30-day trial




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                                                                                        1/2
3/12/25, 9:54 AM
                               Case 2:25-cv-00472-CB                                          DocumentReview
                                                                                                       2-7your orderFiled      04/10/25
                                                                                                                     - Walmart.com
                                                                                                                                                      Page 227 of 227


          Try Walmart+ to save with free delivery from stores + so
          much more*
          *$35 order min. Restrictions apply.

          Try Walmart+ free for 30 days




           Text updates for this order
                   Send to (xxx) xxx-8484
                   Send to a different phone number

          If you uncheck the box above, you acknowledge that you’re only opting out of text updates for this order, unless you save the preference.
          Number and frequency of automated texts may vary based on your order. Consent not required for purchase. Message and data rates
          may apply. By continuing, you agree to our Mobile Alert Terms.




https://www.walmart.com/checkout/review-order?cartId=cd2f6ca3-429b-49a1-b471-2b0777180512                                                                               2/2
